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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

JOSEPH INDELICATO
               Plaintiff,

                                                 No. 22-cv-318 (KAD)
       v.

SHIPMAN & GOODWIN LLP;

UNITED STATES OF AMERICA;

GEORGETOWN UNIVERSITY;
                                                 SECOND AMENDED COMPLAINT
CHRISTOPHER WRAY, in his individual
and official capacities as Director of the       JURY TRIAL DEMANDED
Federal Bureau of Investigation;

FEDERAL BUREAU OF
INVESTIGATION;

FENG K. AN, in her individual capacity as
Boston Area Director of the Equal
Employment Opportunity Commission;

UNITED STATES EQUAL EMPLOYMENT
OPPORTUNITY COMMISSION;

HON. SARALA NAGALA, in her individual
capacity as United States District Judge;

TANYA HUGHES, Executive Director of the
Connecticut Commission on Human Rights
and Opportunities, in her official capacity;

JASON THODY, Chief of Police of the
Hartford Police Department, in his official
capacity;

FRANK BLANDO, Chairman of the
Connecticut Board of Firearms Permit
Examiners, in his official capacity;

30 ARBOR STREET, LLC;

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  MATTHEW BERGER, Chairman of the State of
  Connecticut Judicial Branch, Statewide
  Grievance Committee, in his official capacity;
  NEHA PARIKH;
  DOES 1-19;
                          Defendants.



                                                                EPIGRAPH
                       O foolish Galatians! Who has bewitched you that you should not
                       obey the truth, before whose eyes Jesus Christ was clearly portrayed
                       among you as crucified? This only I want to learn from you: Did
                       you receive the Spirit by the works of the law, or by the hearing of
                       faith? Are you so foolish? Having begun in the Spirit, are you now
                       being made perfect by the flesh? Have you suffered so many things
                       in vain—if indeed it was in vain?

                       Paul of Tarsus (St. Paul), Epistle to the Galatians, 3:1-4 (NKJV),
                       ~48-49 A.D.




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                                           NATURE OF ACTION

    1. There is evidence that, for over a decade but in particularly aggressive fashion since

         2012, the Democratic Party of the United States has employed a political strategy based

         on manufactured crisis events. The crises are catastrophized by a captive news media,

         which papers the historical record. The crisis events generate public funding and create

         pretexts for emergency executive action and increased intelligence activities against

         perceived political adversaries. Freedom of assembly is sometimes impaired. The funds

         are disseminated to a vast network of public-private partnerships and NGOs, which

         ostensibly compensate those involved with generating the crisis. In effect, this strategy

         functions as a “skim” operation on the US Treasury.1

    2. On this apparent basis, the Democrats have been able to achieve permanent changes to

         the function of American democracy without any real public debate or referendum. Most

         Americans will note that the Democrats never actually explain what their platform is (and

         at this point, are so afraid of stepping in it that they can’t even form sentences); it has

         become a kind of big secret. This is because it does not need to explain its platform in

         the open air. The recent changes made by the Democratic Party are extremely unpopular

         with the American people and with the World, both of whom are becoming increasingly

         concerned with the decline of the country.

    3. The people that are most likely to push back on these unwanted changes—which have

         nothing to do with race—are Republican lawyers. Prior to 2020, the changes made were

         mostly political, but since 2020, they have expanded into the realm of religion, largely



1
         No one can prove this, and Plaintiff makes no operative assumptions or allegations in this suit based on this
concept, other than to note that there are irregularities observable in some modern events.


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   through an ideological blitzkrieg in which a new religion called “Wokeness” spread to all

   major American employers overnight. This raised the stakes quite a bit, and expanded

   the circle of “threatening” lawyers to include Christians, with the “most wanted” being

   both Republicans and Christians. What was dirty politics before 2020 is now plain-old

   Satanic. Whether they know it or not, all Christians now find themselves in the wrestling

   match with Satan envisioned by Paul in his Epistle to the Ephesians. If we want to keep

   the cross in American life, it appears that we are going to have to fight for it.

4. If this “most wanted” group—particularly those learned in history and theology—is

   subdued, within five years the Republican Party will be no better than a bunch of whiny,

   helpless complainers commenting on Tucker Carlson monologues. This appears to be the

   desired outcome. And if that happens—particularly if the public is simultaneously

   disarmed, as is being vigorously pursued—full-blown tyranny in this country seems a

   certainty. If we are honest, it is being openly telegraphed at this point, no tin foil hat.

5. For a practical example of how this fits together, consider the recent federal gun control

   legislation, S.2938 (Pub. L. 117-159), introduced by Rep. Nadler. The legislation funds,

   and creates incentives for all public schools to hire, “developmental-behavioral

   pediatricians” to monitor the development of young children. If a young student is

   evaluated as a threat, the child is placed in a Department of Homeland Security database,

   probably for life. The only thing that stops this system from being abused to target people

   like Plaintiff (for example, students that exhibit critical thinking ability or outspokenness

   in their U.S. History class) before they ever get into circulation is a provision in the bill

   that states that the programs cannot be operated to violate Title VI of the Civil Rights




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       Act, which includes race and religion.2 Let’s say the programs implemented in a given

       state start to discriminate against the children of Republicans or Christians, such that

       these children cannot then get into good schools and get good jobs. (These evil racists

       have been systemically discriminating against us for years, so serves them right!) You

       would need to have a lawyer file that suit, and they would probably be either a

       Republican or a Christian. And if that lawyer is even still in practice by the time these

       programs go into full effect, they will suffer reputational ruin and likely get disbarred for

       doing it, just as the Plaintiff has been threatened with disbarment for filing this suit. (At

       the time of this suit, a lawyer named Nickola Cunha has been disbarred in Connecticut

       for doing exactly this, for alleging that child psychologists are being used to create in

       effect a child trafficking ring that is destroying families in Connecticut.) And so in

       effect, with S.2938, the Democrats have gained a potent lever to exact tyranny on

       American families unless some lawyers risk everything to hold the line. Their numbers

       are falling rapidly.

    6. The prototypical “most wanted” lawyer is Abraham Lincoln. He remains the man to

       emulate. Lincoln held the country together through the worst coordinated attack by the

       forces of darkness that, up to that time, it had ever faced. Lincoln believed that our

       republic was a representation of the Kingdom of God, and the forces of division and

       discord, agents of the Kingdom of Satan. His “House Divided” speech, which most are

       familiar with, is an explicit reference to Jesus’ dissertation about the war between the two

       Kingdoms, from the Gospel of Matthew:

                         Every Kingdom divided against itself will be ruined, and
                         every city or household divided against itself will not stand.


2
       The program criteria need in general to be “evidence-based,” but this just buys time.

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                   If Satan drives out Satan, he is divided against himself.
                   How then can his kingdom stand?
                   And if I drive out demons by Beelzebul, by whom do your
                   people drive them out? So then, they will be your judges.
                   But if it is by the Spirit of God that I drive out demons,
                   then the kingdom of God has come upon you.

                   Or again, how can anyone enter a strong man’s house
                   and carry off his possessions unless he first ties up the
                   strong man? Then he can plunder his house.

                   Matt. 12:25-29 (emphasis added).

7. If the first American civil war was about the legal emancipation of the slaves, the second

   American civil war appears to be taking shape around the spiritual emancipation of the

   same group, with the addition of the other peoples conquered during the colonial era.

   The main question for the public is whether the new state religion called Wokeness is a

   liberating or enslaving force. Whether it represents the Kingdom of God, or that of

   Satan. Many would like the public to think Wokeness is a liberating force, and those that

   oppose it are akin to the Confederates. Plaintiff thinks it is the exact opposite. Just like

   in the first civil war, Satan is on the side that favors slavery, division, and hatred.

8. Wokeness is a vast and developing moral code designed to promote “antiracism”, but

   operates in society similar to how Judaism—the law of Moses—operated at the time of

   Christ. Plaintiff has done everything humanly possible to avoid this lawsuit, because he

   never wanted to say it. It hurts him to say it. But he has no choice. As far as Plaintiff

   can tell, the intent of Wokeness is to evangelize people of color into Judaism. 99% have

   no idea. Plaintiff believes this deception is a strong indicator that Wokeness is squarely

   planted in the Kingdom of Satan. Jesus of Nazareth gives us the appropriate response.




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    9. Jesus believed that the Jewish leaders at that time (called the Pharisees, priests who sat on

         a council called the Sanhedrin) were abusing the law to achieve total political3 and

         financial control over the province of Judea. Jesus believed that this was an inappropriate

         use of the Jews’ covenant with God, that it was keeping the people in an oppressed state,

         and that the leaders had departed from his father’s kingdom. Jesus entered the “Court of

         the Gentiles,” a courtyard area outside of Herod’s Temple that had been functioning as a

         bazaar, and flipped over the tables of the merchants, yelling “[s]top turning my father’s

         house into a market!” Jn. 2:16. He exclaimed that “God is Spirit,” Jn. 4:24, and began

         teaching the people in parables, extended metaphors, telling them that “my flesh is real

         food, and my blood is real drink” etc., Jn. 6:55, which confused and upset people.

         Clearly he did not mean that they should cannibalize him. They had never heard anyone

         speak in this manner.

    10. Jesus’ main innovation was the Holy Spirit. It democratizes morality (takes what is

         “right” and “good” out of the hands of the few and puts it in the hands of the many) and

         creates a kind of fourth-dimension for believers that is both a liberating as well as

         moderating force, creating individuality as well as group cohesion. Jesus said this

         “Spirit of truth,” which he called an “advocate4” and described as akin to “living water,”

         would become in believers “a spring of water welling up to eternal life” if they were

         “born again” in it. Jn. 15:26, 4:14, 3:3. He did not mean that they would actually live


3
         Rome controlled the province politically, but as it is today, the Jews are the most remarkable and intelligent
race on the planet, and the unquestioned masters of all things in this world. See Jn. 19:30 (Jesus to Pilate, Roman
governor: “You would have no power over me if it were not given to you from above. Therefore the one who
handed me over to you is guilty of the greater sin.”)
4
         “When he comes, he will prove the world to be in the wrong about sin and righteousness and judgment:
about sin, because people do not believe in me; about righteousness, because I am going to the Father, where you
can see me no longer; and about judgment, because the prince of this world now stands condemned.” Jn. 16:8-11.


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         forever, but just that they would “know . . . God.” Jn. 17:3.5 The Spirit’s version of

         morality is above human meddling, Jn. 3:8 (“The wind blows wherever it pleases. You

         hear its sound, but you cannot tell where it comes from or where it is going. So it is with

         everyone born of the Spirit.”), and thus both breaks and prevents corruption by individual

         human actors. This creates social trust, prosperity, love, and good things in general.

         E.g., Jn. 2:4-8 (water into wine); 4:34-37 (reaper and sower); 6:1-15 (feeds the five

         thousand). Through the Spirit we transcend our physical bodies, see Jn. 9 (healing the

         man born blind), and become one body through many. E.g., Eph. 4:4. This thing called

         the Spirit makes the believers divine beings imbued with supernatural powers (which

         people now claim spring from “privilege”) and remains both controversial and a big deal.

         The catch is that you have to believe in Jesus for this thing to work, e.g., Jn. 7:38, 10:7-

         18, the whole concept is based on his life.

    11. By a vast margin, the Holy Spirit is the most important development in human history, so

         important that it restarted the clock on the way we count years. Its function in society

         fades in and out, periodically being snuffed out—sometimes for very long stretches—

         until it bursts forth again, as it did when reasserted in 1517 by Martin Luther (ushering in

         the modern era). It is the basis for all democratic norms and advanced social structures.

         Everything Jesus said about the Spirit has been proven true, time and again, for thousands

         of years.

    12. Wokeness revives the moral code at the heart of Judaism, and operates in practice to do

         exactly what Judaism at the time of Christ did: create a basis to condemn anyone that



5
         Jesus himself is the best proof about his claims of eternal life. His words and deeds melt people every
single day, in every corner of the planet, rich and poor, generation after generation, for 2,000 years now.


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         spreads the Spirit and thereby threatens the financial and political control of the leaders

         (in this case, the “antiracists”). Moral codes operate with the effect of criminal laws (as

         this case shows), but are not passed democratically. Christians believe that, because of

         our flawed nature, moral codes do not promote good behavior, but rather sin and

         corruption.6 The best proof of this that we have is the death of Jesus himself. Jesus is

         venerated the world over (by all but the Jews) as at least a holy person, if not the greatest

         person to ever live, but was sentenced to death under the law.

    13. The entire purpose of the Christian religion is to reject the law and the false

         condemnation that comes with it, which obstructs the gentiles’ access to God through the

         Spirit (we have no express covenant) and leaves us in a permanent state of sin, emptiness,



6
          This case is a particularly good example of how the law does this. The Defendants’ lying and treachery
will get bigger and bigger until they choke on it. This vicious cycle of sin (being a slave to sin) we call carnality,
and the things people do to maintain this system we call witchcraft, or alchemy (the “power of the air”, Eph. 2:2).

          For Paul’s explanation of carnality, see Martin Luther, On the Freedom of a Christian. As a synopsis, “No
one can serve two masters. Either you will hate the one and love the other, or you will be devoted to the one and
despise the other. You cannot serve both God and money.” Matt. 6:24. We love money and power, we just can’t
help it. And in most cases, we can’t have money and power unless other people think we are “righteous.” If we
have a moral system where “righteousness” means following a moral code, we have to work very hard to make sure
everyone thinks we are following that code all the time even though it is impossible. (Otherwise people won’t think
we are righteous, and we won’t get the money.) If one among us comes to love money more than righteousness, as
is inevitable, we start to use that “righteousness” for pecuniary gain, kind of like putting “Champions of Inclusion”
in attorney advertising, or getting a high “Sustainability Score”. When we mix money and morality, we have to
conceal when we inevitably break the law, frequently by lying. And this means we have to sin to conceal our sin,
sometimes to quite an extreme extent indeed. Because if someone were ever to expose the fact that someone
considered “righteous” under the law were actually a sinner, maybe even a huge sinner, people would pretty quickly
stop believing in the law at all and start looking for a religion that better deals with these kinds of problems. See
Rom. 7:11-12. And if that were to happen, the leaders would lose their money and power.

          Because the people considered “righteous” under the law come to understand these realities, they stop
believing in “religion” at all and begin to feel dead inside, no matter how much money they have. They can’t be
creative and the “pop” falls out of social interactions, kind of like being in the car without the radio on. People
begin to do terrible things without even really giving it a second thought—“if I don’t do it, someone else will, so
better to just take the money”—and morality becomes completely inverted vis Christianity. Being “good” ends up
meaning following orders, even if the order is “bad,” and because we are “bad,” the orders are guaranteed to be
“bad” at one point or another until (like a moral cancer), everyone is doing “bad” things all the time, and the truly
“good” people have to go, because they remind us how “bad” things actually are. Eventually all the “good” people
are gone entirely, so that there is no more concept of what was “good” at all. And then we find that we live in hell,
and there is no escape. Money becomes God.


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         and slavery vis the Jews. E.g., Eph. 2:11-22. Christians believe that by his death on the

         cross, Jesus fulfilled the law and abrogated it. Matt. 5:18; Jn. 19:30. He “forgave us all

         our sins, having canceled the charge of our indebtedness, which stood against us and

         condemned us; he has taken it away, nailing it to the cross.” Col. 2:14. And so as Paul

         explained, “therefore do not let anyone judge you . . . since you died with Christ to the

         elemental spiritual forces of this world, why, as though you still belonged to the world,

         do you submit to its rules?” Col. 2:16, 20; cf. Jn 3:16-20. Jews disregard Jesus and

         believe that they remain in exclusive privity with God. Christians believe that faith is the

         only way to achieve righteousness, while Jews persist in the flesh and through the law.

         Rom. 7:6 (“But now, by dying to what once bound us, we have been released from the

         law so that we serve in the new way of the Spirit, and not in the old way of the written

         code.”)

    14. Today, we call the false condemnation generated by the law “cancel culture,” and it is

         abused just as badly as it was in the time of Christ, by the same people, for exactly the

         same reasons. The common thread among all the destroyed persons is the manner in

         which they spread and embody the Spirit.

    15. The handling of Jesus by the Pharisees has created a more or less permanent schism in

         morality between Jews and Christians, each side believing themselves to be the ones in

         the light of God,7 and each side employing different weapons in a vast and unseen

         spiritual war that has raged for 1,989 years now.8 Christians believe Jesus represents the


7
         The Jews, on the basis that the covenant God made with Abraham still holds and was not superseded by
Jesus’ death on the cross (i.e., by faith as righteousness). For Paul’s response to this argument, see Gal. 3:7-14.
8
         Since the beginning, there have been two, and only two, spiritual kingdoms on earth. That of God, and that
of Satan. The religion of Abel, and the religion of Cain. Abel’s religion produced truth, prosperity and a sacrificial
lamb. Cain’s religion produced a jealous, lying murderer. And so it is today.


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   Kingdom of God, and that those who oppose his principles are lost in the Kingdom of

   Satan, at least to the extent they try to foist their beliefs upon Christians (which, until

   2020, had never really happened here in America). We think the fact that the other side

   has to use wholesale deception, bribery, and threats of violence to get folks to join them

   is very strong evidence that they live in the Kingdom of Satan. When society is

   organized in the Kingdom of God, anyone can practice whatever religion they want with

   no penalty whatsoever. But when society is organized in the Kingdom of Satan, as it was

   in the Soviet era (see Appendix A), people are not allowed to practice Christianity.

   Because if Christianity can be practiced without criminal penalty, there is always the very

   real possibility that the people who were duped into entering the Kingdom of Satan will

   realize that they live in hell and just pick up and leave. Overall, the way to think about it

   might be thus: if you think the things Plaintiff says in this lawsuit constitute “anti-

   Semitism,” someone could probably call you the “antichrist.” It just depends on how one

   looks at it. To this day, morality the world over depends on what one thinks about Jesus.

16. By entering the workplace, Wokeness assigns concrete secular consequences to this set of

   moral and/or religious choices and puts these issues in play in a way not seen in the

   Western world in 100 years (the last time, it was called “Marxism”), and for the first time

   ever in America.

17. Beginning in 2020, during the pandemic, employees at all employers of any size or

   significance were required to sit through mandatory trainings about “racism,” which were

   generally tape recorded. The main thrust of the trainings was to promote the idea that

   racism means something other than “treating people differently on the basis of skin

   color.” Specifically, under the new definition of racism, racism means not treating



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         people of color better than white people, which means that white people have to treat

         people of color different on the basis of their skin color. Which means that we must now,

         by rule, allocate economic benefits to people in society on the basis of race and religion,

         with, in effect, Black Jews being the primary beneficiaries, compensated by Satan for

         turning their back on Christ. Cf. 1 Jn. 2:19, 2 Thes. 2:11. Some might argue that this

         elevates what should be a meaningless physical characteristic into the central organizing

         principle of society (which has the dual effect of legitimizing its own false claims about

         “whiteness”), creating a kind of permanent apartheid, and that Wokeness is, in biblical

         terms, the antichrist. See Matt. 24:24; Jn. 16:1-4; 2 Thes. 2:3-12; 1 Jn. 2:18-20; Rev. 12.

     18. Plaintiff thinks Wokeness is totally preposterous and cannot in good conscience consent

         to it. Never in his life has he seen something so wrong become so popular; it is and

         remains jarring to him. Plaintiff thinks people of color are equal before Christ and in the

         Spirit, and knows that if democracy falls to the present wave of rabbinical legalism9 and

         carnality, people of color will never come to understand the Spirit and therefore, will

         submit permanently to the state of slavery and bondage that has never been broken from

         their minds.10 Although Plaintiff has become aware of a substantial literature claiming

         that Black people are actually Israelites rather than gentiles, Plaintiff is quite certain that

         this claim is about as cheap and low-brow as the rest of the propaganda (read: someone


9
          To appropriately cover the range of human behavior, the law has to become very complex and detailed. In
the time of Christ, the law had expanded to cover the oral traditions of the Jewish leaders, who were the only ones
who really knew what was “right” and “wrong” under the law. This meant that, for all intents and purposes,
virtually anyone, even an impossibly good person like Jesus, could be accused and destroyed under the law. This
was another reason the law stopped creating good behavior. Instead, in a system like that, the only real rule is to do
whatever the leaders want and be compliant. This makes the leaders God, and everyone else slaves. We call these
things rabbinical legalism (and in a related vein, subjective logic, see Appendix A).
10
        Plaintiff believes that, had Dr. Martin Luther King, Jr. lived a full life, he would have broken this spirit
once and for all. And that for this reason, his life was taken—likely by American intelligence.


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         thinks you are stupid and is making fun of you). A slave is the best a person of color—or

         any other gentile—will ever be under the law, and no one should be fooled by the short-

         term financial boon. If the deception succeeds it will have the effect of permanently

         pulling all of Christendom down into the abyss as well, destroying the religion and

         reverting the world to its sad condition before Christ (at least from the gentile

         perspective). Although Russia has made an express commitment to Christianity and has

         backed it with rifles,11 if America falls to the forces of darkness, the world realistically

         will not recover. We are watching it happen, and literally no one is correctly diagnosing

         it, or are too afraid of condemnation to speak the truth. (Plaintiff has already lost

         everything.)

     19. Wokeness forces American employees to choose between the cross and their paycheck

         and expressly discriminates against Christians. The apparent intent of Wokeness is to

         strip the cross from the religion and leave it in a pagan shell of good works, perhaps as a

         baseline Semitic religion for a “one world government” which could be merged with

         Islam and Judaism.12

     20. Plaintiff initially analyzed this phenomenon in secular terms, as a scheme concocted with

         the intent to foment Marxism in the United States.13 When modeling what a Marxist



11
         The words “antichrist,” “devil,” etc. appear several times in Alexander Dugin’s March article entitled
“Special Operation Z,” which details the Kremlin’s rationale. It has been scrubbed from all search engines. The
Russians calculate that Western Christendom is finished, and are fighting to keep the light burning for the world,
much like the United States did during the Cold War. The Russians fell for the deception in 1917 and won’t again.
12
         The cross being the thing that separates Christianity from the other two; Muslims believe Jesus was a holy
person, but not the Son of God, and that he was spirited away by angels on the cross and therefore never
accomplished it, while Jews do not acknowledge Jesus or the Spirit.
13
         Perhaps it was, in some significant part, the idea of Barack Obama, who is a Constitutional scholar, and has
made public comments downplaying the importance of God in American society. This would mean that he
intentionally sold out Christianity to make Black people slaves.


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         transition in the United States would look like, Germany is the most profitable body of

         history to study. The Germans, like us, initially submitted to the blitzkrieg in 1918.

         Everyone knows what happened 14 years later. Because of what happened there (and by

         the benefit of modern technology) it is moving much quicker here, about six years packed

         into two. By the late 1920s, Marxism had proceeded far enough that a violent,

         authoritarian movement (with its own muscle, secret police, propaganda corps, etc.)

         called National Socialism was required to dislodge it.

     21. In his initial (unserved) complaint, Plaintiff suggested that Hitler may have been correct

         about Marxism and about race. To refresh the memory, Hitler believed that what

         separated the “Aryan” (roughly Indo-European whites) race from the others was a genetic

         characteristic called “idealism,” which means roughly “working solely for others”

         (German: Pflichterfüllung). Hitler was correct that it is this characteristic that separates

         an advanced (“culture-creating”) society from a primitive (“culture-bearing” or “culture-

         destroying”) one, but wrongly attributed it to race, rather than religion. Idealism was

         Christ’s main innovation, and he called it the Spirit. Idealism is the contradistinction to

         egotism, which means working for your own interests, and it is egotism that has

         descended over America since 2020.14


14
          It is egotism that allows for skyrocketing inflation and violence; a society where everyone is out for
themselves, and the veneer of civility is gone. Work starts to look more like “robbery” than a genuine productive
activity in service to God, just the process of moving money from one pocket to another by hook or by crook.

          An idealistic society is individualistic, with the individual being the node of access to God. (This is why
Jesus said “you are ‘Gods’” provided you enter through “the gate” (him) in delivering the parable of the Good
Shepard. Jn. 10). The group advances on the basis of outstanding individual contributions which are
simultaneously for others, and therefore rewards initiative and promotes norms that support “freedom.” An
egotistical society is collectivist, meaning the leaders of the group, and only them, have the access to God. For all
intents and purposes, this makes them the Gods, and only them. In an egotistical society, individual contribution is
discouraged, and compliance—or even flat out silence—is the most heavily rewarded characteristic, with norms
supporting “freedom” quickly appearing outdated, even risky. Virtue signaling is an example of egotism: although
that social media post might get a lot of likes, it doesn’t move the ball forward at all. Even though they pose as
being socially just, the virtue signaler is really more concerned about themselves and about advancing norms

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     22. At the time of this writing, Hitler’s claims about race lack empirical support.15 To reach

         his conclusion about the “Aryan” race, Hitler analyzed the outcomes of civilizations in

         North and South America (both Christian-dominant), concluding that the “teutonic” race

         of the North Americans was the key differentiator. Plaintiff believes that Hitler did not

         understand the differences between Catholicism and protestant Christianity,16 and that if

         he had, the world might look very different today. It is not race, but rather religion—

         specifically the power of the Spirit, best embodied in protestant Christianity—that

         explains the “idealistic” trait and therefore its transmutation into the political norms of a

         colony that was founded as a haven for protestant Christians. Those protestant Christian

         norms are enshrined in our Constitution, which has force and effect until duly amended.

     23. America was once the most idealistic and individualistic society on the planet, which

         made it the master thereof, capable of producing ideas, products, and culture copied the

         world over. If egotism prevails, America will stop being America, and everyone who has

         gotten better jobs, etc., because of Wokeness will soon find that the ideas and products

         run out, the hottest movie of the year will be “Barbie and Ken,” the inner vitality of the

         society will dry up (likely within a single generation), and the country will start to look

         like all the others. I.e., more like where we came from. Nearly everyone that immigrated




established by the group leaders than anything else. Creativity and initiative are discouraged and disfavored
characteristics, everything starts to feel cheap and contrived, and the society takes on the characteristic of an
unthinking herd of animals, rather than God-people. You might think of Judaism, Marxism, and Wokeness on the
“egotistical” side of the spectrum, and liberal democracy and Christianity on the “idealistic” side.
15
       If we are intellectually honest, Hitler’s analysis of Marxism has been proven correct—profoundly so. See
Appendix A.
16
         There is evidence that he did, but may have just wanted to take all the glory (and resulting control) for
himself, rather than putting the Church in the driver’s seat. And it is there that he went off the rails.


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         here in the last 100 years or so, like Plaintiff’s family, did so for the same or similar

         reasons: to live in a free society buoyed by the Spirit.17

     24. Our goal must be to reassert the idealistic quality of American society through the Spirit.

         If this happens, Marxism will fail to take root here without violence or counter-extremism

         (i.e., National Socialism), and people of color will enjoy the genuine advancement that

         they seek through Wokeness but sadly will not find (even if, at the most extreme, all the

         white Europeans are successfully killed, enslaved, or bred out of existence (“beiged”) to

         create the desired compliant and unthinking herd). Skin color means nothing in the

         Spirit.

     25. In examining the intent of the designers of Wokeness, Plaintiff considered the possibility

         that people of color, by rejecting the Spirit in favor of Wokeness (i.e. Judaism), are

         openly and knowingly conceding that Hitler was right. I.e., that they cannot live in the

         Spirit, or simply do not want to. Jews are brilliant, generally superior intellects that

         cannot live in the Spirit because of religious discipline which Plaintiff respects quite a

         lot.18 (If Jews honored the Spirit, they would then be Christians, rather than Jews.) For

         the Hindus involved with this lawsuit, there is no such similar restriction, and rejecting

         the Spirit would amount to an intentional concession that you can’t know God and are

         moving on from even trying. Plaintiff extrapolates from the spirited, negative reaction of

         the parties and virtually everyone else to the comments about Hitler (specifically that of

         Judge Nagala, who forwarded Plaintiff’s unserved first complaint to the Connecticut




17
         It may become clear later that recent immigrants are actually a “fifth column” seeking to destroy the
country from within, but there is not sufficient support for that claim at the time of this writing.
18
         Most people do not know that Yom Kippur is an annual reassertion of this idea.


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   State Bar Grievance Committee, who sits on it to this day), that supporters of Wokeness

   must actually be making the same analytical error that Hitler made (attributing to race

   what is actually caused by Christianity), and failing to consider the way Christianity fits

   into all this. Plaintiff thinks it would be sad if people thought Wokeness was their path to

   the Spirit and then discovered later that they destroyed it by accident. The bottom line is

   if supporters of Wokeness were knowingly rejecting the Spirit, then the comments about

   Hitler shouldn’t have produced controversy or frustration, but rather wry smiles.

26. This state of confusion is a typical attribute of Satan’s kingdom, which works through

   deception in all things. Most people in Satan’s kingdom have no idea that they are there,

   why they are there, or how they even got there. Most people would not knowingly call

   Jesus evil, but nonetheless, the crowd voted to crucify him. The goal of some is to

   reproduce this decision on a large scale. And so Jesus warned believers that “they will

   put you out of the synagogue; in fact, a time is coming when anyone who kills you will

   think they are offering a service to God.” Jn. 16:2. Jesus expressly warned that non-

   believers will hate and persecute Christians as much as he was hated and persecuted, Jn.

   15:18-20, in significant part because we keep the world honest. Jn. 7:7.

27. All of this puts a person like Plaintiff in an awkward position where, if he tries to spread

   the word about the Spirit, he will have to take the posture of an imperialist overlord,

   which is what Wokeness purports to be a rebellion against in the first place (Satan seized

   on this vulnerability, for example as pretext to condemn anyone protesting the opening

   Woke blitzkrieg as a “racist”). But the rebellion is at bottom one against God, not

   “whiteness,” because it is not “whiteness” that produces the Spirit, but rather Christianity.




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     28. The idea that “whiteness” is the central organizing principle of Western Civilization will

         probably go down in history as Satan’s worst-ever deception. It is Christianity, not

         whiteness. The country’s Christian norms will and must continue until the Constitution is

         duly amended in ink or by steel. White people aren’t “special” because of “privilege” or

         some vast centuries-long racial conspiracy to oppress people of color. It is God that we

         have, and it is more important than ever that we share (not the case with Wokeness19).

         Did Bach write his music, or God?

     29. From all this we assume that supporters of Wokeness are not in knowing and open

         rebellion against God, and are being broadly deceived by Satan to turn away from the

         Spirit via a subversive press (summarized herein, see Appendix A). Plaintiff feels it is

         his duty to say his peace with this leviathan and try to present a different point of view,

         and so has decided to proceed with this lawsuit, come what may. 20 We must have faith in

         the worthiness of our cause and believe that we have “divine power to demolish

         strongholds.” Col. 10:15.

     30. In so doing, Plaintiff has had to name as Defendants people he believes are innocent of

         true wrongdoing, and who he in fact feels compelled to “snatch . . . from the fire.” Jude

         1:23. Hindus are particularly vulnerable21 and are an important target of Satan for a


19
         “No one can serve two masters. Either you will hate the one and love the other, or you will be devoted to
the one and despise the other. You cannot serve both God and money.” Matt. 6:24. You have to choose.
20
         E.g., 2 Tim. 4:4-7 (“They will turn their ears away from the truth and turn aside to myths. But you, keep
your head in all situations, endure hardship, do the work of an evangelist . . . I have fought the good fight, I have
finished the race, I have kept the faith.”)
21
          Plaintiff understands the Hindu religion to roughly acknowledge without judgment the two Kingdoms, and
“go with the flow.” For example, Hindus respect Jesus’ teaching but view his death on the cross as in many respects
a poor life outcome. Plaintiff believes it is this that led Churchill to criticize Indians as having an “internal
flabbiness” that, from what he understands, many Indians acknowledge as a fair criticism. Plaintiff thinks that it is
this characteristic that creates the perceived “ceiling” rather than the brown skin color, which is a handy physical
feature emulated by whites the world over when they go to tanning salons or the beach.


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        number of reasons, all of which evil. And so a kind of collision has developed around the

        “accuser” Neha Parikh,22 with the two Kingdoms fighting over her. Neha was indeed

        planted as a “honeytrap” for Plaintiff, but the Satanists at Shipman could see it became

        real, and this seemed to upset Satan. All manner of witchcraft23 and lying has and will be

        used to prevent Neha from being pulled back. This includes vicious efforts to destroy

        Plaintiff’s life and moral character (the “full Lansa”), which will be amusing to observe,

        and for which Plaintiff has named DOES 1-20.24

     31. The first thing that must happen to restore the function of the Spirit in American society

        is to restore access to Christianity in day-to-day life. And this means that American

        employees cannot be discriminated against for rejecting Wokeness (for pointing to the

        cross and saying no). Christ has already won this victory for us all—only he could—and

        it was permanent, irrevocable, and total, provided we enforce it. This generation’s fight

        will be harder than others.

     32. Therefore, Plaintiff Joseph Indelicato, pro se, files this action against Defendants seeking

        redress for violations of the Racketeer Influenced and Corrupt Organizations Act of 1970

        (RICO) (racketeering enterprise to reduce Plaintiff to peonage), employment

        discrimination under Title VII of the Civil Rights Act of 1964, violations of Plaintiff’s

        rights under the First (free exercise, speech, and establishment clauses), Second (right to

        keep and bear arms), Fifth (taking), Eighth (cruel and unusual punishments), and


22
         The word “Satan” was translated by the writers of the New Testament as diabolos, Greek for “false
accuser” or “slanderer.” This is what got her. Plaintiff told Neha there was some crazy reason he met her.
23
        “Witchcraft”, discussed infra, is the exercise of illegitimate power (power not of the Spirit). A good
shorthand is to consider the techniques that got the crowd to free Barabbas instead of Jesus. How was that possible?
24
         Plaintiff prays that he may be “delivered from the lion’s mouth” by God, 2 Tim. 4:17, but thinks the more
accurate cite is probably Jn. 12:24-25.


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   Fourteenth (equal protection) amendments to the United States Constitution, Section

   1983 of the Civil Rights Act of 1866, Bivens v. Six Unknown Agents, Title VIII of the

   Civil Rights Act of 1968 (the Fair Housing Act), and for various torts suffered in

   connection with all. Plaintiff also seeks declaratory and injunctive relief to halt the

   unlawful surveillance, harassment, and blacklisting of his person and to restore his

   reputation and good standing within the legal industry and elsewhere.

                                         PARTIES

33. Plaintiff Joseph Indelicato, pro se, is an individual attorney residing in Hartford,

   Connecticut.

34. Defendant Shipman & Goodwin LLP is a law firm organized as a limited liability

   partnership and located at One Constitution Plaza in Hartford, Connecticut.

35. Defendant Georgetown University (“Georgetown”) is a 501(c)(3) organization located at

   37th and O Streets NW in Washington, DC. Georgetown University Law Center is a law

   school considered a major academic division of the University.

36. Defendant Christopher Wray is the Director of the Federal Bureau of Investigation (FBI),

   the criminal enforcement division of the United States Department of Justice. He is sued

   in his individual capacity, and in his official capacity for injunctive relief.

37. Defendant Federal Bureau of Investigation (FBI) is the criminal enforcement division of

   the United States Department of Justice, which is a Cabinet-level agency within the

   Government of the United States.

38. Defendant Equal Employment Opportunity Commission (EEOC) is an independent

   federal agency established to administer and enforce civil rights laws against workplace




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   discrimination. The Boston Area EEOC field office, which covers the Hartford,

   Connecticut area, is located at Government Center Room 475, Boston, MA 02203-0506.

39. Defendant Feng K. An is the Area Director for the Boston Area EEOC field office. She

   is sued in her individual capacity.

40. Defendant Hon. Sarala Nagala is a United States District Judge of the District of

   Connecticut. She is sued in her individual capacity.

41. Defendant Tanya Hughes is the Executive Director of the Connecticut Commission on

   Human Rights and Opportunities (CHRO). She is sued as an individual acting in her

   official capacity.

42. Defendant Jason Thody is the Chief of Police of the Hartford Police Department. He is

   sued as an individual acting in his official capacity.

43. Defendant Frank P. Blando is the Chairman of the Connecticut Board of Firearms Permit

   Examiners, a municipal permitting board in Hartford, Connecticut. He is sued as an

   individual acting in his official capacity. Defendant Blando is also a member of the State

   of Statewide Grievance Committee.

44. Defendant 30 Arbor Street LLC (“Parkville Management”) is a landlord operating in

   Hartford, CT.

45. Defendant Matthew Berger is the Chairman of the State of Connecticut Judicial Branch,

   Statewide Grievance Committee (“Statewide Grievance Committee”). He is sued in his

   official capacity.

46. Defendant Neha Parikh is an individual attorney residing in New York.

47. DOES 1-19 are Does, whose identities are presently unknown and unknowable, to

   include other members of the open-ended racketeering enterprise detailed herein.



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                             JURISDICTION AND VENUE

48. This Court has subject-matter jurisdiction over this action pursuant to 18 U.S.C. § 1964,

   28 U.S.C. §§ 1331, 1343, 1367, 2201, 2202, 42 U.S.C. §§ 1983, 1985, 1988, Bivens v. Six

   Unknown Named Agents, 403 U.S. 388 (1971), and for claims arising under the United

   States Constitution (Amendments One, Two, Five, Eight, Fourteen). The court has

   personal jurisdiction over Defendant Georgetown based on minimum contacts in this

   District established through online education programs, or in the alternative based on the

   effects of its conduct on Plaintiff in this District.

49. Venue lies in this Court pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391.

50. Plaintiff timely filed a Charge of Discrimination, Charge No. 523-2021-00464 with the

   EEOC on November 22, 2021.

51. The EEOC issued Plaintiff a Notice of Right to Sue on Charge No. 523-2021-00464 on

   November 30, 2021.

                               GENERAL ALLEGATIONS

52. Plaintiff writes this lawsuit under explicit threat of disbarment and implicit threat of

   violence against his physical person. Accordingly, he has placed his full analysis of

   Wokeness and of Current Events in two appendices, Appendix A (History and Theology)

   and Appendix B (Current Events). Plaintiff has placed cited references in the text as a

   kind of instant “fact check” to avoid claims that he is a conspiracy theorist. You can read

   the words yourself.

53. Wokeness is a comprehensive belief system that rises to the level of a religion within the

   meaning of the Establishment and Free Exercise Clauses of the First Amendment to the




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   United States Constitution, Title VII of the Civil Rights Act of 1964, and the Fair

   Housing Act of 1968.

54. By Reagan’s second term as president, economic Marxism had completely lost its luster,

   and the USSR was no longer a viable headquarters for the spread of global socialism.

   Marxist organizers turned their sights on the United States—the healthiest and most

   prosperous society on earth—as the new body to commandeer (like a virus). A new

   belief system was needed to revive Marxism by targeting the “ghetto population” (their

   words) in the United States; this became Wokeness.

55. Like Marxism before it, Wokeness is merely the body of propaganda designed to

   evangelize the target gentile proletariat into Judaism. From a theological perspective,

   Wokeness is simply Judaism for Black and Brown people.

56. Like Judaism, Wokeness elevates the physical and/or tribal characteristic of race above

   all others, and has as its main objective the extermination of white, European, Christian

   people by means of violent socialist revolution.

57. By creating a world where racism predominates, Wokeness tempts white, European

   people to fall into that trap and respond in kind, as happened in Germany 100 years ago.

   People like Plaintiff are being intentionally driven into despair and desperation by

   Satanists and racists, and this effect will accelerate as conditions worsen (famine, etc.). If

   American Christians make the same analytical mistake that their German counterparts

   did, there will be a government-sponsored genocide that occurs under the pretext of

   rooting out “domestic terror.” This is likely the desired outcome.

58. Wokeness is designed to secure the long-held Jewish objective of implementing global

   socialism and exterminating Christians, particularly white, European ones. Black and



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   Brown people that sell out to Satan will be compensated with slavery and loss of

   freedom, which presents initially as genuine advancement.

59. Wokeness seeks to evangelize the target proletariat into Judaism by asserting that the

   features and benefits of Christianity and the Holy Spirit are actually attributes of

   “whiteness” and “privilege,” and that Christian civilization is “systemically racist.”

60. In the parlance of Wokeness, the Holy Spirit is actually a sinister, centuries-long

   conspiracy among white, European people to oppress people of color, called “systemic

   racism.”

61. In the parlance of Wokeness, imperialism had nothing to do with spreading advanced

   (Christian) civilization to the conquered peoples, and everything to do with enslaving

   them.

62. The “peak experience,” or feeling of “oneness” and connection achieved through faith in

   the Christian religion is achieved in Wokeness through (a) the shared ritual of destroying

   Christians that live in the Spirit and (b) the body (e.g., corporeal modification, as in

   Transhumanism). Transhumanism asserts states that the only way for us to achieve

   “oneness” is through modification of our physical bodies, such that in the desired end-

   state we are all beige, genderless automatons. There is no concept of transcending the

   physical realm through the Spirit.

63. Like Marxism and Judaism, Wokeness is a secular, nonspiritual religion in which there is

   no practical separation between it and money matters. Righteousness is determined

   through compliance with a moral code. The moral code spreads to secular institutions,

   typically during a crisis when attention is directed elsewhere. In 1917-18, the turmoil

   surrounding the end of the First World War and the Spanish Flu pandemic was used to



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   create this general state of confusion and distractedness. In our time, the spread occurred

   during the coronavirus pandemic.

64. The High Priests that write the code gain control of what is “right” and “wrong” in

   society—i.e., morality—and become the only ones who actually know what is “right”

   and “wrong” (intratextualism). If someone criticizes this, they can claim the criticizer

   hasn’t correctly stated the rule, or as in Wokeness, that they are simply racists who refuse

   to admit that they are racists.

65. By controlling morality, unelected people gain the power to take human life through false

   condemnation (an assertion that the condemned person violated the code). No one helps

   the person condemned under the code for fear of being condemned themselves (this is

   what happened to Jesus himself). The code becomes so vast that eventually, the only real

   rule is to do whatever the High Priests say or face destruction. This feature is called

   rabbinical legalism.

66. Wokeness, like Marxism before it, promotes subjective logic. In the time of Christ,

   gentiles were mistreated by the Jewish leaders because they lacked a covenant with God.

   In the Soviet era, there were different rules for Party members and non-Party members,

   and the same is true of Wokeness today. Believers in the “Woke” religion are effectively

   above condemnation under their own moral code, and claims are made that this is the

   way it was under Christianity (“the master’s tools will never dismantle the master’s

   house,” except no consideration is given to the fact that God owns the house). The

   unfortunate outcome of this subjective logic is that the High Priests end up being the

   worst sinners, using the code for pecuniary gain. The sin perpetuates progressively

   greater sin as the sin is concealed by greater sin (producing carnality, or slavery to sin, as



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   well as corruption in society). The only ones condemned in this system are Christians,

   who do not believe that a moral code produces righteousness, and escape this vicious

   cycle through the new way of the Spirit.

67. The Woke religion “empowers” its believers through the use of witchcraft, generally

   conceived of as (from the perspective of the Spirit) illegitimate or coercive means of

   achieving power. Generally the use of traps and false condemnation, defamation,

   manipulation of public opinion through subversive propaganda and a captive press, false

   accusations, social media censorship, and treachery. Modern technology is ripe with

   witchcraft; for example, a “deep fake” video, the use of social media bots, and the

   selective “upvoting” of posts that promote preferred narratives (which we all saw in the

   opening phases of the War in Ukraine, prompting Elon Musk to buy Twitter). Through

   the use of witchcraft, people that do not live in the Spirit gain power in society, and sin

   begins to sin grow like a cancer. Young people learn that it is “good” to do bad things

   (such as in this case, lying about someone to ruin their legal career). We see this

   happening all around us today.

68. The end result is a society in which the Spirit is gone. This case is a good example of

   how Wokeness smothers the Holy Spirit. Now a white male with a brown female

   coworker who feels different because of her skin color can’t interact with her out of fear

   of her accusing him under the code, which will result in his death. Now white people

   walk on eggshells around her, and something that wasn’t true becomes true. Now she is

   different because of her skin color, and now she has to use witchcraft, etc.

69. There is no practical difference between Judaism, Marxism and Wokeness. They are

   three words for the same thing, just with different target populations. Marxism targeted



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        poor, working class white people in Eastern Europe, Wokeness targets Black and Brown

        people in America.

     70. There is evidence that Wokeness is merely one component of an unprecedented blitzkrieg

        to implement global socialism, likely planned and prepared for at least 20 years, and

        beginning in earnest in 2020. There is evidence of irregularities in many recent events,

        such as the coronavirus pandemic, the death of George Floyd, the War in Ukraine, the

        modern concept of “domestic terror,” recent gun control legislation, current high levels of

        inflation, impending famine, large-scale censorship and use of “fake news,”

        cryptocurrency, corruption and sexualization of children, and promotion of drug abuse

        among white Americans. See Appendix B.

     71. When these irregularities are examined against the historical record, particularly from

        Germany, we have cause to view current events, along with Wokeness, with heightened

        scrutiny as potential subversive activities designed to weaken or destroy American

        democracy.

                                       SPECIFIC ALLEGATIONS

     72. This case is largely about the condemnation strategy employed by subversives and

        Satanists in the Democratic Party to destroy noncompliant persons. Under the strategy,

        the noncompliant person is tormented and incited towards violence and anger. The

        target’s response to this trap is used as pretext to condemn them publicly, and in

        Plaintiff’s case, to engage in unlawful surveillance.25 (E.g., it is colorable that a person in

        Plaintiff’s shoes would pick up a gun and use it, so the warrant is easily obtained.) If the


25
          A variant of this was used against Donald Trump himself: his response to the highly questionable 2020
election loss—no one is allowed to question whether that was right or wrong—is being used as a basis to exclude
him from the 2024 election, or worse. The Democrats are certainly not blameless for either the January 6, 2021
riot, which was incited to unknown extent by assets in the crowd, or the reason for the riot.

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   target lashes out in anger, or even if they search for answers as to what is happening to

   them—such as by reading Hitler, who discusses these abnormal subjects at length—the

   intelligence community (who has learned this fact through the illegal surveillance that

   they themselves incited) uses it as a pretext to claim that the target is a “terrorist” who is

   “descending into violence,” and then places the target on a watch-list. Normal people

   have no idea what to make of any of it, they can’t believe what the target is saying might

   be true. Now the target’s life falls apart, they get evicted and can’t find work or a place

   to live, because they show up in a background check and are otherwise derided. If the

   target files suit challenging any of this, the target is condemned and mocked as a

   “conspiracy theorist” (if not outright insane, and efforts to support those accusations are

   pursued, see infra) and, if a lawyer, they are disbarred (which means they are disbarred

   for challenging their own unlawful constructive disbarment). Simultaneously disasters

   are manufactured on a large scale, inflation and famine, to force the targets into the

   degrading jobs offered them by the Party, or else starve. Now the target has been

   neutralized, removed from society, and can’t fight the tyranny descending on the country.

   The noncompliant person has become a compliant one, and with these rare people

   subdued, society quickly falls into Satan’s bubbling cauldron.

73. In effect, the Defendants in this suit are engaged in a criminal conspiracy to enslave

   human beings, and their actions should be viewed with the utmost contempt.

74. Plaintiff apologizes for the detailed nature of the factual allegations. Unfortunately, in a

   case like this, there is no way to be concise: any attempt at doing so would be used to

   condemn Plaintiff as a lunatic conspiracy theorist, and the case would be dismissed (and

   Plaintiff ruined) on that basis. Similarly, detailed factual allegations subject Plaintiff to



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        claims of being a bad lawyer, for which he will be similarly condemned. There is really

        no way to deal with this problem, it is an either/or. Plaintiff does not care, and has

        chosen the latter course.

I.      GEORGETOWN UNIVERSITY LAW CENTER.



     75. Plaintiff matriculated at Georgetown University Law Center (“Georgetown”) in Fall,

        2017. Plaintiff attended Georgetown’s top-ranked Taxation LL.M. program.

     76. Georgetown University is the “oldest Catholic and Jesuit university founded in the United

        States . . . distinctive for its longtime commitment to the values of the Jesuit tradition.”26

        “One of the ways [Georgetown] embod[ies] its Jesuit heritage is by making a home for

        all faith traditions.”27

     77. “The Society of Jesus, known as the Jesuits, has been an integral part of Georgetown

        University throughout its history, united in the common spirit of learning and faith that

        characterize the Jesuit educational tradition of curiosity, inquiry, and reason.”28

     78. Unbeknownst to Plaintiff at the time, Georgetown is considered a center of Woke legal

        thought and activism. Several Georgetown law professors were early proponents of

        critical legal studies. It has been in the news several times for questionable personnel

        actions against faculty, including recently for placing Cato Institute scholar and lecturer

        Ilya Shapiro on leave for heroically tweeting about his preference for a common sense,

        racial- and religiously-neutral policy for nominating Supreme Court justices. Yet, in



26
        https://msb.georgetown.edu/about/jesuit-tradition/#
27
        https://www.georgetown.edu/who-we-are/our-catholic-jesuit-heritage/.
28
        https://msb.georgetown.edu/about/jesuit-tradition/#


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        2018, Georgetown did not fire a professor for tweeting that “entitled white men

        [supporting Brett Kavanaugh for the Court] . . . deserve miserable deaths while . . . we

        castrate their corpses and feed them to the swine.”29 In 2020, the Vice President’s

        husband joined the faculty at Georgetown.

     79. By faculty vote in September, 2021, Georgetown became the first top-14 law school to

        adopt a new “institutional learning outcome” in which all students will be expected to

        graduate “with the ability to think critically about the law’s claim to neutrality and its

        differential effects on subordinated groups, including those identified by race, gender,

        indigeneity, and class.” In this new curriculum, first-year law students will learn in their

        property law courses about dispossession and enslavement of native peoples, etc. and will

        be required to take an elective course that “has been certified” by the Associate Dean for

        Equity and Inclusion to “focus on the importance of questioning the law’s neutrality.”

     80. Georgetown has seen a corresponding massive jump in applications.

                                   Plaintiff Flagged as “Subversive”

     81. Plaintiff’s years-long torment at the hands of Woke activists began unknowingly in

        October, 2017, when Plaintiff volunteered for the “Leahy Moot Court Competition,” an

        annual moot court competition put on by Georgetown.

     82. The competition prompt was modeled after Masterpiece Cakeshop, Ltd. v. Colorado Civil

        Rights Commission, 584 U.S. __ (2018). The question presented in the real case was as

        follows (at https://www.oyez.org/cases/2017/16-111):



        Facts of the case


29
        https://www.washingtonpost.com/education/2018/10/02/castrate-their-corpses-professor-says-gop-senators-
white-genocide-tucker-carlson-cries/

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   In July 2012, Charlie Craig and David Mullins went to Masterpiece Cakeshop in Lakewood,
   CO, and requested that its owner, Jack C. Phillips, design and create a cake for their
   wedding. Phillips declined to do so on the grounds that he does not create wedding cakes for
   same-sex weddings because of his religious beliefs. Phillips believes that decorating cakes is a
   form of art through which he can honor God and that it would displease God to create
   cakes for same-sex marriages.

   Craig and Mullins filed charges of discrimination with the Colorado Civil Rights Division,
   alleging discrimination based on sexual orientation under the Colorado Anti-Discrimination
   Act (CADA), §§ 24-34-301 to -804, C.R.S. 2014. After the Division issued a notice of
   determination finding probable cause, Craig and Mullins filed a formal complaint with the
   Office of Administrative Courts alleging that Masterpiece discriminated against them in a
   place of public accommodation in violation of CADA.

   The Administrative Law Judge issued a written order finding in favor of Craig and Mullins,
   which was affirmed by the Colorado Civil Rights Commission. On appeal, the Colorado
   Court of Appeals subsequently affirmed the Commission's ruling.

   Question

   Does the application of Colorado's public accommodations law to compel a cake maker to
   design and make a cake that violates his sincerely held religious beliefs about same-sex
   marriage violate the Free Speech or Free Exercise Clauses of the First Amendment?


83. Plaintiff takes no issue with gay people (and would himself have baked the cake), but

   nevertheless chose to argue for the baker, i.e., for his right to refuse to bake the cake on

   the basis of his interpretation of Christianity. (In the real-life case, the baker won.)

84. Plaintiff’s blind-graded brief scored numerically the Best Brief (adjusting for the 20 point

   discount given by the de facto Woke wingnut judge; e.g. one judge ranked the brief

   “Clear Best,” another ranked it “Second Best” by one point, and the third ranked it near

   the worst, presumably because it expressed Christian ideas effectively).

85. Subsequently, in the non-blind, fully discretionary oral argument round of the

   competition, Plaintiff received essentially across the Board zero scores, and did not

   advance to the second round, again because of the nature of the ideas in his argument.




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86. Under the rules of the competition, it was numerically impossible for Plaintiff to fail to

   advance to the second round. Plaintiff challenged this with Georgetown administrators

   (Maura DeMoy, “Director of Academic Success”) claiming that he was wrongly

   excluded from the competition because he effectively expressed Christian ideas and/or

   conservative political beliefs. Georgetown refused to allow Plaintiff to continue in the

   competition.

87. On information and belief, around that time Woke faculty and administrators at

   Georgetown developed an idea to reverse the facts of the Masterpiece Cakeshop case on

   Plaintiff. Instead of the Christian religion, the rejection would be made on the basis of

   the Woke religion. But the rejection would involve something more important and

   permanent than a wedding cake. And so the torment began.

88. In winter, 2018 Plaintiff enrolled in the Hennessy Moot Court Competition, which was

   specific to an employee benefits topic. Plaintiff captained a team of students. Also in

   winter, 2018, Plaintiff was elected Chair of the Employee Benefits Section of the

   Georgetown University Law Center Tax Council. Also in winter, 2018, Plaintiff began

   an “externship” at Morgan, Lewis & Bockius LLP (“Morgan Lewis”). Morgan Lewis

   has a leading employee benefits practice, and Plaintiff was honored to have earned that

   opportunity, which was the most competitive employee benefits opportunity offered

   through the Georgetown program.

89. On information and belief, on the basis of his merit, ability, work ethic, enthusiasm for

   and commitment to the subject matter, Plaintiff was considered the highest-potential

   employee benefits student in the LL.M. program that year.




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     90. The prompt for the 2018 Hennessy Moot Court competition went even further than the

        2017 competition and required Plaintiff—the sides were assigned rather than chosen—to

        take a public “pro-Trump” position (the issue was whether a 401(k) fund had engaged in

        a breach of ERISA’s fiduciary provisions by removing the “Environmental Fund” and

        substituting it with the “MAGA Fund”).

     91. At that time, Plaintiff was still hiding the fact that he was a Republican from the public

        out of fear of reprisals, particularly with respect to employment and grades. (Plaintiff did

        not vote in the 2016 election for this reason.) The audience for the competition were

        leading employee benefits law practitioners.

     92. After viewing the prompt, Plaintiff perceived of the competition as a kind of trap wherein

        any win would still be a loss. Qui tacet consentire videtur.

     93. Plaintiff soon learned that one of the students on the team had claimed the disability of

        “anxiety” to obtain an extra three-weeks of time on his Fall Semester final exams.30

     94. On information and belief, this student was a Woke activist (“Bolshevik”).

     95. The Bolshevik appeared multiple times to prep and planning sessions visibly impaired

        and seemed to be intentionally sabotaging the team’s efforts and annoying all (for

        example, leaning very close Plaintiff’s face and acting strange, glaring at him with dead,

        glassy eyes, etc.). Plaintiff perceived that there was something not right with this

        individual and with the situation. Accordingly, Plaintiff pulled out of the competition,

        telling this individual to screw-off, and avoiding the trap.




30
         Plaintiff has a low-functioning autistic sister and was offended that this student who was clearly not
“disabled,” and who is now in practice at a prestigious major law firm in New York while Plaintiff rots away in
Woke prison, abused the “disability” label for private gain.

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96. Also during winter, 2018 Plaintiff was enrolled in a 4-credit seminar class taught by

   Henry Eickelberg, the Head of the Employee Benefits Program at Georgetown.

   Unbeknownst to Plaintiff upon enrollment, a requirement of the class was that Plaintiff

   sign a waiver and indemnity consenting to discretionary grading by Eickelberg.

   After the events surrounding the Fall Moot Court competition, the nature of the Hennessy

   Prompt, and the Bolshevik’s behavior, Plaintiff found this to be a particularly bizarre

   requirement and was uncomfortable with discretionary grading. Plaintiff perceived

   another trap and dropped the seminar, choosing instead a slate of blind-graded courses.

97. However, Plaintiff soon learned that Georgetown had engaged a former FBI criminal

   profiler to determine that Plaintiff’s telling off of the Bolshevik amounted to “threatening

   behavior.”

98. In a complaint to the Dean of Students, the Bolshevik falsely claimed that Plaintiff

   appeared at his door and attempted to break in to physically assault him. Plaintiff denied

   this and demanded Bolshevik produce evidence of this, such as any CCTV footage,

   which he could not do despite the fact that his residence was under surveillance.

99. Plaintiff was cleared of the false charges in full, but required to attend mandatory anger

   management counseling during Spring Semester, 2018, which he complied with.

100.       Plaintiff graduated from Georgetown in May 2018, with distinction (3.70 GPA).

   Again, Plaintiff had averted definitive condemnation.

101.       In May, 2018, disappointingly, Plaintiff learned that he would not be hired by

   Morgan Lewis.

102.       On information and belief, as a result of the Bolshevik events, Plaintiff was (at a

   minimum) flagged as a “threat” to the legal industry by and through a Public-Private



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        partnership known as “Infragard”, which at that time operated an industry-specific

        infrastructure security program via the Federal Bureau of Investigation (FBI).

     103.        On information and belief, FBI surveillance of talented conservative law students

        (considered “subversives, altrightists, racists and fascists”) is triggered if they show “(a)

        Evidence of emotional instability (including unstable residence and employment record)

        or irrational or suicidal behavior; (b) Expressions of strong or violent anti-U.S. sentiment;

        (c) Prior acts (including arrests or convictions) or conduct or statements indicating a

        propensity for violence and antipathy toward good order and government.”31

     104.        On information and belief, Georgetown evaluated Plaintiff as a high-potential

        Christian and/or political conservative attorney (a “subversive”). Because such people

        are the greatest danger to Marxist organizers, Georgetown engaged in efforts to sabotage

        Plaintiff’s career and placed him in both governmental and quasi-governmental

        surveillance programs, from which he has never escaped.

     105.        On information and belief, Plaintiff is considered a unique case because he

        possesses these “subversive” beliefs, but is also intelligent enough to work in high levels

        of the legal profession.

     106.        A popular tactic used by the FBI, pioneered through the COINTELPRO program

        for destroying “subversives” like Plaintiff is to intentionally goad them into violence,

        which can be used to discredit them (and by extension, their beliefs) later. On

        information and belief, Georgetown laid such traps for Plaintiff, which he avoided.




31
         1967 U.S. Department of Justice, Federal Bureau of Investigation and Secret Service criteria for
surveillance of individuals. On information and belief, because Georgetown has high-level politicians and judges
speak on campus, all students are covered by a modern agreement similar to this.

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     107.        On information and belief, the point of the Infragard legal infrastructure program

        is to flag conservatives that are likely to oppose efforts to establish a Communist Party

        infrastructure in America. (Such as, for example, through working on a sensitive

        transaction that would tend to give away the fact that American democracy is at risk.)

        Accordingly, such lawyers are viewed as a “threat,” despite the fact that the real threat is

        the efforts to establish a Communist Party infrastructure. (On information and belief, the

        reason the FBI has offices at Perkins Coie is related to these efforts, and at this point the

        overlap between the legal industry and DOJ may be quite advanced.)

     108.        Eickelberg is primarily responsible for the career outcomes of students in the

        employee benefits concentration at Georgetown. On information and belief, at the

        relevant times Eickelberg was employed by General Dynamics, a leading defense

        contractor, and was a member of Infragard.

     109.        Because Plaintiff had avoided definitive condemnation at Georgetown, efforts to

        exclude him from the profession needed to continue into his post-graduate employment.

                  First Presentation of Sabotage in Employment (RSM US LLP)

     110.        During the Spring exam period, Plaintiff received an unsolicited contact from a

        recruiter at RSM US LLP (“RSM”) about a job in the firm’s Washington National Tax

        Department, a prestigious opportunity.32 After exams, Plaintiff scheduled an interview

        with RSM.

     111.        The day after commencement, Plaintiff interviewed with RSM and got the job,

        which, after a period of interviewing at and being rejected from law firms, Plaintiff took.




32
       Most large accounting firms employ a staff of tax lawyers and accountants, traditionally operating out of
Washington, DC, to handle complex, technically rigorous or abnormal tax issues presented by clients.

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112.      At RSM, Plaintiff worked hard and was a strong performer, vastly exceeding his

   billable hours quota (nominal and realized hours) and handling complex assignments

   effectively from the get-go. Plaintiff worked on transactions valued up to $1 billion and

   was well-liked by colleagues.

113.      For example, despite being a relatively junior practitioner, Plaintiff was assigned

   the task of educating the field tax staff on all of employee benefits law, with an eye to

   training them to spot complex issues in returns and bring them to the attention of

   National Tax. In November 2018, Plaintiff created and taught two sessions of a 4-hour

   course providing an overview of the entirety of employee benefits tax law, receiving all

   4-5 star ratings from the audience and receiving overwhelmingly positive feedback.

114.      Strangely, after this, RSM’s demeanor to Plaintiff soured considerably.

115.      In December, 2018, Plaintiff attended another training with field tax in Tysons

   Corner, VA. The session seemed to have no legitimate purpose. On information and

   belief, a Black lawyer (Paul White) from the law firm Ropes & Gray (the “Agent”)

   attended the session posing as an RSM field tax employee. Agent sought out Plaintiff

   and sat next to him, and followed him around during breaks. Agent asked Plaintiff

   whether he thought he (Agent) would ever be able to get a job at Ropes & Gray,

   ostensibly evaluating Plaintiff’s response for racism (i.e., whether Plaintiff would make

   some kind of off-color remark that this would be impossible because he was Black,

   which Plaintiff did not do).

116.      Although Plaintiff worked with RSM staff from all over the country and Toronto,

   Canada, at no time was Plaintiff allowed to do work with RSM employees based out of

   the New York office, despite his being admitted to practice law there and being a native.



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        During the part of the December training involving interaction with staff in RSM’s New

        York office (via webex), Plaintiff was pulled out of the training and into a kind of “fire

        drill” assignment.

     117.        On information and belief, the point of the training was for Plaintiff to be

        evaluated by a Woke activist/FBI Agent regarding whether Plaintiff was cleared to enter

        the NY legal market, his desired destination.

     118.        Soon after the December training, without any connection to reality, Plaintiff was

        placed on a “Performance Improvement Plan” (PIP), typically considered a first-step in a

        termination action. Plaintiff’s performance had been very good by any measure, and this

        was obvious and demonstrable. The write-up for the report contained bold-faced lies and

        defamatory statements that enraged Plaintiff.33

     119.        Plaintiff perceived of the PIP as more of the same meddling, traps and chicanery

        he had experienced at Georgetown and throughout his tenure at RSM. Plaintiff refused to

        sign the report as drafted and demanded it be amended, being as it was that it contained

        so many demonstrable falsehoods. Removing the lies would have nullified the PIP.

     120.        For this, Plaintiff was terminated from RSM in January, 2019.

     121.        On information and belief, Infragard member Eickelberg arranged the RSM job

        for Plaintiff as a means of either condemning Plaintiff or otherwise clearing him of the

        “threat” designation related to his political and religious beliefs. As it happened the RSM

        termination was not conclusive in either direction.




33
          It is entirely possible that Plaintiff had been deemed “allowed” into the New York market by Agent, and
Plaintiff’s supervisor was merely preparing him for that environment. RSM has not been named.


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122.       Woke activists at Georgetown or Eickelberg knew that they had to do something

   with Plaintiff until at least 2020; i.e., to run out the clock on the Trump presidency, after

   which time corruption would be such that Plaintiff could be permanently excluded.

123.       Plaintiff hired employment counsel over the termination, but ultimately concluded

   that he was better off letting it go and did not file a complaint for discrimination.

   Plaintiff learned that becoming angry over a trap is itself is a trap (a trap within a trap).

124.       The statute of limitations on the discrimination claims at RSM expired in early

   July, 2019.

125.       After the statute of limitations expired, Plaintiff saw immediate movement on the

   job front. Plaintiff had applied to all available employee benefits associate attorney jobs.

             Shipman & Goodwin Selected as Venue for Coup de Grace

126.       On June 27, 2019, Plaintiff observed a new posting for an employee benefits

   associate job at a law firm Shipman & Goodwin LLP through the Georgetown alumni job

   board. He submitted an application.

127.       In June, 2019, Plaintiff interviewed with a law firm in Baltimore, MD called

   Miles & Stockbridge P.C. Plaintiff advanced to final round interviews, and was surprised

   that many of the interviewers were relatively junior female associates.

128.       In being rejected for the job, the recruiting coordinator told Plaintiff that “the

   good news is that the female associates you interviewed with felt comfortable that they

   could work with you late into the night.”

129.       Plaintiff was so disturbed by this statement that he contacted a well-connected

   lawyer at Morgan Lewis about it and inquired with her as to whether false rumors had




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        spread or were spreading that Plaintiff was in some way a danger to women in the

        workplace, and whether this was why Plaintiff was still unemployed.

     130.        Plaintiff was comforted to learn that no such false rumors had spread.

     131.        At that same time, Plaintiff emailed Eickelberg and pleaded with him to leave him

        alone and let him escape the DC area.34

     132.        Within a week, Plaintiff was contacted for an interview at Shipman & Goodwin

        LLP in Hartford, CT.

     133.        Unbeknownst to Plaintiff, Eickelberg was a crony of Alan Lieberman, a leading

        tax lawyer in the state of Connecticut and, at that time, the Managing Partner of Shipman

        & Goodwin LLP (“Shipman”).

     134.        At the relevant times, Lieberman was counsel to General Dynamics’ Electric Boat

        division, based in Groton, Connecticut.

     135.        On information and belief, both Eickelberg and Lieberman are members of

        Infragard, at a minimum.

     136.        On information and belief, the intent of the Shipman transfer was to evaluate

        Plaintiff for the New York legal market once again. The lesson learned from Plaintiff’s

        tenure at RSM was that Plaintiff would most likely be difficult to disqualify on the basis

        of performance; thus, if Plaintiff still presented a “threat” (i.e., would not adopt Woke

        ideology), a character-related reason would be needed to eliminate him.

     137.        On information and belief, Shipman drafted Connecticut’s sexual harassment law,

        which requires among other things that employees of private employers attend sexual

        harassment trainings which Shipman (and others) conduct and for which the trainers


34
         Plaintiff assumed at that time that whomever or whatever he had tangled with were operating out of the DC
area only, and that their reach did not extend to smaller markets in the Northeast.

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         receives compensation. Shipman’s employment lawyers, in particular Dan Schwartz, are

         some of the best in the state and are experts in sexual harassment law.

      138.       Unbeknownst to Plaintiff, Shipman is about as involved with the activities of the

         far-left as is even possible, and are skilled in particular at faking things to serve the

         objectives of the far-left. Because of this fact alone, Plaintiff could never have become a

         partner there.

      139.       On information and belief, Eickelberg approved of Plaintiff’s transfer to Shipman

         because Connecticut is so vastly corrupted that it was the safest place for Plaintiff to be

         sent for the coup de grace (if it was necessary), i.e., a false accusation of sexual

         harassment, which would end Plaintiff’s legal career.

II.      SHIPMAN & GOODWIN LLP; NEHA PARIKH.

      140.       Plaintiff interviewed with Shipman & Goodwin LLP (“Shipman”) in July, 2019.

      141.       Plaintiff provided references, including his contacts at Morgan Lewis, applied for

         a Connecticut law license, and was offered a job as a partnership-track first-year Tax &

         Employee Benefits associate at Shipman.

      142.       In early August, 2019 Plaintiff relocated from Washington, DC to Hartford, CT.

      143.       On August 11, 2019, Plaintiff commenced employment at Shipman.

      144.       In the words of Plaintiff’s supervisors, “Joe has been a great addition to the

         Employee Benefits side of the Tax & Employee Benefits Practice Group. Joe is very

         smart, an excellent researcher of issues, a very good writer and speaker, and for the most

         part quite organized and good at juggling multiple projects. He is a very quick study and

         produces very detailed, extensive and thorough analysis of issues, and very thorough

         written work. . . . Joe is a hard worker and he shows great enthusiasm for the subject area



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   and the projects assigned to him . . . Joe assisted the corporate and tax teams on very

   complicated benefits issues on [an important transaction] and his analysis of the issues

   and input with respect to potential solutions were instrumental . . . Joe is serious about his

   work (and about doing a good job), works long hours, and is willing to lend a helping

   hand on team projects. He has been instrumental in several alerts and blog posts that our

   practice group has done. He also presented very well at a client seminar our group held .

   . Joe is involved in firm-wide activities such as [pro bono volunteering commitment

   (tutoring inner-city kids in math)] . . . which he takes seriously. . . Joe gets along well

   with his co-workers in the firm . . . [and] ‘brings a professional maturity to the table

   which . . . is an asset. His poise is one of confidence with appropriate deference and an

   unassuming manner. Joe is personable at the Firm, and [corporate relationship partner]

   would have no issues putting him in front of a client. He is focused and committed. . . .’”

   Performance evaluation of September 30, 2020.

145.      However, to be fair, “[t]here are times when a ‘pencils down’ attitude would serve

   Joe well . .. Joe is aware of this and working to find a balance between quality and

   efficiency . . . [On] more recent deals, Joe has been noticeably less responsive . . . Joe is

   bright and does excellent work, but moving forward he needs to focus on his

   responsiveness and communications with partners.” Id.

146.      At Shipman, Plaintiff was a strong performer, was (superficially) well-liked by

   supervisors, staff, and other associates, worked very hard (nights and weekends), was

   competent and productive, volunteered for pro bono activities, and was for all intents and

   purposes a model employee.




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147.      Plaintiff worked through most of COVID-19, which he came down with during

   the first week of the pandemic, and billed hours on the day of his grandfather’s funeral,

   even leaving his wake to field a conference call. The only time Plaintiff took time away

   from work was during the acute phase of COVID and when in the weeks thereafter he

   started turning blue.

148.      Although compensated as a first-year associate, Plaintiff’s was able to perform

   highly complex work, and his time was billed at the hourly rate of a third-year associate.

                            Wokeness and DEI at Shipman

149.      Shipman & Goodwin LLP (“Shipman” or “the firm”) is a law firm in Hartford,

   CT.

150.      Shipman represents many agencies and departments of the State of Connecticut,

   including many public schools and school boards, and is for all intents and purposes a

   major government contractor and an instrumentality of the State of Connecticut.

151.      Other than one partner, every lawyer that Plaintiff directly worked around at

   Shipman was either a person or color or Jewish.

152.      On information and belief, Plaintiff was the only Republican attorney at Shipman.

153.      On information and belief, Plaintiff’s religious and political affiliation were told

   to Shipman by Georgetown.

154.      Because Plaintiff is not a hateful person and troubles no one about their religion,

   and naively believed the converse was true, Plaintiff did not see any danger presented by

   the racial, political and religious composition of the law firm and was grateful for the job.

155.      At Shipman, Plaintiff always went out of his way to hide his religious and

   political affiliation (for example, at Happy Hours or luncheons, joining in jests made



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   about then-President Trump and making jokes), but these characteristics are apparent

   from his day-to-day behavior, appearance, intellectual style and general manner of being.

156.      Shipman’s main service lines are School Law, Employment Law, Municipal

   Finance, Healthcare, and Environmental. As discussed in Appendix A, each of these

   service lines are intimately connected to the “Woke” or “Sustainable” agenda of the “far-

   left”, which has as its main intention the imposition of global socialism and the formation

   of a system of Soviets in the United States.

157.      For an example of the type of day-to-day revolutionary activities being

   undertaken, Hartford Healthcare, a Shipman client, has recently been sued by St. Francis

   Hospital (Christian affiliated), another hospital system in Hartford which Shipman does

   not represent, for engaging in alleged violations of the antitrust law related to its

   “campaign of exclusion, acquisition and intimidation that has caused serious harm to

   health care competition and consumers in the Hartford, Connecticut area” during the

   pandemic. See St. Francis Hospital v. Hartford Healthcare Corp., 22-cv-00050-AVC (D.

   Conn. 2022). State-sponsored healthcare is critical in Marxist organizing for a number of

   reasons, primarily to condemn and subdue dissidents. See Appendix A.

158.      Because Plaintiff is not “in” on these activities (or at least is the type of outsider

   that might be able to deduce their true import), Plaintiff was “shut off” from a vast

   amount of business at Shipman and had no real ability to ever make partner there.

   Plaintiff’s tenure at Shipman was designed to be temporary from the start.

159.      Shipman’s current Managing Partner, Leander Dolphin is a leading figure in the

   Diversity, Equity and Inclusion community in the Connecticut area and nationally.




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160.      Under Dolphin, who took the helm on January 1, 2021, Shipman has taken an

   unapologetic stance that it will be a “politicized” workplace where individuals who do

   not support Woke ideas are not welcome.

161.      For example, in a “Legal Collaborative for Diversity” zoom teleconference on

   February 24, 2021 where she was a panelist, and in which the Mansfield Rule, among

   other things, was discussed, Dolphin and others vigorously discussed strategies for

   circumventing Title VII of the Civil Rights Act in firing high performing white

   employees. In response to the following prompt from “Marcus Peters” (Plaintiff), “If you

   have a majority non-diverse workforce with high performing employees and there isn’t

   sufficient growth in the business to increase overall headcount, what are some strategies

   for creating headcount flexibility for more diverse hiring without violating the rights of

   the white employees?”, Dolphin and others enthusiastically talked about tearing down

   whites through a variety of surreptitious means. It was considered a great question.

162.      Dolphin and others also vigorously responded to the following question posed by

   “Marcus Peters” (Plaintiff) “What is a good message to employees who say that making

   race or gender a consideration in employment decisions is wrong, no matter if it benefits

   diverse candidates? Do they have a point, that making race a consideration is wrong, for

   better or worse?” that, although avoiding discrimination is important, an issue like this

   really relates to the company’s values (implying that at Shipman, this is the norm).

163.      In the same conference, in response to a question from “Theresa Guertin”

   “Similar question to Marcus – what would the panelists recommend to say to colleagues

   who feel like it isn’t an employer’s “place” to discuss racism (or gender inequality, or

   other social justice issues) in the workplace through town halls or other open forums”



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   Dolphin responded that “This really relates to the company’s values. If the company has

   prioritized diversity, equity and inclusion, it is important to have courageous

   conversations so that societal and workforce changes could happen.”

164.       As another example, on information and belief, Shipman hired one of the 5% of

   Coinbase employees that voluntarily resigned after the Company announced in October

   2020, that it would commit to an “apolitical workplace” where people of all ideologies,

   faiths and denominations are welcome, and Wokeness will take a back seat to actual

   work.

165.       Shipman is so committed to building a political and religious extremist workplace

   culture that in 2021 it went as far as to hire this Colorado-based individual in a remote

   work arrangement, on information and belief, principally because of his commitment to a

   Woke workplace.

166.       Many of Shipman’s attorneys go on to work in other far-left rackets. For

   example, a Black female attorney left the firm mysteriously during Plaintiff’s tenure and

   went to work for the Connecticut Department of Energy and Environmental Protection,

   despite ostensibly not having any experience in that field.

167.       Plaintiff was never told that his race, religious or political affiliation would be a

   problem for him at Shipman, and if he had been told, he would not have taken the job.

168.       The reason Plaintiff was not told that his race, religion or political affiliation

   would present a problem vis his future at the firm (or as a lawyer generally) was because

   Shipman fully intended to destroy Plaintiff’s career in ritualistic, occult-like fashion from

   the get-go, and didn’t want to scare Plaintiff away from walking into the trap.




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169.      On information and belief, despite his strong work performance and obvious

   potential and high intellect, Plaintiff is the only Shipman alumnus that worked at the firm

   during Plaintiff’s tenure who is not currently practicing law.

170.      On information and belief, Plaintiff is at least as talented and qualified, if not

   significantly more so, than any of these other employed alumnus.

171.      On information and belief, Plaintiff’s unemployment has nothing to do with his

   lack of merit or his actions, but rather because he did not demonstrate commitment to,

   and behaviors consistent with, Woke ideology (i.e., he refused to renounce the cross).

172.      At Shipman, a primary determinant of advancement is commitment to Woke

   ideology, and willingness to commit unethical acts in service of Wokeness.

173.      Because he did not renounce the cross, Plaintiff’s professional and moral

   character has been massively defamed by Shipman to all other employers, legal and not,

   directly or indirectly, with actual malice and intent to permanently exclude him from the

   profession.

                            Neha Parikh as Woke Activist

174.      In early September, 2019, the other first-year associates commenced employment

   at Shipman. One of them was Neha Parikh.

175.       Ms. Parikh is a 2019 graduate of Boston College Law School and a 2014

   graduate of Rutgers, where she studied public policy and planning.

176.      On information and belief, at Rutgers, Ms. Parikh participated in the Model UN.

177.      On information and belief, through the Model UN, Ms. Parikh began being

   introduced to the “hard stuff”, i.e. Agenda 21 and other wingnut-level Woke and/or

   Marxist propaganda, which was then supplemented by her public policy coursework.



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178.      Ms. Parikh comes from a split non-bourgeois/bourgeois background. The

   bourgeois part is a secret that Ms. Parikh hides from other Bolsheviks.

179.      Ms. Parikh is an Indian woman. The Indian-American voter market is very

   important to Woke activists because Indian people are a “wildcard.” Hinduism is a

   religion which deals with the realm of spirit and is therefore compatible with Christianity

   (Gandhi, for example, spoke highly of Christ and the principles expressed in the Sermon

   on the Mount), the caste system placed primacy on spiritual leadership, Catholicism is

   popular in India, and on the secular front, India’s president (Modi) is a “nationalist”, and

   even Hitler’s ideas (many Indians are “Aryan”, and the swastika is a Hindu symbol) are

   popular there.

180.      It is imperative for purposes of imposing global socialism that India align with the

   global left. Indian women are apparently being targeted by Woke propagandists to make

   this happen. India has a large military and imposes a strategic threat to China in the event

   of a Chinese incursion into Russian territory. A sovereign, nationalist, Christianity-

   friendly India can check and hold China by tying up significant Chinese assets in the

   South. If India falls to socialism, however, Russia (the last bastion of Christian

   civilization) will be less likely to resist the planned balkanization.

181.      Given that Ms. Parikh demonstrated receptivity to Woke evangelization at an

   early age, is fluent in Hindi and Gujarat, is attractive, has a brain and a colorably non-

   bourgeois background, Woke activists have high hopes for her future and are actively

   promoting her. Because of this, Ms. Parikh is effectively above the law, and certainly

   cannot be guilty of unethical or racist actions.




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182.       For example, the South Asian Bar Association of Connecticut (SABAC) named

   Ms. Parikh to its Board within months of her earning a law license. Plaintiff’s

   termination was even exploited for its propaganda/evangelization value when on January

   14, 2021, Ms. Parikh moderated a conference through SABAC titled “Breaking Through

   Ceilings: A Fireside Chat on Gender & Cultural Barriers in the Legal Profession.”

183.       The “fireside chat” Ms. Parikh moderated takes on the character of a “reward” for

   her Bolshevism, and occurred in conjunction with her election as Treasurer of SABAC.

   In effect, Woke activists at Shipman and in SABAC compensated Ms. Parikh with a

   boost in her “street cred” for eliminating Plaintiff and breaking through the “ceiling”

   imposed by his existence. (In reality, though, the panel was just to cement Ms. Parikh’s

   complicity with the termination decision by making her take a public position on it,

   explain away Plaintiff’s termination to other employees at Shipman (Plaintiff, a

   “mediocre”, privileged white male, was “outcompeted”), while simultaneously exploiting

   Ms. Parikh’s person for a cheap propaganda opportunity.)

184.       At Shipman, Ms. Parikh was preceded by another treasurer of SABAC who was

   an employee benefits associate attorney (Plaintiff’s predecessor) and who now works in

   New York. The partners at Shipman were all too happy to punch both of their tickets into

   New York, but not Plaintiff.

185.       On information and belief, Ms. Parikh has publicly adopted “Wokeness” as her

   religion and actively practices it.

186.       Using the Woke religion and its witchcraft, Ms. Parikh has achieved the God-like

   power of life or death over Plaintiff (rather than using other, comparatively reasonable

   mechanisms). If she decides that Plaintiff’s career is permitted to continue, it will be so.



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187.       Ms. Parikh is an excellent example of a good person who has been misled by

   Woke propaganda. The complexity of this fact pattern (and of the situation in the country

   broadly) is mostly the result of the fact that Ms. Parikh has done something terrible to

   Plaintiff, but did it for reasons which she most likely considered to be “good” or “right.”

188.       On information and belief, Ms. Parikh was led to believe by partners at Shipman

   and other Woke activists within and without Shipman that:

          white, European, Christian people are “bad” and that “whiteness” is “bad;”

          the society created by white, European, Christian people is “systemically racist,”

           limits her potential, and causes her to be viewed as inherently less than other

           people because she has brown skin;

          the only way to eliminate “systemic racism” is with “antiracism;”

          when pursuing the racial and policy goals of Wokeness, the “ends justify the

           means;”

          if she publicly supported Plaintiff’s disagreement with Wokeness, she would

           suffer material financial and other career-related penalties;

          if she took action to penalize Plaintiff for his views, she would be rewarded with

           increased job security, increased pay, better and more sophisticated work

           assignments, Plaintiff’s job, and a ticket to New York;

          in a system in which merit is the primary determinant of individual advancement,

           she would never have been able to outcompete Plaintiff; and that

          using her physical beauty as a trap to ensnare high-potential white, European,

           Christian men and then removing them from society with lies, slander and

           defamation about sexual misconduct is not only appropriate, but commendable.


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189.       On information and belief, the characteristics of “whiteness” that Ms. Parikh has

   been led to believe are “bad” and “systemically racist” are actually just attributes of

   Christianity and the system of morals, ethics, and values created by protestant or

   “reformed” Christianity.

190.       On information and belief, Infragard members at Shipman, such as Lieberman,

   Dolphin or Joette Katz, asked Ms. Parikh to create a pretext to ruin Plaintiff’s life with

   lies.

                              Friendship with Ms. Parikh

191.       Plaintiff met Ms. Parikh through work in September, 2019.

192.       Almost immediately Plaintiff and Ms. Parikh developed a strong rapport.

193.       Ms. Parikh is from a conservative family and is very close with her parents, whom

   she talks to daily. On information and belief, her brother is married to a white, Catholic

   woman of Polish descent. She attended Boston College Law School.

194.       Ms. Parikh is “high maintenance” and “neurotic.” For purposes of illustration,

   she threatened to sue an upstairs neighbor for nuisance on the grounds that his walking

   around his apartment at night bothered her. As another example, during law school she

   demanded that her landlord dispatch a pest control crew to capture a fly which was

   buzzing around her room while she was studying during exams, which bothered her.

195.       In the firm sponsored sexual harassment training in September, 2019, Ms. Parikh

   sat next to Plaintiff with a curious smile on her face as he asked the trainer whether

   anyone had ever argued that the sexual harassment law violates the Obergefell v. Hodges

   holding that “love” is a Constitutional right.




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196.        Ms. Parikh confided in Plaintiff that others around the firm made her feel different

   because of her skin color and ethnicity, but that Plaintiff did not. For example, Plaintiff

   openly joked with her about a vanity plate on her car which made it apparent to all that

   she has a “crazy” or possessive, very Indian father. As another example, the day after

   Diwali, 2019, Plaintiff caught her in the garage and flashed his warning strobe lights in

   recognition of the holiday, which amused her. On information and belief, she perceived

   that Plaintiff does not come from a particularly different family background than her.

197.        Ms. Parikh began following Plaintiff around, suggesting he do things, and

   hovering over him and monitoring his interactions with others, much like an obsessive

   girlfriend. For purposes of illustration, one morning in early December, 2019, as

   Plaintiff was exiting Interstate-84 near the office and parked on the off-ramp at a stop

   light, Plaintiff observed Ms. Parikh’s vehicle in the other lane several cars in front of him.

   The lane Ms. Parikh’s vehicle was in results in entry to the parking garage from the rear,

   while the lane Plaintiff’s vehicle was in results in entry to the garage from the front.

   Plaintiff observed Ms. Parikh acknowledge his vehicle, wait for him to pass, then swerve

   directly behind him (cutting off the line) such that she would enter the garage directly

   behind him and thus park directly next to him, which she did nearly every day. Plaintiff

   thought this was an extremely insane, cartoonish gesture.

198.        Plaintiff began to like Ms. Parikh and developed a very strong, intuitive sense that

   she would be important to his future. Plaintiff stopped being interested in other women.

   Plaintiff thought it equally plausible that Ms. Parikh was (a) either the “honeytrap” hinted

   at in the Miles & Stockbridge interview, or (b) his future wife. He began scanning for

   clues.



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199.       At a Shipman function in November, 2019, Ms. Parikh made a deliberate and

   suggestive gesture to Plaintiff that made him think she wanted to spend time outside of

   work. After that, Plaintiff and Ms. Parikh began to email off-hours. On one occasion,

   when Ms. Parikh was sick, Plaintiff offered to bring her soup. Plaintiff offered to

   undercoat her vehicle before winter. On snowy mornings, Plaintiff offered to drive her

   in, because his vehicle is equipped with 4x4. Ms. Parikh invited him to her apartment to

   help her assemble furniture, but only in the presence of a witness. Plaintiff declined.

   Plaintiff invited her out to lunch alone, she accepted, but Plaintiff cancelled because of

   work emergency.

200.       At a Shipman holiday party in December, 2019, Ms. Parikh wore a mesh, semi-

   translucent top and invited Plaintiff to attend an after-party with another female associate

   (i.e., a witness), but Plaintiff declined.

201.       Plaintiff was encouraged by one of his supervisors (Hathorn) to attend the party

   early and drink heavily, but Plaintiff declined, returning back to his desk to complete a

   time-sensitive assignment before rejoining the party.

202.       At the party, Plaintiff observed that Ms. Parikh was only interacting with other

   avowed Marxists, behaved in an unusual or standoffish manner, and accordingly Plaintiff

   only spoke to her group briefly, did not comment on her attire, and declined the after-

   party invitation.

203.       In December, 2019, while he was pulling in to the parking garage one morning,

   Ms. Parikh’s car pulled out of a parking spot on the street in front of the garage and in

   front of Plaintiff, such that Plaintiff’s vehicle entered the garage directly behind hers.

   Plaintiff thought this was odd and deliberately parked far away from her. As Plaintiff



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   was entering the building from the garage, an attorney who is a former Connecticut State

   Police officer, and an expert on sexual harassment law, appeared mysteriously out of a

   corner of the garage, and then on the next floor up, two more attorneys (Woke), who do

   data privacy work, appeared out of hiding spots and took their places behind Plaintiff.

204.       On information and belief, the bizarre garage interaction and the Holiday

   Party/after party were designed to be staged incidents of sexual harassment, which

   Plaintiff evaded.

205.       After these strange events, Plaintiff was leaning towards “honeytrap” and kept

   Ms. Parikh at arm’s length for a while.

206.       After early December, the odd events stopped, Ms. Parikh appeared genuine and

   normal, and Plaintiff dismissed his skepticism as paranoid delusions. He asked Ms.

   Parikh out for a date Saturday, January 25, 2020, and she said yes.

207.       Plaintiff asked her out by email on the firm’s computer system, and in response

   she provided her personal phone number, where the two texted planning specifics such as

   arrival time, etc.

208.       Immediately prior, Plaintiff (with partners in the employee benefits department)

   had presented a well-received webinar and published a well-received article about recent

   legislation. Ms. Parikh would have thought, given all that, that Plaintiff would not be

   purged, and that she would thus not need to play the role of “honeytrap”/crisis actor.

209.       Plaintiff took Ms. Parikh out for drinks, caught a late showing of the movie 1917,

   and then went back to her apartment, where they were up until 5am talking. A very good

   date. At the end of the date, Plaintiff tried to “make out” with Ms. Parikh, and she

   brushed him off. Plaintiff confessed that he liked Ms. Parikh and she told him that she



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   was difficult, would likely never marry, that she comes from a culture of arranged

   marriages, and that he would have to at a minimum stop seeing all other women. The

   gist of her comments was that to her a commitment to dating involves a larger

   commitment. Plaintiff told her he would jump through the required hoops. She told

   Plaintiff that she had done something extremely terrible to an ex-boyfriend, but didn’t say

   what. She expressed reticence that seemed to be related to her lack of clarity on whether

   she was “allowed” to date Plaintiff, which Plaintiff thought odd.

210.      On information and belief, Ms. Parikh broke character the night of January 25-26.

                         Mansfield Rule, Formation of Motive

211.      The next day Plaintiff texted Ms. Parikh and told her what a good time he had.

   They agreed to keep things professional for now and Plaintiff told her he would wait for

   her, and she responded with hearts and kissy face emojis, etc.

212.      The two texted intermittently over the next week off hours. On one evening Ms.

   Parikh complained that there were no emojis reflecting an Indian skin tone, and that this

   was probably because Indian women are marginalized globally. Plaintiff joked that they

   should sue Apple together, and told one of his former employers, a solo employment law

   practitioner, that he should sue Apple over it.

213.      A week later there was a happy hour at a local bar. Ms. Parikh acted strangely,

   was glaring at Plaintiff from across the room with crazy eyes as he talked to other

   associates, and Plaintiff kept his distance from her. Ms. Parikh showed Plaintiff an

   application on her phone that tracks the location of her family members’ vehicles,

   ostensibly because she was monitoring the location of her cousin whom she was going to

   babysit. As she was leaving Plaintiff told her to drive safely and to text him when she got



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   to her next destination, a half hour drive, concerned that she had been drinking and that

   the roads were icy. When she arrived at her destination, she texted Plaintiff that his

   attention was making her feel “uncomfortable.” Plaintiff was hurt and confused by this

   and didn’t know what to make of it, and backed off. He believed she was just testing

   him, and he invited her to a superbowl party, to which she did not respond.

214.      A week later, in early February, 2020, Shipman debuted a series of “trainings” for

   junior associates in which associates such as Plaintiff were examined for their thoughts

   and opinions on Diversity, Equity and Inclusion (DEI) by the Firm’s Chief Talent

   Officer, Christina Hermann.

215.      In the February, 2020 “training”, Plaintiff was asked about his thoughts on DEI.

216.      In the February, 2020 “training” Plaintiff’s response to the question about DEI

   superficially paid lip service to the idea but betrayed his underlying disagreement with

   entire concept, and drew crazy eyes from Ms. Parikh. Plaintiff had no idea whatsoever

   about how much was going into DEI around that time, or what a big deal it would be to

   take a position that was anything other than glowing about it.

217.      On the January 26, 2020 date, Plaintiff explained at length his ideas about DEI,

   which are sourced in Christianity, and Ms. Parikh appeared amazed by what Plaintiff was

   saying about the subject.

218.      On the January 26, 2020 date, Ms. Parikh did not warn Plaintiff about what would

   happen to him if he did not take the correct position on DEI.

219.      On information and belief, Ms. Parikh came to view the situation as, unless he is

   able to publicly articulate a very good reason for objecting to DEI, the partners at

   Shipman would not clear him for advancement and she would have to play “honeytrap.”



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220.      Shipman is an adopter of the “Mansfield Rule” and seeks its highest certification

   level annually. The certification is awarded by a company called DiversityLab. Under

   the Mansfield Rule, a certain percentage of billable work in each practice area must be

   allocated to women or persons of color. The percentage increases each year.

221.      On information and belief, because of the dictates of the Mansfield Rule and the

   composition of the employee benefits department at the relevant times, it was impossible

   for Shipman to employ a full-time white, European, Christian, heterosexual male

   employee benefits associate.

222.      Law firms participating in the Mansfield program are required to maintain

   detailed spreadsheets regarding the firm’s compliance with the rule.

223.      After joining the firm, Ms. Parikh went to work in the Corporate Trust

   department. Although the work in this department is steady and lucrative, Ms. Parikh

   was disappointed with doing this kind of work, which largely involves copying and

   pasting from templates and assembling documents as quickly as possible.

224.      In law school, Ms. Parikh had worked in a clinic where she learned basic entity

   formation and capitalization, presumably as a primer to work on venture capital

   transactions. In addition, Ms. Parikh interned with a State of Massachusetts agency

   where she performed health and welfare benefits assignments.

225.      As a summer associate, summer 2018, Ms. Parikh worked regularly with a

   Radhika Tahiliani, Plaintiff’s predecessor, who was an executive compensation and

   employee benefits associate, and now practices in that area at a large law firm in New

   York. Ms. Tahiliani is also a SABAC member and was its Treasurer, which is the role

   now held by Ms. Parikh.



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226.      On information and belief, the Mansfield Rule contributed to Plaintiff’s ultimate

   termination in so far as Neha Parikh became the person of color that was allocated the

   work, and which thereby incentivized her subsequent behavior, directly or indirectly.

227.      On information and belief, the first project Ms. Parikh performed in the employee

   benefits department was an Employee Stock Ownership Plan (ESOP) transaction in

   March, 2020, while Plaintiff was sick with COVID-19.

228.      In a meeting on March 11, 2020, Plaintiff was forced to attend a philanthropy-

   related meeting with Ms. Parikh in which she made clear to the group that, in New York

   the prior weekend, she had been up until 4am with friends.

229.      On information and belief, as far back as March, 2020, Ms. Parikh was aware that

   she was going to get Plaintiff fired, and was already pleading her case to colleagues in

   one way or another (i.e., that the two had not gone on a date at all, that Plaintiff was a

   creepy stalker and no harm, no foul for what she intended to do).

230.      Plaintiff’s supervisor at RSM was a leading specialist in ESOP transactions.

231.      Shipman has an informal policy of providing associates one-year rotations in

   different departments. On information and belief, Ms. Parikh’s rotation in the Corporate

   Trust department was due to expire on September 1, 2020.

232.      On information and belief, Ms. Parikh was led to believe that Plaintiff’s continued

   employment presented a barrier to her career success.

233.      On information and belief, Ms. Parikh was encouraged to find a way to eliminate

   Plaintiff’s employment for her own pecuniary and career-related gain.




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234.      On information and belief, Ms. Parikh was aware that without a character-related

   reason, Plaintiff’s employment would not have been terminable on the basis of

   performance.

                                Attempt 1: Performance

243.      In January, 2020, Plaintiff participated in a “new partner skit” for Kelly Hathorn,

   celebrating her promotion to the equity partnership.

244.      The script was written by Plaintiff’s supervisor Richard Cohen. Cohen is on the

   Board of several philanthropy organizations related to the visual arts, and likely was

   groomed at a young age in the art of using film to defame people like Plaintiff.

245.      The skit painted Plaintiff as a “dunce” who did not understand basic principles of

   employee benefits law and was, in general, inferior to his associate colleague in the tax

   department, Elva Saltzman, who was painted as a kind of “whiz kid.” The skit made

   clear that Plaintiff’s office is one where they put short-term associates that don’t have a

   future at Shipman, but that Saltzman’s office is directly next to Lieberman’s, where they

   put tax associates deemed to have a future at the firm. The implication being that

   Plaintiff was dumb, worthless and on his way out.

246.      The skit in general painted Plaintiff as a “bro,” i.e. engaging in lewd humor, drug

   abuse, etc.

247.      Plaintiff was privately miffed by the skit, but took it in stride and by his

   performance in the skit, made it clear that he was none of the things portrayed. In effect,

   Plaintiff overcame the intended implications of the skit.

248.      Plaintiff’s supervisors seemed to be aware that Plaintiff and Ms. Parikh had gone

   on a date. For example, after the date, Plaintiff’s supervisor Kelly Hathorn removed a



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   crumpled picture of an Indian family from her wall. On information and belief, the

   original purpose of the picture was to create a basis to explain to Plaintiff why Ms. Parikh

   was being assigned employee benefits work, but after the date, they realized that Plaintiff

   had taken the “bait” and that they could just lie about Plaintiff to fire him rather than play

   that game.

249.      In February, 2020, Plaintiff was staffed on a complex transaction involving

   significant problems with employee compensation arrangements. Plaintiff took the lead

   in analyzing and presenting solutions to the myriad issues.

250.      RSM was the accounting firm staffed on the transaction. Plaintiff interfaced with

   his former colleagues, including his former supervisor, in handling the client’s issues.

251.      In April, 2020, at the time when many associates (including Plaintiff) were busily

   penning articles about legal and policy changes stemming from the pandemic, and with

   furloughs looming, Plaintiff noticed that he could not access the “planadvisor.com”

   website from either his work or personal cellular devices or work computer, but could

   access the website from his private computer.

252.      Planadvisor.com is a Gartner product. Gartner, Inc. is a large client of Shipman,

253.      Plaintiff observed that around that time, April, 2020, Plaintiff’s personal cell

   phone number appeared on a Shipman-provided contact list created in conjunction with

   the pandemic.

254.      Plaintiff objected to his personal cell phone being on this list and asked that it be

   removed, providing instead the number to his firm-provided phone.




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255.      On information and belief, Plaintiff’s personal number was put on that list to

   make it appear that Ms. Parikh had learned his number from the list rather than giving

   him her phone number in connection with him asking her out on a private date.

256.      On information and belief, either the law firm, Infragard, the US Government, or

   all three were engaging in device-specific digital surveillance on Plaintiff during the

   pandemic.

257.      In the spring and summer of 2020, Plaintiff was assigned a series of increasingly

   difficult assignments which he originally viewed as stretch assignments, perhaps a test to

   see whether he would be re-classed as a mid-level associate, but which he ultimately

   came to view as attempts to get him to “slip up” and ground a performance termination.

258.      Although Plaintiff is duty bound not to discuss the specifics of any client

   transactions he worked on, one particularly difficult assignment involved a notoriously

   complex ambiguity in the rules of Internal Revenue Code section 409A as they interact

   with those of partnership taxation. Partners staffed on the transaction refused to provide

   guidance to Plaintiff on what to do with the matter. Against all odds, Plaintiff was able to

   solve the riddle for the client, but on information and belief, the project was designed to

   be an “impossible task” that Plaintiff would either bungle or fail to complete, thereby

   providing proof that he was not good enough to work on these matters, or otherwise

   incentivizing him to bend or break the rules to get it done, which could have been used

   against him later (such as, to get him to consent to his wrongful termination).

259.      At the same time, for several months Plaintiff had been required to bill significant

   time on a litigation matter that Plaintiff and others knew could not be taken by the firm

   and which would need to be written down. Plaintiff warned his supervisors of same in



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   January, 2020. By June, 2020, the firm decided that it could not take the case, and as a

   result Plaintiff’s billable utilization figures suffered.

260.       In July, 2020, after Plaintiff failed to attend a meeting wherein he was required to

   advise on complex partnership tax matters for which he was not competent, Plaintiff’

   supervisors called a meeting.

261.       In the meeting, Plaintiff told his supervisors that he had a strong intuitive sense

   that the meeting, along with the other assignments he had been given that summer, while

   challenging and interesting, were designed with the ulterior motive of supporting a case

   for his performance termination.

262.       One of Plaintiff’s supervisors, who was fully aware that Plaintiff is a talented,

   good and hard working person, broke into tears at this statement. In other words, he

   admitted without admitting it that Plaintiff’s analysis was correct.

263.       On information and belief, Plaintiff’s supervisor, a Jewish man, was fully aware

   of the utter nightmare that was to befall Plaintiff and his country.

264.       All in all, by August, 2020 it became clear that there was no performance basis

   upon which to terminate Plaintiff.

265.       On information and belief, Shipman deferred Plaintiff’s mid-year review

   (performance period ended April 30, 2020) until September 30, 2020 to monitor whether

   Plaintiff would make a slip before the date the review was given, or whether conversely

   Shipman would be forced to give Plaintiff a strong review (e.g., to admit in writing that

   Plaintiff is a talented attorney).




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266.       As it happened, although Plaintiff’s mid-year review was for the period ended

   April 30, 2020, the narrative and discussion around it encompassed feedback from the

   summer, wherein Plaintiff was being put through his paces.

267.       On information and belief, other associates who had already been cleared by the

   Party such as Ms. Parikh received their mid-year review in May or early June, 2020.

268.       On information and belief, the intent of the summer assignments was to create a

   basis to terminate Plaintiff prior to September 1, 2020, such that Parikh could cleanly

   take his job after a one-year rotation in the Corporate Trust Department.

269.       On information and belief, Shipman originally intended for the new first-year

   associates to start in early September, 2020, but deferred the start date on account of the

   pandemic. Shipman later sought to terminate his employment on their January, 2021

   start date.

270.       On information and belief, after Plaintiff’s termination, Ms. Parikh received credit

   for the work Plaintiff had done on the particularly difficult transaction, so as to support a

   narrative that she had “outcompeted” Plaintiff rather than, for example, simply lying

   about him to ruin his life for completely selfish and evil reasons. At the time of

   Plaintiff’s termination, the work on that transaction had not been sent to the client.

                 Attempt 2: Sexual Harassment Accusation and Aftermath

271.       During the pandemic, Shipman put on mandatory racism trainings which Plaintiff

   did not attend. Plaintiff did not attend because he already knew that he did not agree with

   the concept that people should be treated differently on the basis of their skin color.

272.       After George Floyd’s murder, Plaintiff attended a moment of silence honoring

   Mr. Floyd.



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273.      After George Floyd’s murder, Shipman (like all companies) took public positions

   condemning “systemic racism.”

274.      Starting in late July, 2020, while many partners were on vacation, Plaintiff began

   playing 9-holes of golf at night (off-hours) once or sometimes twice a week to get out of

   his apartment and relieve stress related to his rigorous work schedule and the lockdown.

   (At this time, golf was the only available social activity.)

275.      Plaintiff played on a local public course on which herds of deer live and interact

   with players.

276.      In early August, 2020, as he was walking off the course one evening, Plaintiff

   texted Ms. Parikh to invite her to “caddy for me one night this week at Goodwin Park?”

   Plaintiff thought that the deer would amuse Ms. Parikh. Ms. Parikh did not respond.

   This was the first time Plaintiff had contacted Ms. Parikh in several months.

277.      During the pandemic, in a mandatory meeting held on August 27, 2020, Shipman

   required its associate attorneys to expressly or impliedly consent to potential loss of

   employment under the pretext of rooting out “systemic racism” in the legal profession by

   making the law firm more “diverse.”

278.      Because revenue at that time was flat or declining, and because a large group of

   associates were slated to join the firm in January, the implication was that, as a result of

   this process, white, European, Christian associate attorneys, particularly heterosexual

   males, were going to lose their jobs for no reason.

279.      Plaintiff was the whitest, most European, most Christian heterosexual white male

   lawyer at the firm, and had just gone through a three-month trial of extremely rigorous

   work which he believed was designed to create a basis for his termination.



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     280.        Plaintiff perceived that if he attended the August 27 meeting, he was going to be

        bothered and harassed about his ideas, and that, as had always been the case and still is,

        any “win” would actually be a loss, so better to remain silent. Qui tacet consentire

        videtur (St. Thomas More’s strategy).

     281.        The firm’s DEI associate committee was chaired by an associate who is openly

        committed to Marxism, and this associate sent the invitation for the August 27 meeting.

     282.        Because “systemic racism” requires eliminating white, European, Christian

        employees, and only them, Plaintiff was uncomfortable with the underlying pretext of the

        meeting and did not attend.

     283.        In August, Plaintiff was surprised that he had very few billable hours.

     284.        The last week of August, Plaintiff was called into the office to sign off on some

        documents, a pension filing for a large client.35 Plaintiff found it odd that he had

        performed no work on the filing, but was signing off on it. Plaintiff did what he was told.

     285.        On information and belief, Ms. Parikh performed billable work on the filing,

        which was then billed to the client under Plaintiff’s name.

     286.        The week of August 24, Plaintiff was contacted by a vendor (Litera Corp.) which

        sold transaction management software. Plaintiff was told that his supervisors at the firm

        wanted him to demo the software.

     287.        On Wednesday, August 26, Plaintiff demoed the software with the Litera

        salesperson (Thomas Hodges). The Litera salesperson instructed Plaintiff to send the

        demo by email (he insisted on this when pressed) to two other associates that he knew




35
        Details to be provided in camera (client confidentiality).

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   handled the process of compiling documents for transactions. Plaintiff found the

   vendor’s request to be odd, and did not comply.

288.      On information and belief, the intent of the outreach was for Plaintiff to contact

   Ms. Parikh by email (she handled compiling documents for transaction closings), for the

   purposes of creating a “trigger event” for the accusation Ms. Parikh planned to make.

289.      Two days after Plaintiff failed to attend the August 27 meeting, Shipman partner

   and leading employment lawyer Dan Schwarz sent out a Saturday-morning email to all

   associates soliciting anonymous feedback about any instances of sexual harassment, and

   reminding them that sexual harassment is a ground for disbarment in the state of

   Connecticut.




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290.      (The firm denies the existence of this email, but there it is. The firm denies the

   existence of this email is because it calls into question their narrative about Ms. Parikh’s

   complaint being lodged on September 1, 2020, when in reality it was known all along,

   and speaks to premeditation around disbarment on the basis of a known false sexual




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   harassment accusation. But if we are to take them at their word, this email never

   happened, and the outreach from Litera was just a coincidence.)

291.      The following week, allegedly September 1, Ms. Parikh filed a complaint of

   sexual harassment against Plaintiff, alleging that Plaintiff had sexually harassed her on

   the basis of the golf invitation, and in March and April when Plaintiff had asked her to

   help him acquire hydrocycholoroquine from India to treat his COVID, and when he told

   her he hoped her family was getting through the pandemic okay, and to contact him if she

   needed anything or would like to get together (a text he sent to everyone).

292.      While making the complaint, Ms. Parikh mentioned nothing about the date they

   had gone on or anything else about their completely normal friendship, other than to paint

   Plaintiff as a creepy stalker who was a grave danger to her safety.

293.      For example, in the firm’s ultimate termination report, the firm alleges that Ms.

   Parikh perceived of the one-line golf invitation as distressing because she was “living

   alone in West Hartford,” suggesting that she believed the golf invitation was a credible

   indicator that Plaintiff was about to imminently burglarize her apartment and rape her.

294.      Ms. Parikh also allegedly provided some, but not all, of the text messages

   exchanged between Plaintiff and herself. Ms. Parikh allegedly did not provide any of the

   text messages before or in the week after the January 25-26, 2020 date, presenting the

   “uncomfortable” text as the first exchange between them.

295.      On information and belief, Shipman decided that if Plaintiff did not attend the

   August 27 meeting and either convert to Wokeness or otherwise comply with his own

   firing, then they would fire him the “hard way” using the false sexual harassment

   accusation.



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296.       On information and belief, the intent of the August 29 email was to break the

   causality between Plaintiff’s failure to attend the August 27 meeting and the sexual

   harassment accusation. E.g., both for legal purposes and to staff, the August 29 email

   would make it appear that Parikh’s accusation was procured accidentally, rather than in

   direct retaliation for Plaintiff’s sincerely held Christian religious beliefs, or because of the

   fact that the firm was then on an overt witch hunt against white, European, Christian

   heterosexual males. The email became necessary because Plaintiff did not take the bait

   and comply with the strange request from the Litera vendor.

297.       On information and belief, the architect of this strategy was none other than Dan

   Schwartz, who on information and belief, wrote Connecticut’s sexual harassment law,

   and the associated corollary in the Connecticut Code of Professional Ethics for attorneys.

298.       In June, 2020, Mr. Schwartz asked Plaintiff to join the Board of Directors of the

   Channel 3 Kids Camp, a local summer camp for disabled children, which he did do.

299.       On information and belief, Schwartz asked Plaintiff to join this Board, and then

   insisted it be placed in his website biography, as a means of supporting a case for his

   ultimate termination and disbarment on the ground of sexual harassment by making him

   appear as a creepy weirdo (a danger to women, and also a single adult male who has an

   interest in spending his free time at a children’s summer camp).

300.       On information and belief, it is Mr. Schwartz that was engaged to handle

   Plaintiff’s destruction if he did not voluntarily convert to Wokeness, that is, Judaism, and

   thereby accept his own wrongful termination.

301.       On September 2, Plaintiff received an ominous sounding email from Shipman’s

   Chief Talent Officer (Christina Hermann) informing him that “some information had



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   been brought to her attention which [she] would like to follow-up on” and calling a 9am

   meeting the following morning.

302.      In the 9am, September 3 meeting, Plaintiff was investigated by Hermann

   regarding whether he had sexually harassed Ms. Parikh.

303.      Within 15 minutes, Hermann concluded that Plaintiff “did nothing wrong” and

   had not sexually harassed Ms. Parikh. Hermann was particularly surprised to learn that

   Plaintiff and Ms. Parikh had been close and about the nature of the date in January, 2020,

   where Plaintiff and her were up talking until the sun came up.

304.      Hermann subsequently confirmed with Ms. Parikh that Plaintiff and her had spent

   time together on January 25-26, including alone in her apartment until 5am, but that, in

   Ms. Parikh’s mind, it was not a “date,” and therefore, she hadn’t done anything unethical

   by leaving out that fact. (Example of use of self-serving, subjective logic.)

305.      Plaintiff was cleared of sexual harassment in full and told that he would suffer no

   penalty from it.

306.      Also after being cleared, Plaintiff penned an article for Mr. Schwartz’s

   Connecticut Employment Law Blog discussing the then recent executive order issued by

   the Trump administration permitting employers to voluntarily defer their employment tax

   obligations until, in effect, after the November election. [Monitor the way the defamation

   builds toward inciting violent hatred: Plaintiff is a creep and a child molester and a

   Trump supporter = “deplorable” and deserves to die.].

307.      In mid-September, 2020, Plaintiff received an unsolicited cold call from a young

   female client. The caller left her last name with firm reception. When Plaintiff returned

   the call to discuss her client situation and referred to her as Ms. [last name’], the caller



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   exclaimed that it was “so weird” that Plaintiff knew her last name and that, because she

   was made “uncomfortable” by this, she would not be using Plaintiff’s services and hung

   up. Odd.

308.      Also in September, 2020, Plaintiff was invited by Shipman’s recruiting

   coordinator to join an app called “Fishbowl,” which facilitates communication between

   law firm associates at different firms. Plaintiff’s firm was listed as “E. Goodwin & Sons”

   on the app, rather than Shipman & Goodwin, which is the label all other Shipman

   employees had. Thus, by this mechanism Plaintiff was excluded from private message

   boards for Shipman associates.

309.      On information and belief, Ms. Parikh spread false and defamatory rumors about

   Plaintiff using the fishbowl app.

310.      On October 1, 2020, Plaintiff received an unsolicited communication from the

   Chair of the associate DEI committee, an invitation to attend an outing with him and his

   partner (both avowed Marxists).

311.      Despite disagreeing on matters of politics and policy, Plaintiff liked both of these

   men and was more than happy to join them.

312.      On information and belief, on the outing, Plaintiff secured their sponsorship and

   was therefore permitted to receive a positive review the following day, October 2, 2020

   (quoted supra).

313.      In September, 2020, there were a series of virtual meetings held where associates

   would get together to chat about the pandemic. Plaintiff observed that whenever he

   joined a group, one of Ms. Parikh’s supervisors would leave the group she was in and




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   join whatever group Plaintiff had joined. Plaintiff sensed chicanery and just didn’t attend

   any of the sessions.

314.       On information and belief, Ms. Parikh used these meetings to spread false rumors

   about Plaintiff.

315.       Around this time, September, 2020, Plaintiff was removed from all ongoing

   transactions he was then advising on.

316.       In early September, 2020, Plaintiff had been invited to Shipman’s fantasy football

   league, which he accepted, but was never invited to the draft.

317.       In September, 2020, Plaintiff began receiving a heavy volume of contacts from

   headhunters about alternative employment.

318.       Starting in September, 2020, Plaintiff began receiving highly insular, short-term,

   and junior work.

319.       Starting in September, 2020, when Plaintiff went into the office, he received

   “dirty looks” from staff and other associates.

320.       Plaintiff’s work began being switched away from corporate and onto relatively

   miserable projects, such as pension plans for volunteer firefighters under I.R.C. §

   457(e)(11). In one instance, Plaintiff’s supervisor Richard Cohen directed Plaintiff to an

   article from a company called Penflex, which is a volunteer firefighter pension

   consultancy based in Latham, NY, near Plaintiff’s hometown, with the implication that

   Plaintiff’s days living as a self-supporting adult were soon to be cut short.

321.       Although nice to Plaintiff in private, before others Cohen had frequently made fun

   of Plaintiff. For example, on March 25, 2020, while Plaintiff was sick with COVID-19

   but before Cohen was aware of the diagnosis, Cohen suggested on an email to the entire



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   Tax & Employee Benefits Department that Plaintiff was a “moron” who was hired only

   because the labor market was tight in summer, 2019 by making a reference to the

   “Dilbert” cartoon printed that day and reproduced below:




322.      In October, 2020, there were a number of “trivia” happy hour sessions with the

   incoming first-year associate class, and Plaintiff was not invited.

323.      By late October, 2020, although Plaintiff was doing all his work, none of the

   partners in the group were contacting Plaintiff, and he could tell something was wrong.

324.      Accordingly, on November 3, 2020, Plaintiff contacted Hermann about a variety

   of matters related to what he perceived to be penalties stemming from Ms. Parikh’s

   baseless sexual harassment accusation.

325.      In three emails, Plaintiff expressed concerns (a) about the announced truncated

   year-end review period (occurring for the period September 30 – November 30) and

   inquiring whether, in other years, a truncated review period like that had been used; (b)

   whether Plaintiff’s 2021 pay increase was commensurate with other similarly situated

   associates, and (c) whether Ms. Parikh was spreading false rumors about Plaintiff. In the

   third email, Plaintiff also requested a copy of his personnel file, looking to see the written

   resolution of the September sexual harassment complaint, and asked that a legal hold be


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   placed on all relevant evidence pertaining to the reasons for Plaintiff’s declining work

   situation.

326.       On November 3, 2020, Hermann responded only to the third email and informed

   Plaintiff that no records existed of her investigation or the disposition of the same at all,

   and therefore there was nothing to include in his file.

327.       Plaintiff responded to this email that he was certain Ms. Parikh had been

   spreading rumors and would like a written resolution to the matter so that the rumors

   would stop.

328.       On November 4, 2020, Tenney informed associates to halt work on completing

   their year-end performance evaluations so that the “vendor” could add additional

   information.

329.       On information and belief, the firm’s own IT department maintains the

   performance evaluation system, through a proprietary application created and maintained

   by Business Technology Analyst Darnell Payne.

330.       On information and belief, the intent of this was to make the review periods of the

   other associates match Plaintiff’s bizarre two month period, and to prevent written

   records of the disparate review period applied to Plaintiff from being unknowingly

   created by other employees at the firm.

331.       On information and belief, the intent of this action was also to scrub Ms. Parikh’s

   performance review of any evidence that she had been performing employee benefits

   work throughout the relevant period and prior to the acknowledgment of a legal hold.

332.       On November 5, 2020, Plaintiff was contacted by an individual in the area who

   needed assistance disposing of a property in India. The individual referred to Plaintiff as



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         “Joe” and stated that she needed the assistance of someone familiar with an international

         property transfer and that was a Hindi speaker. Plaintiff called the person back and left a

         voicemail, but never heard back from the individual.

     333.         On information and belief, this was another attempt to create a paper transaction

         in which Plaintiff was to contact Ms. Parikh (a Hindi speaker) in an alleged supervisory

         capacity or in a quid pro quo, the billable work in exchange for the confession Plaintiff

         sought.36

     334.         On information and belief, the LLC designated to receive the property or the

         entity that ultimately received the property or its principal, was a client of Shipman.37

     335.         On information and belief, by coordinating the November 5 client outreach,

         Shipman intended to frame Plaintiff for sexual harassment, an offense which carries the

         penalty of disbarment.

     336.         On information and belief, Shipman intended to cause Plaintiff’s disbarment, and

         did so with actual malice and discriminatory animus.

     337.         On November 5, 2020, Plaintiff contacted Hermann and informed him of the call,

         which he viewed as highly suspicious under the circumstances and expressed his belief

         that it was a set-up of some kind.

     338.         On November 6, 2020, Plaintiff’s ultimate supervisor Lou Schatz sent out two

         conflict check requests, one involving a new client, Ayco, LP, based in Latham, NY




36
         Establishing either a quid pro quo or a supervisory relationship would charge any interaction Plaintiff had
with Ms. Parikh with respect to the client matter as a grounds for a legally cognizable charge of sexual harassment,
and ergo, disbarment.
37
         Details to be provided in camera (client confidentiality).

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        (effectively Plaintiff’s home town) and another involving a new client, an Indian/Sikh

        orthodontist who needed help establishing retirement plans for his practice.

     339.        Plaintiff had been offered a job as an in-house counsel by Ayco in September,

        2016, which Schatz knew about.

     340.        In October, Plaintiff’s supervisor Hathorn made a presentation on employee

        benefits issues with two other partners with whom Plaintiff had performed work.

        Plaintiff was surprised that he was not asked to compile the slide deck for the

        presentation.

     341.        On information and belief, Ms. Parikh was asked to put together the slide deck.

     342.        Together, the events of late August – November 2020 created an environment of

        fear, intimidation and mistrust wherein Plaintiff was certain that Shipman was in the

        advanced phases of preparing to wrongfully terminate his employment and even seek his

        disbarment for unimaginably malicious, hateful and racially/religiously charged reasons.

                                            Attempt 3: Winner!

     343.        On November 6, 2020, Plaintiff contacted Parikh by text message and informed

        her that he believed his work was being impacted by her false accusation, expressing his

        theory for why that was happening and imploring that she contact Hermann to help

        rectify what he believed was a situation that was destroying his career at the firm. Ms.

        Parikh did not respond, nor did she contact HR until November 11, 2020.

     344.        The text messages also informed Ms. Parikh that Plaintiff was talking to someone

        else and had no continued romantic interest in her.38



38
          The other person was also a South Asian woman (Tibetan), who Plaintiff later learned does ESOP
valuations for a local accounting firm with which Shipman does significant business. One wonders whether this was
also an intended sexual harassment trap.

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345.      On November 6, 2020, Plaintiff informed Hermann that he had contacted Ms.

   Parikh by text message.

346.      On Sunday, November 8, 2020, Plaintiff exchanged emails with Hermann

   regarding setting up a time to talk the following day. Plaintiff inquired as to whether Ms.

   Parikh had reached out to her with a confession, and Hermann did not respond.

347.      At 2:00pm on Monday, November 9, 2020, Plaintiff and Hermann discussed the

   situation. Hermann informed Plaintiff that no one other than himself, Hermann, Ms.

   Parikh and Anne Littlefield knew about Ms. Parikh’s complaint. Hermann informed

   Plaintiff that she would contact Schatz, Cohen and Hathorn and inquire as to whether

   they were aware of any reason why Plaintiff’s job was being diminished. Plaintiff stated

   that while he appreciated the assurance, Plaintiff is aware that if rumors were being

   spread, there is no way HR would tell Plaintiff that. Plaintiff explained in detail his

   theory about Ms. Parikh’s complaint being the source of the diminution in employment

   that he was suffering, and explained that his text messages on Friday, November 6, 2020

   were designed to probe whether or not Ms. Parikh made her false complaint in a moment

   of passion or upset emotions (a hurt girl), in which case he viewed them as entirely

   forgivable and no problem whatsoever, or whether something else was afoot. Plaintiff

   informed Hermann that if the false complaint was not made out of emotions, then it

   would be clear that it was done for a career-related or opportunistic purpose, and that in

   that instance he would request that the firm formally investigate Ms. Parikh’s actions.

348.      Plaintiff informed Hermann that if Ms. Parikh did not step forth with a confession

   by the following day, he would contact Ms. Parikh to figure out for himself what was

   going on. Plaintiff wanted to believe it was because Ms. Parikh was just being a girl.



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349.      At 5:37pm on November 10, 2020, Plaintiff emailed Ms. Parikh an affidavit

   containing factual allegations suggesting that he was aware that Ms. Parikh manufactured

   her complaint illicitly and under the firm’s supervision to create a basis for destroying

   Plaintiff’s life and career. The affidavit was an encrypted pdf document sent in an email

   titled “Time’s Up” and accompanied by a set of three text messages in which Plaintiff

   called Parikh a “spoiled little brat” and informed her that he was “done protecting her”,

   and that she had 24 hours to confess that she had lied about the entire thing.

350.      The intent of the affidavit was to effectively serve as a legal cease and desist letter

   to get Ms. Parikh to understand she was defaming Plaintiff’s character, that a potentially

   serious and costly legal matter was developing, and to please stop. It was also to give

   Ms. Parikh what she seemed to want, which was some emotion. Plaintiff did not want to

   be in a no-holds-barred fight with Ms. Parikh because he liked her and assumed at this

   point that Ms. Parikh may well be retaliating against him for not contacting her or

   otherwise showing any emotion after her initial (September) accusation. Ms. Parikh did

   not respond.

351.      Plaintiff had no intent for Ms. Parikh to sign the affidavit and knew she clearly

   would not.

352.      The affidavit was sent in an email attachment on the firm’s computer systems and

   was a 48kb adobe pdf document titled “affidavit”.

353.      The affidavit was password protected to prevent Ms. Parikh’s legal practice

   assistant, or anyone else, from learning about the details of their friendship and date

   unless she wanted them to. The intent of password protecting the document was to

   protect Ms. Parikh’s privacy.



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354.      The password for the affidavit was “t1ckt0ck” to suggest that an investigation of

   her actions would commence if she did not respond within 24 hours.

355.      Assuming that this would be the end of the matter, on November 10 and

   November 11, 2020, Plaintiff spent around 4 hours drafting a release agreement,

   requested consideration of $1, releasing Ms. Parikh from all defamation claims in

   exchange for her circulating an apology email throughout the firm, which Plaintiff also

   drafted, along with a proposed distribution list.

356.      However, on November 11 Ms. Parikh instead contacted human resources,

   claiming that she felt physically threatened by the affidavit and believed that the affidavit

   was some kind of electronic self-destruct device that would explode her computer and

   harm her either physically or electronically.

357.      At all relevant times, Ms. Parikh was fully aware that Plaintiff is not

   technologically savvy, hates technology, and is not skilled in coding.

358.      On November 11, 2020, Hermann contacted Plaintiff, saying that Ms. Parikh had

   come to HR with the text messages, was scared, and accordingly put Plaintiff on a paid

   leave of absence. In the firm’s January 26, 2021 termination report, it was claimed,

   although not on November 11, 2020 that Parikh perceived the affidavit as a kind of

   electronic self-destruct device that would explode her computer. On this basis (an

   electronic threat) the firm put Plaintiff on the paid leave of absence.

359.      On the November 11 call, Hermann intentionally was evasive when Plaintiff

   inquired about the manner in which Ms. Parikh felt threatened by the affidavit,

   suggesting that the firm had not yet reached a defensible legal conclusion about how to

   describe the alleged “threat”.



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360.         On information and belief, the firm used this false and disingenuous claim of a

   threat to place Plaintiff on a paid leave of absence.

361.         On information and belief, the firm placed Plaintiff on a paid leave of absence to

   bias opinion within the law firm about Plaintiff’s actions and because he is a white,

   European, Christian heterosexual male, and therefore considered evil and deserving of

   hatred.

362.         Other associates could easily have learned about Plaintiff being placed on a paid

   leave of absence because any email sent to Plaintiff would have returned with a bounce

   that stated “Joe Indelicato is on vacation. If you need assistance, please contact

   [supervisor]” and which specified no return date from the “vacation.” This clearly

   suggested that the message was not written by Plaintiff.

363.         On November 11, 2020, a partner at the firm (and its “ombuds”) named Vaughan

   Finn circulated an email to all associates soliciting legal research assistance with helping

   victims of domestic abuse defend themselves from motions to quash temporary

   restraining orders (TROs).

364.         On information and belief, the intent of Finn’s email was to collect a group of

   associates who would aid Ms. Parikh, a damsel in distress considering filing a TRO

   against the dangerous gentile beast Plaintiff.

365.         On information and belief, the intent of Finn’s email was to defame Plaintiff

   within the law firm and preempt Plaintiff’s termination. [I.e., a creep and a child molester




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         and a Trump supporter and abusive to women = “deplorable” and deserves to die a

         violent death.39]

     366.         On information and belief, the firm used this false electronic threat as a pretext to

         commence electronic surveillance on Plaintiff by and through CISA, or otherwise place

         him (to the extent he was ever off the list) in a “threat” monitoring system maintained by

         the FBI/Infragard, DHS, CISA or all three.

     367.         On information and belief, the firm had already hired a private investigator named

         Kevin Kline, a former FBI agent, to surveil me commencing on or around June 2020.

     368.         On information and belief, the “threat” monitoring system is the list that will

         determine who is to be killed or otherwise placed in concentration camps, depending on

         how things shake out.

     369.         On information and belief, the “threat” monitoring system is shared by all

         employers and operates as a kind of nationwide blacklist for political dissidents.

                          Leave of Absence, Investigation, and Termination

     370.         On November 11, Plaintiff received for the first time an email solicitation from an

         email chain maintained by attorneys at the law firm Ropes & Gray LLP, distributed to

         employee benefits associates at large law firms nationwide, for which actively recruited

         employee benefits associate positions are posted (“Ropes & Gray Email Chain”).

     371.         On November 11, Plaintiff’s Shipman email account was placed in the “To”

         group of the Ropes & Gray Email Chain. Accordingly, any large law firm hiring an

         employee benefits associate would learn that Plaintiff was on a paid leave of absence, or



39
          Add “anti-Semite” and “racist” to the lies and what do you get? [“You belong to your father, the devil, and
you want to carry out your father’s desires. He was a murderer from the beginning, not holding to the truth, for there
is no truth in him. When he lies, he speaks his native language, for he is a liar and the father of lies.” Jn. 8:44.]

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   that there was some other kind of serious issue with his employment at Shipman, by

   receiving the bounce received from my Shipman email address.

372.      By this mechanism, Shipman defamed Plaintiff and began “blacklisting” him as

   of November 11, 2020, to prevent him from ever working in the industry again. On

   information and belief, these efforts have continued unabated through the present day.

373.      Investigation interviews were held on November 11, 16, and 30. Each were “on

   the record” and recorded. On the November 30 call, the investigators were Anne

   Littlefield, the firm’s general counsel, and Leander Dolphin.

374.      All investigation interviews, including ones that occurred in January, could be

   used against Plaintiff and were “on the record.”

375.      During the period November 30 – December 31, 2020, Plaintiff sent the firm a

   litany of emails. The emails requested information about what Plaintiff was even being

   investigated about, requested that Plaintiff be provided the ability to discover evidence

   from his firm-provided computer or the firm’s email systems, requested information

   about Plaintiff’s procedural rights during the investigation, requested information about

   the scope of the investigation and what evidence the firm possessed, and what the status

   of the investigation was.

376.      Plaintiff received no responses to any of his email inquiries.

377.      Plaintiff received no “Mailer Daemon” bounce back from the firm with respect to

   any of the emails I sent, suggesting that the emails were received, contrary to the

   Shipman’s claims on January 5 that the emails were never received.

378.      On information and belief, there was no rational basis to put Plaintiff on a paid

   leave of absence, since Plaintiff was not a threat to Ms. Parikh (other than by virtue of the



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   potential legal consequences of her actions on herself and the entire movement),

   particularly not in a remote work environment.

379.      On information and belief, the intent of placing Plaintiff on the leave, and failing

   to respond to his inquiries about the investigation, was to make it impossible for Plaintiff

   to defend himself or avoid his termination, by preventing him from printing off relevant

   evidence, or otherwise seeking assistance from other associates.

380.      A condition of the leave, punishable by termination, was that Plaintiff was not

   permitted to discuss the reasons for his being placed on the leave with any Shipman

   employee.

381.      On or around December 12, 2020, the firm posted an advertisement for a mid-

   level employee benefits associate on its website’s “careers” page.

382.      On or around December 12, 2020, Shipman appeared to rehire a retired employee

   benefits partner named Natalie Wood, and placed her biography onto its website.

383.      On information and belief, Wood was used a pass-through billing placeholder for

   Ms. Parikh, i.e. to conceal that Ms. Parikh had stolen Plaintiff’s job using a known false

   sexual harassment accusation.

384.      On information and belief, Wood was not actually rehired by Shipman.

385.      On December 15, 2020, Plaintiff received a litigation hold notice from Lee Duval,

   associate general counsel, suggesting a termination decision had been made.

386.      On December 31, 2020, the firm emailed Plaintiff requesting a conference on

   January 4, 2021.

387.      On December 31, 2020, the Firm did not deposit Plaintiff’s final 2020 paycheck

   by direct deposit.



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388.       On or around December 31, 2020, Hermann resigned from Shipman.

389.       On January 4, 2021, five or six new first-year associates started at Shipman.

390.       On January 4, 2021, in response to Plaintiff’s ignoring the firm’s request, the firm

   sent Plaintiff an email summary of its preliminary investigation findings and threatened

   to terminate him if he did not respond.

391.       The January 4, 2021 preliminary investigatory findings falsely claimed that

   Plaintiff attempted to “threaten” Ms. Parikh with his affidavit and that he had been

   insubordinate in contacting Ms. Parikh on November 6 and 10, and that Hermann had not

   authorized either contact. The findings concluded that Plaintiff’s actions were retaliatory

   within the meaning of firm policy HR-013, which states in relevant part:

           F. Retaliation Prohibited. Retaliation against any individual for complaining in
           good faith about alleged discriminatory acts and/or harassment, or participating in
           any investigation of same, is prohibited. Good faith claims of retaliation may be
           reported and will be investigated as provided in Section D of this Policy. (emphasis
           added).

392.       On January 5, Plaintiff attended a teleconference with Dolphin and Littlefield to

   discuss the firm’s preliminary findings. Plaintiff disputed that he was not authorized to

   contact Ms. Parikh, and told the investigators that he had been expressly authorized by

   Hermann to contact Ms. Parikh to resolve the matter, and that Hermann was aware that

   Plaintiff was upset about Ms. Parikh’s behavior and wanted it to be resolved

   immediately. Further, Plaintiff argued that Ms. Parikh’s undisputed lying was unethical

   and not in good faith, therefore Plaintiff’s response to her behavior could not be

   retaliatory.

393.       On information and belief, Hermann “entrapped” Plaintiff into contacting Ms.

   Parikh by not objecting to the outreach he told her he was going to make.



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394.      On information and belief, Hermann was aware the entire time that Ms. Parikh’s

   complaint was not in “good faith,” in so far as it contained omissions of the most

   important facts and was really just being used as a basis to take a life.

395.      If Ms. Parikh’s September complaint had been in good faith, then the firm would

   have had to fully investigate it and produce a written report, which would have fully

   exonerated Plaintiff and made it impossible for Ms. Parikh to continue lying and

   spreading rumors about him. (“Good faith claims of retaliation may be reported and will

   be investigated as provided in [section setting out requirement of written report]”).

396.      In reality, on information and belief, the firm knew all along that the complaint

   was a bogus lie, and were merely covering up for Ms. Parikh, because Ms. Parikh is a

   Woke activist and was just doing a piece of work for her co-conspirators by wasting a

   high-potential white, European, Christian person.

397.      On information and belief, the firm waited until Hermann resigned to debut its

   investigation findings, as a means of later claiming it had no way of knowing for sure that

   Ms. Parikh’s claim was not in good faith.

398.      Hermann knew for a fact that the complaint was not procured in good faith.



          Plaintiff:     . . . don’t you think that it’s a little unfair though that someone can
          make up lies about you that could have ruined your life, and then that person can’t
          even be angry with you, I mean that’s how…that’s the level of double standard that
          is out there?

          Hermann:         And so again you’re calling it a lie, she represented it as her version of
          events and her interpretation. You guys basically said the same thing except for the
          fact that she did not tell me—and that’s true—about the date.

          Plaintiff:     But that’s the main fact…that’s the most important fact. So that’s a
          gross misrepresentation.

          Hermann:        So that’s an omission, that’s an omission—

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                  Plaintiff:        A gross one! A gross one.

                  Hermann:         It wasn’t a commission, I mean she didn’t come out and lie about it,
                  she just didn’t tell me.

                  Plaintiff:       Well let me just ask you in passing, you were dating at one point and
                  I know you are married now, but have you ever gone on a really good date and been
                  up until 4, 5 in the morning talking to somebody in an intimate conversation? I
                  mean, romantic feelings are going to arise from there because it is clear that they
                  exist. So the fact that she did not mention that is…I mean, how could you ever
                  explain that? How could you ever—

                  Hermann:         It’s a major omission, I will grant you that. Absolutely. I did not
                  know that. I didn’t know that when I talked to her, but I did know it after I talked to
                  you. She confirmed it after I went back to her, but she denied that it was a date. She
                  says that it was just, uh, I can’t remember what she said. But she didn’t…she didn’t
                  characterize it as a date. She didn’t deny it, she said “oh…yes, that happened” but
                  that it wasn’t a date.40

                  Plaintiff:        I mean, I don’t think that that matters, it is what it is. But--

                  Hermann:          Right.

                  Plaintiff:        But so, Christina I have been so patient with a person who came to
                  you and said “this guy won’t stop - and, he is a menace - and, he is making me feel
                  ‘uncomfortable.’” And she didn’t – and which really with respect to – I sent one text
                  message in the course of what, four or five months? One text message, that’s it.
                  And she’s going to come to you a month after I send one text message in four or
                  five months and then leave that out? I mean, that is…that’s pretty serious and, you
                  know, I didn’t ever…I mean I didn’t fly off the handle. On that day [September 3] I
                  could have called her and said “what the hell are you doing, Neha? What the f-?
                  What is wrong with you?” And I could have come down on her. It’s only now after
                  I’m, you know, just at this process where it’s like, “okay I want this to be resolved,
                  it’s really not hard, Neha please just say that I did not sexually harass you. We don’t
                  have to ever talk again, I don’t care. I just want to know that you are not a threat to
                  me.” I’m the victim here, and I’m being put on a leave of absence?

                  Excerpt from Recording of Investigation Interview 1, November 11, 2020.




40
        The reason for the equivocation here is most likely because Ms. Parikh had told Hermann that she was just
going out with Plaintiff to create a pretextual basis to get him fired; in other words, she was doing a piece of work
for Woke FBI nonsense. Hermann didn’t know what legal wanted her to say the reason was, and so punted.

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399.      In response to Plaintiff’s request to provide a rebuttal on the January 5 call, the

   firm provided Plaintiff an opportunity to rebut the firm’s findings, setting out the rules for

   the rebuttal in an email of the same day, reproduced below:


          Dear Joe:

          Per your request, I am summarizing what is expected from you before Friday at
          noon, as well as the responses to certain of your questions below.

               You indicated in our telephone call that you had a significant amount of
          information relevant to the investigation in your possession, and that you had
          retrieved that information prior to being excluded from the Firm’s computer system
          on November 11, 2020. As Anne directed you, you are required to send any
          information that is in your possession that is from the Firm’s computer system to
          Anne and me. All information in your possession should be sent, regardless of
          whether you consider it to be relevant to the Firm’s investigation. You should
          highlight the information that you believe to be relevant to the investigation.

              If you have other information that you believe is relevant (e.g., text messages or
          emails to/from your personal email address), please send those as well.

               If you believe that there are relevant emails that you have personal knowledge of
          that are on the Firm’s servers, you may describe those to us in an email with
          reasonable specificity, including an explanation as to why you believe the emails you
          do not have in your possession to be relevant. If we agree that they are relevant, we
          will see if we can locate them. You will not be permitted to access the Firm’s servers
          at this time.

               As you know, we had not received emails sent from [REDACTED] prior to
          today. In order to avoid any further difficulties in communication, if you send an
          email, please text Anne to confirm that you have sent the email so that we can ensure
          it does not get blocked by the Firm’s filters.

               In one of the emails sent to us, you asked who the witnesses against you are. As
          you know, Neha Parikh filed the original sexual harassment complaint and also
          expressed the concerns about the nature of your electronic communications to her
          on 11/6 and 11/10. The communications on 11/6 and 11/10 led to the
          investigation. In the context of the investigation, in addition to you and Neha,
          Leander and I also interviewed Christina Herrmann, Kim Cohen, Rich Cohen, Lou
          Schatz and Kelly Smith Hathorn. If there are additional witnesses you believe that
          we should interview, please let us know no later than Friday at noon. When
          identifying a witness, please be reasonably specific as to why the expected
          information from that individual would be relevant to the Firm’s investigation.


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          In our telephone conversation, you acknowledged receipt of the litigation hold
     sent to you by Associate General Counsel Lee Duval. I understand from our
     conversation that you responded to Lee Duval when the litigation hold was sent to
     you. However, that response has not yet been received by the Firm, presumably due
     to the filtering of your personal email address that has affected our
     communications. Kindly execute the confirmation required for the litigation hold
     and return it to Anne. Please also send a copy of your communication with Lee
     Duval pertaining to the litigation hold. You will receive further instructions from
     Lee pertaining to the preservation of information subject to the litigation hold.

          You requested information about the Firm’s working definitions for “good
     faith” and “retaliation.” If you have arguments you wish to make about these terms,
     or other arguments to make pertaining to the situation, you are welcome to submit
     any such argument in writing before noon on Friday. If you disagree with any of the
     Firm’s conclusions to date in the investigation, you may submit a written document
     detailing why you believe that to be the case.

          In our telephone conversation, you requested permission to record our
     conversation. Neither Anne nor I consented to being recorded. I specifically told
     you that I did not consent to being recorded. In the event that you recorded
     today’s conversation or any other conversations with Firm personnel pertaining to
     this matter (e.g., any conversation with Anne, Christina, Neha or myself), you are
     directed to provide a copy of any such recording to the Firm by noon on Friday. If
     you have not recorded any such conversations, you are directed to confirm for me
     that you have not recorded any conversations pertaining to this matter.

         As I confirmed for you on the telephone, I will review any information provided
     and we will schedule a telephone conference as a follow up. I have tentatively
     scheduled that telephone conference for January 11, 2021 at 10am.

          As Christina Herrmann and Anne Littlefield confirmed for you on November
     16, 2020, the scope of the Firm’s investigation is threefold: 1) review of the
     investigation of the prior sexual harassment complaint, 2) investigation of possible
     insubordinate behavior, and 3) investigation of alleged retaliation against Neha on
     the basis of her prior sexual harassment complaint against you. Anne again
     confirmed the scope of the investigation for you in her conversation with you on
     November 25, 2020. We have subsequently discussed the scope in our
     conversations together on multiple occasions, including in our conversation today.

         As noted in my email to you from January 4, 2021, the Firm also investigated
     your concern that Firm partners had stopped delegating work to you based
     on knowledge of Neha’s original sexual harassment complaint. As you know, that
     concern was not substantiated by the Firm. As the Tax and Employee Benefits
     partners did not have knowledge of the original sexual harassment complaint, I have
     concluded that the prior unsubstantiated complaint did not impact the decisions of
     Tax and Employee Benefits partners relative to your work delegation or career
     opportunities.

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              You will receive a manual check for your salary payment for the pay period
          ending December 31, 2021, rather than a direct deposit. If you do not receive the
          check, please let me know.

          I look forward to speaking with you on Monday, January 11, 2021.

400.      Plaintiff filed a rebuttal on January 8, 2021 disputing the request to produce all

   evidence as a clearly self-serving and retaliatory demand, and disputing all the findings of

   the report conclusively, including correcting the false quotation of Plaintiff that he

   “threatened” Ms. Parikh.

401.      Shipman never allowed Plaintiff to discover additional information, particularly

   as regards the nature of Ms. Parikh’s work assignments (and therefore clear motive to lie)

   and in general, simply disregarded any evidence that did not support their false narrative.

402.      Shipman refused to provide any opportunity for Plaintiff to discover information,

   while simultaneously demanding that he produce any evidence in his possession, relevant

   or not, on penalty of termination.

403.      On January 21, in response to Plaintiff’s request for the firm’s social media

   policy, Shipman sent the policy.

404.      On January 23, Plaintiff set forth this concerns about the biased and impartial

   conduct of the investigation in a letter.

405.      After sending the letter, also on January 23, Plaintiff learned that Hermann had

   resigned, and sent another letter about same on January 25, as follows:




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406.    In response, Dolphin sent the following email:



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     Dear Joe:

     I am responding to your letter of January 23, 2021 in which you request information
     about the purpose of the scheduled meeting for tomorrow.

     As you know, the Firm has been conducting a review of prior actions taken by the
     Firm with respect to an issue that arose in September, 2020 as well as investigating
     concerns raised by your conduct in November, 2020. You previously raised
     concerns pertaining to a female associate’s conduct and also claimed that you have
     been subject to possible employment discrimination. In the course of the Firm’s
     investigation, you have also disclosed that you have made audio recordings of at least
     three telephone conversations between yourself and officials at the Firm (including
     myself). For the purpose of addressing these various yet distinct issues, I have
     summarized them below:

  1. [Female associate]’s September 1, 2020 harassment complaint against you (the “Initial
     Harassment Complaint”);
  2. Your November 6, 2020 and November 10, 2020 communications to [female associate]
     (the “November Communications”); and whether you engaged in insubordinate
     conduct by sending the November Communications and [female associate]’s November
     11, 2020 related retaliation complaint against you (the “Retaliation Complaint”);
  3. Your claim that [female associate] made the Initial Harassment Complaint falsely, out of
     a career related motive, and spread rumors about you, leading to a negative impact
     on your work assignments and career prospects (the “Bad Faith Reporting
     Complaint”);
  4. Your allegation that you have been subjected to employment discrimination on the
     basis of race and/or gender (the “Discrimination Complaint”); and
  5. Your recording of telephone conversations with Christina Herrmann, Anne
     Littlefield, and Leander Dolphin on at least three occasions: November 11, 2020,
     November 16, 2020 and November 30, 2020 (the “Recording Concern”).

     The purpose of our meeting tomorrow is to discuss all five of these issues. Thank
     you for the information you sent on January 8, 2021 and the recordings that you
     provided of your telephone calls with Firm personnel. During the course of these
     investigations, we have provided opportunities for you to be heard, and reviewed all
     documentation that you have shared. The Firm has concluded its investigations of
     the Initial Harassment Complaint, the November Communications, the Retaliation
     Complaint and the Bad Faith Reporting Complaint.

     1.     As you know from our previous communications, the Firm did not
     substantiate the Initial Harassment Complaint.




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          2.     On the basis of the November Communications and the Retaliation
          Complaint investigations, the Firm has determined that there is sufficient
          information to support the termination of your employment.

          3.     On the basis of its investigation, including the information you provided to
          me with your January 8, 2021 correspondence, the Firm did not substantiate the Bad
          Faith Reporting Complaint.

          4.    The Firm would like to gather more information about the Discrimination
          Complaint, as the information you have presented to date is not clear.

          5.     The Firm would like to gather more information about the Recording
          Concern, and to give you an opportunity to be heard with respect to your decision to
          record your telephone conversations with Firm personnel, without their knowledge
          or consent.

          Please let me know your intention regarding the meeting scheduled for
          tomorrow. You may submit additional information about the Discrimination
          Complaint and/or the Recording Concern at any time, whether or not you choose to
          participate in the meeting.

          On a separate note, we have confirmed with the Finance Department that the
          manual check mailed to you for the pay period ending December 31, 2020 has not
          been cashed. Therefore, the Firm will issue a stop payment on that check and issue
          an electronic payment of the net amount into your bank account. This check has no
          impact on your 2020 W-2.

          Leander



407.      The intent of the January 26 meeting was to threaten Plaintiff about using the

   recordings he had made, learn about what documents the firm needed to destroy to avoid

   a discrimination lawsuit, and then after all that, terminate Plaintiff for cause.

408.      The January 26 termination report contains numerous lies and grossly false

   characterizations, disregards substantial exonerating audio and documentary evidence,

   and in general was written to induce Plaintiff’s complicity with the termination, because

   challenging it would result in publication of the vile report to the public.




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409.      For example, the report uses terms like “the behavior” to discuss Plaintiff’s

   actions toward Ms. Parikh and in general paints Plaintiff as a creepy, mentally deranged,

   “problem employee” and a clear danger to women in the workplace.

410.      The January 26 report claims that Ms. Parikh made her complaints by and through

   her supervisor, Kimberly Cohen, in an attempt to shield Ms. Parikh from liability for

   defaming Plaintiff. This is contrary to Hermann’s characterization of the complaint as

   coming directly from Ms. Parikh in recorded calls, such as on November 11. In other

   words, the firm was aware at the time it wrote the report that they were essentially

   murdering a human being with lies that they knew to be lies, and taking steps to insulate

   themselves from legal liability for engaging in those lies.

411.      On information and belief, this is the first recorded instance in American

   industrial history of a company directing a female employee to falsely accuse another

   employee of sexual harassment as a pretextual means of forcing his termination for cause

   and concealing a racial and/or religious motive.

412.      On or around January 29, Plaintiff received a notice that his health benefits would

   be terminated just two days later, effective January 31, 2021.

413.      On or around May, 2021, Plaintiff received a box containing his personal effects

   from Shipman & Goodwin. Plaintiff’s Boston College diploma was among the effects,

   smashed to pieces:




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414.      On information and belief, Dolphin instructed the firm’s office services

   coordinator, Aaron Phelps, a Black man, to smash Plaintiff’s diploma.

415.      Plaintiff was never offered any monetary severance consideration.

416.      On February 24, 2021, Plaintiff sent a letter disputing the investigation findings to

   Anne Littlefield, Leander Dolphin, Lou Schatz, Alan Lieberman, Kelly Hathorn and

   Richard Cohen, and received no response.

417.      On March 11, 2021 Plaintiff sent Ms. Parikh a letter requesting a settlement

   conference and to discuss a strategy to extricate ourselves from the situation peacefully.

   Plaintiff received no response.

418.      On March 25, 2021, Dolphin responded on Ms. Parikh’s behalf. Dolphin’s letter

   threatens to commence ethics proceedings against Plaintiff for requesting a settlement

   conference, and threatens a defamation suit for Plaintiff’s claim in the letter that she

   fabricated lies about me.

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419.       On April 2, 2021, Plaintiff responded to Dolphin’s letter, citing the quotation

   from the November 11 call excerpted above, claiming retaliation, threatening a lawsuit,

   and requesting that the firm send my work laptop to an independent laboratory for

   imaging of its hard drive and contents.

420.       In the March 25, 2021 letter, Dolphin effectively concedes her bias in the

   investigation by taking on the posture of Ms. Parikh’s personal attorney. It is apparent

   from this communication, and the facts as a whole, that Shipman’s management directed

   Ms. Parikh to file a false complaint of sexual harassment against Plaintiff, with the

   intention of causing severe and irreversible harm to his career, future earning power, and

   his life in general.

421.       In April, 2021, Plaintiff had a call with Dolphin and Littlefield in which Plaintiff

   requested reinstatement or otherwise severance and a reference. Dolphin responded that

   she would not dispute unemployment insurance if Plaintiff provided a blanket release of

   claims, which Plaintiff rejected.

422.       On information and belief, if Dolphin had gotten what she wanted, Plaintiff would

   not even have been able to get unemployment, much less another job.

423.       On information and belief, in the mind of Dolphin and the other monsters at

   Shipman, such as Lieberman, Schwartz and Katz, all white, European, Christian people

   should become homeless, suffer and die, and if they dispute what is happening to them,

   they are a “domestic terrorist” or “extremist”, and should be put in a concentration camp.

424.       As of May 2022, Plaintiff has had three job interviews total. Plaintiff has applied

   to, on information and belief, every available employee benefits job that has come on the

   market since January, 2021, as well as all unposted jobs.



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       425.       In May and July, 2021, Plaintiff sent letters to the Firm’s management committee

          attaching evidence of Parikh’s clearly false claim, and received no response. The July

          letter requested that the firm produce evidence of the text messages Ms. Parikh had

          presented to the firm in connection with her original complaint.

       426.       On October 1, 2021, Plaintiff sent a letter to Namita Shah, a lawyer at Day Pitney

          LLP, requesting that she step in and counsel Ms. Parikh about the ethics violations she

          engaged in, and that absent intervention Plaintiff would file ethics charges against Ms.

          Parikh, Dolphin and others for their disbarrable misconduct. Plaintiff received no

          response.

III.      HARTFORD POLICE DEPARTMENT; BOARD OF FIREARMS PERMIT
          EXAMINERS.41

       427.       On March 9, 2021, realizing that he was dealing with something very fishy and

          fearing for his life, Plaintiff applied for a pistol permit with Hartford Police Department.

       428.       On October 16, 2021, Plaintiff was contacted unannounced and by telephone by

          the Hartford Police Department. The officer (Adam Demaine) informed Plaintiff that

          Shipman had filed a police report against Plaintiff for “unlawful harassment” and claimed

          that the letters Plaintiff had sent regarding his termination amounted to harassing

          behavior. The Officer said that Ms. Parikh was not involved with the police report, but

          that Shipman’s HR department had provided text message exchanges between Plaintiff

          and Ms. Parikh from Spring, 2020 as evidence of this.

       429.       On October 16, 17, and 18, 2021, Plaintiff had teleconferences with Officer

          Demaine in which Demaine, inter alia, threatened to forcibly confine Plaintiff as a

          mentally unstable individual, without reason whatsoever.


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          By and through the officers-in-charge named as Defendants (sovereign immunity).

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430.      On information and belief, Plaintiff was only not forcibly confined as a result of

   these calls because he recorded them. For example, on the October 16 call, before

   learning that Plaintiff was recording, Demaine suggested that it is clear Plaintiff was “in

   crisis”, that he is going to send social workers to Plaintiff’s apartment to confine Plaintiff,

   and in general describes Plaintiff as a violent, unstable maniac, describing his October 1

   letter as a “manifesto”. [Where have we heard the term manifesto lately? Did “Adam

   Lansa” also write a “manifesto”?]

431.      On October 16, 2021, Plaintiff received the text messages requested in July from

   the firm.

432.      The text messages provided are a defamatory sampling and are again, were sent to

   the police merely to support unlawful investigatory activity against Plaintiff.

433.      The Hartford Police refused to issue a subpoena on T-Mobile for the text

   messages when Plaintiff requested they do so by email in October, 2021.

434.      On information and belief, the firm withheld this evidence from Plaintiff to

   prevent Plaintiff from clearing his name and restoring his career and reputation prior to

   Ms. Parikh resigning from the firm in early November, 2021. (If the firm had provided

   the texts while Ms. Parikh was still employed, the firm would have had a duty to

   investigate whether she lied about them, but after she left, they had no such power.)

435.      On November 22, 2021 Plaintiff filed a charge of discrimination against Shipman

   with the Equal Employment Opportunity Commission (EEOC).

436.      Plaintiff published the charge on LinkedIn (service by publication), where it was

   viewed by many thousands of people before being taken down.




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437.      The day after Plaintiff published the charge on LinkedIn, Plaintiff was contacted

   by a LinkedIn censor, with the implied assumption that if he did not take down the

   charge, his account would be terminated.

438.      On information and belief, Shipman complained to LinkedIn about Plaintiff and

   requested his account be shut down.

439.      On information and belief, after publishing the charge, Plaintiff has been “shadow

   banned” on LinkedIn, such that nothing he posts can be viewed by anyone other than his

   direct network; his posts cannot be viewed by others in the legal industry; he cannot use

   the “hashtag” function; and anything he posts is “downvoted.”

440.      On November 24, 2021, social workers from the Connecticut Mental Health

   Center “Metropolitan Mobile Crisis Unit” appeared at Plaintiff’s door. Both social

   workers were Black females. Plaintiff did not answer the door.

441.      On information and belief, in retaliation for Plaintiff’s filing a charge of

   discrimination, Shipman contacted the mobile crisis unit to appear at Plaintiff’s door and

   falsely accuse him of insanity, so as to forcibly confine Plaintiff.

442.      On information and belief, the outreach from the Mobile Crisis unit was designed

   to create a false pretext that Plaintiff is an unreliable witness with respect to his own

   perception of reality, and/or, at the most extreme, to conceal an assassination as a mental-

   health related suicide.

443.      On information and belief, the outreach from the Mobile Crisis unit was designed

   to provide a false pretext to deny Plaintiff’s Second Amendment rights.

444.      On information and belief, the outreach from the Mobile Crisis unit was designed

   to support Plaintiff’s continued inclusion on a list of “threats” maintained by the federal



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   government and that operates as a nationwide blacklist, and will ultimately be the list that

   determines who goes into the concentration camps.

445.       On information and belief, if people on the list of “threats” have guns, they will

   be less likely to be able to be forced into a concentration camp.

446.       On November 30, 2021, Plaintiff contacted the Hartford Police Department about

   his firearm permit application and was told that it was “awaiting sign-off from the Chief

   [of police].”

447.       On information and belief, Shipman defamed Plaintiff with the Hartford Police

   Department to prevent him from acquiring a firearm.

448.       On information and belief, Shipman does not want Plaintiff to own a firearm so

   that, if they decide Plaintiff needs to be silenced, he will not be able to fight it off.

449.       On information and belief, Shipman is aware that Plaintiff will never work again,

   and therefore that his situation may become so desperate that he will have nothing to lose.

450.       On January 31, 2022, Plaintiff appealed the “constructive denial” of his pistol

   permit (the failure to respond without cause) with the Connecticut Board of Firearms

   Permit Examiners (“CBFPE”).

451.       On February 7, 2022, Plaintiff received a letter back from the CBFPE scheduling

   a hearing on the “constructive denial” of his permit for July 11, 2024, some three years

   and fourth months after his initial application.

452.       Plaintiff is a law abiding citizen, has no criminal record, no mental health issues

   whatsoever and no record of past mental health issues, and is a lawyer admitted in three

   jurisdictions and before three federal courts.




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      453.      On information and belief, this 40 month delay is the longest delay for a firearms

         permit ever imposed on a law abiding citizen in U.S. History.

      454.      On information and belief, the CBFPE took directions from Shipman in delaying

         issuance of a firearms permit.

      455.      On April 5, 2022, Plaintiff wrote another letter to the CBFPE, attached infra,

         going through each requirement of the statute and explaining that he meets all the criteria,

         and that therefore a hearing is unnecessary. In response, the CBFPE responded by

         moving Plaintiff’s permit hearing date up to May, 2024.

IV.      U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION (EEOC);
         COMMISSION ON HUMAN RIGHTS & OPPORTUNITIES (CHRO).


      456.      On March 1, 2021, Plaintiff had an initial intake conference with the EEOC,

         Boston Field Office.

      457.      The investigator attempted to get Plaintiff to consent to a waiver of the statutory

         filing period. The investigator’s desired deadline was March 20, 2021. Plaintiff rejected

         waiver of the limitations period.

      458.      Plaintiff’s charge was due on November 22, 2021. The only way to file a charge

         of discrimination is through the EEOC’s public portal, a website maintained by the

         federal government.

      459.      On November 18, 2021, Plaintiff attempted to access the portal and learned that

         his charge had been closed, without his directing that it be closed.

      460.      Plaintiff emailed the EEOC investigator to instruct her to reopen the case.

      461.      When Plaintiff re-accessed the system on November 22, 2021 to file, Plaintiff was

         unable to file because the button to actually file the charge had been “greyed out” and

         thus, even though things could be uploaded, nothing could be submitted. Plaintiff thus

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   had to serve the charge by publication and facsimile (which he acquired through the

   general customer service number).

462.      On November 30, 2021, before any administrative fact discovery occurred and

   without warning, the EEOC issued the Form 161, Notice of Right to Sue, triggering the

   90-day filing period.

463.      By email on Wednesday, December 1, 2021, Petitioner was contacted by the

   Connecticut Commission on Human Rights and Opportunities (CHRO) regarding a dual-

   filed charge.

464.      By email on December 13, 2021, CHRO served the “dual-filed” discrimination

   charge on both Petitioner and Respondent. On December 15, 2021, Petitioner responded

   stating that he was unsure whether CHRO even had jurisdiction over the matter at all

   after the EEOC issued the Form 161, and requested a copy of the work-sharing

   agreement in place between CHRO and EEOC.

465.      On December 27, 2021, CHRO emailed the work-sharing agreement to Petitioner.

466.      On December 30, 2021, counsel for Respondent, Lori Alexander of Littler

   Mendelson LLP, appeared before CHRO (by email, no notice to Petitioner) and requested

   that CHRO proceedings be stayed for 30 days due to the Omicron variant.

467.      On January 3, 2022, without providing notice to Petitioner, CHRO granted

   Respondent’s request and delayed proceedings for 40 days, until February 11, 2022.

468.      On January 4, 2022, Petitioner responded to the appearance and delay by again

   questioning jurisdiction and requesting that CHRO issue, and counsel for Respondent

   stipulate to, an administrative subpoena to be served on T-Mobile.




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469.      Petitioner followed up with CHRO on January 6, 11, 13 and 15, 2022 (latter three

   attempts also including EEOC and Hartford Police) but to date has received no response

   to his requests for an administrative subpoena or preservation demand.

470.      By these actions, EEOC and CHRO openly adopted a posture adverse to the

   Complainant in a discrimination case and helped Respondent conceal a known lie.

471.      EEOC and CHRO’s actions effectively denied Petitioner administrative redress,

   disrupting the federal-state administrative scheme contemplated by Congress in Title VII.

472.      Plaintiff filed an injunction in the District of Connecticut to force EEOC to issue

   the subpoena (see 22-mc-0003, D. Conn.).

473.      On January 21, 2022 this court refused to rule on the request for an injunction.

474.      Also on January 21, the CHRO emailed Plaintiff telling him they would not issue

   the requested subpoena on T-Mobile.

475.      On February 15, Shipman, through counsel filed a response to Plaintiff’s EEOC

   complaint with the CHRO.

476.      CHRO is obviously extremely corrupt, failing to issue him the needed subpoena,

   and after that Plaintiff did not pursue his rights before that body whatsoever.

477.      On April 12, 2022, CHRO issued its “Case Assessment Review.”

478.      The Review concludes that “evidence in the case file and likely to be produced

   during an investigation shows that the Respondent did investigate the incident after

   receiving multiple incident reports regarding sexual harassment about the Complainant.”

479.      Plaintiff emailed CHRO back on April 12, 13, 20 and 22 requesting that CHRO

   produce whatever false evidence and documentation Shipman had provided them that

   caused them to “conclude” that there were “multiple incident reports” of sexual



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        harassment in the “case file” or anywhere else. This is a bold-faced, demonstrable lie

        which shows that Shipman intends to turn this matter into a Soviet-style show trial.

     480.      CHRO has not responded to Plaintiff’s requests, and accordingly, Plaintiff has

        named DOES 1-20 and will await future nonsense.

     481.      On information and belief, Shipman, acting by and through Alan Lieberman,

        Joette Katz or Dan Schwartz instructed the EEOC and CHRO in failing to properly

        investigate Plaintiff’s charge, issue routine administrative subpoenas, and in going

        beyond denying, but actually affirmatively violating Plaintiff’s rights under the law and

        joining in on the discrimination. If Shipman did not directly collude with EEOC and

        CHRO, then EEOC and CHRO took these actions because they are aiding and abetting

        the criminal behavior of other Woke criminal co-venturers.

V.      HON. SARALA NAGALA; FEDERAL BUREAU OF INVESTIGATION (FBI); 30
        ARBOR ST. LLC.

     482.      Unable to acquire the exonerating text messages from Shipman, Ms. Parikh, the

        EEOC or CHRO, Plaintiff filed a petition under Rule 27 of the Federal Rules of Civil

        Procedure for a subpoena on T-Mobile for same before this Court (“Rule 27 Petition”).

        See 22-mc-0003 (D. Conn.).

     483.      The importance of the text message logs to the present action was set forth in

        detail in the Rule 27 Petition, Dkt. 1, 22-mc-3 (KAD).

     484.      Acquiring the text messages would have allowed Plaintiff to move for summary

        judgment on wrongful termination, and would have prevented Shipman or any of the

        other Defendants in this action from turning the action into a Soviet-style show trial, with

        false denunciations and other dramatic hoaxes.




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485.      On information and belief, if Plaintiff came into possession of the exonerating

   text messages, Shipman would be found to have engaged in employment discrimination

   and could lose its government contracts, and Ms. Parikh could lose her law license, in

   addition to both parties owing substantial monetary damages jointly and severally.

486.      Plaintiff offered the option that the Rule 27 Petition be granted with production in

   camera only, such that T-Mobile’s evidentiary production could have been held in the

   court until Shipman or anyone else objected to the production.

487.      The Judge assigned to the Rule 27 Petition was Hon. Sarala Nagala.

488.      Hon. Nagala was appointed by President Biden in October, 2021. She is only 39

   years old. After law school she clerked for the Ninth circuit court of appeals in San

   Francisco, CA and worked for the appellate litigation firm of Munger, Tolles & Olsen

   LLP before joining the Department of Justice as an assistant U.S. Attorney, New Haven

   branch, violent crimes unit.

489.      On information and belief, Judge Nagala knows Ms. Parikh through the South

   Asian Bar Association of Connecticut (SABAC).

490.      On information and belief, Shipman acting by and through Lieberman, Katz, Ms.

   Parikh, Dolphin, or Schwartz, or any number of other Woke activists and henchmen, lied

   about Plaintiff to Judge Nagala so as to convince her to engage in clear judicial

   misconduct to “cover up” the nature of Shipman’s and/or Ms. Parikh’s actions.

491.      Plaintiff immediately understood the significance of Judge Nagala being assigned

   to rule on the Rule 27 Petition and moved for her recusal on the ground of her conflicted

   relationships with Ms. Parikh via SABAC.




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     492.         In response, Judge Nagala construed Plaintiff’s motion for recusal as being

         racially-motivated and denied it on that basis.42

     493.         In her ruling, which was published in full in the body of the docket, Dkt. 6, 22-

         mc-3 (D. Conn.), Judge Nagala claimed that she didn’t know Ms. Parikh, which in effect

         operated as a concession that she does know Ms. Parikh, because Ms. Parikh was not

         named in the Rule 27 Petition.

     494.         In response to this Order, Plaintiff filed another motion for recusal, making the

         identical argument but spelling it out in more detail (and stating the basis in the body of

         the docket) so that his words couldn’t be twisted around and falsely construed as

         “racism.”

     495.         On information and belief, Judge Nagala realized that there was no defensible

         means of denying Plaintiff’s petition for the subpoena under Rule 27 of the FRCP, and

         that doing so would be contrary to the text of the Rule as well as substantial binding and

         persuasive legal precedent.

     496.         To get around this problem, on information and belief, Judge Nagala colluded

         with Shipman and Goodwin to concoct a scheme wherein a clerk at Littler Mendelson

         working on Plainitff’s matter (Roseman) would allegedly text her clerk, Kuegler, that

         Plaintiff was insane. The entire purpose of this was to defame Plaintiff in the body of the

         docket, by painting him to anyone reviewing the docket—such as anyone who googles

         Plaintiff’s name, from now to eternity—as both insane and a bad lawyer. And a racist.




42
         Plaintiff wishes to highlight that the underlying matter involves Plaintiff’s romantic involvement with Ms.
Parikh, who is an Indian woman, and that Plaintiff himself is the one claiming race discrimination. The propaganda
implication is apparently that (a) white people can never be the victims of racism and (b) that if a white person
wishes to date an Indian woman, it is to engage in a form of race-related sex slavery.

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497.       Judge Nagala also failed to assign the matter to another judge, prompting Plaintiff

   to write to the Chief Judge about the matter to get it ruled on.

498.       After Plaintiff questioned Judge Nagala’s defamatory actions, which constitute

   abuse of the bench for extrajudicial purposes, she forwarded his complaint on March 8 to

   the Statewide Grievance Committee, who sits on it to this day. In her letter, she does not

   indicate which ethics provision she believes Plaintiff breached by filing this complaint.

499.       On information and belief, also around March 8, she placed a call to her friends at

   the FBI in New Haven, and maybe signed a warrant or two for them to play with

   Plaintiff.

500.       On March 10, Plaintiff’s gas was shut off unexpectedly, and, it being winter,

   Plaintiff called to have it turned back on ASAP.

501.       The next day a crew came to Plaintiff’s apartment to turn the gas back on. The

   crew members were older white males, the lead crew member, “Mike” called Plaintiff on

   a phone number that was not listed to him and insisted that they had to come up to the

   apartment to inspect whether the gas had come back on. Plaintiff turned on his cameras.

502.       In the apartment, one of the crew members made a bee line for the furnace air

   filter, and Plaintiff let him take it.

503.       The crew members did not leave their names or identifying information on the

   invoice for the visit.

504.       The weekend prior, Plaintiff had experienced odd symptoms in his apartment,

   dizziness and mild hallucination, that prompted him to don a gas mask, turn off the heat,

   and open up all the windows.




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505.         Plaintiff wrote a letter to Connecticut Natural Gas about the strange visit, and has

   never gotten a response.

506.         On Saturday, April 30, Plaintiff had a book delivered called “Missing 411: A

   Sobering Coincidence.” The subject of the book is strange “accidental drowning” deaths

   happening all over the country that don’t seem to add up. The deaths are quite obviously

   homicides, but are always logged as accidental deaths despite a mountain of contrary

   evidence. The homicides occur in clusters in predominantly democrat-controlled areas of

   the country, and there is frequent involvement of State agencies. (For example, in

   Connecticut, there have recently been two of these deaths at Candlewood Lake, with

   involvement from the Department of Energy and Environmental Protection (DEEP)),

   The victims are predominantly high-potential Christian, white males, and there is

   evidence in most cases that they were held and perhaps tortured for weeks before being

   murdered and dumped in the water.

507.         The book was delivered by USPS and taken out of its delivery sleeve by the

   Postal worker.

508.         On May 2, Plaintiff reported the strange book theft at the local Postal Service

   office.

509.         On the way to the post office, Plaintiff’s care experienced a catastrophic brake

   line failure, nearly resulting in a serious accident. Plaintiff was able to ditch his vehicle

   and escaped unharmed. There was a pinhole rupture in a brake line junction, as though a

   hole had been drilled in it.

510.         On May 2, Plaintiff reported the theft to the Postal Inspector, and has never gotten

   a response about what happened.



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511.      On May 6, while Plaintiff was laying in bed reading (the Missing 411 book-which

   he reordered and had delivered), Plaintiff observed what sounded like an adult male

   skulking around on the restricted-access roof area of his apartment building, directly

   (directly) above where Plaintiff sleeps at night.

512.      Plaintiff was alarmed by this and took three actions (a) emailed the landlord to

   request that the tapes of the roof and access areas to the roof be preserved indefinitely, (b)

   emailed his friends to send a contemporaneous note of the man on the roof, and (c)

   placed a call with 911 to send officers to the building. Within minutes of the 911 call, the

   noise stopped.

513.      The officers dispatched to the building both had Axon body cameras rolling while

   Plaintiff explained to them what had just happened on the roof. The officers, both

   Hispanic, asked Plaintiff if he had had any problems with a former employer, and

   informed Plaintiff that if he wasn’t feeling safe, they could bring him to the hospital.

   Plaintiff declined for obvious reasons. They followed Plaintiff up to his apartment, and

   upon entering the curtilage of the Apartment stopped and scanned for cameras in the

   areas indicated by the letter Plaiintiff wrote to CNG about the March 11 visit.

514.      The next night, May 7, Plaintiff experienced the same off dizziness and mild

   hallucination that he experienced in early March. As in March, he donned a gas mask,

   opened the windows, and turned off the HVAC system. The symptoms stopped.

515.      Plaintiff had his father drive from NY to come pick him up since his car was

   disabled, and he remained in hiding there for the next few weeks.

516.      While he was gone, Plaintiff left his disabled vehicle in the lot of his apartment

   building, such that it would appear to anyone that he was still there.



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517.      On May 11, Plaintiff’s security cameras caught a four-man crew entering his

   apartment unannounced and without any pre-warning from the landlord to again retrieve

   and replace the used furnace air filter (which was not expired, it had been replaced on

   March 11).

518.      The crew enters scanning for the cameras and calls them out immediately upon

   spotting that it is on: “we got a camera.”

519.      One of the two cameras in the apartment did not capture any footage, which is

   impossible; based on the location of the cameras, anyone replacing the furnace air filter

   would have had to trip the second camera.

520.      The camera that got not footage (of what the crew was actually doing in the

   apartment) was powered through the wall, while the camera that got footage was battery

   powered. If power to the apartment had been shut off centrally, Plaintiff would have

   gotten no footage, since the wifi hub to which both cameras are attached is powered

   through the wall. From this it can be inferred that someone was able to contact the

   security camera data provider and suppress one, but not both, of the feeds from the

   apartment that day.

521.      Only one entity can do things like that, on information and belief, the US

   Government, by and through the FBI.

522.      On June 17, Plaintiff was informed by his landlord (30 Arbor St. LLC) that,

   despite his being a good, rent paying tenant who had never been late on rent or violated

   the lease, he was being imminently evicted if he did not vacate by July 31.




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523.       On July 5, 2022, Plaintiff protested the eviction, claiming that 30 Arbor St, LLC

   would not be evicting him if not under the direction of the FBI, who has obviously been

   around the building at various times since at least March, 2022.

524.       The FBI has no lawful and legitimate reason to be surveilling or harassing

   Plaintiff.

525.       Thus, on information and belief, the FBI is unlawfully surveilling and harassing

   Plaintiff to do a favor for Judge Nagala: i.e. to turn her defamatory action into a non-

   defamatory action, by creating a paper record that makes Plaintiff seem insane. For

   example, someone calling the police and saying “crazy” things like: “There’s a man on

   the roof,” and “I am seeing things.” This also has the dual effect of solving the Second

   Amendment violation problem.

526.       But since the latest (May 2022) efforts to have Plaintiff declared insane failed,

   eviction is the only other way to accomplish the goal of dismissing Plaintiff’s second

   amendment claims, which are extremely cut-and-dried, by removing Plaintiff from the

   state entirely. Thus the Second Amendment claims become moot.

527.       On information and belief, Plaintiff has been placed in a criminal and/or terror

   database on Judge Nagala’s orders (“threatening a federal judge”, “racial matters,”

   “racism, ultrarightism, or fascism”), and on this basis appears in a routine background

   check performed by any landlord or employer. Plaintiff thus cannot become employed or

   rent elsewhere and will be driven either onto the street (where he can’t litigate here) or to

   New York.




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  528.       On information and belief, these latest actions undertaken by the FBI are to cover

     up unlawful actions taken against Plaintiff by Judge Nagala and other Defendants, all of

     which were carried out with a discriminatory animus (race, religion) and with malice.

  529.       On July 24, 2022, Plaintiff observed that Parkville Management had hired a new

     night watchman. The job of night watchman involves sitting in a small office all night

     staring at CCTV cameras and porting trash from the building. The previous night

     watchman was an overweight Hispanic man with a goatee who drove a mid-90s model

     Japanese vehicle with faded paint. The new night watchman is a mid-30s, tall,

     physically-fit bald Black man who appeared to Plaintiff an intelligent person. He did not

     strike Plaintiff as the kind of person who would be in that kind of job, particularly in

     2022.

  530.       The day after Plaintiff observed the night watchman, Parkville Management sent

     an email to residents stating that “In the interest of health of our residents and due to lack

     of proper disposal, the 3rd & 4th floor trash rooms will be eliminated. This will go in

     effect August 1st 2022.” Plaintiff lives on the fourth floor.

  531.       Plaintiff responded to this email that “I noticed you just hired a new night

     watchman. Can you tell me his name? He doesn't look like someone that would

     normally be in that job.” Plaintiff received no response.

  532.       On information and belief, the new night watchman is affiliated with either the

     FBI or the CIA.

VI. STATE OF CONNECTICUT JUDICIAL BRANCH, STATEWIDE GRIEVANCE
COMMITTEE.

  533.       On July 25, 2019, after being offered a job at Shipman & Goodwin LLP, Plaintiff

     filed an application for admission to the Connecticut Bar.

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     534.        On September 23, 2020, Plaintiff received a notice from the State of Connecticut

        Judicial Branch, Connecticut Bar Examining Committee that he had been recommended

        for admission to the Connecticut Bar.

     535.        On information and belief, the Connecticut Bar Examiners were made aware of

        the plan to destroy Plaintiff’s life and career based on a known false sexual harassment

        accusation, and waited until after the September 3, 2020 attempt failed to (begrudgingly)

        admit Plaintiff to the Connecticut Bar.

     536.        On March 7, 2022, a week after Plaintiff filed the placeholder complaint43 in this

        action, 22-cv-318, Judge Nagala wrote a letter to the Statewide Grievance Committee

        claiming that, in the 22-mc-3 action, “Plaintiff Indelicato moved to recuse me on the

        basis of my race/ethnicity.”

     537.        Plaintiff moved to recuse Judge Nagala because her relationship with Neha Parikh

        presented a material and obviously disqualifying conflict of interest (which, on cue,

        immediately reared its ugly head), not because of her race/ethnicity.

     538.        Judge Nagala also took issue with the objectively true statement in the

        placeholder complaint filed in this action, 22-cv-318, that “[A]ll of the people involved

        with the text message or the posting of it in the body of the docket [in the 22-mc-3 action]

        were either persons of color or Jews (Kuegler, Roseman, Nagala, anyone at Shipman),

        who all inherently hate Aryans44 like Plaintiff and are working in concert to genocide

        then and destroy America, which they also hate.” One can either describe the




43
         Plaintiff filed that complaint simply to “kick the can down the road” and assert an employment
discrimination claim before the limitations period on same expired.
44
         The word “Aryan” simply means “Indo-European;” it is a more inclusive term than “Caucasian” which we
use today. The idea that this word applies only to people with blonde hair and blue eyes is a myth.

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   Defendants’ actions in racial terms like they do, or rise above that sad state and view it in

   religious terms, as Plaintiff does in this Complaint. Either would be objectively true.

539.      Judge Nagala’s letter cites no rule or rules of professional conduct which Plaintiff

   allegedly violated.

540.      On April 26, 2022, an investigator named Garritt Kelly of the Statewide

   Grievance Committee sent an internal memorandum to Assistant Bar Counsel Paul

   Jensen, summarizing the docket of 22-mc-3 and stating that “Docket entry number 13 is

   specified as, ‘Letter from Lori B. Alexander, Office Managing Shareholder dated

   1/26/2022. (Fanelle, N.) (Entered 1/27/2022).’ A copy of the letter associated with

   docket entry number 13 consists of a two-page letter, apologizing for the unsolicited

   communication. The two-page letter is attached to this file as, Exhibit B. No other

   activity of significance is noted on the record in this matter, to date.” In other words, the

   investigator took no issue with anything Plaintiff said or did, and looked at the conduct of

   Judge Nagala and the attorney at Littler Mendelson (Roseman) as presenting the possible

   ethics violation.

541.      In response to this, without explanation, Jensen then sent a letter to Attorney

   Michael Georgetti of Hartford, leaving the matter open for 110 days within which

   Georgetti could decide whether to open a formal grievance. This operated as a threat of

   disbarment to Plaintiff if he filed this amended complaint.

542.      Plaintiff received these letters the same week that agents were dispatched to, on

   information and belief, disable the brakes in his vehicle and frighten him by skulking

   around on the roof above where he sleeps.

543.      Plaintiff filed the First Amended Complaint in this action on July 13, 2022.



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544.      Defendant Blando sits on both the Connecticut Board of Firearms Permit

   Examiners, as well as the Statewide Grievance Committee.

545.      In naked retaliation, and, on information and belief, under orders from Lieberman,

   Schwartz, Katz, or Nagala, Attorney Georgetti opened a grievance complaint against

   Plaintiff on July 21, 2022, No. 22-0407, under the heading “Misconduct Towards Court

   and Judge.”

546.      The grievance states as follows:

          United States District Court Judge Sarala V. Nagala was assigned a
          case entitled Indelicato v. Shipman & Goodwin LLP, Case # 22-mc-
          00003-KAD. The self-represented plaintiff, Joseph Indelicato, an
          attorney at law licensed to practice in Connecticut, moved to recuse
          Judge Nagala on the basis of her race/ethnicity. The court denied
          the motion to recuse. The plaintiff filed a second motion to recuse
          stating the following:

          “All of the people involved with the text message or the posting of
          it in the body of the docket were either persons of color or Jews
          (Kuegler, Roseman, Nagala, anyone at Shipman), who all inherently
          hate Aryans like Plaintiff and are working in concert to genocide
          them and destroy America, which they also hate. On information
          and belief, an intent of the [recusal] Order was to make Plaintiff
          appear to be a racist and thereby incite racial tension in anyone
          viewing it, in service of an apparent Zionist plan to divide and rule
          the gentiles and destroy America. This was an extra judicial action.”

          The actions of the attorney were referred by Judge Nagala to the
          Statewide Grievance Committee.          The Statewide Grievance
          Committee referred the matter to the New Haven Judicial District
          Grievance Panel for the Towns of Bethany, New Haven and
          Woodbridge to investigate pursuant to Connecticut Practice Book
          Section 2-29(e). Rule 83.2 of the United States District Court,
          District of Connecticut Local Rules of Civil Procedure recognizes
          the Connecticut Rules of Professional Conduct as expressing the
          standards of professional conduct expected of lawyers. Upon
          completion of the investigation, the action and words of Attorney
          Indelicato appear to violate Rule 8.4(4) and Rule 8.4(7).




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547.      The grievance states that objectively true statements in the placeholder complaint

   filed in this action (22-cv-318) were actually stated in the second motion to recuse in the

   22-mc-3 action, to fit them under “[m]isconduct towards a federal district judge.” It is

   just designed to create a short statement for anyone in the audience to read to form an a

   false opinion about Plaintiff and deem him a “racist.” Here is what the second motion to

   recuse actually looks like, for anyone to read:




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548.      The copy possessed by the Statewide Grievance Committee of the Addendum to

   Form Pro Se 7, Dkt. 1 in this action, bears the Electronic Court Filing (ECF) stamp on

   each page containing the matter number. Therefore the examiner knew he was

   misrepresenting the facts in the grievance. In reality, Plaintiff is simply being disbarred

   because he is asserting his Constitutional rights in this action against the Defendants, who

   are supposed to be socially just and perfect people.

                                     VIOLATIONS

                           COUNT ONE – RACKETEERING

                                      All Defendants

549.      All previous allegations are incorporated by reference.

550.      Starting in 2018, Plaintiff came into contact with a series of characters that are

   working together to change the country in a way that is sharply at odds with his vision

   and with the vision of most Americans. Although people with Plaintiff’s vision don’t

   attack people that disagree, people with Defendants’ vision do. Without even really

   giving it a second thought, they work together to ritualistically destroy (by hook or by

   crook) the kind of people that threaten their vision becoming a reality, now or in the

   future. Starting in 2020, a rampage of fanaticism was unleashed that has only recently

   been slowed by overwhelming public disgust, shock, and outrage. By all accounts, this

   has become a kind of well-known ritual in America. We see it happening on the big scale

   to big names, but it has now migrated onto “Main Street” and is happening to nobodies

   like Plaintiff that in 5, 10 years might grow into someone that could have an impact. It

   will soon be happening to children in public schools.




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551.      Plaintiff believes he has explained enough about the nature of Marxist organizing

   both in general, throughout history, and here in America today. The picture that emerges

   from history dating back to the time of Christ is that Christianity and the people that

   practice it are far-and-away the most dangerous people to a Marxist organizing drive.

   Plaintiff is squarely in all the categories of people that were executed by the Cheka

   during the revolution in Russia: spiritual, Christian, outspoken, learned, free-thinking.

   Plaintiff is guilty of “counter-revolutionary activity,” but broke no laws.

552.      Although there is substantial evidence of irregularities in most current events,

   Plaintiff lacks the resources to prove that a racketeering enterprise has developed at the

   level of the Democratic Party, and he is not trying.

553.      The enterprise in this case involves both the wanton destruction of Plaintiff’s legal

   career and obfuscation of same, being as it is that the facts of this case might alert the

   average Joe that something bigger really is happening. The purges always start in the key

   industries and then ripple outward as more institutions are captured, so Plaintiff is a

   canary in a coal mine. The ongoing efforts to exclude Plaintiff from the legal industry

   and silence his protests of same constitute a racketeering enterprise.

554.      The Defendants’ pattern of behavior over the course of four years—particularly as

   it occurred in conjunction with a knowledge of his student loan burden—is related and

   continuous and was together intended to reduce Plaintiff to a condition of peonage within

   the meaning of 18 U.S.C. §§ 1961(1)(B), 1341, 1343, 1581, and has done so. The

   enterprise is open-ended and grows with Plaintiff’s every attempt to break out of Woke

   prison, which is why the Plaintiff has named DOES 1-20.




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555.      Plaintiff is presumably permitted to be employed in other industries, but not the

   legal industry where, if he grows into an adult lawyer, he could in the future fight the

   corruption descending on the country.

556.      The racketeering enterprise is an open-ended scheme that continues to this day,

   with Plaintiff filing this lawsuit under explicit threat of disbarment. In other words, if

   Plaintiff objects to being reduced to peonage, he will still be reduced to peonage by the

   involvement of new participants (the relevant licensing associations, false witnesses,

   police, hospitals, etc.), who each stand to benefit from the continued success of the

   enterprise (which requires that Plaintiff’s assertions/moral character be discredited).

557.      On information and belief, Plaintiff has applied to all or nearly all employee

   benefits associate attorney positions, posted and unposted, in the New York, Connecticut,

   DC, and Texas markets since January 2021.

558.      As a result of the enterprise, Plaintiff’s former friends do not speak with him

   anymore, presumably because they have been threatened or otherwise forced to tow the

   Party line with respect to him. Accordingly, Plaintiff cannot explore jobs in other legal

   markets, because due to his religious and political beliefs, he has no potential references

   and cannot waive in. (In addition to all the problems his fight will cause in future

   character-and-fitness examinations.)

559.      The open-ended nature of the scheme is demonstrated well by the Defendants’

   response to Plaintiff’s June 9, 2022 LinkedIn article titled “MLK was named after the

   man who invented systemic racism.” The post contains the quotation from Martin

   Luther’s On the Freedom of a Christian, Appendix A, infra. By all accounts, these are

   incredibly positive and uplifting words for anyone to read regardless of skin color and



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   contain no offensive or anti-Semitic content (unless Jesus is now considered anti-

   Semitic). Plaintiff made this post in conjunction with his job search. E.g., since religion

   is now a big deal in the workplace, Plaintiff wanted to show employers how his religion

   deals with the concept of diversity, ideas that Dr. Martin Luther King, Jr. obviously

   concurred with and found to be as inspiring as Plaintiff does.

560.      In response, on Saturday, June 11, Plaintiff received a job alert from

   www.gobiglaw.com about a paralegal job at Reed Smith in Philadelphia. Plaintiff has his

   profile configured to send him alerts about employee benefits and executive

   compensation associate attorney jobs, and has never once received an alert from

   www.gobiglaw.com about a legal staff, paralegal or support position. This was the Party

   recruiter’s way of telling Plaintiff that because of his post about Christianity, he is now

   going to be working as a paralegal at best and could lose his law license. Up until that

   time, Plaintiff never once received an alert about any such legal staff job.

561.      The Defendants each stand to benefit from the racketeering enterprise financially.

   The continued existence of the enterprise virtually guarantees that each of the Defendants

   will be wealthy and powerful. If society were to return to one in which merit is the

   primary determinant of economic earning potential—rather than compliance with an alien

   religion and political system—each of the Defendants would very likely end up less

   wealthy and powerful, or at least have to work harder and be less lazy to achieve that

   result. Eliminating the white, European Christians is a real financial boon for all

   involved. Monopoly capitalism is generally more profitable than laissez-faire capitalism.

562.      The continued existence of the enterprise requires that no one declare Wokeness a

   religion within the meaning of the First Amendment, at a minimum. As it stands,



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   Defendants’ actions are considered dirty politics only, with the target excluded not

   because of a religious disagreement, but instead because he is a “bad person” and a

   “racist” for rejecting Wokeness.

563.      The role played by each of the Defendants in the enterprise is set out in the

   relevant Specific Allegations, supra. Defendants were either involved in setting him up

   for a fall, executing the fall, or covering up the fall, sometimes multiple, all actions in

   furtherance of the racketeering enterprise set out herein. To summarize:

       a. Georgetown refuses to help Plaintiff find legal employment, despite being part of

          the reason he has none. Why is Plaintiff, an honors graduate of Georgetown Law,

          so durably unemployed? Surely his story is compelling enough for even one

          person in the entire legal industry to lend a helping hand. Are they all such good

          buddies of the folks at Shipman as to think them above any wrongdoing?

          LinkedIn has been directed to hide Plaintiff’s social media activity from graduates

          of Georgetown Law. Could this have something to do with the school wishing to

          conceal this program, so that it can continue entrapping Christian students who

          should run as far away from that place as possible? Could it be so that people

          don’t come to view a Jesuit institution as having lost its Christian roots?

       b. Shipman has, as far as Plaintiff can tell, filed false police reports against Plaintiff,

          tried to have him admitted to a mental ward at least twice, and widely defamed

          him directly or indirectly throughout the entire legal business (so as to conceal the

          nature of why he is so durably out of work), as well as coordinated the actions of

          all the other Defendants.




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   c. Ms. Parikh’s role in what has occurred with Plaintiff is well known. She has sat

      there for a year and a half like a mute.

   d. The EEOC and CHRO failed to investigate Plaintiff’s charge of discrimination,

      and neglected to even issue him a routine subpoena so that he could acquire the

      exonerating text messages between himself and Ms. Parikh, which alone would

      have been enough for him to move on with his life and get back to work. There is

      evidence that the CHRO—who Plaintiff did not appear before in any respect, no

      point—is preparing to lie wholesale about Plaintiff if he files this suit, seeing as

      how their “investigation” yielded “multiple incident reports” of sexual

      harassment. This is a bold-faced lie, but will the public believe the government,

      or Plaintiff? We will find out.

   e. Judge Nagala prevented Plaintiff from acquiring the exonerating text messages

      which would have allowed his legal career to continue, and did so for the sole and

      only purpose of excluding Plaintiff permanently from the legal profession. She

      did this in concert with calling him a racist in the body of the docket (in the 22-

      mc-3 action), despite the fact that she knew Plaintiff was innocent, and that

      Plaintiff had been viciously defamed by her friend Neha. The average person has

      no idea that the kinds of things such as have occurred in this lawsuit are even

      possible, so when the average person reads that Judge Nagala thinks Plaintiff is a

      racist, they are going to believe what she says, and she knows it. This can result

      in a person’s death. But that evidently not being enough to whet her whistle, after

      Plaintiff filed this action in February, on March 8, she forwarded the complaint on

      to the Statewide Grievance Committee, not citing any ethical rules that Plaintiff



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      violated (because he did not violate any), but just hinting at the fact that one of the

      Christian slaves is protesting, and let’s see what can be done about it, as though

      this is Pakistan. This action was nothing other than a threat against Plaintiff to

      keep his mouth shut. And it was followed up with a call to her old colleagues at

      the FBI, and maybe she signed a warrant or two. On May 10 they shut off

      Plaintiff’s gas and sent a crew in to the apartment the very next day. Let’s ask:

      what is the lawyerly thing to do? Become a slave just so you all can wreck the

      country on the basis of your inane and misguided beliefs? So Plaintiff has created

      one document for you all to read instead.

   f. The FBI then dispatched people to Plaintiff’s apartment complex at least twice, on

      March 11, May 6 and 7, and May 11. A crew is on tape in his apartment on May

      11—one of two cameras didn’t have footage, which means, on information and

      belief, that there was another warrant to suppress the recordings—and now

      Plaintiff is being evicted (30 Arbor St. LLC). What gives you the right to do this,

      FBI? What laws has Plaintiff broken? Why are you treating Plaintiff like UBL?

      If you are treating Plaintiff like UBL, then aren’t you UBL?

   g. The Connecticut Board of Firearms Permit Examiners have unlawfully failed to

      extend a clearly qualified, mentally competent individual a firearms permit

      contrary to black-letter law, ostensibly because their cronies at Shipman told them

      not to. The point of the Second Amendment is in part is to prevent people from

      doing the kinds of things Shipman did: you don’t do stuff like that because

      someone might pick up a gun and use it on you. Scary as it perhaps is to

      evildoers, here in America that is an implied right that the people have, and this



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      case is a good illustration of why that right is in there. The entire reason the

      Second Amendment is in the Constitution is to prevent people from doing such

      horrible things to one another. Perhaps the founders envisioned a society where

      there would be a “floor” to misconduct such that, below that, the person with

      nothing left to lose might just do something about it, so maybe don’t do such bad

      things to them, and if you do, help them up--unless you want to be called a

      criminal yourself. Now, Plaintiff would never use a gun for an offensive purpose,

      but when the FBI was on his roof in May harassing him and God knows what

      else, he was terrified and certainly wished he had a gun on him. Failing to issue

      Plaintiff a firearms permit is yet another effort designed to exact tyranny on his

      person and drive his face into the dirt and into slavery. For the role of firearms in

      preventing large-scale atrocities, see generally Jews for the Preservation of

      Firearms Ownership. http://jpfo.org/ Had Black Americans been extended the

      right to own firearms, slavery would not have been possible.

   h. 30 Arbor St. LLC informed Plaintiff by letter dated June 17, 2022 that it is

      evicting Plaintiff if he does not vacate the premises by July 31, 2022. Plaintiff is

      a good, rent-paying tenant who has never violated the lease in any respect, and up

      until this Spring was well-liked by Management. But then the FBI told them that

      one of the tenants in the building is a “terrorist” under investigation by them, and

      forced them to comply with their demands. Among those demands was letting

      agents onto the restricted-access roof area of the building on the night of May 6 to

      have someone creepily skulk around on the roof directly above where Plaintiff

      sleeps. The intent of this action was to scare Plaintiff and prompt a “crazy”



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                  sounding 911 call: “I am hearing things; there is a man on the roof.” The landlord

                  thus permitted the FBI to paint the Plaintiff as a lunatic who shouldn’t be trusted,

                  as well as someone who shouldn’t own a firearm. The next night, the Plaintiff

                  was poisoned, but donned a gas mask and then fled. Then on May 11, a crew is

                  captured entering Plaintiff’s unit to retrieve the used furnace air filter (evidence of

                  the poisoning, likely an atomized hallucinogen). The FBI likely gets a warrant to

                  seize the recording of what the crew actually did in the Unit. The contemplated

                  eviction action permits the Court to dismiss this action: it will do so on bogus

                  grounds for all claims, but since Plaintiff has never been declared insane despite

                  the multiple attempts, it will not be able to dismiss the cut-and-dried Second

                  Amendment claim (Count Six, infra) unless Plaintiff is no longer a resident of

                  Connecticut By evicting Plaintiff without cause, Plaintiff will have to vacate the

                  State: he cannot rent now because the FBI, on information and belief, has him

                  appearing as a “terrorist” in background checks, and if he doesn’t find a new

                  place, he will end up on an eviction blacklist starting July 31 and will be forced

                  either onto the street or back to New York. And as a result Count Six will be

                  dismissed on the ground of mootness.

             i. Statewide Grievance Committee’s grievance No. 22-0407 proves in a particularly

                  obvious way the veracity of the claims in this lawsuit. Connecticut was chosen as

                  the venue for Plaintiff’s destruction because of how deep the corruption in this

                  state runs; it is simply gone.45 Shipman & Goodwin obviously orchestrated the


45
          For anyone reading, this is how Connecticut transformed from a proud manufacturer of the nation’s finest
industrial goods, hand tools, and firearms into the corrupt third-world trash heap it is today. You don’t know this,
but all the roads leading to the Colt factory have potholes 6 feet wide. Colt lost its contract to make the M4 service
rifle the year after Sandy Hook, which also produced Remington’s bankruptcy.

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          Statewide Grievance Committee’s action in naked retaliation for Plaintiff’s filing

          the amended complaint. Apparently in Connecticut, certain groups that are the

          subject of this lawsuit fancy themselves above the law, including the highest law

          of our country, the U.S. Constitution. Shipman’s intent in orchestrating the

          disbarment is rather obviously to funnel the relevant fact finding in this action

          into a shady hearing without procedural safeguards to condemn Plaintiff, because

          he is at risk of escaping the condemnation they orchestrated in 2020, which was

          intended to be fatal. The reason Plaintiff avoided the CHRO proceeding is

          because it would have produced a similarly corrupt and bogus result. Plaintiff is

          not playing on Shipman’s corrupt field and disregards this joke of a grievance.

 COUNTS TWO & THREE – EMPLOYMENT DISCRIMINATION, RETALIATION

                                Shipman & Goodwin LLP

564.      All previous allegations are incorporated by reference, including as set forth in

   Plaintiff’s Addendum to Form Pro Se 7, Dkt. 1-1 of this action (February 28, 2021).

   Plaintiff supersedes the word “Aryan” in those paragraphs and replaces it with “white,

   European.” Plaintiff’s analysis of Wokeness advanced beyond the secular notion of race

   after that filing and now includes the complete picture, incorporating the relevant

   theology. For all intents and purposes, from the perspective of Wokeness, which is a

   secular, racial creed, race and religious discrimination are indistinguishable. E.g., the

   average Woke practitioner will attribute to a white, European (“Aryan”) person features

   that are actually of Christianity and Christians, but won’t know the difference, thinking

   the features flow from “whiteness.” (This is the same analytical error Hitler made, and

   Plaintiff apologizes for falling into that trap; also why the Russians call the Ukrainians



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         “Neo-Nazis.”) From the more complete perspective of Christianity, which this lawsuit

         generally proceeds from, the Woke religion is at odds with the Christian religion first and

         then collaterally the white, European people that practice it.

     565.         Shipman hired Plaintiff with the intent of removing him from the profession in

         ritualistic, spooky, occult-like fashion and went through with it despite it being both

         unlawful and plainly wrong.

     566.         Shipman placed Plaintiff through a gauntlet of tests designed to get him to slip up

         and form a basis for his exclusion from the legal profession (condemnation): (a) the

         “honeytrap” test, (b) the performance and competency test, and (c) the ideological test.

     567.         Plaintiff passed both the “honeytrap46” and performance/competency tests, which

         were tough in their own right, but failed the unpassable ideological test when on August

         27, 2020 he failed to attend a training session about systemic racism. The session was

         structured as an adhesion contract, whereby all attendees consented to take action to

         reduce systemic racism in the legal profession, which in Plaintiff’s case seemed to mean

         giving up his job. Thus if he attended, the whitest, most European, most Christian, most

         heterosexual male would lose his job the easy way. If he didn’t he would lose his job the

         hard way through a bogus, known false sexual harassment and/or retaliation termination,

         which is what ended up happening. Since “systemic racism” is really just the Holy Spirit,

         and Wokeness is really just a secular, racial creed that says that “white people originally

         from Europe” are evil, this discriminated against Plaintiff on the basis of his race and




46
          This refers to the initial efforts to get Plaintiff to sexually harass Ms. Parikh in December, 2019. Neha in
part helped Plaintiff pass this leg of the test by going on the date with him. She was not supposed to do that. Most
likely that is why she did not mention it in her subsequent complaint; she didn’t follow someone’s orders.

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   religion. The import of the choice was to force Plaintiff to renounce the cross and lose a

   lot or fail to renounce the cross and lose everything.

568.      The use (abuse) of sexual harassment as the pretext was intentionally malicious.

   Satanists at Shipman, experts in the sexual harassment law which they wrote, know that

   you can literally kill somebody using it, and the accused person can’t do anything to stop

   it. It just becomes “your truth vs. my truth,” there is no objective truth, and on that

   subjective truth, a human life—the enemy, a Christian—goes poof or becomes a slave.

569.      As you can see, Plaintiff thinks that if all of this were about real equality, then his

   perspective would be allowed. But since it is not about equality, and rather about money

   and power, his perspective is not allowed. The difficult reality for some is that so long as

   Christianity is allowed, it will always predominate because people like it and naturally

   gravitate toward it. Therefore unless Christianity is totally eliminated, the people

   clinging to the Spirit, along with their religion, will always claw their way back. This is

   why the Bolsheviks criminalized Christianity in Russia; it has to be torn out at the root.

570.      It was unlawful to create a situation where Plaintiff had to choose between the

   cross and his paycheck. At a gut, instinctual level—which is all anyone had at that point,

   the Church still hasn’t caught up—Plaintiff chose the cross, and here we are. Either way,

   Plaintiff was targeted for being a white, European Christian and for only that reason.

571.      There is no point in discussing or reciting the facts further. Plaintiff has been

   discriminated against, retaliated against, and treated disparately vis similarly situated

   persons, within the meaning of Title VII of the Civil Rights Act of 1964, 42 U.S.C. §§

   2000e-2, 2(a)(1), 2000e-3(a); Conn. Gen. Stat. § 46a-60(a), both during and after his

   employment at Shipman, because he doesn’t follow the Woke religion.



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572.        Plaintiff was fired for “retaliating” against Neha Parikh despite the fact that the

    firm was fully aware that her complaint was false and that she was impermissibly

    spreading false rumors claiming that Plaintiff was a sexual harasser in contravention of

    the firm’s own not guilty conclusion reached in fifteen minutes on September 3. It was

    not a close call, Plaintiff was not guilty of sexual harassment, and dating between

    coworkers was permitted. Plaintiff was terminated with cause for his “retaliation”

    despite being cleared of the underlying sexual harassment charge, while in the past,

    Jewish attorneys at Shipman were not fired despite being guilty of sexual harassment.

    These people have gone on to have stellar careers, Plaintiff has no career.

573.        Plaintiff did not sexually harass Neha Parikh nor did he retaliate against her. He

    didn’t walk on eggshells around her because her brown skin color makes no difference to

    him. He wrote this lawsuit in part so that she, and people like her, could see that there is

    a better way.

                     COUNT FOUR – WRONGFUL TERMINATION

                                  Shipman & Goodwin LLP

574.        All previous allegations are incorporated by reference.

575.        By abusing, terminating and retaliating against Plaintiff on the basis of his deeply

    held personal beliefs protected by the First Amendment to the United States Constitution

    (racial interest, religious, political and philosophical beliefs, and sexual orientation), as

    set forth fully above, Defendants have violated Conn. Gen. Stat. § 31-51q.

                          COUNT FIVE – FIRST AMENDMENT

Shipman & Goodwin LLP, EEOC, CHRO (Hughes), FBI, Hartford Police (Thody), Nagala;

                         Statewide Grievance Committee (Berger)



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576.       All previous allegations are incorporated by reference.

577.       The allegations in this Count are directed at Shipman & Goodwin, to the extent it

   is considered a government instrumentality with respect to the actions described in this

   lawsuit, as well as the EEOC, CHRO (Hughes), FBI, Hartford Police (Thody), Judge

   Nagala, Statewide Grievance Committee (Berger) (collectively the “Federal, State, and

   Local Government Defendants”).

578.       As described in the General Allegations, Wokeness is a comprehensive belief

   system rising to the level of a religion within the meaning of the Free Exercise and

   Establishment Clauses of the First Amendment to the United States Constitution.

579.       By failing to investigate Plaintiff’s charge of discrimination, failing to issue a

   routine subpoena (the subject of the 22-mc-3 action), engaging in unlawful surveillance

   and harassment, knowing, willful and malicious defamation, institutional blacklisting,

   physical threats, direct and indirect threats of forcible confinement, and threats of

   disbarment against Plaintiff for pursuing his discrimination action, the Federal, State, and

   Local Government Defendants are working to prevent any court from declaring

   Wokeness a religion within the meaning of the First Amendment (e.g., to silence dissent).

   The Federal, State, and Local Government Defendants are pursuing this goal by

   committing unlawful and unethical acts to intimidate, harass, defame, hinder, and block a

   Plaintiff with a case that seeks to do just that.

580.       Therefore, by their actions the Federal, State, and Local Government Defendants

   are actually establishing a State religion called Wokeness, by using the powers conferred

   upon them as agents of the relevant federal, state or local government to prop up the

   Woke religion as the dominant religion to be practiced in all public and private



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   institutions in the United States and suppress by coercion any challenges to that state of

   affairs. To the extent Wokeness is never declared a religion, it can be passed off to

   employees at all of these institutions as a secular-only belief system that people of all

   faiths, including Christianity, must follow or otherwise suffer material financial penalty,

   termination, and unemployment. The effect of that is to force Christians to renounce the

   cross.

581.        The Federal, State, and Local Government Defendants are thereby also preventing

   Christian employees of any of these institutions from exercising Christianity by simply

   saying “no” to Wokeness, in violation of the Free Exercise Clause of the First

   Amendment to the United States Constitution. If Wokeness were deemed a religion, then

   it would be treated as any other religion, and employees could not be penalized for their

   disagreement with it, which all Christians by the nature of their faith should probably do

   in whole or in part. The present state of affairs makes any Christian saying “no,” or even

   preaching the gospel in response, subject to claims that it is them that is proselytizing,

   etc.

582.        Defendants Nagala and Berger (Statewide Grievance Committee) undertook their

   actions in attempting to disbar Plaintiff in naked retaliation for making objectively true

   statements that they happen to believe are offensive. As stated by the United States

   Supreme Court in in Rosenberger v. Rectors and Visitors of the University of Virginia

   (1995), “When the government targets not subject matter but particular views taken by

   speakers on a subject, the violation of the First Amendment is all the more blatant.

   Viewpoint discrimination is thus an egregious form of content discrimination. The

   government must abstain from regulating speech when the specific motivating ideology



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    or the opinion or perspective of the speaker is the rationale for the restriction.” The

    concerns expressed by the Court apply with particular force when it comes to regulating

    the speech of lawyers, who take an oath to protect and defend the Constitution against all

    enemies, foreign and domestic, and sometimes have to make controversial statements to

    advocate for their clients (even if they are self-represented).

                         COUNT SIX – SECOND AMENDMENT

Frank Blando (CBFPE) and/or Jason Thody (HPD); Shipman & Goodwin LLP; FBI; Nagala

 583.       The CBFPE’s actions to delay a decision on Plaintiff’s concealed carry firearms

    permit application (filed with HPD on March, 2021) until May, 2024, while Shipman &

    Goodwin, the FBI and Judge Nagala simultaneously undertake their premeditated and

    false efforts to have Plaintiff declared insane (undertaken for various public as well as

    personal reasons, as may be the case with Judge Nagala), such as occurred in October,

    2021, November, 2021, and May, 2022, as well as efforts to have Plaintiff evicted from

    his residence in the State of Connecticut and placed on an eviction blacklist to drive him

    out of the state before the May, 2024 hearing, constitute backdoor (“constructive”)

    attempts to abridge his right to keep and bear arms granted by the Second Amendment to

    the United States Constitution.

 584.       Plaintiff is not a threat to Judge Nagala and would never do physical harm to her

    person, and surveillance of Plaintiff emanating from any complaint of hers has nothing to

    do with legitimate or rational fear over her safety, but rather is being used as pretext to

    surveil and torment Plaintiff so that he would be less likely to file this action at all (or, if

    he does, to claim he is just a lunatic making no sense).




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585.       Plaintiff is a mentally competent attorney admitted in three jurisdictions and

   before three federal courts, with no adverse criminal or mental health record whatsoever,

   who should have been a shoe-in for a concealed carry firearms permit. The delay

   imposed on Plaintiff’s application is likely the longest in United States history; in effect

   the CBFPE (Blando) and/or HPD (Thody) is saying that it doesn’t need to follow the

   dictates of the Second Amendment, and can subjectively decide who has Second

   Amendment rights.

586.       Because Shipman & Goodwin, the FBI, and Judge Nagala’s actions against

   Plaintiff are being undertaken at bottom because of his disagreement with the Woke

   religion—i.e., the fact that he is a white, European Christian—and to cover up how badly

   he has been tormented for that, the import of the CBFPE (Blando) and/or HPD (Thody)’s

   action in constructively denying Plaintiff a concealed carry firearms permit amount to a

   direct and express effort to reduce white, European Christian people to a condition of

   slavery in the United States. The importance of firearms ownership rights in preventing

   large-scale atrocities and slavery are well-understood, and by their actions, Defendants

   named in this Count appear to be directly pursuing a genocide against the racial and

   religious class Plaintiff belongs to.

587.       The actions, individual and collective, of Defendants in destroying Plaintiff’s life

   are not an appropriate basis to prevent a citizen from owning a firearm. It is

   impermissible to destroy someone’s life for no reason, and then use your own actions as

   pretext to deny him a firearm so that other parties can join in and continue pummeling

   that person into the dirt until they become a slave. If Plaintiff were able to exercise his

   Second Amendment rights, it is conceivable that the Defendants would think twice about



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   the kinds of things they have done and continue to do to him, and Plaintiff’s life would

   recover. Plaintiff would never use a gun for an offensive purpose, but given the nature of

   the threats made to his person—which after his filing this lawsuit may include

   assassination attempts—Plaintiff is the kind of person who would like to carry a gun for

   defensive reasons, and is clearly qualified to own one within the meaning of applicable

   Connecticut law, Conn. Gen. Stat. §§ 29-26, et seq.

588.      Plaintiff duly protested the actions of the CBFPE (Blando) and/or HPD (Thody)

   by letter dated April 5, 2022, reproduced below.




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                      COUNT SEVEN – FIFTH AMENDMENT

                                     All Defendants

589.      All previous allegations are incorporated by reference.

590.      The Defendants’ actions to exclude Plaintiff from the legal profession were

   undertaken with premeditation from the get-go to result in Plaintiff’s disbarment.



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     591.        For example, with the August 29, 2020 email, Schwartz hints that sexual

        harassment is a ground for disbarment in the State of Connecticut. The reason Shipman

        & Goodwin denies the existence of that email, pictured supra, is because in the official

        narrative, the firm was not supposed to have known about Ms. Parikh’s sexual

        harassment accusation until September 1.47 They would like you to believe that it was

        just a coincidence that the August 27 training, that email, and Ms. Parikh’s complaint

        three days later all just happened to occur in that order. The choice was simple: either

        consent to termination because you are a white, European, heterosexual, Christian male

        or we will wreck your life and go for your license. Plaintiff has faced this fundamental

        choice for almost two years now. Constructive disbarment, or real disbarment.

     592.        These efforts have carried forth to this very day, with all Defendants undertaking

        separate and collective efforts to destroy Plaintiff’s life and reputation and ground an

        action for his disbarment, as detailed herein.

     593.        The Defendants have together and separately created a situation for Plaintiff in

        which he had to file this lawsuit against his wishes. Plaintiff did everything he could to

        avoid this lawsuit. The nature of the lawsuit is such that, because of the topics involved,

        whoever makes these arguments about the Woke religion and its connection to Judaism

        will suffer extreme reputational penalties. Plaintiff had no practical choice.

     594.        Because by all indications his making these arguments—which are the only way

        he can possibly remain in practice—will simultaneously cause his disbarment, for all




47
          For those following, this would mean that Neha saw that email and then decided a few days later to accuse
Plaintiff of sexual harassment without mentioning the date the two had gone on, this is an acknowledged fact. Either
she is (a) just being a crazy girl doing that, or she is (b) mad because Plaintiff didn’t go to the August 27 Woke
training, or (c) following orders. Either way, the September 1 sexual harassment complaint wasn’t filed in good
faith, and Plaintiff shouldn’t have been terminated, much less tormented in the manner he was over it.

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   intents and purposes Plaintiff has been excluded from the legal profession, formally or

   informally, permanently and without cause, for the sole reason that he disagrees with the

   Woke religion and instead prefers the Christian religion.

595.       Because in undertaking their actions, the Defendants are serving the apparent

   interests of the United States government under the Biden administration, the actions are

   undertaken in service of a public purpose within the meaning of the Fifth Amendment. In

   effect, it is the policy of the United States Government that white, European, Christian

   males who choose not to consent to the Judaizing religion called Wokeness are no longer

   permitted to be attorneys. As explained supra, this is occurring for the apparent purpose

   of suppressing resistance to efforts to implement global socialism. As Solzhenitsyn

   explains, an identical process occurred in the Soviet Union, with non-Party attorneys

   being stripped of their law licenses and being sent to gulag, frequently on the basis of

   false accusations of sexual misconduct. See Appendix A.

596.      These actions constitute an impermissible and uncompensated taking of Plaintiff’s

   property—his law licenses—within the meaning of the Fifth Amendment to the United

   States Constitution. If the taking proceeds, Plaintiff must be duly compensated by the

   United States government.

597.      The Statewide Grievance Committee’s ridiculous grievance action essentially

   concedes this violation.

                      COUNT EIGHT - EIGHTH AMENDMENT

                                     All Defendants

598.      All previous allegations are incorporated by reference.




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 599.       Defendants’ actions, individual and collective as detailed herein, to punish

     Plaintiff for rejecting the Woke religion amount to a cruel and unusual punishment within

     the meaning of the Eighth Amendment to the United States Constitution.

        COUNT NINE – SECTION 1983, FOURTEENTH AMENDMENT, BIVENS

Tanya Hughes, Jason Thody, Frank Blando, Matthew Berger; Christopher Wray, Feng K. An,

                                        Judge Nagala

 600.       All previous allegations are incorporated by reference.

 601.       Defendants Tanya Hughes, Jason Thody, Frank Blando, and Matthew Berger

     undertook their actions in depriving Plaintiff of his rights under the First, Second

     Amendment to the United States Constitution (Counts Five, Six, Seven, and Eight) acting

     under color of State law (the organic acts that give them power over Plaintiff and other

     citizens of the State of Connecticut) and thereby violated Section 1983 of the Civil Rights

     Act of 1866 as well as the Equal Protection Clause of the Fourteenth Amendment to the

     United States Constitution.

 602.       Defendants Christopher Wray, Feng K. An (each of which are ultimately

     responsible for the actions of their subordinates, such as, with Mr. Wray, agents operating

     out of the New Haven and Hartford FBI branch and Hartford Fusion Center, and with

     respect to Ms. An, the Boston Area EEOC Field Office, to which Plaintiff submitted a

     charge of discrimination), and Judge Nagala undertook their actions in depriving Plaintiff

     of his rights under the First, Second, Fifth, and Eighth Amendments to the United States

     Constitution (Counts Five, Six, Seven, and Eight) acting under color of Federal law (the

     organic acts that give them power over Plaintiff and other citizens of the United States of

     America) and thereby violated the holding of the case Bivens v. Six Unknown Named



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   Agents, 403 U.S. 388 (1971) as well as the Equal Protection Clause of the Fourteenth

   Amendment to the United States Constitution.

                    COUNT TEN – FAIR HOUSING ACT OF 1968

                                     30 Arbor St. LLC

603.      All previous allegations are incorporated by reference.

604.      Defendant 30 Arbor St. LLC, whether on its own accord or, on information and

   belief, under the explicit direction of the FBI and its agents, by letter dated June 17, 2022

   threatened to evict Plaintiff if he does not vacate by July 31.

605.      Plaintiff is a good, rent-paying tenant who has never failed to pay rent or violated

   his lease, and who until March, 2022 had a very good relationship with his landlord.

606.      On information and belief, FBI lied to 30 Arbor St. to cause them to evict him

   (such as by claiming he is a terrorist), or otherwise directly instructed them to evict him,

   for the purpose of dismissing Count Six (Second Amendment) in this action on the

   ground of mootness and obfuscating the truth of Count Twelve (Defamation of

   Character). (The FBI knows that, if Plaintiff tries to rent anywhere else, he won’t be able

   to because they have placed him in a terror database of some kind. Thus this action was

   intended to force Plaintiff out of the State of Connecticut and either onto the street or (in

   shame) back to his parents’ home in upstate NY. This action—forcing Plaintiff back to

   upstate NY—was itself hinted at as far back as March, 2020 by Shipman.)

607.      The FBI and the other Defendants’ actions in furtherance of this unlawful scheme

   to reduce Plaintiff to peonage (Count One) is being undertaken at bottom to torment and

   punish Plaintiff for his race and religion. Therefore, Defendant 30 Arbor St. LLC’s




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   contemplated eviction action is itself poisoned by discriminatory animus, in violation of

   Title VIII of the Civil Rights Act of 1968 (the “Fair Housing Act”), 42 U.S.C. § 3604.

                 COUNT ELEVEN – FEDERAL TORT CLAIMS ACT

                                United States of America

608.      All previous allegations are incorporated by reference.

609.      Defendants’ actions—in particular failure to investigate Plaintiff’s charge of

   discrimination, failure to issue a routine subpoena, bending or breaking the law to prevent

   Plaintiff from acquiring the evidence sought by the subpoena (22-mc-3), unlawful

   surveillance and harassment on Plaintiff’s person, defamation of Plaintiff’s character,

   placement of Plaintiff in a database of political “subversives” or “terrorists,” preventing

   Plaintiff from exercising his Constitutional rights and intentionally depriving him of such

   rights—amount to intentional torts within the meaning of the Federal Tort Claims Act.

   Specifically defamation, attempted kidnapping, nuisance, intentional infliction of

   emotional distress, and assault (May 6—agents on roof).

               COUNT TWELVE – DEFAMATION OF CHARACTER

Shipman & Goodwin LLP; United States of America; Judge Nagala; Neha Parikh; Berger

610.      All previous allegations are incorporated by reference.

611.      Defendant Shipman & Goodwin LLP defamed Plaintiff by terminating him for

   “retaliating” against Neha Parikh despite their knowledge that he did not sexually harass

   her, and had been permitted to deal with her directly to get her to stop spreading false

   rumors about him.

612.      Subsequently, Defendant Shipman & Goodwin has spread those original lies to all

   the other Defendants, with the ultimate result being this lawsuit, as the circle continually



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   widens. Anyone can infer that the new participants to the circle must be being told some

   kind of tale that Plaintiff is a monster and a danger to society (e.g., the “full Lansa’), and

   therefore conscripting new participants into the orgy of lies. These individual instances

   of defamation included at a minimum (a) filing a false police report against Plaintiff with

   the Hartford Police Department in October, 2021 and (b) in November, 2021 directing

   the Connecticut Mental Health Center - Metropolitan Mobile Crisis Unit to appear at his

   door in retaliation for his filing a charge of discrimination with the EEOC and publishing

   same on LinkedIn, as well as (c) directing the CBFPE and Hartford Police Department to

   not issue Plaintiff a concealed carry pistol permit despite his being clearly eligible for

   one.

613.      On information and belief, Shipman & Goodwin, perhaps by and through Dan

   Schwartz (EEOC) and Joette Katz (Courts), instructs the EEOC and CHRO (who are

   charged by statute with helping people in Plaintiff’s situation) not to investigate his

   discrimination charge and also fail to issue him a routine administrative subpoena on T-

   Mobile. This then prompts the 22-mc-3 action, which is also used as a platform for

   defamation.

614.      Shipman & Goodwin concocts a sinister defense strategy by and through former

   counsel Littler Mendelson LLP to have an associate of that firm allegedly text Judge

   Nagala’s clerk in the 22-mc-3 action that Plaintiff was mentally unstable, all so that

   Judge Nagala would then have a basis to falsely condemn Plaintiff for the entire world to

   see by calling him insane (parroting back the bogus text) in the body of the docket, which

   she also chose to augment by calling Plaintiff a racist, too. Both of these actions were

   undertaken with actual malice and knowledge of falsity—Plaintiff is not a “racist” and



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         asked Judge Nagala to recuse herself for very legitimate and plainly obvious reasons (she

         knows Neha Parikh, directly or indirectly), nor is he insane (he has evaded all the

         attempts)—and were unusual actions calculated to cause irreparable damage to Plaintiff’s

         reputation. If she was involved with the Littler Mendelson scheme, she must also have

         understood the reasons for the scheme, which is to destroy Plaintiff’s life on known false

         and bogus grounds and turn him into a slave. In Pakistan Christians are slaves (they

         clean the toilets) but not here.

     615.         She then upped the ante when, after Plaintiff filed the complaint in this action on

         February 28, she by a letter dated March 8 filed a complaint with the Statewide

         Grievance Committee on unspecified grounds, and without naming any ethics violations

         committed by Plaintiff. Lawyers are allowed to tell the truth—including inconvenient

         ones—and practice Christianity, Plaintiff thinks.

     616.         These actions were undertaken not in the scope of Judge Nagala’s duties or

         because of a genuine concern for her own safety, etc., Plaintiff would not stoop as low as

         her and her comrades,48 but rather in connection with her duties to the Woke religion and

         the racketeering enterprise detailed in Count One.

     617.         On information and belief, she followed all this up with a call to the FBI, New

         Haven branch on or around March 8 (pretext “threats against a federal judge,” or

         “subversive activity; racial matters; telling truth about Hitler”). This resulted in a crew

         being in Plaintiff’s apartment on March 11 and then later on May 6, at a minimum, with

         agents being on the roof. Perhaps she even signed a warrant or two.




48
        And in fact wants her and people like her to see the way the sin multiplies and expands like a cancer.
Witchcraft, carnality. Eventually a curse on the whole country.

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618.       These actions then end up in the FBI defaming Plaintiff to his landlord, who is

   now evicting him, thinking they are housing a terrorist of some kind. Which in itself

   causes them to defame Plaintiff, by putting a good, rent-paying tenant on an eviction

   blacklist.

619.       All these actions were calculated to cause the complete and total destruction of

   Plaintiff’s life and reputation, and result in his becoming either a slave, dead, homeless,

   or a combination of those outcomes. All because Plaintiff disagrees with the Woke

   religion and prefers Christianity.

620.       The Statewide Grievance Committee, acting by and through Berger, have

   defamed Plaintiff by falsely stating that he moved to recuse Judge Nagala from the 22-

   mc-3 action on the basis of her race/ethnicity, and that his objectively true statements in

   the superseded and amended Complaint in this action, 22-cv-318, were made in the

   second motion to recuse her from the 22-mc-3 action. The intent is to create a concise

   record that the public can view of a complaint filed against an attorney that condemns his

   moral character (he is a “racist” who, therefore, should die).

 COUNT THIRTEEN – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

                                        All Defendants

621.       All previous allegations are incorporated by reference.

622.       Defendant’s actions, which at this point amount to Plaintiff’s direct or indirect

   exclusion from not only employment at Shipman & Goodwin, but also his profession,

   social circles, and from many of the basic rights and privileges of citizenship in the

   United States, were calculated and intended to cause mental anguish and have done so.

       COUNT FOURTEEN – CONNECTICUT ADMINISTRATIVE PROCEDURE ACT

                         Judge Nagala, Frank Blando, Matthew Berger

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623.      In its grievance for matter no. 22-0407, Statewide Grievance Committee, an

   agency of the State of Connecticut, construes statements in an amended and superseded

   complaint filed in this action (22-cv-318) as occurring in a recusal motion in the 22-mc-3

   action. This was done to obfuscate the fact that the grievance was in naked retaliation for

   Plaintiff filing this action, but operates as a concession that the grievance now clearly

   violates the Connecticut Administrative Procedure Act, which states:

   Sec. 4-183. Appeal to Superior Court * * *

    * * * (j)      The court shall not substitute its judgment for that of the agency as
   to the weight of the evidence on questions of fact. The court shall affirm the
   decision of the agency unless the court finds that substantial rights of the person
   appealing have been prejudiced because the administrative findings, inferences,
   conclusions, or decisions are: (1) In violation of constitutional or statutory
   provisions; (2) in excess of the statutory authority of the agency; (3) made upon
   unlawful procedure; (4) affected by other error of law; (5) clearly erroneous in view
   of the reliable, probative, and substantial evidence on the whole record; or (6)
   arbitrary or capricious or characterized by abuse of discretion or clearly
   unwarranted exercise of discretion. If the court finds such prejudice, it shall sustain
   the appeal and, if appropriate, may render a judgment under subsection (k) of this
   section or remand the case for further proceedings. For purposes of this section, a
   remand is a final judgment.

624.      The grievance also falsely states that Plaintiff “moved to recuse the judge on the

   basis of her race/ethnicity.” This statement is known to be false; the reason Plaintiff

   moved to recuse Judge Nagala was the very legitimate one related to her relationship,

   direct or indirect, with Neha Parikh.

625.      Exhaustion of administrative remedies is futile due to the apparent extreme

   corruption of the State of Connecticut and nearly all of its departments and agencies by

   actors at Shipman & Goodwin LLP, as detailed at length in this lawsuit. The agency’s

   own action in filing the grievance containing known lies demonstrates futility.




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626.       The agency’s action is a final action in so far as it produces a public record of a

   grievance filed against an attorney, and in so far as the result (given the cavalier manner

   in which the facts are stated in the grievance) is a fait d’accompli.

627.       The Statewide Grievance Committee’s action is clearly erroneous in view of the

   reliable, probative and substantial evidence on the whole record, as well as retaliatory and

   arbitrary and capricious in so far as it disregards facts known to be true. For example, it

   misstates that the alleged “misconduct” occurred in a recusal motion rather than a lawsuit

   alleging employment discrimination.

628.       In addition to the free exercise and establishment clause issues raised by the

   conduct of all Federal, State, and Local Government Defendants in this action, the

   agency’s action also constitutes naked viewpoint discrimination, as set out in Count Five,

   and therefore an violation of C.G.S. § 4-183(j)(1),. The agency is attempting to disbar an

   attorney for asserting his legal rights.

629.       For these reasons, this Court, standing in the shoes of the Superior Court under

   principles of supplemental jurisdiction must enjoin the grievance from proceeding.

                                         REMEDIES

630.       Declaratory relief that Wokeness is a religion within the meaning of the First

   Amendment to the United States Constitution, which is being and has been established as

   a State religion as set out herein.

631.       Declaratory relief that Defendants violated the First Amendment in the manner

   described in Count Five.

632.       Declaratory relief that Plaintiff did not “retaliate” against Defendant Neha Parikh.




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633.      Declaratory relief that Plaintiff is not a “racist” against South Asian people

   because he asked Judge Nagala to recuse herself in the 22-mc-3 matter because of her

   relationship, direct or indirect, with Defendant Neha Parikh.

634.      Injunction on the FBI and/or Wray and any other involved intelligence or security

   agency of the United States of America or any State, including the State of Connecticut

   and the Hartford Police Department, to permanently cease-and-desist from engaging in

   unlawful physical or electronic surveillance, intimidation, harassment or assault of his

   person or residence, physical or digital, related to his practice of the Christian religion or

   for his “subversive” political beliefs (which really just amount to his preference of liberal

   democracy over global socialism), or to cover up the truth of anything stated in this

   complaint.

635.      Injunction to remove Plaintiff from any and all federal, state and local criminal

   and/or terrorism databases and registries, including databases maintained by

   FBI/Infragard or its successors through fusion (CISA, DHS) specific to the legal industry,

   that designate him a “threat” or a “terrorist” based on his practice of the Christian religion

   or for otherwise engaging in the kind of historical or theological research required to

   produce this lawsuit, such that Plaintiff can resume normal employment in the United

   States and use his law license once again.

636.      Compensation related to Plaintiff’s unlawful termination and continued exclusion

   from the legal profession, including back pay, front pay, compensatory, nominal, and

   punitive/exemplary damages in an amount to be determined at trial, with damages

   increased to appropriate extent based on the actions occurring pursuant to an unlawful

   racketeering enterprise, goal of which was to reduce Plaintiff to condition of peonage on



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   account of his race and religion, and occurring in contravention (where applicable) of

   Section 1983 of the Civil Rights Act of 1866, and pursuant to malicious efforts to punish

   Plaintiff in cruel and unusual manner on account of his race and religion within the

   meaning of the Eighth Amendment to the United States Constitution, defame his moral

   and professional character, smear his reputation and image (including by calling Plaintiff

   a “racist” for asking Judge Nagala to recuse herself for completely legitimate and well-

   founded reasons), and intentionally inflict emotional distress, all in contravention of state

   tort laws and the Federal Tort Claims Act.

637.      Just compensation for the unconstitutional taking of Plaintiffs’ law licenses,

   formally or constructively, within the meaning of the Fifth Amendment to the United

   States Constitution.

638.      Pre-judgment and post-judgment interest, costs of court, and fees in an amount to

   be determined at trial.

639.      Declaratory relief that Plaintiff’s Second Amendment rights have been violated.

640.      Injunction on CBFPE (Blando), Hartford Police Department (Thody) to timely

   issue Plaintiff the concealed-carry pistol permit Plaintiff applied for on March 9, 2021.

641.      Injunction on 30 Arbor St. LLC barring his discriminatory eviction and placement

   on an “eviction blacklist,” practical effect of which will be to reduce Plaintiff to a

   condition of homelessness.

642.      Injunction on the Statewide Grievance Committee to halt and set aside its

   unlawful, retaliatory, discriminatory, defamatory, arbitrary and capricious grievance

   action against Plaintiff, No. 22-0407, and remove same from all public media.




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643.      Exemption from federal and state income taxes until Plaintiff’s rights and

   privileges of United States citizenship are restored as set out herein.



                                                         Respectfully submitted,
   Dated: August 5, 2022                          By:       /s/ Joseph Indelicato
                                                                    30 Arbor St.
                                                             Hartford, CT 06106
                                                        Jindelicato3@gmail.com




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                                            APPENDIX A

                         -- Plaintiff is sorry if any of this offends anyone. For nearly
                two years, Plaintiff has tried to avoid this lawsuit. He just wants to be
                let out of Woke prison. He will move to seal once he is let out. Thank
                you very much. --

I.      THE NATURE OF JEWISH IDEALISM.

     1. A book published in 1932 by Dr. Michael Higger called The Jewish Utopia describes “in
        a comprehensive way, the traditional Jewish conception of the ideal life for individuals,
        as well as for nations.” M. Higger, A Jewish Utopia, v (Lord Baltimore Press 1932).

     2. The book was presented to The Hebrew University of Jerusalem as a “Symbol of the
        Jewish Utopia” and to the Schechter Collection at the Library of the University of Texas.
        It was endorsed by the famous American rabbi Abraham I. Schechter and considered a
        definitive summation of rabbinical teachings regarding the “subject of an ideal life in the
        ideal era to come.” Id. Dr. Higger supports his claims with some 600 string-citations to
        the Talmud.

     3. 1932 was the peak of the Great Depression in the United States. Among other things, the
        Great Depression involved widespread poverty, unemployment, food shortages, and
        increasing federal government involvement in all aspects of American life. The USSR
        was embroiled in famine. Adolf Hitler’s party gained a majority in the Reichstag.

     4. Dr. Higger’s book describes the creation of a “Universal State” (a “one-world
        government”) in which Judaism will be the sole and only permitted religion.

               “An ideal society among the family of nations, as visualized by the prophets,
                although not realized as yet, will ultimately be achieved. Nations will come,
                nations will go. Dogmatic Christianity has come, dogmatic Christianity will
                be gone. ‘Isms’ have created nations, ‘isms’ will destroy nations. Capitalism has
                brought happiness and woes to mankind; communism may bring its paradises and
                hells to mankind.” Id. at 4 (emphasis added).

               “Unlike Plato’s Republic, where the ends sought are political rather than spiritual,
                the motive of a Prophetic-Rabbinic Utopia is the spiritual perfection of human
                society. In the Republic, to be sure, the supreme virtue in the ideal
                commonwealth is Justice. But Plato is chiefly concerned with what will hold the
                ideal city together. The rabbis, on the other hand, are mainly interested in
                that ideology which would hold the whole world, or the Universal State,
                together. The ideal behind the Jewish Utopia is spiritual and ethical harmony.”
                Id. at 5 (emphasis added).

               “The motto of the people will be: ‘Righteous Unite! Better destruction of the
                world than a wicked world!’ The basic principle will be: Augment justice and
                righteousness, and unrighteousness will become negligible.” Id. at 19.

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          “The very atmosphere of the new social order of the Universal State will be
           saturated with justice and righteousness.” Id. at 41-2.

          “All the national ensigns and laws, which are barriers to genuine international
           peace, brotherhood, and the happiness of mankind, will gradually disappear.
           Only the Messianic flag, the symbol of knowledge, peace, tranquility of the
           individual mind, will remain, and all the nations will center around that emblem.”
           Id. at 42.

          “There will no longer be a problem of militarism, preparedness, fortifications,
           barracks, armies, navies, immigration, tariffs and their like. That problem will be
           a pure matter of past history and intellectual curiosity.” Id. at 42.

          “Public worship at the center of the new Universal State will, furthermore, be of
           such a general nature that all people will be able to worship together.” Id. at 99
           (emphasis added).

5. Spirituality will not be present in the “ideal” Universal State; its religion will be secular.

          “Some modern Jewish thinkers maintain that Judaism developed historically
           along the same lines as Christianity, in that it was mainly interested in the other
           world, the world of the soul; Judaism considered this world as a vestibule to the
           world to come. It was only the period of the modern reform movement that
           brought a change of attitude toward this world. . . . That this theory is absolutely
           fallacious, one learns from the fact that, alongside the views that this world is a
           preparation for the next, rabbinic literature contains numerous passages describing
           the kind of ideal life in that nations as well as individuals must lead so that a
           universal paradise of mankind might be established in this world . . . the Prophets
           . . . were mainly concerned with an ideal life of peace and brotherhood in this
           world.” Id. at 6-7.

          “From the time of the prophet Amos down to the close of the Medieval period, the
           problem of improving the material conditions of Israel and of mankind in
           general, was the main concern of the spiritual leaders in Israel.” Id. at 8
           (emphasis added).

          “The people of Israel will attain the height of their spiritual functions and
           potentialities only through their attainment of material freedom and liberty.” Id. at
           63.

          “Unlike Christianity, Judaism emphasizes upright living rather than faith as
           dogma.” Id. at 70.

          As Hitler describes: “The religious teaching of the Jews is principally a collection
           of instructions for maintaining the Jewish blood pure and for regulating

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                 intercourse between Jews and the rest of the world: that is to say, their relation
                 with non-Jews. But the Jewish religious teaching is not concerned with moral
                 problems. It is rather concerned with economic problems, and very petty ones at
                 that. . . . The Jew himself is the best example of the kind of product which this
                 religious training evolves. His life is of this world only and his mentality is as
                 foreign to the true spirit of Christianity as his character was foreign to the great
                 Founder of this new creed two thousand years ago. And the Founder of
                 Christianity made no secret indeed of His estimation of the Jewish people. When
                 He found it necessary He drove those enemies of the human race out of the
                 Temple of God; because then, as always, they used religion as a means of
                 advancing their commercial interests.” A. Hitler, Mein Kampf, 17 (Murphy
                 Unexpurgated Translation, 1939).49

     6. In the present era (Christian-dominant), the “righteous” are oppressed.50

                “As long as the shadow of the oppressors exists, Israel appears lifeless.” Id. at 63.

                “In the present era the righteous are afflicted. . . . All the treasures and natural
                 resources of the world will eventually come in possession of the righteous.” Id. at
                 12.

                “In the present era, the wicked are ordinarily rich, having many comforts of life,
                 while the righteous are poor, missing the joys of life. But in the ideal era, the
                 Lord will open all the treasures for the upright, and the unrighteous will suffer.”
                 Id. at 13.

                “The wicked, on the other hand, like tall towers, are obstructing the light
                 from coming into the world. The unrighteous are the real enemies of God,
                 and they will disappear before the appearance of the real light, the emblem of
                 the ideal life on earth. In the present era, the upright are humiliated. But in the
                 millennium, the unrighteous will disappear as the grass that withers; while the
                 righteous will walk with strength and pride.” Id. at 19 (emphasis added).

     7. In the “ideal” Universal State, Jews will be Gods on earth.




49
         All references to this text are from the 1939 Murphy Translation (unexpurgated) unless otherwise indicated.
All versions in print are expurgated, which means the text has been heavily edited to make Hitler’s ideas less clear
and his writing appear incomprehensible. Because the Murphy translation is not in print, all page references are
from the online edition, Chapter 11, Nation and Race, at https://gutenberg.net.au/ebooks02/0200601h.html
50
          What this actually means is that merit is the primary determinant of advancement in a Christian-dominant
system. What the Jews are looking for here is some nonsense to tell the “oppressed” people who they will convince
have been wronged and thereby trick into murdering the white, European Christian people whom they hate. See
para. 9, infra. After this process, the Jews will rule unchallenged as the only dominant white race on the planet.


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                 “[T]he Jewish Utopia is built upon this very term, or idea, of righteousness; or,
                  that the Kingdom of God in this world will come only when suffering mankind
                  passes through the gate of righteousness.” Id. at 11 (emphasis added).51

                 “Consequently, in the new era, the upright and just will occupy a position next to
                  God. They will be called by the name of God, and they will, therefore, be
                  called ‘holy.’ . . . In the new era, the upright and just will be received by God as
                  children are received by their father and as disciples by their master. They will
                  be put in a higher position than the angels.” Id. at 15 (emphasis added).

     8. In the “ideal” Universal State, Christianity will be outlawed. An elimination process will
        begin, and only the “righteous” (Jews or converts thereto) will be permitted to live.

                 “To understand the rabbinic conception of an ideal world it will help us if we
                  imagine a hand passing from land to land, from country to country, from the
                  Persian Gulf to the Atlantic Ocean, and from the Indian Ocean to the North Pole,
                  marking ‘righteous’ or ‘wicked’ on the forehead of each one of the sixteen
                  hundred million inhabitants of our earthly globe. . . For mankind should be
                  divided into two, and only two, distinct and unmistakable groups, namely,
                  righteous and wicked. To the righteous belong all that which God’s wonderful
                  world is offering: to the wicked would belong nothing.” Id. at 12 (emphasis
                  added).52

                 “A Utopia of righteous men could be realized only when there would be no more
                  wicked in the world. Righteousness will be the order of the Universal State; and
                  that State will be the embodiment of righteousness under the conditions of the
                  new social order. While the upright and just will emerge with renewed spirit,
                  progressing from strength to strength, the wicked will dwindle and be consumed. .
                  . . The righteous will ascend seven steps, while the unrighteous will descend
                  seven steps.” Id. at 22-3.

                 “In general, the peoples of the world will be divided into two main groups,
                  the Israelitic and the non-Israelitic. The former will be righteous; they will live
51
         The reference to the “gate” appears intended to mock Jesus’ dressing-down of the Pharisees in John 10:7-
10 (“Very truly I tell you, I am the gate for the sheep. 8 All who have come before me are thieves and robbers, but
the sheep have not listened to them. 9 I am the gate; whoever enters through me will be saved. They will come in and
go out, and find pasture. 10 The thief comes only to steal and kill and destroy; I have come that they may have life,
and have it to the full.” (NIV)). In the rabbinic conception, the Jews are the gatekeepers rather than Jesus (spirit);
thus, they are “Gods” rather than Jesus’ concept that “you are ‘Gods’”. Jn. 10:34 (NIV) (emphasis added).
52
         Who decides who is righteous or not? Why, the Jews, of course, for they are Gods on earth (they are the
“hand”). In Christianity, the “hand” is an immutable, democratized force (Spirit), rather than a living person or
persons, and righteousness comes from faith alone. See Rom. 1:17 “The righteous will live by faith”; 3:10-12
“There is no one righteous, not even one; . . . all have turned away, They have together become worthless.” “Herr,
unser herrscher.” [“Lord, our master.”] (Chorus, J.S. Bach, St. John Passion BWV 245, if you want to feel the
difference). This is the difference between the two religions in a nutshell. It is also the difference between
democracy and communism, in a nutshell. The individual vs. the collective, etc.


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                 in accordance with the wishes of one, universal God; they will be thirsty for
                 knowledge, and willing, even to the point of martyrdom, to spread ethical truths to
                 the world. All the other peoples, on the other hand, will be known for their
                 detestable practices, idolatry, and similar acts of wickedness. They will be
                 destroyed and will disappear from earth before the ushering in of the ideal
                 era.” Id. at 37 (emphasis added).

                “In the era to come, the number of children of Israel, or of the righteous, will
                 consequently be, in the words of Hosea, as the sand of the sea, which cannot be
                 measured nor numbered. . . In other words, only those who are convinced of
                 Israel’s divine purpose in the world, will be welcome to join Israel in the
                 upbuilding of an ideally spiritual life on earth. Israel, the ideal, righteous
                 people, will thus become spiritually the masters of the world, and will spread their
                 moral and spiritual influence from one end of the world to the other.” Id. at 40-1
                 (emphasis added).

     9. Christians cannot be “righteous.”

                Dr. Higger’s text equivocates on this point in an apparent attempt to hide the ball.
                 For example, he says: “Who are the wicked? What constitutes wickedness, which
                 is an obstruction to the establishment of the Kingdom of God? No exact
                 definition of these terms can be formulated. A few rabbinic passages dealing with
                 the subject, however, give a general idea of the meaning of wicked and
                 wickedness, so far as a Jewish Utopia is concerned.” Id. at 20.

                Here is a sampling of what those “few rabbinic passages” say about Christians.53

The followers of "that man," whose name is taken by the Jews to mean "May his name and memory
be blotted out," are not otherwise to be regarded than as people whom it would be good to get rid
of. They are called Romans and tyrants who hold captive the children of Israel, and by their
destruction the Jews would be freed from this Fourth Captivity. Every Jew is therefore bound to do
all he can to destroy that impious kingdom of the Edomites (Rome) which rules the whole world.
Since, however, it is not always and everywhere possible to effect this extermination of Christians,
the Talmud orders that they should be attacked at least indirectly, namely: by injuring them in every
possible way, and by thus lessening their power, help towards their ultimate destruction. Wherever it
is possible a Jew should kill Christians, and do so without mercy.

             Article I.—INDIRECT HARM MUST BE DONE TO CHRISTIANS




53
         Text is from an examination done by a Catholic Priest in St. Petersburg, Russia, 1892. One can see what
the Russians were beginning to wonder about around that time. The surviving copy bears the imprimatur of the
Archdiocese of Mohilev, Belorussia (White Russia). All copies in the churches in the Red areas would have been
destroyed. The Priest who performed the translation (Rev. Ignatius Bonaventura Pranaitis) was murdered by the
Cheka during the revolution. In any event, it is by all accounts an authentic publication of the Catholic Church.

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A Jew is commanded to harm Christians wherever he can, both indirectly by not helping them in
any way, and also directly by wrecking their plans and projects; neither must he save a Christian who
is in danger of death.

I.      GOOD MUST NOT BE DONE TO CHRISTIANS

In Zohar (1,25b) it says:

"Those who do good to the Akum . . . will not rise from the dead."

At times it is permitted to do good to Christians, but only in order to help Israel, namely, for the
sake of peace and to hide hatred of them. Maimonides in Hilkhoth Akum (X,6) says:

"Needy Gentiles may be helped as well as needy Jews, for the sake of peace..."

In Iore Dea (148,12 Hagah) it says:

"Therefore if you enter a town and find them celebrating a feast, you may pretend to rejoice with
them in order to hide your hatred. Those, however, who care about the salvation of their souls
should keep away from such celebrations. You should make it known that it is a hateful thing to
rejoice with them, if you can do so without incurring their enmity."

        1.       IT IS NOT PERMITTED TO PRAISE A CHRISTIAN

In Abhodah Zarah (20,a, Toseph) it says:

"Do not say anything in praise of them, lest it be said: How good that Goi is!"(1)

         (1) Maimonides (in Hilk. Akum X,5) adds: "Moreover, you should seek opportunity to mix with them and find
out about their evil doings."

In this way they explain the words of Deuteronomy (VII,2) . . . and thou shalt show no mercy unto
them [Goim], as cited in the Gemarah. Rabbi S. Iarchi explains this Bible passage as follows:

"Do not pay them any compliments; for it is forbidden to say: how good that Goi is."

In Iore Dea (151,14) it says:

"No one is allowed to praise them or to say how good an Akum is. How much less to praise what
they do or to recount anything about them which would redound to their glory. If, however, while
praising them you intend to give glory to God, namely, because he has created comely creatures,
then it is allowed to do so."

     2.   A JEW NOT ALLOWED TO MENTION THE THINGS WHICH CHRISTIANS
USE FOR THEIR IDOLATROUS WORSHIP

In Hilkhoth Akum (V,12) it says:

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"It is also forbidden to make mention of the Akum; for it is written (Exodus XXIII,13):. . . and make
no mention of other gods."

        3.         THEIR IDOLS MUST BE SPOKEN OF WITH CONTEMPT

In Iore Dea (146,15) it says:

"Their idols must be destroyed, or called by contemptuous names."

Ibidem, (147,5):

"It is permitted to deride idols, and it is forbidden to say to a Goi: May your God help you, or I hope you
will succeed."

Rabbi Bechai, explaining the text of Deuteronomy about hating idolatry, says:

"The Scripture teaches us to hate idols and to call them by ignominious names. Thus, if the name of
a church is Bethgalia—"house of magnificence," it should be called Bethkaria—an insignificant house,
a pigs' house, a latrine. For this word, karia, denotes a low-down, slum place."

In numerous places ignominious names are given by the Jews to Christian things. It will not be out
of place to list a few of these names which they give to things and persons which are held holy and
dear by Christians, as follows:

JESUS is ignominiously called Jeschu—which means, May his name and memory be blotted out. His proper
name in Hebrew is Jeschua, which means Salvation.

MARY, THE MOTHER OF JESUS, is called Charia—dung, excrement (German Dreck). In Hebrew
her proper name is Miriam.

CHRISTIAN SAINTS, the word for which in Hebrew is Kedoschim, are called Kededchim (cinaedos)—
feminine men (Fairies). Women saints are called Kedeschoth, whores.

SUNDAY is called the day of calamity.

FEAST OF CHRISTMAS is called Nital, denoting extermination.

EASTER is not called by the proper word Pesach (Passover), but Ketsach, meaning a cutting down;
or Kesach, a Gallows.

A CHRISTIAN CHURCH is not called Beth Hattefillah, House of Prayer, but Beth Hattiflah, a House
of Vanity, a House of Evil.

THE GOSPEL BOOKS are called Aavon Gilaion, Books of Iniquity.

CHRISTIAN SACRIFICES are called Dung Offerings. In the Jerusalem Talmud (fol.13b) the
following occurs:

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"He who sees them mezabbelim (excrementing—sacrificing) before their idol, let him say (Exod.
XXII, 20): He that sacrificeth unto an idol shall be utterly destroyed."

Rabbi Iarchi (referring to Num. XXV, 3) teaches that the Gentiles actually honor their God by
excrementing before him.

A CHRISTIAN GIRL who works for Jews on their sabbath is called Schaw-wesschicksel, Sabbath Dirt.

        4.      A JEW IS NOT ALLOWED TO GIVE GIFTS TO CHRISTIANS

In Hilkhoth Akum (X,5) it says:

"It is forbidden to give gifts to the Goim. But it is permitted to give them to a convert who lives
among the Jews; for it is said: To the traveller who stops in your cities, give it to him to eat, or sell it
to a Gentile, that is sell it, not give it."

In Iore Dea (151,11) it says:

"It is forbidden to give free gifts to the Akum with whom a Jew may not treat familiarly."

The Talmud, however, allows a Jew to give gifts to Gentiles who are known to him and from whom
he has hope of getting something in return.

        5.      A JEW IS FORBIDDEN TO SELL HIS FARM TO CHRISTIANS

In Iore Dea (334,43) it says:

"In 24 cases a Jew must be repudiated, namely . . . 8. Anyone who sells his farm to the Akum must
be sent into exile—unless he undertakes to make up for all the harm that follows as a consequence
of having the Akum live near the Jews."

        6.      IT IS FORBIDDEN TO TEACH A TRADE TO CHRISTIANS

In Iore Dea (154,2) it says:

"It is not permitted to teach any trade to the Akum."

*****

II.     HARM MUST BE DONE TO THE WORK OF CHRISTIANS

Since the Goim minister to Jews like beasts of burden, they belong to a Jew together with his life and
all his faculties:

"The life of a Goi and all his physical powers belong to a Jew." (A. Rohl. Die Polem. p.20)



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It is an axiom of the Rabbis that a Jew may take anything that belongs to Christians for any reason
whatsoever, even by fraud; nor can such be called robbery since it is merely taking what belongs to
him.

In Babha Bathra (54b) it says:

"All things pertaining to the Goim are like a desert; the first person to come along and take them can
claim them for his own."

        1.      CHRISTIANS MUST NOT BE TOLD IF THEY PAY TOO MUCH TO A JEW

In Choschen Hammischpat (183,7) it says:

"If you send a messenger to collect money from an Akum and the Akum pays too much, the
messenger may keep the difference. But if the messenger does not know about it, then you may keep
it all yourself."

        2.      LOST PROPERTY OF CHRISTIANS MUST NOT BE RETURNED TO THEM

In Choschen Ham. (266,1) it says:

"A Jew may keep anything he finds which belongs to the Akum, for it is written: Return to thy brethren
what is lost (Deuter. XXII, 3). For he who returns lost property [to Christians] sins against the Law by
increasing the power of the transgressors of the Law. It is praiseworthy, however, to return lost
property if it is done to honor the name of God, namely, if by so doing Christians will praise the
Jews and look upon them as honorable people."

        3.      CHRISTIANS MAY BE DEFRAUDED

In Babha Kama (113b) it says:

"It is permitted to deceive a Goi."

And in Choschen Ham. (156,5 Hagah) it says:

"If a Jew is doing good business with an Akum it is not allowed to other Jews, in certain places, to
come and do business with the same Akum. In other places, however, it is different, where another Jew
is allowed to go to the same Akum, lead him on, do business with him and to deceive him and take
his money. For the wealth of the Akum is to be regarded as common property and belongs to the
first who can get it. There are some, however, who say that this should not be done."

In Choschen Ham. (183,7 Hagah) it says:

"If a Jew is doing business with an Akum and a fellow Israelite comes along and defrauds the Akum,
either by false measure, weight or number, he must divide his profit with his fellow Israelite, since
both had a part in the deal, and also in order to help him along."


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        4.       A JEW MAY PRETEND HE IS A CHRISTIAN TO DECEIVE CHRISTIANS

In Iore Dea (157,2 Hagah) it says:

"If a Jew is able to deceive them [idolaters] by pretending he is a worshipper of the stars, he may do
so."(2)

        (2) This text is also found in the Vilna edition of 1873.

        5.       A JEW IS ALLOWED TO PRACTICE USURY ON CHRISTIANS

In Abhodah Zarah (54a) it says:b

"It is allowed to take usury from Apostates(3) who fall into idolatry."

        (3) The Jews call Baptism Schomed, and an apostate baptized Jew, a Meschummad.

And in Iore Dea (159,1) it says:

"It is permitted, according to the Torah, to lend money to an Akum with usury. Some of the Elders,
however, deny this except in a case of life and death. Nowadays it is permitted for any reason."

*****

III.    CHRISTIANS TO BE HARMED IN LEGAL MATTERS

        1.       A JEW MAY LIE AND PERJURE HIMSELF TO CONDEMN A CHRISTIAN

In Babha Kama (113a) it says:

"Our teaching is as follows: When a Jew and a Goi come into court, absolve the Jew, if you can,
according to the laws of Israel. If the Goi wins, tell him that is what our laws require. If however, the
Jew can be absolved according to the gentile law, absolve him and say it is due to our laws. If this
cannot be done proceed callously against the Goi, as Rabbi Ischmael advises. Rabbi Akibha,

however, holds that you cannot act fraudulently lest you profane the Name of God, and have a Jew
commited for perjury."

A marginal note, however, explains this qualification of Rabbi Akibha as follows:

"The name of God is not profaned when it is not known by the Goi that the Jew has lied."

And further on, the Babha Kama (113b) says:

"The name of God is not profaned when, for example, a Jew lies to a Goi by saying: 'I gave
something to your father, but he is dead; you must return it to me,' as long as the Goi does not know
that you are lying."

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        2.        A JEW MAY PERJURE HIMSELF WITH A CLEAR CONSCIENCE

In Kallah (1b, p.18) it says:

"She (the mother of the mamzer) said to him, 'Swear to me.' And Rabbi Akibha swore with his lips,
but in his heart he invalidated his oath."(4)

        (4) cf. supra, p.30

A similar text is found in Schabbuoth Hagahoth of Rabbi Ascher (6d):

"If the magistrate of a city compels Jews to swear that they will not escape from the city nor take
anything out of it, they may swear falsely by saying to themselves that they will not escape today, nor
take anything out of the city today only."

*****

IV.     CHRISTIANS MUST BE HARMED IN THINGS NECESSARY FOR LIFE

Jews must spare no means in fighting the tyrants who hold them in this Fourth Captivity in order to
set themselves free. They must fight Christians with astuteness and do nothing to prevent evil from
happening to them: their sick must not be cared for, Christian women in childbirth must not be
helped, nor must they be saved when in danger of death.

        1.        A JEW MUST ALWAYS TRY TO DECEIVE CHRISTIANS

In Zohar (I, 160a) it says:

"Rabbi Jehuda said to him [Rabbi Chezkia]: 'He is to be praised who is able to free himself from the
enemies of Israel, and the just are much to be praised who get free from them and fight against
them.' Rabbi Chezkia asked, 'How must we fight against them?' Rabbi Jehuda said, 'By wise counsel
thou shalt war against them' (Proverbs, ch. 24, 6). By what kind of war? The kind of war that every son of
man must fight against his enemies, which Jacob used against Esau—by deceit and trickery

whenever possible. They must be fought against without ceasing, until proper order be restored.
Thus it is with satisfaction that I say we should free ourselves from them and rule over them."

        2.        A SICK CHRISTIAN MUST NOT BE AIDED

In Iore Dea (158,1) it says:

"The Akum are not to be cured, even for money, unless it would incur their enmity."

        3.        A CHRISTIAN WOMAN IN CHILDBIRTH MUST NOT BE HELPED

In Orach Chaiim (330,2) it says:


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"No help is to be given to an Akum woman in labor on the sabbath, even in a small way, for the
Sabbath must not be violated."

        4.      A CHRISTIAN IN DANGER OF DEATH MUST NOT BE HELPED

In Choschen Ham. (425,5) it says:

"If you see a heretic, who does not believe in the Torah, fall into a well in which there is a ladder,
hurry at once and take it away and say to him 'I have to go and take my son down from a roof; I will
bring the ladder back to you at once' or something else. The Kuthaei, however, who are not our
enemies, who take care of the sheep of the Israelites, are not to be killed directly, but they must not
be saved from death."

And in Iore Dea (158,1) it says:

"The Akum who are not enemies of ours must not be killed directly, nevertheless they must not be
saved from danger of death. For example, if you see one of them fall into the sea, do not pull him
out unless he promises to give you money."

Maimonides, in Hilkhoth Akum (X,1) says:

"Do not have any pity for them, for it is said (Deuter. VII,2): Show no mercy unto them. Therefore, if you
see an Akum in difficulty or drowning, do not go to his help. And if he is in danger of death, do not
save him from death. But it is not right to kill him by your own hand by shoving them into a well or
in some other way, since they are not at war with us.

         Article II.—DIRECT HARM MUST BE DONE TO CHRISTIANS

Lastly, the Talmud commands that Christians are to be killed without mercy. In the Abhodah
Zarah (26b) it says:

"Heretics, traitors and apostates are to be thrown into a well and not rescued."

And in Choschen Hammischpat (388,10) it says:

"A spy is to be killed, even in our days, wherever he is found. He may be killed even before he
confesses. And even if he admits that he only intended to do harm to somebody, and if the harm
which he intended is not very great, it is sufficient to have him condemned to death. He must be
warned, however, not to confess to this. But if he impudently says 'No, I will confess it!' then he
must be killed, and the sooner the better. If there is no time to warn him, it is not necessary to do
so. There are some who say that a traitor is to be put to death only when it is impossible to get rid of
him by mutilating him, that is, by cutting out his tongue or his eyes, but if this can be done he must
not be killed, since he is not any worse than others who persecute us."

And in Choschen Hamm. again (388,15) it says:



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"If it can be proved that someone has betrayed Israel three times, or has given the money of
Israelites to the Akum, a way must be found after prudent consideration to wipe him off the face of
the earth."

                                                 *****

I.      RENEGADES TO BE KILLED

Even a Christian who is found studying the Law of Israel merits death. In Sanhedrin (59a) it says:

"Rabbi Jochanan says: A Goi who pries into the Law is guilty to death."

II.     BAPTIZED JEWS ARE TO BE PUT TO DEATH

In Hilkhoth Akum (X, 2) it says:

"These things [supra] are intended for idolaters. But Israelites also, who lapse from their religion and
become epicureans, are to be killed, and we must persecute them to the end. For they afflict Israel
and turn the people from God."

***

And in Iore Dea (158,2 Hagah) it says:

"Renegades who turn to the pleasures of the Akum, and who become contaminated with them by
worshipping stars and planets as they do, are to be killed."

Likewise in Choschen Hamm. (425,5) it says:

"Jews who become epicureans, who take to the worship of stars and planets and sin maliciously; also
those who eat the flesh of wounded animals, or who dress in vain clothes, deserve the name of
epicureans; likewise those who deny the Torah and the Prophets of Israel—the law is that all those
should be killed; and those who have the power of life and death should have them killed; and if this
cannot be done, they should be led to their death by deceptive methods."

Rabbi Maimonides, in Hilkhoth Teschubhah (III,8) gives the list of those who are considered as
denying the Law:

"There are three classes of people who deny the Law of the Torah: (1) Those who say that the
Torah was not given by God, at least one verse or one word of it, and who say that it was all the
work of Moses; (2) Those who reject the explanation of the Torah, namely, the Oral Law of
the Mischnah, and do not recognize the authority of the Doctors of the Law, like the followers
of Tsadok (Sadducees) and Baithos; (3) Those who say that God changed the Law for another New
Law, and that the Torah no longer has any value, although they do not deny that it was given by
God, as the Christians and the Turks believe. All of these deny the Law of the Torah."

III.    CHRISTIANS ARE TO BE KILLED BECAUSE THEY ARE TYRANTS

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In Zohar (I,25a) it says:

"The People of the Earth are idolaters, and it has been written about them: Let them be wiped off the face
of the earth. Destroy the memory of the Amalekites. They are with us still in this Fourth Captivity, namely,
the Princes [of Rome] . . . who are really Amalakites."

        1.       THESE PRINCES ARE TO BE KILLED FIRST

For if they are allowed to live, the hope of the liberation of the Jews is in vain, and their prayers for
release from this Fourth Captivity are of no avail. In Zohar (I,219B) it says:

"It is certain that our captivity will last until the princes of the gentiles who worship idols are
destroyed."

And again in Zohar (II,19a) it says:

"Rabbi Jehuda said: Come and see how it is; how the princes have assumed power over Israel and
the Israelites make no outcry. But their rejoicing is heard when the prince falls. It is written that: the
King of the Egyptians died and soon the children of Israel were released from captivity; they cried
out and their voice ascended to God."

    2.    THE PRINCEDOM WHOSE CHIEF CITY IS ROME IS THE ONE TO BE
HATED MOST OF ALL BY THE JEWS

They call it the Kingdom of Esau, and of the Edomites, the Kingdom of Pride, the Wicked
Kingdom, Impious Rome. The Turkish Empire is called the Kingdom of the Ismaelites which they
do not wish to destroy. The Kingdom of Rome, however, must be exterminated, because when
corrupt Rome is destroyed, salvation and freedom will come to God's Chosen People.(5)

        (5) cf. Synag. Jud. ch.X, p.212.

Rabbi David Kimchi writes as follows in Obadiam:

"What the Prophets foretold about the destruction of Edom in the last days was intended for Rome,
as Isaiah explains (ch. 34,1): Come near, ye nations, to hear . . . For when Rome is destroyed, Israel shall
be redeemed."

Rabbi Abraham also, in his book Tseror Hammor, section Schoftim, says the same:

"Immediately after Rome is destroyed we shall be redeemed."

IV.  LASTLY, ALL CHRISTIANS, INCLUDING THE BEST OF THEM, ARE TO BE
KILLED

In Abhodah Zarah (26b, Tosephoth) it says:

"Even the best of the Goim should be killed"

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The Schulchan Arukh, after the words of Iore Dea (158, 1) that those of the Akum who do no harm to
Jews are not to be killed, namely those who do not wage war against Israel, thus explains the
word Milchamah—war:

"But in time of war the Akum are to be killed, for it is written: 'The good among the Akum deserve
to be killed, etc.' "

V.  A JEW WHO KILLS A CHRISTIAN COMMITS NO SIN, BUT OFFERS AN
ACCEPTABLE SACRIFICE TO GOD

In Sepher Or Israel (177b) it says:

"Take the life of the Kliphoth and kill them, and you will please God the same as one who offers
incense to Him."

And in Ialkut Simoni (245c. n. 772) it says:

"Everyone who sheds the blood of the impious is as acceptable to God as he who offers a sacrifice
to God."

VI. AFTER THE DESTRUCTION OF THE TEMPLE AT JERUSALEM, THE
ONLY SACRIFICE NECESSARY IS THE EXTERMINATION OF CHRISTIANS

In Zohar (III,227b) the Good Pastor says:

"The only sacrifice required is that we remove the unclean from amongst us."

Zohar (II, 43a), explaining the precept of Moses about the redemption of the first born of an ass by
offering a lamb, says:

"The ass means the non-Jew, who is to be redeemed by the offering of a lamb, which is the
dispersed sheep of Israel. But if he refuses to be redeemed, then break his skull....They should be

taken out of the book of the living, for it is said about them: He who sins against me, I shall take out
of the book of life."

VII.    THOSE WHO KILL CHRISTIANS SHALL HAVE A HIGH PLACE IN HEAVEN

In Zohar (I,38b, and 39a) it says:

"In the palaces of the fourth heaven are those who lamented over Sion and Jerusalem, and all those
who destroyed idolatrous nations ... and those who killed off people who worship idols are clothed
in purple garments so that they may be recognized and honored."

VIII. JEWS MUST NEVER CEASE TO EXTERMINATE THE GOIM; THEY MUST
NEVER LEAVE THEM IN PEACE AND NEVER SUBMIT TO THEM


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In Hilkhoth Akum (X, 1) it says:

"Do not eat with idolaters, nor permit them to worship their idols; for it is written: Make no covenant
with them, nor show mercy unto them (Deuter. ch. 7, 2). Either turn away from their idols or kill them."

Ibidem (X,7):    "In places where Jews are strong, no idolater must be allowed to remain..."

IX. ALL JEWS ARE OBLIGED TO UNITE TOGETHER TO DESTROY TRAITORS
AMONG THEM

In Choschen Hamm. (338,16) it says:

"All the inhabitants of a city are obliged to contribute to the expense of killing a traitor, even those
who have to pay other taxes."

X.  NO FESTIVAL, NO MATTER HOW SOLEMN, MUST PREVENT THE
BEHEADING OF A CHRISTIAN

In Pesachim (49b) it says:

"Rabbi Eliezer said: It is permitted to cut off the head of an 'idiot' [one of the People of the Earth]
on the feast of the Atonement when it falls on the Sabbath.(6) His disciples said to him: Rabbi, you
should rather say to sacrifice. But he replied: By no means, for it is necessary to pray while sacrificing,
and there is no need of prayers when you behead someone."

        (6) No day more holy than this could be imagined.

XI. THE ONE OBJECT OF ALL THE ACTIONS AND PRAYERS OF THE JEWS
SHOULD BE TO DESTROY THE CHRISTIAN RELIGION

Thus the Jews picture their Messiah and Liberator whom they expect, as a persecutor who will inflict
great calamities upon non-Jews. The Talmud lists three great evils which will come upon the world
when the Messiah comes. In Schabbath (118a) it says:

"Whoever eats three meals on the Sabbath shall be saved from the three evils: from the punishments
of the Messiah, from the pain of hell and from the war of Magog; for it is written: Behold, I shall send
you Elias the Prophet before the coming of the 'Day' of the Lord, jetc."

XII. IN THEIR PRAYERS THE JEWS SIGH FOR THE COMING OF THE
REVENGEFUL MESSIAH, ESPECIALLY ON THE EVE OF THE PASSOVER:

"Pour out thy anger upon the nations that know thee not, and upon the kingdoms which do not
invoke thy name; Pour out thy indignation upon them, and let thy wrathful anger take hold of them;
Persecute and destroy them in anger from under the heavens of the Lord."(7)

        (7) cf. Sanhedrin, chap. VII near the end, and Iebhammoth, the last chap.



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They also pray as follows:

"How long will thy strength remain captive and thy beauty lie under the hand of the oppressor? O God! Show forth
thy strength and thy zeal against our enemies; break their strength and let them be confounded..."

And again:

"Cut off the hope of the unjust; let all heretics perish at once; root out, break up and destroy the
Proud Kingdom; hasten to make all peoples subject in our days."

     10. In the “ideal” era, Christians will be presented the opportunity to convert to Judaism.
         Christians who convert may be saved, perhaps if they engage in deeds in service to Israel.

                “As a result of the new conditions and radical changes, the wicked who will be
                 left, will change their attitude toward life. The glory and happiness of the upright
                 will plunge the unrighteous into sorrow and shame. Rivers of tears will flow
                 from the eyes of the wicked. They will then wonder how they could have led
                 a wicked life; and they will finally acknowledge God, by saying: ‘This is the
                 Lord, for whom we waited.54 We will be glad and rejoice in His salvation.’
                 The unrighteous will thus praise the Lord, and recognize the teachings and
                 purpose of God in the world. The Lord’s compassion will then be moved, and, by
                 putting the blame on the evil inclinations inherent in man, He will allow the
                 newly converted to enter the new order and to share in His glory.” Higger, The
                 Jewish Utopia at 23.

                “Poverty . . . tests the soul of the rich, who, by helping the poor, might save
                 themselves from the Day of Judgment.” Id. at 51.

     11. In the “ideal” Universal State, all Christians who refuse to convert to Judaism (i.e., who
         refuse to renounce the cross) will be exterminated.

                “The wicked are to be eliminated from the scene merely because the destiny of
                 humanity is to be guided and controlled by a new army, the army of the righteous.
                 A change of power will have to take place, whereby the righteous will assume
                 the responsibilities of the new state of the affairs of mankind.” Id. at 38-39
                 (emphasis added).

                “Consequently, in the ideal era, there will be no people who will believe in the
                 division of the Godhead into two or more parts, or persons.” Id. at 34
                 (emphasis added).55

     12. The best, brightest and most religious Christians are deemed the most “unrighteous.”

54
        In other words, the Christians will come to view the Jews, living human beings, as Gods on earth.
55
        This is an explicit reference to Christianity (belief in the Holy Trinity is a basic principle of the religion).


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               “Only a small group, the vilest and most worthless element of mankind, as
                typified in the snake of the animal kingdom, will be doomed and cut off forever
                from the new Kingdom of God.” Id. at 23 (emphasis added).

               This violent threat to Christians finds its root in the Talmud: “The best among the
                Gentiles deserves to be killed . . . [t]he best of snakes ought to have its head
                crushed.” (Rabbi Simeon Ben Yohai interpretation, vis Yer. Ḳid. iv. 66c; Massek.
                Soferim xv. 10; comp. Mek., Beshallaḥ, Wayeḥi, 1, and Tan., Wayera, 20)

     13. Jewish law contains legalistic means of permitting the extermination of Christians, which
         includes the use of gentile buffers, disregarding conflicting gentile laws and corrupting
         gentile courts to avoid guilt.

               Indirect killing permitted. E.g., “If one bound his neighbor and he died of
                starvation, he is not liable to execution.” Sanhedrin 77a. This is the mechanism
                by which Christ was murdered (the Romans were duped into carrying it out; no
                different than the way people of color are being used today to carry out the
                revolution.)

               Gentile laws can be disregarded; gentiles lack legal rights; court corruption.
                E.g., “The Mishnah, bearing such facts in mind, therefore declares that if a
                Gentile sue an Israelite, the verdict is for the defendant; if the Israelite is the
                plaintiff, he obtains full damages (Baba Kamma iv, 3).”

     14. The period of extermination (called the ‘travail of the Messianic time’) will be ushered in
         by “three great evils.”

                “The advent of the new era will thus be preceded by the ‘travail’ of the Messianic
                time, namely, great distress, foreign invasions, confusions, and moral
                decline.” Id. at 36 (emphasis added).

                "Whoever eats three meals on the Sabbath shall be saved from the three evils:
                from the punishments of the Messiah, from the pain of hell and from the war of
                Magog56; for it is written: Behold, I shall send you Elias the Prophet before the
                coming of the 'Day' of the Lord, etc." Schabbath (118a).

     15. In Judaism, from the gentile perspective, Jews are Gods because only they have the
         express covenant under the law. God is not “God” in the sense that Christianity
         conceives of the term (i.e., as an esoteric concept called Spirit). If Judaism encompassed
         the realm of spirit, it would then be Christianity, not Judaism. Therefore the “three great
         evils” of the travail will be man-made and orchestrated by the Jewish leaders.




56
        Cf. Rev. 20:8.

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                 For Jews as Gods: See, e.g., paragraph 7, supra, and notes thereto; Jn. 5:45. See
                  also section “Nature of Action.”
                 For Judaism’s rejection of Spirituality (Christ): See paragraph 34, infra.

     16. The extermination period will also include entire nations. Nations who have (a) made a
         commitment to Christianity or (b) who have engaged in mercantilism or imperialism (i.e.,
         who are European) are to be exterminated. The practical description of this process is a
         World War in which white, European people will be slaughtered and slaughter each
         other, and after which the nation state as the primary unit of government will disappear.

                 “The unrighteous nations, as typified in the traditional Esau, who persist in their
                  wickedness and injustices, will not share in the ideal era. Their rule will be
                  destroyed and will disappear from the earth before the ushering in of the new
                  millennium. The wickedness of these nations will consist mainly in
                  accumulating money belonging to the people, and of oppressing and robbing
                  the poor.” Id. at 36 (emphasis added).57

                 “All these unrighteous nations will be called to judgment, before they are
                  punished and doomed. The severe sentence of their doom will be pronounced
                  upon them only after they have been given a fair trial, when it will have become
                  evident that their existence would hinder the advent of the ideal era.” Id. at 37.58

                 “The defeat of the unrighteous will mark the annihilation of the power of the
                  wicked who oppose the Kingdom of God and the establishment of the new ideal
                  era. This struggle will not be merely the struggle of Israel against her national
                  enemies but the climax of the struggle between the two general opposing camps
                  of the righteous and the unrighteous.” Id. at 37-8.

     17. After the Christians are exterminated, radical changes will be made to the structure of
         society, industry and government, and wealth will be redistributed.

                 “As soon as the wickedness has disappeared, radical industrial and economic
                  changes will take place. . . Once a society of the righteous is established on earth,
                  mankind will be safe. There will be no more danger that the world will go
                  through again the sad experiences of the past, and that it will repeat the

57
         This is a good example of the subjective logic that permeates Judaism. “We can subjugate other peoples
because we have the covenant, but the Christians are wicked if they do and must be exterminated.” Critical Race
Theory is based on a similar racial hypocrisy. This is why the Russians call the Ukrainians “neo-Nazis.”
58
          Dr. Higger supports this contention with the following cite (n. 219): Mekil. D’R. Ishmael, Beshallah p.25a;
Sifre, Ha’azinu, sec. 333, p. 140a; Talmud, ‘Ab Zarah 2a-b; 3a-b; 4a; Yerush., Berakot, ch. 8, p. 12c; Midr. Exod. R.
ch. 5, sec. 12; Midr. Eccles. R., ch. 1 to verse 9, sec. 1; Midr. Esther R., ch. 1, sec. 6; Midr. Tanh., Shemot, sec. 29,
ed. W.; Beshallah, sec. 5, ed. W.; Shemini, sec. 14, ed. B; Tazria’, sec. 16, ed. B.; Kedoshim, sec. 1, ed. B.;
Shofetim, sec. 9, ed. B.; Midr. Techillim, ch. 31, sections 3 and 4, ed. B.; ch. 76, sec. 4; Midr. Aggadah to the
Pentateuch, end of Shemini, p. 27; Midr. Ha-Gadol, Shemot, p. 30; Beshallah, p. 166. Where is Plaintiff’s fair
trial? Is the news coverage of Russia’s war in Ukraine fair and balanced?


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                  grave errors committed during the periods when the unrighteous ruled –
                  periods of hypocrisy, corruption, dishonest politics, accumulation of wealth in the
                  hands of a few, poverty, want, suffering, robbery, murder, wars, and kindred
                  evils.:” Id. at 24-5.59

                 “The cause of all discords and struggles is the disproportionate distribution of
                  life’s necessities among men—where part of the people have too much, and
                  others have little or nothing.” Page 50

     18. The “ideal” Universal State will sponsor healthcare; subjects will be force-fed drugs and
         alcohol to weaken their ability to resist an unnatural state of affairs (i.e., slavery).

                 “The natural instinct to fight, in order to conquer and to destroy, is a disease,
                  which is a remnant of the defects in nature of the past era. In the course of ages,
                  the beasts will be cured of that disease or weakness.” Id. at 49.

                 “Diseases and ill health which are such a heavy burden on the shoulders of
                  mankind in the present era, will not be known in in the future.” Id. at 58.

     19. The population in the “ideal” Universal State will be unarmed; i.e., the Second
         Amendment to the U.S. Constitution will be abolished or disregarded.

                 “This will be especially true of deaths caused by murder, which will be unknown
                  in the ideal era, when conditions that cause crime and sin will not exist.” Id. at
                  59.

     20. The “ideal” Universal State will be governed from the “Ideal City”, New Jerusalem.
         Access to the ideal city will be restricted to only the most “righteous”.

                 “Since the City will be the capital of the land of the righteous, its inhabitants will
                  be a selected group of the upright and just. . . . In the Jerusalem of the ideal era,
                  only those who will be invited will be permitted to enter.” Id. at 84.

                 “With these three qualifications of holiness, righteousness, and peace, attained,
                  Jerusalem will be the world’s center of joy and happiness.” Id.

     21. After all the Christians are exterminated, man will be imbued with a “new, holy spirit and
         become a new creature.” Id. at 103 (emphasis added). E.g., after exterminating all the
         Christians, the Jews will acknowledge the Spirit, likely by presenting the people with a
         new Messiah who will deliver the message that Christ already delivered, like the Disney

59
          As we will see in subsequent sections, all of these “grave errors” are actually just the result of intentional
Jewish tampering with Christian civilization. Again, Jews are Gods, you are not. As Hitler remarked, “Therefore
the Jewish intellect will never be constructive but always destructive. At best it may serve as a stimulus in rare cases
but only within the meaning of the poet's lines: 'The Power which always wills the Bad, and always works the Good'
(Kraft, die stets das Böse will und stets das Gute schafft). (Note 15) It is not through his help but in spite of his help
that mankind makes any progress.” Mein Kampf, at 15.

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         Star Wars remake. The sole and only goal of the Jewish race and religion is the
         extermination of white, European Christians as they exist today.

                From their willingness to adopt Christianity (Spirit), but only after the white,
                 European Christians—the only other white racial group—are all gone, we can
                 draw the same unfortunate conclusion Hitler did (Mein Kampf at 17):

                 Jewry has always been a nation of a definite racial character and never
                 differentiated merely by the fact of belonging to a certain religion. At a very early
                 date, urged on by the desire to make their way in the world, the Jews began to cast
                 about for a means whereby they might distract such attention as might prove
                 inconvenient for them. What could be more effective and at the same time more
                 above suspicion than to borrow and utilize the idea of the religious community?

II.      MARXISM, BOLSHEVISM, AND THE JEWS.

      22. There is overwhelming historical evidence that the Russian Bolshevik revolution was
          orchestrated principally by Jews. The goal of the movement was the creation of a
          Universal State (global socialism). As it is today, gentiles were duped into joining the
          movement under the banner of Marxism (which is described as to their benefit).

                From: Sir Winston S. Churchill, “Zionism versus Bolshevism: A Struggle for the
                 Soul of the Jewish People”, Illustrated Sunday Herald (Feb. 8, 1920).

                 International Jews.

                 In violent opposition to all this sphere of Jewish effort rise the schemes of the
                 International Jews. The adherents of this sinister confederacy are mostly men reared
                 up among the unhappy populations of countries where Jews are persecuted on
                 account of their race. Most, if not all, of them have forsaken the faith of their
                 forefathers, and divorced from their minds all spiritual hopes of the next world. This
                 movement among the Jews is not new. From the days of Spartacus-Weishaupt to
                 those of Karl Marx, and down to Trotsky (Russia), Bela Kun (Hungary), Rosa
                 Luxembourg (Germany), and Emma Goldman (United States), this world-wide
                 conspiracy for the overthrow of civilisation and for the reconstitution of society on
                 the basis of arrested development, of envious malevolence, and impossible equality,
                 has been steadily growing. It played, as a modern writer, Mrs. Webster, has so ably
                 shown, a definitely recognisable part in the tragedy of the French Revolution. It has
                 been the mainspring of every subversive movement during the Nineteenth Century;
                 and now at last this band of extraordinary personalities from the underworld of the
                 great cities of Europe and America have gripped the Russian people by the hair of
                 their heads and have become practically the undisputed masters of that enormous
                 empire.

                 Terrorist Jews.



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                 There is no need to exaggerate the part played in the creation of Bolshevism and in
                 the actual bringing about of the Russian Revolution by these international and for
                 the most part atheistical Jews. It is certainly a very great one; it probably outweighs
                 all others. With the notable exception of Lenin, the majority of the leading figures
                 are Jews. Moreover, the principal inspiration and driving power comes from the
                 Jewish leaders. Thus Tchitcherin, a pure Russian, is eclipsed by his nominal
                 subordinate Litvinoff, and the influence of Russians like Bukharin or Lunacharski
                 cannot be compared with the power of Trotsky, or of Zinovieff, the Dictator of the
                 Red Citadel (Petrograd), or of Krassin or Radek – all Jews. In the Soviet institutions
                 the predominance of Jews is even more astonishing. And the prominent, if not
                 indeed the principal, part in the system of terrorism applied by the Extraordinary
                 Commissions for Combating Counter-Revolution has been taken by Jews, and in
                 some notable cases by Jewesses. The same evil prominence was obtained by Jews in
                 the brief period of terror during which Bela Kun ruled in Hungary. The same
                 phenomenon has been presented in Germany (especially in Bavaria), so far as this
                 madness has been allowed to prey upon the temporary prostration of the German
                 people. Although in all these countries there are many non-Jews every whit as bad as
                 the worst of the Jewish revolutionaries, the part played by the latter in proportion to
                 their numbers in the population is astonishing.60

                In 1913, British Intelligence reported as follows61:

                 SUMMARY: There is now definite evidence that Bolshevism is an international
                 movement controlled by Jews; communications are passing between the leaders in
                 America, France, Russian and England with a view to concerted action…

                In 1919, American Intelligence reported as follows62:

                 In this connection a letter was sent to Mr. W. enclosing a memorandum from us
                 with regard to certain information from the American Military Attaché to the
                 effect that the British authorities had letters intercepted from various groups of
                 international Jews setting out a scheme for world dominion. Copies of this
                 material will be very useful to us.

                See also S. Paulsen, “The World Wide Betrayal (A Chronology of the Zionist
                 Master Plan for World Domination)”, The American Mercury 36th ed. (issue of
                 Sept. 1959) (attached in its entirety as Exhibit 1 hereto). The publisher had to go
                 into exile and was eventually murdered.


60
         For the Indian people who may read this complaint, ask yourself what changed about Churchill from 1920
to 1943 when the Bengal famine occurred.
61
        Great Britain, Directorate of Intelligence, A Monthly Review of the Progress of Revolutionary Movements
Abroad, no. 9, July 6, 1913 (861.99/5067).
62
        U.S. State Dept. Decimal File, 861.00/5399.


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                See also A. Sutton, Wall Street and the Bolshevik Revolution, (digital reprint by
                 Studies in Reformed Theology, 2001) (1974) (comprehensive analysis of Jewish
                 and non-Jewish financial backing of Bolshevik revolution; the overall conclusion
                 is that monopoly capitalism is more attractive than competitive capitalism and
                 thus, people one generally wouldn’t expect to support communism, did).

     23. Other than Lenin (who was ¼ Jewish, spoke Yiddish and married a Jew), the leading
         Bolsheviki were all Jews who used Russian-sounding surnames to trick unsuspecting
         gentiles into joining the revolution, which was pitched to them as being to their benefit.

                Some of the known real names are as follows63:
                    o Trotsky  Bronstein
                    o Zinoviev  Apfelbaum
                    o Kamenev  Rosenfeld

     24. In 1919, over 75% of Commissars in each Soviet Ministry were Jews.

      Ministry                                                   Total           Jewish          % Jewish
                                                                 Members         Members
      Council of the Commissaries of the People                  22              17              77.2%
      Commissariat of War                                        43              33              76.7%
      Commissariat of Foreign Affairs                            16              13              81.2%
      Commissariat of Finance                                    30              24              80.0%
      Commissariat of Justice                                    21              20              95.2%
      Commissariat of Public Instruction                         53              42              79.2%
      Commissariat of Social Assistance                          6               6               100.0%
      Commissariat of Work                                       8               7               87.5
      Delegates of the Bolshevik Red Cross to Berlin,            8               8               100.0%
      Vienna, Varsovie, Bucharest, Copenhagen
      Commissariat of the Provinces                              23              21              91.3%
      Journalists                                                41              41              100.0%

                 From: H. Ford, The International Jew: The World’s Foremost Problem, vol. 1,
                 109-10 (original print in The Dearborn Independent, issue of Sept. 25, 1920).

     25. In the Nuremberg trials, American prosecutors examined German Generals regarding
         their role in executing the “Commissar Order”—an order to kill Soviet Political
         Commissars rather than take them prisoner. It was understood by all that the Soviet
         political commissars were mostly Jews; the quiet implication being that the Commissar
         Order amounted to an indirect order to exterminate Jews and thus a crime against
         humanity. Of course, this connection wasn’t explicitly stated; this would have raised
         questions about whether it was really the Jews, rather than the Germans, who caused the

63
         From Maj. Gen. Count Cherep-Spiridivich, The Secret World Government or “The Hidden Hand”, 27
(Anti-Bolshevist Publishing Ass’n, 1926). The author was murdered later that year by Soviet agents, one day before
he was to chair a congregation of the “Pan-Aryan” league of Baltic States in New York.

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     war, which would also mean that the Germans were in one way or another simply
     defending against an existential threat. (Ostensibly for this same reason, the Soviets
     denied the existence of the Secret Protocols to the Molotov-Ribbentrop Pact until the
     collapse of the Soviet Union.) Top brass were concerned that the American public would
     question the decision to fight against the Germans rather than with them.

             COL. TAYLOR: In order to help in carrying out these plans didn't the OKW
             [Wehrmacht High Command] issue several orders to the commanding generals that
             were quite extraordinary? I refer among other things to the Commissar Order that
             you have mentioned.

             VON MANSTEIN: The Commissar Order, after all, only affected the removal of
             those Soviet elements who, shall we say, were supposed to carry the war beyond the
             military into the ideological sphere and to urge their troops to fight to the death.64
             That has nothing to do with the extermination of portions of the population at the
             most, it was the removal of a certain class of followers of the enemy forces who were
             considered to be more politicians than soldiers.

             ***

             COL. TAYLOR: Whether you worried about it or not, didn't you know who
             Hitler and the other political leaders thought were the elements in the Soviet
             population most likely to be obstructive? I'm asking you, didn't you know?

             VON MANSTEIN: Naturally he considered the political commissars to be harmful
             and to be our enemies; and that was expressed by him in the Commissar Order.
             Apart from the Commissar Order, I do not know to what extent he thought of
             annihilating such elements; he did not tell us that, nor did we receive an order to that
             effect.

             COL. TAYLOR: Didn't he also think the Jews should be exterminated for
             exactly the same reasons?

             VON MANSTEIN: That may be; but never once did he discuss the question of the
             Jews with me.

             COL. TAYLOR: You didn't know anything about that?

             VON MANSTEIN: No, I knew nothing of the plan of extermination.

             Cross-Examination of FM E. von Manstein (DE) by Col. T. Taylor (USA),
             Nuremberg, Germany (Day 200, Aug. 10, 1946), at
             https://avalon.law.yale.edu/imt/08-10-46.asp (emphasis added).



64
     Tape published on Youtube by the R.H. Jackson Center cuts out from “who” to the footnote.

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26. Stalin appears to have come to hate his Jewish co-revolutionaties (in particular Trotsky,
    who was exiled and ultimately assassinated). It is impossible to discern his motivations
    but it is reasonable to conclude he and others felt they had been duped, and therefore
    made efforts to make the revolution less global and more about the Russian people. For
    example, as an impressionable young revolutionary, Stalin spent significant time learning
    Esperanto, but later reversed his opinion on the language and forbade its use in 1937 (and
    purging Esperantists in 1941).

          Regarding being duped: Stalin in 1924 published a series of lectures describing
           socialism centric on a single state (rather than global in reach), see The
           Foundations of Leninism and The Problems of Leninism, which Trotsky criticized
           as “ideological garbage.” Trotsky was mostly focused on an international
           movement in which white, European Christians would be eliminated.

          Regarding use of Esperanto: “As long as the Jew has not succeeded in mastering
           other peoples he is forced to speak their language whether he likes it or not. But
           the moment that the world would become the slave of the Jew it would have to
           learn some other language (Esperanto, for example) so that by this means the Jew
           could dominate all the more easily.” A. Hitler, Mein Kampf, at 18.

          Regarding Stalin’s killing the Jewish Bolsheviki: “But the final consequence is
           not merely that the people lose all their freedom under the domination of the
           Jews, but that in the end these parasites themselves disappear. The death of the
           victim is followed sooner or later by that of the vampire.” Id. at 32.

27. A key goal of the early Bolsheviks was the complete elimination of the Christian religion
    in Russia. In service of that goal, millions of clergymen and believers were arrested,
    forced into exile, starved and murdered, and churches destroyed. Russian law made the
    practice of Christianity a crime against the State (prosecutable by show trial under Soviet
    Criminal Law as “Counter-Revolutionary Activity”).

          “In the spring of 1922 the Extraordinary Commission for Struggle Against
           Counterrevolution, Sabotage, and Speculation, the Cheka, recently renamed the
           GPU, decided to intervene in church affairs. It was called on to carry out a
           ‘church revolution’—to remove the existing leadership and replace it with one
           which would have only one ear turned to heaven and the other to the Lubyanka.”

           A. Solzhenitsyn, The Gulag Archipelago, 36 (Harper Collins Modern Classics
           2007) (1973).

          “Men of religion were an inevitable part of every annual ‘catch’ . . . From the
           early twenties on, arrests were also made among groups of theosophists, mystics,
           spiritualists. . . And, of course, ordinary Roman Catholics—Polish Catholic
           priests, etc.—were arrested, too, as part of the normal course of events. However,
           the root destruction of religion in the country, which throughout the twenties and
           thirties was one of the most important goals of the GPU-NKVD, could be realized

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           only by mass arrests of Orthodox believers. Monks and nuns, whose black habits
           had been a distinctive feature of Old Russian life, were intensively rounded up on
           every hand, placed under arrest, and sent into exile. They arrested and sentenced
           active laymen. The circles kept getting bigger, as they raked in ordinary believers
           as well, old people, and particularly women, who were the most stubborn
           believers of all. . .True, they were supposedly being arrested and tried not for their
           actual faith but for openly declaring their convictions and for bringing up their
           children in the same spirit. . . A person convinced that he possessed spiritual truth
           was required to conceal it from his own children! In the twenties the religious
           education of children was classified as a political crime under Article 58-10 of the
           Code—in other words, counterrevolutionary propaganda! . . . All persons
           convicted of religious activity received tenners, the longest term then given.”
           Id. at 37-8.

28. The Bolsheviks systematically imprisoned, murdered or starved the best gentiles in
    Russia.

          “Subsequently, after 1917, by a transfer of meaning, the name kulak began to be
           applied (in official and propaganda literature, whence it moved into general
           usage) to all those who in any way hired workers, even if it was only when they
           were temporarily short of working hands in their own families….But the inflation
           of this scathing term kulak proceeded relentlessly, and by 1930 all strong
           peasants in general were being so called—all peasants strong in management,
           strong in work, or even strong merely in convictions. The term kulak was used
           to smash the strength of the peasantry.” Id. at 55 (emphasis added).

          “[I]t was also necessary to get rid of those peasants, some of them not at all
           prosperous, who, because of their daring, their physical strength, their
           determination, and their love of justice, were favorites with their fellow
           villagers and by virtue of their independence were therefore dangerous to the
           leadership of the collective farm. Beyond this, in every village there were
           people who in one way or another had personally gotten in the way of the
           local activists. This was the perfect time to settle accounts with them of
           jealousy, envy, insult. A new word was needed for all these new victims as a
           class—and it was born . . . podkulachnik—‘a person aiding the kulaks.’” Id. at
           56-7 (emphasis added).

          “Like raging beasts, abandoning every concept of ‘humanity’ that had
           evolved through the millennia, they began to round up the very best farmers
           and their families, and to drive them, stripped of their possessions, naked, into the
           northern wastes, into the tundra and the taiga.” Id. at 56 (emphasis added).

          “And so it was that these two terms embraced everything that constituted the
           essence of the village, its energy, its keenness of wit, its love of hard work, its
           resistance, and its conscience. They were torn up by the roots—and
           collectivization was accomplished.” Id. at 57.

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29. Before exterminating the best gentiles, they were typically first defamed in a monstrous
    manner so that the other gentiles would think they were bad people and thus deserving of
    extermination. The word used to defame them was Kulak, which, before the revolution,
    meant essentially a Jew (a usurer or unscrupulous, bourgeois financial intermediary). In
    other words, Jewish revolutionaries painted the best gentiles as “bad” for the exact reason
    the Jews are, in fact, “bad.”

          “In Russian a kulak is a miserly, dishonest rural trader who grows rich not by his
           own labor but through someone else’s, through usury and operating as a
           middleman.” Id. at 55.

30. The Bolsheviks also imprisoned, murdered or starved all free-thinkers and non-Christian
    spiritualists.

          “. . . who fell within the broad definition of insects [to be exterminated] . . . [t]he
           people in the local zemstvo self-governing bodies in the provinces were, of
           course, insects. People in the cooperative movement were also insects, as were all
           owners of their homes. There were not a few insects among the teachers in the
           gymnasiums. The church parish councils were made up almost exclusively of
           insects, and it was insects, of course, who sang in church choirs. All priests were
           insects—and monks and nuns even more so. . . The railroads were particularly
           important, for there were indeed many insects hidden beneath railroad uniforms . .
           . and telegraphers, for some reason, were for the most part, inveterate insects who
           had no sympathy for the Soviets.” Id. at 28.

          “In addition, how many kinds of cursed intellectuals there were—restless students
           and a variety of eccentrics, truth-seekers, and holy fools . . . who are always a
           hindrance to a well-ordered, strict regime.” Id.

          “There were once again believers, who this time were unwilling to work on
           Sundays. (They had introduced the five- and the six-day week.) And there were
           collective farmers who refused to work on religious feast days, as had been their
           custom in the era of individual farms.” Id. at 59.

31. Arrests were made for people who were from upper-middle class backgrounds, and
    concealment of “social origin” (bourgeois upbringing) was made a grounds for arrest.

          “They arrested members of the nobility for their social origin. They arrested
           members of their families. Finally, unable to draw even simple distinctions, they
           arrested members of the ‘individual nobility’—i.e., anybody who had simply
           graduated from a university.” Id. at 39.

32. The Bolsheviks ultimately imprisoned, murdered or starved all people who were not
    members of the Bolshevik party at the time of the revolution.


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          “Also in 1921, the arrests of members of all non-Bolshevik parties were expanded
           and systematized. . . . so that the dissolution of these parties would be irreversible,
           it was necessary that their members should disintegrate and their physical bodies
           too. No one citizen of the former Russian state who had ever joined a party other
           than the Bolshevik Party could avoid his fate.” Id. at 34. Those who were
           deemed innocuous were allowed to live for a period of time, but lists of non-Party
           members were kept, and every non-Bolshevik Party member was always
           eventually arrested. Some were sent to prison, some were exiled, others were told
           to stay out of certain cities but allowed to go elsewhere (presumably areas where
           the consolidation was such that the Revolution had no threat of being dislodged).

          “And without any noise, without any outcry, the members of all the other parties
           slipped gradually out of sight, lost all connection with the places and people
           where they and their revolutionary activities were known., and thus—
           imperceptibly and mercilessly—was prepared the annihilation of those who had
           once raged against tyranny at student meetings and clanked their Tsarist shackles
           in pride.” Id. at 35-6.

33. In short, to succeed Marxism requires the suppression and removal of the Holy Spirit
    from all aspects of human life, along with anyone willing or able to oppose the movement
    in any respect, whether it be by using their intellect, abilities, or spirituality.

34. Judaism similarly requires the complete extermination of the Christian religion and its
    believers. If a Jew thought otherwise, then they would be a Christian. No Jew can feel
    sympathy for anyone other than a brother Jew; doing so would amount to the practice of
    Christianity. (The Yom Kippur prayer, Kol Nidrei, is the annual reassertion of this idea.)

          “One single trait is all that is necessary to reveal in an almost alarming manner to
           our consciousness the yawning gulf which here separates soul from soul: the
           revelation of Christ has no significance for the Jew. I do not speak here of pious
           orthodoxy at all. . . . I have searched through a whole library of Jewish books in
           the expectation of finding similar words—naturally not in belief in the divinity of
           Christ, not the idea of redemption, but the purely human feeling for the greatness
           of a suffering savior—but in vain. A Jew who feels that is no longer a Jew, but
           a denier of Judaism. And while we find even in Mohammad’s Quran at least a
           vague conception of the importance of Christ and profound reverence for His
           personality, a cultured, leading Jew of the nineteenth century calls Christ ‘the new
           birth with the death mask,’ which inflicted new and profound wounds upon the
           Jewish people; he cannot see anything else in Him. . . . In a book, republished in
           1880 by a Spanish Jew (Mose de Leon) Jesus Christ is called a ‘dead dog’ that
           lies ‘buried in a dunghill.’”

           H.S. Chamberlain, Foundations of the Nineteenth Century, 336-37 (John Lane
           Co., New York, 1911) (1899) (emphasis added).

35. The manner in which the elimination of gentiles occurs is by way of lies and defamation.

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      “Jehovah, for instance, is never tired of explaining: “I have seen this people and
       behold it is a stiff-necked people,’ [Exodus xxxii.9, xxxiv.9; Deuteronomy ix.13]
       and Jeremiah gives such a characterization of the moral constitution of the Jews
       that Monsieur Edouard Drumont could not wish it to be more richly colored. ‘And
       they will deceive every one his neighbor, and will not speak the truth: they have
       taught their tongue to speak lies, and weary themselves to commit iniquity.’
       [Deuteronomy ix.5]. Little wonder, after this description, that Jeremiah calls the
       Jews ‘an assembly of treacherous men,’ and knows only one desire ‘Oh that I had
       in the wilderness a lodging-place of wayfaring men; that I might leave my people
       and go from them.’” Id. at 339-40.

      As described by Hitler (Mein Kampf, at 30-1, (emphasis added)):

       It aims its attack especially against all men of character who refuse to fall into line
       with the Jewish efforts to obtain control over the State or who appear dangerous
       to the Jews merely because of their superior intelligence. For in order to incur the
       enmity of the Jew it is not necessary to show any open hostility towards him. It is
       quite sufficient if one be considered capable of opposing the Jew some time in the
       future or using his abilities and character to enhance the power and position of a
       nation which the Jew finds hostile to himself.

       The Jewish instinct, which never fails where these problems have to be dealt with,
       readily discerns the true mentality of those whom the Jew meets in everyday life; and
       those who are not of a kindred spirit with him may be sure of being listed among his
       enemies. Since the Jew is not the object of aggression but the aggressor
       himself, he considers as his enemies not only those who attack him but also
       those who may be capable of resisting him. The means which he employs to
       break people of this kind, who may show themselves decent and upright, are
       not the open means generally used in honourable conflict, but falsehood and
       calumny.

       He will stop at nothing. His utterly low-down conduct is so appalling that one
       really cannot be surprised if in the imagination of our people the Jew is pictured as
       the incarnation of Satan and the symbol of evil.

       The ignorance of the broad masses as regards the inner character of the Jew, and the
       lack of instinct and insight that our upper classes display, are some of the reasons
       which explain how it is that so many people fall an easy prey to the systematic
       campaign of falsehood which the Jew carries on.

       While the upper classes, with their innate cowardliness, turn away from anyone
       whom the Jew thus attacks with lies and calumny, the common people are
       credulous of everything, whether because of their ignorance or their simple-
       mindedness. Government authorities wrap themselves up in a robe of silence, but
       more frequently they persecute the victims of Jewish attacks in order to stop the
       campaign in the Jewish Press. To the fatuous mind of the government official such a

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           line of conduct appears to belong to the policy of upholding the authority of the
           State and preserving public order. Gradually the Marxist weapon in the hands of the
           Jew becomes a constant bogey to decent people. Sometimes the fear of it sticks in
           the brain or weighs upon them as a kind of nightmare. People begin to quail before
           this fearful foe and therewith become his victims.

36. The revolutionaries used lies, defamation, show trials, intimidation, and sought methods
    to execute death sentences without judicial process.

          “It would have been impossible to carry out this hygienic purging . . . if they had
           had to follow outdated legal processes and normal judicial procedures. And so an
           entirely new form was adopted: extrajudicial reprisal, and this thankless job was
           self-sacrificingly assumed by the Cheka, the Sentinel of the Revolution, which
           was the only punitive organ in human history that combined in one set of hands
           investigation, arrest, interrogation, prosecution, trial, and execution of the
           verdict.” Solzhenitsyn, The Gulag Archipelago, at 28.

37. The revolutionaries jailed anyone who refused to inform on family and friends targeted in
    show trials. Ultimately, people came to realize that if they didn’t inform (lie about) those
    targeted, the revolutionaries would just get someone else to do it, so resistance was futile.

          “Edzhubova was supposed to act as an informer on a group of engineers, and she
           not only dared to refuse but also told her guardian (it was against him she was
           supposed to inform). . . . Edzhubova, who was pregnant, was arrested for
           ‘revealing an operational secret’ and was sentenced to be shot—but subsequently
           managed to get off with a string of twenty-five year sentences.” Id. at 46.

          “(In the thirties this wave of the disobedient [those who refused to inform on
           loved ones] fell off to zero: if they asked you to, then it meant you had to
           inform—where would you hide? ‘The we.’ ‘If I don’t, someone else will.’
           ‘Better me than someone bad.’ Meanwhile there were plenty of volunteers; you
           couldn’t get away from them: it was both profitable and praiseworthy.)” Id.

38. Members of the learned professions were frequently destroyed by means of false
    accusations of sexual misconduct.

          “This particular wave [of arrests under Section 10 of the Soviet Criminal Code,
           Counter-Revolutionary Agitation] grabbed up anyone at all at any moment. But
           when it came to outstanding intellectuals in the thirties, they sometimes
           considered it cleverer to fabricate a case based on some conspicuously
           shameful violation (like pederasty; or, in the case of Professor Pletnev, the
           allegation that, left alone with a woman patient, he bit her breast. A national
           newspaper reports such an incident—and just try to deny it!).” Id. at 60, n.
           27 (emphasis added).

39. People targeted were frequently stripped of their professional licenses.

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          “Small tradesmen such as barbers, tailors, even those who repaired primus stoves,
           were only deprived of their licenses to pry their trade.” Id. at 52.

40. The gentiles whose lives were destroyed in this manner were arrested if they “dared to
    reject the [alternate] employment offered them” by the Party. See id. at 59.

41. The system of state-sponsored hospitals was famously abused by the KGB, and state
    psychiatrists liberally applied false diagnoses of severe mental health conditions to
    political dissenters, who were force-fed heavy-duty drugs and turned into “vegetables.”

          “Antipsychotic (neuroleptic) medications have been used to treat patients for
           ‘delusions of reformism’ and ‘anti-Soviet thoughts’ in the absence of accepted
           medical indications for psychotic ideation. Medical records and patient
           interviews provided evidence for use of relatively high doses of neuroleptics in
           some patients who showed no symptoms of psychotic ideation.”
           U.S. DEP’T OF STATE, COMMISSION ON SECURITY AND COOPERATION IN EUROPE,
           Report of the U.S. Delegation to Assess Recent Changes in Soviet Psychiatry, 26,
           Schizophrenia Bulletin (1989) [archived 29 Nov. 2015].

          “Anti-Soviet political behavior, including writing books, demonstrating for
           reform, or being outspoken in opposition to the authorities, which was defined in
           some patients as being simultaneously a symptom (e.g., ‘delusion of reformism’),
           a diagnosis (e.g., ‘sluggish schizophrenia’), and a criminal act (e.g., violations of
           Articles 70 or 190-1).” Id.

42. Once the revolutionaries acquire enough power, they begin openly killing.

          “Now begins the great and final revolution. As soon as the Jew is in possession of
           political power he drops the last few veils which have hitherto helped to conceal
           his features. Out of the democratic Jew, the Jew of the People, arises the 'Jew of
           the Blood', the tyrant of the peoples. In the course of a few years he endeavours to
           exterminate all those who represent the national intelligence. And by thus
           depriving the peoples of their natural intellectual leaders he fits them for their fate
           as slaves under a lasting despotism.” Hitler, Mein Kampf at 32.

          This process dates back centuries:

           As Chamberlain recalls, “[i]n the second century, for example, the Jews on the
           island of Cyprus are more numerous than the other inhabitants; they resolve to
           found a national State and with this intent follow the procedure from the Old
           Testament: they slay in one day all the other inhabitants, 240,000 in number; and
           in order that this island State may not be without support on the mainland, they at
           the same time slay the 220,000 non-Jewish inhabitants of Cyrene. In Spain they
           pursue the same policy with greater caution and astonishing perseverance. Under
           the rule of that thoroughly Western Gothic King, who had showered benefits on

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                 them, they invite their kinsmen, the Arabs, to come over from Africa, and, not out
                 of any ill-feeling, but simply because they hope to profit thereby, they betray their
                 noble protector.” Foundations of the Nineteenth Century at 342.

                 And Hitler, describing the historical pedigree of Jewish genocidal behavior: “[i]n
                 times of distress a wave of public anger has usually arisen against the Jew; the
                 masses have taken the law into their own hands; they have seized Jewish property
                 and ruined the Jew in their urge to protect themselves against what they consider
                 to be a scourge of God. Having come to know the Jew intimately through the
                 course of centuries, in times of distress they looked upon his presence among
                 them as a public danger comparable only to the plague.” Mein Kampf at 19.

     43. Hitler analyzed the procedure by which Marxism is used to dupe a population into
         slavery.65 The people caught up in it believe that they are liberating themselves.

                 While our bourgeoisie middle class paid no attention at all to this momentous
                 problem and indifferently allowed events to take their course, the Jew seized upon
                 the manifold possibilities which the situation [then, the discontent of the working
                 classes; in modern times, people of color] offered him for the future. While on the
                 one hand he organized capitalistic methods of exploitation to their ultimate degree of
                 efficiency, he curried favor with the victims of his policy and his power and in a
                 short while became the leader of their struggle against himself. 'Against himself'
                 is here only a figurative way of speaking; for this 'Great Master of Lies' knows how
                 to appear in the guise of the innocent and throw the guilt on others. Since he had
                 the impudence to take a personal lead among the masses, they never for a moment
                 suspected that they were falling a prey to one of the most infamous deceits ever
                 practiced. And yet that is what it actually was. . . .

                 . . . Just as he succeeded in obtaining civic rights by intrigues carried on under the
                 protection of the bourgeois class, he now hoped that by joining in the struggle which
                 the workers were waging for their own existence he would be able to obtain full
                 control over them.

                 When that moment arrives, then the only objective the workers will have to fight for
                 will be the future of the Jewish people. Without knowing it, the worker is placing
                 himself at the service of the very power against which he believes he is
                 fighting. * * *

                 * * * By presenting his [Marxist] doctrine as part and parcel of a just revindication of
                 social rights, the Jew propagated the doctrine all the more effectively. But at the same
                 time he provoked the opposition of decent people who refused to admit these
                 demands which, because of the form and pseudo-philosophical trimmings in which
                 they are presented, seemed fundamentally unjust and impossible for realization. For,
                 under the cloak of purely social concepts there are hidden aims which are of a
                 Satanic character. . . Because of its pseudo-logic, intelligent people refuse to

65
        Hitler’s 1925 analysis of this uncomfortable but extremely relevant topic remains the finest ever written.

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      support it, while all those who are less accustomed to use their intellectual faculties,
      or who have only a rudimentary notion of economic principles, join the Marxist
      cause with flying banners. The intelligence behind the movement—for even this
      movement needs intelligence if it is to subsist—is supplied by the Jews themselves,
      naturally of course as a gratuitous service which is at the same time a sacrifice on
      their part [see, for example, the ‘1619 Project’].

      Thus arose a movement which was composed exclusively of manual workers under
      the leadership of Jews. To all external appearances, this movement strives to
      ameliorate the conditions under which the workers live; but in reality its aim is to
      enslave and thereby annihilate the non-Jewish races. * * *

      * * * He gradually becomes the leader of the trades union movements, which is an
      easy task for him, because he does not genuinely intend to find remedies for the
      social wrong: he pursues only one objective, namely, to gather and consolidate a
      body of followers who will act under his commands as an armed weapon in
      the economic war for the destruction of national economic independence. For,
      while a sound social policy has to move between the two poles of securing a decent
      level of public health and welfare on the one hand and, on the other, that of
      safeguarding the independence of the economic life of the nation, the Jew does not
      take these poles into account at all. The destruction of both is one of his main
      objects. He would ruin, rather than safeguard, the independence of the national
      economic system. Therefore, as the leader of the trades union movement, he has no
      scruples about putting forward demands which not only go beyond the declared
      purpose of the movement but could not be carried into effect without ruining the
      national economic structure. On the other hand, he has no interest in seeing a
      healthy and sturdy population develop; he would be more content to see the people
      degenerate into an unthinking herd which could be reduced to total subjection.
      Because these are his final objectives, he can afford to put forward the most
      absurd claims. He knows very well that these claims can never be realized and that
      therefore nothing in the actual state of affairs could be altered by them, but that the
      most they can do is to arouse the spirit of unrest among the masses. That is
      exactly the purpose which he wishes such propaganda to serve and not a real
      and honest improvement of the social conditions. * * *

      * * * By means of a Press whose contents are adapted to the level of the most
      ignorant readers, the political and trades union organizations are provided with an
      instrument which prepares the lowest stratum of the nation for a campaign of
      ruthless destruction. It is not considered part of the purpose of this Press to
      inspire its readers with ideals which might help them to lift their minds above
      the sordid conditions of their daily lives; but, on the contrary, it panders to their
      lowest instincts. Among the lazy-minded and self-seeking sections of the masses this
      kind of speculation turns out lucrative. * * *

      * * * In the field of politics he now begins to replace the idea of democracy by
      introducing the dictatorship of the proletariat. In the masses organized under the
      Marxist banners he has found a weapon which makes it possible for him to discard
      democracy, so as to subjugate and rule in a dictatorial fashion by the aid of
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           brute force. He is systematically working in two ways to bring about this revolution.
           These ways are the economic and the political respectively. . . .

           . . . Economically he brings about the destruction of the State by a systematic
           method of sabotaging social enterprises until these become so costly that they are
           taken out of the hands of the State and then submitted to the control of Jewish
           finance. Politically he works to withdraw from the State its means of subsistence,
           inasmuch as he undermines the foundations of national resistance and defense,
           destroys the confidence which the people have in their Government, reviles
           the past and its history and drags everything national down into the gutter.

           Culturally his activity consists in bowdlerizing art, literature and the theatre,
           holding the expressions of national sentiment up to scorn, overturning all
           concepts of the sublime and beautiful, the worthy and the good, finally
           dragging the people to the level of his own low mentality.

           Of religion he makes a mockery. Morality and decency are described as
           antiquated prejudices and thus a systematic attack is made to undermine those last
           foundations on which the national being must rest if the nation is to struggle for its
           existence in this world.

           (l) Now begins the great and final revolution. As soon as the Jew is in possession of
           political power he drops the last few veils which have hitherto helped to conceal his
           features. Out of the democratic Jew, the Jew of the People, arises the 'Jew of
           the Blood', the tyrant of the peoples. In the course of a few years he endeavors
           to exterminate all those who represent the national intelligence. And by thus
           depriving the peoples of their natural intellectual leaders he fits them for their fate as
           slaves under a lasting despotism.

           Russia furnishes the most terrible example of such a slavery. In that country the Jew
           killed or starved thirty millions of the people, in a bout of savage fanaticism aided
           partly by the employment of inhuman torture.

           A. Hitler, Mein Kampf at 26-32 (Murphy unexpurgated [NSDAP] translation).

44. Soviet Bolsheviks originally intended to start a World War (the “War for World
    Revolution”) as early as the late 1920s. War is the best possible means of overthrowing a
    target country’s government; these revolutions are typically paired with man-made food
    shortages and labor strikes.

          Hitler on Jewish designs to start the War for World Revolution: “Aided by
           international influences, he forms a ring of enemies around those nations which
           have proved themselves too sturdy for him in withstanding attacks from
           within [e.g., Russia today, which has had their own horrible experience with
           Bolshevism and will fight to a man to never go back to that place again]. He
           would like to force them into war and then, if it should be necessary to his


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           plans, he will unfurl the banners of revolt even while the troops are actually
           fighting at the front.” Mein Kampf at 32.

          Solzhenitsyn describes a wave of arrests in 1927 on the “eve of the war for world
           revolution”, a process called by the Bolsheviks “Social Prophylaxis”. The Gulag
           Archipelago at 41-3 (“And when else, in fact, should unreliable fellow travelers,
           all that shaky intellectual rot, be arrested, if not on the eve of the war for world
           revolution.”)

          In 1922, Germany and the USSR signed the Treaty of Rapallo, which permitted
           the Reichswehr to engage in tank exercises in Russia under the supervision of the
           Red Army. Among other things the Treaty of Versailles limited the size of the
           Reichswehr to 100,000 men and forbade German tank production. The Red Army
           wanted to learn from the Prussian generals how to fight an advanced mobilized
           war before they eventually invaded Germany using this knowledge.

          By the start of Operation Barbarossa in June of 1941, the USSR had amassed over
           25,000 tanks, more than the rest of the world combined. The Germans claimed
           34,000 Soviet tanks destroyed by June 1942. This was not a defensive tank corps:
           the Soviets intended to use it to invade Western Europe.

45. Karl Marx appears to have been Jewish. His father converted to Protestantism. His ideas
    were spread principally by Jews, and were designed to secure Jewish racial objectives.

          Hitler describes that, during the late nineteenth century, Jews began to pass
           themselves off as German-Christians: “Finally he became baptized and thus
           entitled to all the rights and privileges which belonged to the children of the
           nation on which he preyed. This was a high-class stroke of business for him, and
           he often availed himself of it, to the great joy of the Church, which was proud of
           having gained a new child in the Faith, and also to the joy of Israel, which was
           happy at seeing the trick pulled off successfully.” Mein Kampf at 20.

          And, “[t]he reason why, at the stage I am dealing with, the Jew so suddenly
           decided to transform himself into a German is not difficult to discover. He felt the
           power of the princes slowly crumbling and therefore looked about to find a new
           social plank on which he might stand. Furthermore, his financial domination over
           all the spheres of economic life had become so powerful that he felt he could no
           longer sustain that enormous structure or add to it unless he were admitted to the
           full enjoyment of the 'rights of citizenship.' He aimed at both, preservation and
           expansion; for the higher he could climb the more alluring became the prospect of
           reaching the old goal, which was promised to him in ancient times, namely world-
           rulership, and which he now looked forward to with feverish eyes, as he thought
           he saw it visibly approaching. Therefore all his efforts were now directed to
           becoming a fully-fledged citizen, endowed with all civil and political rights.”
           Mein Kampf at 21.


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       46. Marxism is a form of secular Judaism designed to draw gentiles into slavery; Marxism
           was the form used in the early 20th century; Wokeness is just the latest iteration.

                 This process has been occurring since time immemorial. For example, this is how
                  Martin Luther chose to open his 1543 text, On the Jews & Their Lies:

                  I had made up my mind to write no more either about the Jews or against them.
                  But since I learned that those miserable and accursed people do not cease to lure
                  to themselves even us, that is, the Christians, I have published this little book, so
                  that I might be found among those who opposed such poisonous activities of the
                  Jews and warned the Christians to be on their guard against them. I would not
                  have believed that a Christian could be duped by the Jews into taking their exile
                  and wretchedness upon himself. However, the devil is the god of the world, and
                  wherever God’s word is absent he has an easy task, not only with the weak but
                  also with the strong. May God help us. Amen.

                  M. Luther, On the Jews & Their Lies, Epigraph (Eulenspiegel Press 2014) (1543).

       47. Marxism is based on a series of elaborate lies. Lies about human nature, lies about the
           goals and true beneficiaries of the movement, lies about religion, and lies about people
           who oppose it. It is a movement built by liars entirely on a foundation of lies.

       48. In a Marxist system, the truth itself is the most dangerous enemy of the State. Even one
           person speaking the truth can destroy the entire system. The system quickly resorts to the
           use of physical violence and terror to force the compliance of those enslaved by it.

                 As Hitler notes, “[i]n accordance with the general brutality and rapacity of his
                  nature, he turns the trades union movement into an organization for the
                  exercise of physical violence. The resistance of those whose common sense has
                  hitherto saved them from surrendering to the Jewish dictatorship is now broken
                  down by terrorization. The success of that kind of activity is enormous.” Mein
                  Kampf at 29 (emphasis added).

III.      CHRISTIANITY AS REVOLUTIONARY, “COUNTER-REVOLUTIONARY”.

       49. Although Hitler’s analysis of Marxism is brilliant, his conclusions about what is
           ultimately to be done about it—which are sourced in racism—are famously evil and
           wrong.

       50. To reach his conclusions, Hitler drew a comparison in outcomes between Christian-
           dominant civilizations and concluded that race must be the differentiating factor.

                 “In North America, where the population is prevalently Teutonic, and where those
                  elements intermingled with the inferior race only to a very small degree, we have
                  a quality of mankind and a civilization which are different from those of Central
                  and South America. In these latter countries the immigrants—who mainly

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           belonged to the Latin races—mated with the aborigines, sometimes to a very large
           extent indeed. In this case we have a clear and decisive example of the effect
           produced by the mixture of races. But in North America the Teutonic element,
           which has kept its racial stock pure and did not mix it with any other racial stock,
           has come to dominate the American Continent and will remain master of it as
           long as that element does not fall a victim to the habit of adulterating its blood.”
           Mein Kampf at 2-3.

51. Hitler believed that the Indo-European (“Aryan”) race was superior to others because it
    possessed a certain culture-creating trait called “idealism” unique only to it.

          “In the German language we have a word which admirably expresses this
           underlying spirit of all work: It is Pflichterfüllung, which means the service of the
           common weal before the consideration of one's own interests. The fundamental
           spirit out of which this kind of activity springs is the contradistinction of 'Egotism'
           and we call it 'Idealism'. By this we mean to signify the willingness of the
           individual to make sacrifices for the community and his fellow-men.
           It is of the utmost importance to insist again and again that idealism is not merely
           a superfluous manifestation of sentiment but rather something which has been, is
           and always will be, a necessary precondition of human civilization; it is even out
           of this that the very idea of the word 'Human' arises. To this kind of mentality the
           Aryan owes his position in the world. And the world is indebted to the Aryan
           mind for having developed the concept of 'mankind'; for it is out of this spirit
           alone that the creative force has come which in a unique way combined robust
           muscular power with a first-class intellect and thus created the monuments of
           human civilization. . . .

           . . . It is just at those junctures when the idealistic attitude threatens to disappear
           that we notice a weakening of this force which is a necessary constituent in the
           founding and maintenance of the community and is thereby a necessary condition
           of civilization. As soon as the spirit of egotism begins to prevail among a
           people then the bonds of the social order break and man, by seeking his own
           personal happiness, veritably tumbles out of heaven and falls into hell.” Id. at
           11-12 (emphasis added).

52. Hitler believed that this “idealism” made Marxism—which is sourced in “egotism” and,
    contrary to its grand claims, quickly turns people into corrupt, treacherous, selfish
    animals that inform on one another and exterminate each other—completely
    inappropriate for the German people. In general, the German people understood what he
    was saying and agreed with him on the merits.

          This speech from February 1933, his first as Chancellor, received thunderous
           applause from the audience which included some 20 million + radio listeners.
           Banners on the walls of the auditorium read: “Free Germany from Marxism!”;
           “Marxism Must Die for the Nation to be Reborn!”


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      Once torn apart, still more divided, dissolved, divided in hostile groups that did not
      understand each other . . . When already the life and origins of our own people are
      divided by the economy, social classes, education, and financial backgrounds, then
      political goals cannot be founded on this division and be expected to last. . . .

      And so I decided at that time as a determined individual to dare to declare war on
      this inner strife, and by means of this party to give unity back to the German people
      from out of this desolation. And then I realized that with this positive objective you
      had to use war and fight against the lowlifes of our own political life who not only
      were not interested in the objective, but, on the contrary, hated it for being against
      the inner turmoil. . .

      I want to say the following: Marxism means the eternal tearing apart of the nation,
      the ruin of this people, and with that the betrayal of the very class which is asking
      itself how it can gain the better future it has been promised.

      The betrayal of the working class. This is the unavoidable result of this ripping apart
      of a people’s strength. . . .

      The consequences and effects were outrageous. The then German people decayed
      more from year to year. And not only in size and in power—in real terms—but in
      honor and reputation. There will come a time when you can again proudly state you
      are German.

      When we look upon our history we feel ashamed at the way we live today. And with
      this foreign policy and power political decline began the decline of the interior.
      Dissolution of all these great organizations of our national life and of our national
      strength. The decline of our administration allowed corruption to find its way in and
      above all the decline of national community. Yes, commissioning of our political
      life. Dissolution of all the fabric of our people.

      . . . German negotiators signed obligations that cannot be kept. Hundreds of billions
      being handled as if it were merely a few thousand marks. What previous generations
      have created is now light heartedly given away in pawn or abandoned. It comes and
      came with it the time of this most terrible crime against the German people. Of the
      eternal unrest and eternal looting of this eternal oppression. And we have seen
      ourselves in this time the life of every German sink slowly deeper and deeper. . . .

      Our people had to suffer a high inflation which robbed millions of people of their
      savings.

      The decay of our culture, these mounds of contamination of our whole cultural life.
      The decomposition of our literature. The poisoning of our theaters, of our movie
      theaters, all the art if now falling for it. Millions of Germans do not participate
      anymore; it does not appeal to them anymore. This art that was not born from our
      people but is alien to us and will remain alien. That has nothing to do with German
      character and did not come from our soul.

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                  It was imposed on our people by a subversive press which made it palatable. And
                  parallel to this, already the assault begins against the education of our children’s
                  brains. The tearing out of all the memories of our German past. The insult to all the
                  great men of our people, the removal of its memory from the hearts and brains of
                  German youth, and with it a large defilement of the German history. Nothing of
                  what was once great, nothing of what helped create this state and this nation, to
                  make it strong, was spared from these corroding and corrosive attacks. Everything is
                  demolished starting with the symbols of the past, from the cockades and flags to the
                  great men of our history.

                  Then they committed the crime of inflation, and after this rampage on the part of
                  their minister Hilferding, a ruinous usury set in. Outrageously extortionate interest
                  rates which should have never been allowed to go unpunished in any state are now
                  part and parcel of the “Social” Republic. And this is where the destruction of
                  production begins. The destruction wreaked by these Marxist theories of economics
                  as such and moreover by the madness of a taxation policy which sees to the rest.

                  And now we witness how class upon class are collapsing, how hundreds of
                  thousands are gradually driven to despair, are losing their livelihoods, year after year
                  tens of thousands go bankrupt, hundreds of thousands of compulsory auctions take
                  place. And then the peasantry starts to become impoverished, the most industrious
                  class in the nation is driven to ruin, can no longer exist. And then this process heads
                  back to the cities and the army of unemployed begins to grow. One, two, three
                  million, four million, five million, six million, seven million—today the number
                  might be between seven and eight million.

                  They destroyed what they could in 14 years of work and no one did anything to stop
                  them.

     53. Hitler’s ideas about the Aryan race lack empirical support.66

     54. Christianity is most concisely described as the relatively simple idea that “God is spirit.”
         Jn. 4:24.

                 A vast and out-of-scope topic, but consider for purposes of brief illustration the
                  crowd’s confusion and anger over the following statement by Jesus:



66
          They appear to emanate from a thesis made popular in the late nineteenth century (sourced from Tibetan
manuscripts discovered by Russian researchers), and which remains popular to this day, that there was an advanced
civilization on the island of Atlantis which possessed this “idealistic” or intuitive trait. The prevailing narrative is
that there was a catastrophic flood event which destroyed the Atlantean civilization, and its inhabitants left in boats
and ultimately ended up scattered in the Mediterranean (after which time they travelled North), the Caucuses region,
and Iran, Tibet and North India. While this idea has intuitive appeal, there is really no support for it. Although there
is evidence that the Bolsheviks made a point of seizing and destroying these Tibetan manuscripts in Russia, see
Solzhenitsyn, The Gulag Archipelago at 5, no one has ever proven that Atlantis existed.

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                   “Very truly I tell you, unless you eat the flesh of the Son of Man
                   and drink his blood, you have no life in you. 54 Whoever eats my
                   flesh and drinks my blood has eternal life, and I will raise them up
                   at the last day. 55 For my flesh is real food and my blood is real
                   drink. 56 Whoever eats my flesh and drinks my blood remains in
                   me, and I in them. 57 Just as the living Father sent me and I live
                   because of the Father, so the one who feeds on me will live
                   because of me. 58 This is the bread that came down from heaven.
                   Your ancestors ate manna and died, but whoever feeds on this
                   bread will live forever.” Jn. 6:53-58.

           Obviously he was not encouraging cannibalism, and obviously he did not mean
           that you will actually live forever. But if we were animals only, that is what we
           would have to take it to mean. The revelation of Christ (the embodiment of
           Spirit) is probably the biggest leap forward in human history, so much so that it
           restarted the clock on the way we count years. It creates free individuals (“I have
           said you are “gods”’, [10:34]) that are subject to an immutable (“in the beginning
           was the word…” [1:1]; “before Abraham was, I am” [8:58]) moral and ethical
           code above all human meddling (“If I glorify myself, my glory is nothing.”
           [8:54]; “The wind blows wherever it wishes . . .” [3:8]). All democratic norms,
           true innovation, art and culture flow forth from this concept of Spirit.

55. By the middle ages, the Catholic Church had become fundamentally a secular
    government divorced from this relatively simple principle. The Church taught masses in
    a language most did not understand, and was vastly corrupt. Unscrupulous priests began
    selling indulgences, a piece of paper that promised salvation in return for a sum of
    money; effectively an ancient form of virtue signaling, a meaningless gesture.

56. A monk in Germany named Martin Luther was incensed by this and began publishing
    writings critical of the Catholic Church’s corruption, which went “viral.” His
    interpretation of Christianity is the basis for what we today call advanced civilization.

           To make the way smoother for the unlearned—for only them do I serve—
           I shall set down the following two propositions concerning the freedom and
           the bondage of the spirit:

                   - A Christian is a perfectly free lord of all, subject to none.
                   - A Christian is a perfectly dutiful servant of all, subject to all.

           These two theses seem to contradict each other. [12] * * *

           * * * [On freedom] Yes, since faith alone suffices for salvation, I need nothing
           except faith exercising the power and dominion of its own liberty. Lo, this is the
           inestimable power and liberty of Christians.




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                  Not only are we the freest of kings67, we are also priests forever, which is far more
                  excellent than being kings, for as priests we are worthy to appear before God to
                  pray for others and to teach one another divine things. These are the functions of
                  priests, and they cannot be granted to any unbeliever. Thus Christ has made it
                  possible for us, provided we believe in him, to be not only his brethren, co-heirs,
                  and fellow- kings, but also his fellow-priests. Therefore we may boldly come into
                  the presence of God in the spirit of faith [Heb. 10:19, 22] and cry “Abba, Father!”
                  pray for one another, and do all things which we see done and foreshadowed in
                  the outer and visible works of priests.

                  He, however, who does not believe is not served by anything. On the contrary,
                  nothing works for his good, but he himself is a servant of all, and all things turn
                  out badly for him because he wickedly uses them to his own advantage and not
                  to the glory of God. So he is no priest but a wicked man whose prayer becomes
                  sin and who never comes into the presence of God because God does not hear
                  sinners [John 9:31]. Who then can comprehend the lofty dignity of the Christian?
                  By virtue of his royal power he rules over all things, death, life, and sin, and
                  through his priestly glory is omnipotent with God because he does the things
                  which God asks and desires, as it is written, “He will fulfil the desire of those who
                  fear him; he also will hear their cry and save them” [Cf. Phil. 4:13]. To this glory
                  a man attains, certainly not by any works of his, but by faith alone.

                  From this anyone can clearly see how a Christian is free from all things and over
                  all things so that he needs no works to make him righteous and save him, since
                  faith alone abundantly confers all these things. Should he grow so foolish,
                  however, as to presume to become righteous, free, saved, and a Christian by
                  means of some good work, he would instantly lose faith and all its benefits, a
                  foolishness aptly illustrated in the fable of the dog who runs along a stream with
                  a piece of meat in his mouth and, deceived by the reflection of the meat in the
                  water, opens his mouth to snap at it and so loses both the meat and the reflection.
                  [21-22] * * *

                  Although, as I have said, a man is abundantly and sufficiently justified by faith
                  inwardly, in his spirit, and so has all that he needs, except insofar as this faith and
                  these riches must grow from day to day even to the future life; yet he remains in
                  this mortal life on earth. In this life he must control his own body and have
                  dealings with men. Here the works begin; here a man cannot enjoy leisure; here
                  he must indeed take care to discipline his body by fastings, watchings, labors, and
                  other reasonable discipline and to subject it to the Spirit so that it will obey and
                  conform to the inner man and faith and not revolt against faith and hinder the
                  inner man, as it is the nature of the body to do if it is not held in check. The inner
                  man, who by faith is created in the image of God, is both joyful and happy because
                  of Christ in whom so many benefits are conferred upon him; and therefore it is

67
          This is probably the sentence Dr. Martin Luther King Jr. was named after. Contrast this with some of the
statements from Dr. Higger in Section I. Christians are also kings, Gods on earth, but servants in that their behavior
is regulated by an immutable force above all worldly corruption. They are not servants of, for example, the Jews or
any other man. How far we have come from MLK’s ideas about equality.

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      his one occupation to serve God joyfully and without thought of gain, in love that
      is not constrained. [24] * * *

      * * * [On moral hazard inherent in good works] From this it is easy to know how
      far good works are to be rejected or not, and by what standard all the teachings
      of men concerning works are to be interpreted. If works are sought after as a
      means to righteous- ness, are burdened with this perverse leviathan, and are done
      under the false impression that through them one is justified, they are made
      necessary and freedom and faith are destroyed; and this addition to them makes
      them no longer good but truly damnable works. They are not free, and they
      blaspheme the grace of God since to justify and to save by faith belongs to the
      grace of God alone. What the works have no power to do they nevertheless—by
      a godless presumption through this folly of ours—pretend to do and thus
      violently force themselves into the office and glory of grace. We do not,
      therefore, reject good works; on the contrary, we cherish and teach them
      as much as possible. We do not condemn them for their own sake but on
      account of this godless addition to them and the perverse idea that
      righteousness is to be sought through them; for that makes them appear
      good outwardly, when in truth they are not good. They deceive men and
      lead them to deceive one another like ravening wolves in sheep’s clothing
      [Matt. 7:15]. [28] * * *

      * * * [On authentic mechanism for creating good works] In doing these works,
      however, we must not think that a man is justi- fied before God by them, for faith,
      which alone is righteousness before God, cannot endure that erroneous opinion.
      We must, however, re- alize that these works reduce the body to subjection and
      purify it of its evil lusts, and our whole purpose is to be directed only toward the
      driving out of lusts. Since by faith the soul is cleansed and made to love God, it
      desires that all things, and especially its own body, shall be purified so that all
      things may join with it in loving and praising God. Hence a man cannot be idle,
      for the need of his body drives him and he is compelled to do many good works
      to reduce it to subjection. Nevertheless the works themselves do not justify him
      before God, but he does the works out of spontaneous love in obedience to God
      and considers nothing except the approval of God, whom he would most
      scrupulously obey in all things. [25] * * *

      * * * [Conclusion about good works] Therefore he should be guided in all his
      works by this thought and contemplate this one thing alone, that he may serve
      and benefit others in all that he does, considering nothing except the need and
      the advantage of his neighbor. Accordingly the Apostle commands us to work
      with our hands so that we may give to the needy, although he might have said that
      we should work to support ourselves. He says, however, “that he may be able to
      give to those in need” [Eph. 4:28]. This is what makes caring for the body a
      Christian work, that through its health and comfort we may be able to work, to
      acquire, and lay by funds with which to aid those who are in need, that in this way
      the strong member may serve the weaker, and we may be sons of God, each
      caring for and working for the other, bearing one another’s burdens and so
      fulfilling the law of Christ [Gal. 6:2]. This is a truly Christian life. Here faith is truly
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            active through love [Gal. 5:6], that is, it finds expression in works of the freest
            service, cheerfully and lovingly done, with which a man willingly serves another
            without hope of reward; and for himself he is satisfied with the fullness and wealth
            of his faith. [29] * * *

            * * * [Summation of thesis] Therefore, if we recognize the great and precious
            things which are given us, as Paul says [Rom. 5:5], our hearts will be filled by the
            Holy Spirit with the love which makes us free, joyful, almighty workers and
            conquerors over all tribulations, servants of our neighbors, and yet lords of all.
            For those who do not recognize the gifts bestowed upon them through Christ,
            however, Christ has been born in vain; they go their way with their works and
            shall never come to taste or feel those things. Just as our neighbor is in need and
            lacks that in which we abound, so we were in need before God and lacked his
            mercy. Hence, as our heavenly Father has in Christ freely come to our aid, we also
            ought freely to help our neighbor through our body and its works, and each one
            should become as it were a Christ to the other that we may be Christs to one
            another and Christ may be the same in all, that is, that we may be truly Christians.

            Who then can comprehend the riches and the glory of the Christian life? It can
            do all things and has all things and lacks nothing. It is lord over sin, death, and
            hell, and yet at the same time it serves, ministers to, and benefits all men. But alas
            in our day this life is unknown throughout the world; it is neither preached about
            nor sought after; we are altogether ignorant of our own name and do not know
            why we are Christians or bear the name of Christians. Surely we are named after
            Christ, not because he is absent from us, but because he dwells in us, that is,
            because we believe in him and are Christs one to another and do to our neighbors
            as Christ does to us. But in our day we are taught by the doctrine of men to seek
            nothing but merits, rewards, and the things that are ours; of Christ we have made
            only a taskmaster far harsher than Moses.

            Martin Luther, The Freedom of a Christian, 12-31 (1520) (emphasis added).

57. Although Hitler’s conception of “idealism” as the basis for advanced civilization is
    correct, his attribution of its origin to a particular race is incorrect. It is rather attributable
    to the system of norms, ethics, and values generated by protestant Christianity.

58. Christianity rejects racial hierarchies and favors equality of opportunities, but not
    outcomes. See Jn. 9-10 (Jesus’ response to the Pharisees’ argument [9:34], regarding the
    blind man healed on the Sabbath). Under Christianity, no one is better or worse than
    anyone else because of their skin color, which is a meaningless physical attribute.
    Slavery was a wicked economic practice that finds no basis in Christianity.

59. Free speech is central to the practice of Christianity. (This is apparent from Luther’s
    example alone; without access to the printing press, he would have been executed by the
    Pope.) Free speech enables the service of God and your neighbor through the free
    transmission of ideas, culture, and truth.


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      60. By nature Christianity is “revolutionary” to a tyrannical form of government, but is
          “counter-revolutionary” vis a tyrannical form of government that falsely parades itself as
          a liberating force to the people it intends to enslave, such as Marxism.

      61. “[T]he very foundations of the liberal order, including equality theory, legal reasoning,
          Enlightenment rationalism, and neutral principles of constitutional law,” Delgado and
          Stefancic, Critical Race Theory: An Introduction, 3 (NYU Press, 3d. Ed. 2017), are
          sourced in Christianity, not “whiteness.”

      62. Christianity permits the free exercise of any other religion, draws people to it through
          organic means, and does not advocate harm be done to non-believers; this is not true of
          other religions, namely Judaism, Marxism, and its modern corollary, called Wokeness.

IV.      WOKENESS AS MARXISM, “SURPRISE JUDAISM”.

      63. Wokeness has three main ideological strands: Critical Race Theory (“CRT”),
          Transhumanism, and Sustainability.

      64. Wokeness is a comprehensive belief system encompassing theories about socioeconomic
          power structures, morality and ethics, the nature of good and evil, etc., and contains
          commands and prescriptions for how to live a clean Woke life. Wokeness is a religion
          practiced openly in the workplace, and a fundamentalist one at that.

                                         Critical Race Theory

      65. CRT, like economic Marxism before it, exists to serve the interests of its believers in
          seizing power by force and never relinquishing it (the “dictatorship of the [believers]”).

                For example, see Ibram X.Kendi, “Anti-Racist Constitutional Amendment”:

                 To fix the original sin of racism, Americans should pass an anti-racist amendment to
                 the U.S. Constitution that enshrines two guiding anti-racist principals [sic]: Racial
                 inequity is evidence of racist policy and the different racial groups are equals. The
                 amendment would make unconstitutional racial inequity over a certain threshold, as
                 well as racist ideas by public officials (with “racist ideas” and “public official” clearly
                 defined). It would establish and permanently fund the Department of Anti-racism
                 (DOA) comprised of formally trained experts on racism and no political appointees.
                 The DOA would be responsible for preclearing all local, state and federal public
                 policies to ensure they won’t yield racial inequity, monitor those policies, investigate
                 private racist policies when racial inequity surfaces, and monitor public officials for
                 expression of racist ideas. The DOA would be empowered with disciplinary tools to
                 wield over and against policymakers and public who do not voluntarily change their
                 racist policies and ideas.

                 I. Kendi, “Anti-Racist Constitutional Amendment” (quotation by Lindsay, Race
                 Marxism, 218-19 (New Discourses, Orlando 2022).


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                 Obviously, Kendi (of the Center for Antiracist Research at Boston University) is
                  suggesting a “super-check” on all aspects of society; e.g., the creation of a
                  Supreme Soviet (the DOA), for all intents and purposes a dictatorship of the
                  antiracists (the new proletariat). Plaintiff’s case is about as clear an example as
                  exists of how real this has become and of how many people actually believe in
                  this monstrous garbage, actively practice it, and are willing and looking for
                  opportunities to take human life in service of it.

     66. Critical Theory was founded by Max Horkheimer, a Jew, in 1937.

     67. Critical Race Theory was founded by a group of self-avowed Marxists including Richard
         Delgado at a “convent” at the University of Wisconsin in 1989.

                 The University of Wisconsin is a “center of left academic legal thought.”68
                 Delgado, in his own words: “I was a member of the founding conference. Two
                  dozen of us had gathered in Madison, Wisconsin, to see what we had in common
                  and whether we could plan a joint action in the future, whether we had a scholarly
                  agenda we could share, and perhaps a name for the organization. I had taught at
                  the University of Wisconsin . . . [t]he school was a center of left academic legal
                  thought. So we gathered at that convent for two and a half days, around a table in
                  an austere room with stained glass windows and crucifixes here and there—an
                  odd place for a bunch of Marxists—and worked out a set of principles.” (from
                  Race Marxism at 3).

     68. By 1989, economic Marxism had lost its appeal and the Soviet Union was collapsing.
         The intent of CRT was to revitalize Marxism by mobilizing the “ghetto population” (their
         words) in the United States.

                 As Lindsay describes, “[p]ut more straightforwardly, the point of Critical Race
                  Theory, like all of the Critical Theories of identity it ‘intersects’ with, is to shift
                  Leftist politics away from economic concerns and the plight of Labor (the
                  working-class) and to the politics of identity. This is a change that was called for
                  openly by the neo-Marxist and Critical Theorist Herbert Marcuse in two of his
                  most famous works of the 1960s: One-Dimensional Man (1964) and An Essay on

68
          Fun fact, since 1997, there have been a number of odd deaths of high-potential white, strongly Christian,
predominantly German young male University of Wisconsin students in Eau Claire and Madison, Wisconsin. The
victims are typically found floating face-down in a river after leaving a bar, with high levels of alcohol and
frequently GHB (a “date rape” drug) in their system. The deaths are explained as accidental drownings, but the
narratives make no sense. Clearly the young men are being abducted, tortured/abused, force-fed alcohol and then
dropped in the water to drown. For example, to paraphrase a common fact pattern, victim has no mental health
issues, leaves the bar mildly intoxicated on night 1, there is no tape of them leaving the bar (it was apparently edited
out), the river is thoroughly searched by police and dive teams on days 3-5, and then on day 13 the body is found in
the searched area in rigor mortis (which dissipates after 24-48 hours) and a > .2 BAC. Thus death occurred on day
11, for example. Many believe that the police, coroners and local government are complicit in whatever is going on
there and subservient to whomever is responsible. The perpetrators sometimes leave pieces of the victim’s clothing
placed before a statue of Native American Chief Hiawatha in an apparent kind of occult tribute. See D. Paulides,
Missing 411: A Sobering Coincidence (Independently Published, 2015).

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           Liberation (1969). In these, Marcuse effectively complains that advanced
           capitalism had been too successful at producing a prosperous, flourishing society
           and a healthy middle class, with the result being that the working class has lost its
           revolutionary spirit. He then seeks a new location for the radical revolutionary
           spirit and finds it in ‘the ghetto populations,’ notably the Black Liberation
           Movements. If these can be channeled into a critical consciousness by Marcuse’s
           Leftist intelligentsia in the universities and its radicalized student base, a new
           revolutionary proletariat could emerge that has the necessary energy to
           successfully push Western societies into socialism.” Id. at 6.

69. Critical Race Theory (CRT) is “a race-based, systematic critique of legal reasoning and
    legal institutions” which contemplates “studying and transforming the relationship among
    race, racism, and power”. R. Delgado and J. Stefancic, Critical Race Theory: An
    Introduction, xv, 3 (NYU Press, 3d. ed. 2017).

70. CRT examines “economics, history, setting, group and self-interest, and emotions and the
    unconscious” through a racial lens and “questions the very foundation of the liberal order,
    including equality theory, legal reasoning, Enlightenment rationalism, and neutral
    principles of constitutional law.” Id. at 3

71. CRT charges that “Western philosophy is inherently white in its orientation, values, and
    method of reasoning,” id. at 8, and considers principles of liberal democracy, such as
    equality, “color-blindness and neutral principles of constitutional law”, to be inherently
    racist and oppressive. Id. at 28

72. Shockingly, “[c]rits are suspicious of another liberal mainstay, namely, rights . . . moral
    and legal rights are apt to do the right holder much less good than we like to think.” Id. at
    28-9.

73. CRT is based fundamentally on a sweeping conspiracy theory about “systemic racism.”
    It claims that any social structure which results in outperformance by whites is inherently
    racist, and asserts that Christian norms and values (outlined conceptually in the prior
    section)—such as punctuality, work ethic, advancement on the basis of merit, objective
    reasoning (and its necessary corollaries, free speech, the scientific method, and neutral
    principles of law)—were all created by white men in powdered wigs specifically to
    oppress people of color.

          As selected by Lindsay, for a flavor of this, see Brandeis University’s glossary of
           terms for Diversity, Equity and Inclusion, which defines “race” as “[a] misleading
           and deceptively appealing classification of human beings created by White people
           originally from Europe which assigns human worth and social status using the
           White racial identity as the archetype of humanity for the purpose of creating and
           maintaining privilege, power, and systems of oppression.”




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74. CRT attributes these characteristics to be features of “whiteness” akin to property. See
    Cheryl I. Harris, “Whiteness as Property.” Tragically and wrongly, it takes the position
    that enjoyment of a spiritual life is restricted only to whites.

75. The outcome sought by “crits” is “equity”, which means equality of outcomes rather than
    opportunities. Cheryl Harris, in an extreme example, proposes the suspension of private
    property rights, the seizure of land and wealth, and redistribution of same along racial
    lines in service of this goal. In other words, she and other “crits” desire a world in which
    people are not equal before God or the law.

76. CRT’s emphasis on “identity” (identity politics) as a basis upon which rights and
    economic outcomes are determined elevates its believers to the status of deities on earth,
    superior to others by virtue of their race and religion, and subject to their own law and no
    other, similar to Judaism.

          For a practical example, Section 8 of the Soviet Criminal Code covered “terror
           (not that terror from above for which the Soviet Criminal Code was supposed to
           provide a foundation in legality, but terror from below.)” Solzhenitsyn, The Gulag
           Archipelago at 64. Under this section of the Code, for example, a Communist
           Party member could sleep with your wife, and if you retaliated against the Party
           member, it would be considered terrorism and a crime against the State. This is
           the basic rationale for the current conception of “domestic terror.”

77. Likewise, CRT’s priests act as priests, judge and jury, with the sole power to understand
    racism. They are willing to sell this service to companies for a fee, and travel from
    company to company doing just that (effectively selling indulgences).

          As Ramaswamy describes, “Columbia university linguistics professor John
           McWhorter has observed that ‘third-wave antiracism is a profoundly religious
           movement in everything but terminology.’ He couldn’t be more right. Diversity
           experts like Ibram Kendi and Robin DiAngelo are the Grand Inquisitors of our
           time. Corporate CEOs are the followers in the square who kneel to them. Some
           kneel out of worship. Some out of fear, some a mixture of the two. If they
           confess themselves to be sinners and acknowledge their racism and sexism, the
           Inquisitors will absolve them of these sins. Corporate employees and their
           consumers are like the innocent masses, left to worship at the temple of
           Diversity—a quasi religion that monolithically rejects diversity itself, just as the
           commoners in Seville worshipped at a church that sentenced Christ to execution.
           ‘Heal me of my patriarchy!’ the woke CEOs and their employees cry. ‘I am blind
           to my white privilege—make me see!’ If they show a penitent heart and contrite
           spirit, the diversity experts graciously bless than and move on to their next
           speaking engagement. All must be saved.” V. Ramaswamy, Woke, Inc.: Inside
           Corporate America’s Social Justice Scam, 217 (Center Street, New York 2021).




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78. Intratextualism, or the belief that the text is sacred and only believers can interpret the
    text, is a classic attribute of Judaic or Rabbinical logic and of fundamentalist religion.
    For example, to quote Sanhedrin 59a “A Goi who pries into the law is guilty to death.”

          For intratextuality/fundamentalism, see, e.g., “[b]ecause racism advances the
           interests of both white elites (materially) and working-class people (psychically),
           large segments of the society have little incentive to eradicate it.” Delgado and
           Stefancic, Critical Race Theory, an Introduction at 7. In other words, the only
           way to understand racism is to blindly believe the word of the crits, because if you
           don’t, it is because you have no incentive to challenge racism, are unconsciously
           biased, and are thus incapable of understanding it (much less taking action to
           remediate it), except by way of the texts and the word of the priests. In the world
           of CRT, even freedom itself is oppressive and evidence of racism: “[t]he logic of
           individual autonomy that underlies liberal humanism (the idea that people are free
           to make independent rational decisions that determine their own fate) was viewed
           as a mechanism for keeping the marginalized in their place by obscuring larger
           systems of structural inequality. In other words, it fooled people into believing
           that they had more freedom and choice than societal structures actually allow.” R.
           Diangelo and O. Sensoy, Is Everyone Really Equal?, 5 (Multicultural Education
           Series 2d. ed. 2017).

          For connection to Judaical logic: In this vein, in On the Jews & Their Lies, Martin
           Luther devotes several chapters to Rabbinical interpretations of scripture, which
           he characterizes as largely false, self-serving, and designed expressly to support
           the contention that Jews are Gods on earth. A discussion of these ideas is outside
           the scope of this complaint.

79. Companies and their employees that have been blessed by Woke priests are able to freely
    engage in unethical and unlawful discriminatory behavior. Once they have been blessed,
    they are no longer capable of being accused of being themselves racist, despite (as in this
    case) overwhelming evidence to the contrary. Cf. Art. 58, § 8 of Soviet Criminal Code.

          This is a classic attribute of non-Christian religion. Christianity is the only
           religion that admits that its followers are always, and all, sinners. No Christian is
           good. If morality is based on good works alone (rather than faith in Christ, as
           spirit), then no one can be “bad,” because if even one person is found to be doing
           “good works” for a bad purpose, such as to take someone’s money, people will
           stop believing in the religion. This vulnerability in the belief system creates a
           massive incentive to lie about morality; tying morality to good works creates
           incentives to use the good works for illicit purposes, but this always must be
           concealed. People then come to know the other believers in the religion are lying
           but can’t stop. People then stop trusting each other and become animals. The
           effect is that it stops being a “religion” and becomes a primitive, racial credo.

80. The mechanism by which this lying operation occurs is installation of Woke priests in
    various social institutions, such as courts, professional associations, other employers, at

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         technology companies as censors, etc, which all support one another in breaking the law.
         Thus a white, Christian person destroyed by the movement has no effective means of
         challenging the misconduct: the DEI administrators at all other companies have a veto in
         hiring decisions, so they are blacklisted; social media companies censor their protests; if
         they file a case, it is assigned to the Woke activist judge; the Judge can accuse the person
         of racism and attempt to have him disbarred, etc.

     81. The ability to take life freely using lies and defamation is classic Judaism. See Section I
         and paragraph 9, supra. As is the case with Judaism, not only does the Woke religion not
         punish this kind of behavior, it rewards it. If even one believer is caught lying, the whole
         thing falls apart; so people just commit to the lies and stop trying to be good.

     82. CRT asserts that if any white person disagrees with any of this, it is because they are
         racists who have not yet realized that they are racist, and because they are “fragile.”
         (Unconscious Bias.) Not, for example, because they find morality valuable and do not
         want to live in a Godless world.

     83. CRT cements this belief system by forcing its believers to see everything through this
         “lens” and implicitly or explicitly encouraging exclusion of those that don’t.69

     84. Consistent with this “lens” it engages in a massive revisionist historical telling. Jews are
         mainly responsible for supplying the alternate narrative, which is designed explicitly to
         support the sweeping conspiracy theory upon which CRT is based. Sadly, they are doing
         this for entirely self-interested reasons, best described by Hitler. See section II, supra
         (“The intelligence behind the movement—for even this movement needs intelligence if it
         is to subsist—is supplied by the Jews themselves, naturally of course as a gratuitous
         service which is at the same time a sacrifice on their part.” Mein Kampf at 27). Some
         major examples:

                  The above quoted glossary of terms was created by Brandeis University.

                  The “1619 Project” is a creature of The New York Times.

                  The Zinn Project teaches a “people’s history” of the United States and advocates
                   that school-aged children learn about this “people’s history.” Its founder was
                   Howard Zinn.

     85. CRT explicitly intends to affect a violent revolution, rejecting “incrementalism and step-
         by-step progress.” Delgado and Stefancic, Critical Race Theory: An Introduction, at 3.70

69
          As a means of brutalizing those it targets, it ferociously ruins their life, looking for the ultimate “proof” that
the targeted one is a “racist.” For example, Plaintiff has been tortured (either directly or with silence) now for nearly
two years, by actors at all levels of the legal profession and federal, state and local government, seeking the ultimate
“See! He was racist all along!” case-closed moment. In other words, it drags people down to its level in order to
prove its own false point. In effect, it behaves like a virus, the real target being Christianity itself.
70
          This has nothing to do with the rights of Black people and everything to do with the lessons learned from
Germany. In Germany, an incremental approach was used. This allowed Hitler to gain popularity over 14 years.

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86. CRT explicitly advocates for its believers to engage in discrimination against whites.

          For example, Kendi writes that “The only remedy to racist discrimination is
           antiracist discrimination. The only remedy to past discrimination is present
           discrimination.” I. Kendi, How to be an Antiracist 19 (New York, One World
           2019).

87. CRT considers capitalism to be an outgrowth of “whiteness” and asserts that antiracists
    must be anticapitalists.

88. Wokeness has spread throughout the corporate world thanks in significant part to folks
    like Larry Fink, who have made a tortured case that a company’s commitment to
    antiracism, among other things, should affect its cost of capital.

          For example, Ramaswamy notes: “In a paper titled ‘A Fundamental Reshaping of
           Finance,’ Fink writes, ‘[Blackrock’s] investment conviction is that
           sustainability—and climate-integrated portfolios can provide better risk-adjusted
           returns to investors.” Woke, Inc. at 116.

          And “Larry Fink, CEO of Blackrock, the world’s largest investment firm, issued
           an open letter to CEOs describing a ‘Sustainability Accounting Standard Board’
           that would tackle issues ranging from labor practices to workforce diversity to
           climate change. Scores of others followed.” Id. at 16.

          Of course, there was a self-serving purpose to all of this: “[a]fter Blackrock
           created its Sustainability Accounting Standards Board, the firm quietly secured its
           status as the main financial administrator of the economic stimulus package
           during the COVID-19 pandemic, effectively playing the role of the government—
           and probably made a pretty penny for doing it.” Id. at 121.

89. CRT’s belief that individualistic norms, ethics, and values result in “systemic racism” is
    just a masked attack on protestant Christianity. In effect, the argument is that the
    “freedom” created by Christianity is racist, or a mask for racism (see Kendi, How to be
    an Antiracist, at 9 “[t]he language of color-blindness . . . is a mask to hide racism.”
    (quoting Plessy v. Ferguson, 163 U.S. 537, 559 (1896) (Harlan, J., dissenting)), and so
    therefore Christianity is racist and its believers should be removed from society. The
    ideas that inspired and drove Dr. Martin Luther King, Jr.—the ideas of his namesake,
    which he significantly added to; the most inspiring and liberating set of ideas that have
    ever existed—are considered racist and oppressive.

90. CRT’s belief that “systemic racism” is the fundamental organizing principle of society
    conceives of humans as tribalistic animals rather than noble, spiritual beings.

91. CRT rejects racial equality and equality before God.


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92. CRT rejects objectivity in favor of subjectivity (see, for example, the concept of “voices
    of color” having more weight than white voices).

93. CRT emphasizes collectivism over individualism, which it considers a phony construct
    designed to mask systemic racism.

94. CRT is designed to spread in a parasitic manner, akin to a virus. It does this by coercion
    and threats—threats of cancellation, diminution of reputation, unemployment, poverty,
    starvation, and death—rather than drawing people in organically.

95. CRT targets “white people originally from Europe,” is critical of “the entire liberal
    order,” and attributes to “whiteness” characteristics that are actually just characteristics of
    a Christian worldview.

96. CRT advocates for the elimination of “racists” who don’t believe in CRT. Because CRT
    sharply conflicts with basic principles of Christianity, it paints Christians as “racists”
    worthy of destruction.

97. Because Christianity’s individualistic norms are made possible through faith alone, by
    demonizing these norms as racist and leaving only the commission of good works (which
    the leaders of the movement prescribe), CRT strips Christianity of the cross and forces
    Christians to either renounce the cross in their everyday lives or otherwise be destroyed.
    It reverts the religion to the law only and makes the leaders of the movement “Gods.”
    Thus it attempts to erase Christ and his religion entirely.

98. From the perspective of Christian theology, CRT is the antichrist. See 2 Thes. 3-12; 1 Jn.
    2:18-20; Jn. 16:1-4.

99. CRT practitioners use adherence to the ideology as pretext to commit immoral and
    unethical acts, such as defaming and violently destroying “racists” (Christians); because
    they did so in adherence to their religious creed, they are absolved of their sins.

100.        CRT is really just Judaism for black and brown people. No more, no less. 99%
   of its believers have no idea that they have been evangelized into Judaism, or the reasons
   why. CRT has turned America into a gigantic, inescapable, nightmarish synagogue.

          As previously discussed, Judaism is an inherently secular credo that asserts in
           myriad ways that the Jewish race is superior to the other races. It does not seek to
           spread its “religion” organically but rather to forcefully impose it on others, trick
           them into it, or exterminate all the non-believers (Christians) thereby leaving it
           (and the race that practices it) as the only show in town after the smoke clears.

101.       Because CRT is aligned with Judaism, the only “whites” it targets are Christian
   whites.




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     102.      CRT, together or as a component of Wokeness, has become the State religion of
        the United States and is practiced openly in all of its major educational, cultural and
        governmental institutions, as well as all of its largest and most sophisticated businesses
        and industries (and worse, to the exclusion of all others).71

     103.       There is strong preliminary evidence that there was a massive purge of white
        Christians from the professional services sector in 2021.

                 For example, a Mercer Job Satisfaction survey reported high job satisfaction
                  among white professional services employees during the pandemic, yet the
                  Bureau of Labor Statistics notes a correspondingly massive number of
                  “resignations” among those same satisfied employees. This wave of separations
                  was labeled by the press as “The Great Resignation.” Although everyone knows
                  what is going on, detailed data on it will be unavailable until year end 2022.

     104.       All strong Christians, by the nature of their religion, are bound to disagree with
        CRT, whether publicly or privately. They do not disagree with it because they are racists,
        but rather because they are not racists.

     105.       Christianity permits free exercise of other religions, including Wokeness and its
        substratum CRT, but CRT (like Judaism and classic Marxism) does not.

     106.         CRT is a Marxist doctrine.

     107.     Antiracists are simply modern Bolsheviks, and are currently engaged in
        Bolshevism openly and without penalty.

     108.       Much of this Bolshevism was practiced during the pandemic, when, over recorded
        lines such as Zoom, white, Christian employees were tested on what they thought about
        CRT in mandated trainings which many viewed as overt indoctrination. If these
        employees (instinctively or otherwise) failed to bend the knee and effectively convert to
        Judaism, they were ruined.72

                  Since the Social Democrats best know the value of force from their own experience,
                  they most violently attack those in whose nature they detect any of this substance
                  which is so rare. Conversely, they praise every weakling on the opposing side,


71
          Interestingly, the arrangement of the 13 stars in the Great Seal of the United States was not present in the
original design. See painting of same at Trinity Chapel (1785). The arrangement of the stars in the shape of a six-
pointed star (the Star of David) occurred in 1935 in conjunction with the reverse-sided design of the one-dollar bill.
The original design omitted the phrase “in God we Trust” which only became mandatory in 1955 by law. The
Treasury Secretary in 1935 was Henry Morgenthau, a Jew, who also was instrumental in many New Deal programs.
Dr. Higger’s book was published in 1932.

72
         Note at this time the similarity between this elimination process and the elimination process described by
Dr. Higger. Christians are presented with the opportunity to convert; if they do not, and particularly if they dare
publicly exclaim why they didn’t, then they apparently deserve to have their head crushed like a snake.

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           sometimes cautiously, sometimes loudly, depending on the real or supposed quality
           of his intelligence.

           They fear an impotent, spineless genius less than a forceful nature of a moderate
           intelligence.

           But with the greatest enthusiasm they commend weaklings in both mind and force.

           They know how to create an illusion that this is the only way of preserving the peace,
           and at the same time, stealthily but steadily, they conquer one position after another,
           sometimes by silent blackmail, sometimes by actual theft, at moments when the
           general attention is directed toward other matters [“pandemic”], and either does not
           want to be disturbed or considers the matter too small to raise a stir about, thus
           again irritating the vicious antagonist.

           This is a tactic based on precise calculation of all human weaknesses, and its result
           will lead to success with almost mathematical certainty unless the opposing side
           learns to combat poison gas with poison gas.

           A. Hitler, Mein Kampf, 42-4 (Manheim (expurgated) translation, First Mariner Books
           Ed. 1999).

109.      The elimination process that was carried out by activists during the pandemic
   matches the elimination process described by Dr. Higger. Christians are presented with
   the opportunity to convert; if they do not, and particularly if they dare publicly exclaim
   why they didn’t, then they apparently deserve to have their head crushed like a snake.

                                     Transhumanism

110.      Transhumanism is perhaps best summarized by Martine Rothblatt in her self-
   published From Transgender to Transhuman: A Manifesto on the Freedom of Form.

111.        Transhumanism is summarized by Rothblatt as “[t]ogether, law and science, heat
   and light, are the tools we must use to liberate society’s potential for unlimited expression
   of sexual identity. As we do so, we evolve from wise man, Homo sapiens, to creative
   person, Persona creatus. We emerge from our prison of sex into a frontier of gender.
   We step from a history of biological limits up to a future of cultural choice. We unleash
   at long last the full, unbridled power of human diversity on our planet’s prolific
   problems. The outcome of this gender’s awakening will be a new species, a new
   transhumanity: one that has as its fundamental purpose the assurance of a healthy and
   fulfilling life for all who value that right.” Id. at 155.

112.     Rothblatt’s book begins with an overview of similar efforts by Barack Obama in
   Dreams from My Father:

          “Both Apartheid of Sex and Dreams from my Father reflect and celebrate the
           deconstruction of outmoded, socially constructed notions of race and gender and

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                  the toppling of traditional barriers to the achievement of the American Dream. In
                  Obama’s case, the transformative dynamic is the ‘beiging’ of America.” Id.
                  at 11 (emphasis added).

     113.      To the transhumanist, “the legal division of people into males and females is as
        wrong as the legal division of people into black and white races,” id. at 27, “[m]anhood
        and womanhood can be lifestyle choices open to anyone, regardless of genitalia,” id. at
        31-32, and, in the current system, men have a kind of “birthright superiority” over
        women (an “Apartheid of Sex”). Id. at 40-41.

     114.       To the transhumanist, “a human need not have a flesh body, just as a woman need
        not have a real vagina. Humanness is in the mind, just as is sexual identity. As software
        becomes increasingly capable of thinking, acting and feeling like a human, it should be
        treated as a fellow human, and welcomed as a fellow member of the technological
        species Persona creatus.” Id. at 43.

     115.       To the transhumanist, the role of the “spirit” in Christianity is supplanted by
        science. I.e., connection and creativity can only happen through the physical realm,
        physical race and gender is a barrier to human connection and thus a barrier to
        “creativity” (tell that to Bach), and science alone can tear down these physical barriers
        (so much so that a computer can be a human).

     116.       To the transhumanist, the only means for humans of different races and genders to
        live cohesively is by mixing all the races and even erasing the concept of biological sex.

     117.      Transhumanism conflicts with Christianity, which places no relevance on the
        corporeal form. Under Christianity, the population morphing into a beige, genderless
        mass is not a necessary precondition to a noble, spiritual world, nor does a person’s race
        or gender present a barrier or create a hierarchy in society by virtue of itself.73

     118.       To the skeptical eye, transhumanism appears more about selling prescription
        drugs, defiling Christianity, pushing Marxism, and weakening the United States.

                 The concept of teaching nontraditional sexual concepts to children was pioneered
                  by Hungarian-Jewish Leninist Gyorgy Lukacs as a means of undermining
                  Christian morality and weakening the family unit, so as to accelerate the
                  subversive process in the target country.

                 Among other things, for example, Rothblatt’s book suggests that Abraham
                  Lincoln was a homosexual.



73
          To be fair, the Church has alienated the LGBTQ+ community. The Plaintiff in this case does not take the
prevailing view of the Church or most Christians, and thinks LGBTQ+ people have been wrongly excluded.
Plaintiff does not see a basis for this kind of exclusion anywhere in Christ’s words, and it seems hypocritical for the
Catholic Church in particular to cast stones about these matters.

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          Racial miscegenation, i.e. the “beiging” of a people, has long been viewed as a
           means of weakening the target state by permanently adulterating its racial and
           cultural stock. This process leaves the state susceptible to control by a group of
           pure racial stock and thus strong natural group cohesion.

                                      Sustainability

119.     “Sustainability” is a keyword for a United Nations Policy called Agenda 21,
   which was fleshed out in 1992 (Rio declaration for 21st century global governance).

120.       Although non-binding in force and effect, Agenda 21 appears to parade as
   cutting-edge thinking on “sustainability” issues with the apparent goal of securing
   “voluntary” (but simultaneously, ignorant) buy-in to the form of global government
   Higger fantasized about. In other words, to dupe Americans, including young children,
   into believing global socialism will be something other than slavery.

121.      “Sustainability” purports to remedy environmental problems through compliance
   with global governance policies adopted at the level of the United Nations. Just an end-
   run around the Constitution.

122.        “Sustainability” has nothing to do with a given organization’s actions taken to
   benefit the environment, and rather everything to do with its level of compliance with
   activities designed to create a one-world government.

123.        The “Sustainability Accounting Standards Board” (SASB) was created in 2018
   and made popular during the pandemic by Larry Fink, CEO of Blackrock. The SASB
   standards are designed to make them appear very uncanny to the observer—just another
   set of mindless things to comply with—but are actually a means of penalizing companies
   for failing to adopt the agenda of the radical left.

          For example, in “A Fundamental Reshaping of Finance,” Fink concludes that ‘[i]n
           the absence of robust disclosures [around sustainability], investors, including
           Blackrock, will increasingly conclude that companies are not adequately
           managing risk.” What he is actually saying is that companies that stick to neutral
           and/or Christian values and fail to convert to Judaism will face sharply increased
           cost of capital and be driven out of business. (We are seeing this happen in real
           time, at the time of this lawsuit to Elon Musk.)

124.       The SASB is headquartered in San Francisco, CA.

125.      For an example of how SASB is being used, here are some of the SASB’s
   guidelines for professional services firms.

          The guidelines focus on three categories: Data Security, Workforce Diversity &
           Engagement, and Professional Integrity. While all this looks very uncanny
           (particularly to the observer who has not analyzed the nature of the Woke

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           ideology all of this is paired with) what it actually is doing is incentivizing exactly
           the kind of misconduct complained about in this lawsuit. A white, Christian
           person has been destroyed to seek “better numbers” in “workforce diversity and
           engagement” (which just has to be done because the “market has spoken” on the
           subject, but in reality, it is just because the people behind it all hate Christians and
           want them all to die), is surveilled, silenced using technology (the development of
           which has been heavily incentivized here and through the pandemic, such that, for
           example, the company can create fake records, alter logs, etc.) and then all parties
           have an incentive to prevent the termination from being viewed as a breach of
           “professional integrity” – so much so that the person terminated, rather than the
           company, ends up being accused of breaches of professional integrity.

           In workforce diversity, it states that “[e]nhancing workforce diversity, particularly
           among management positions, is likely to help companies attract and develop the
           best talent. High levels of employee engagement, fair treatment, and equitable
           levels of pay and advancement opportunities for all workers are likely to
           contribute to increased productivity and performance through all levels of the
           company.” Sustainability Accounting Standards Board, Sustainability
           Accounting Standard for Professional and Commercial Services, version 2018-10
           12 (October 2018) Read in conjunction with the nature of Woke ideology, this
           creates incentive for companies to install Bolsheviks at high levels of
           management, stop paying for performance, and start paying people only on the
           basis of their adherence to the Left. Meanwhile, EEO race categories fail to
           capture Jews as a separate race, listing them as “White” (the others, Asian, Black
           or African American, Hispanic or Latino, White, Other, NA). So any disparity in
           treatment between Jews (whom the SASB policy clearly benefits, at the direct
           detriment of Christians) ends up being uncaptured by the reported data.

126.      Because SASB workforce-related metrics directly benefit Jews (who are all too
   happy to be compliant because they are such wonderful, socially-conscious people!)
   while harming Christians, and simultaneously fail to capture Jews as a separate race,
   what they really do is encourage the termination and abuse of Christian employees and
   the covering up of same using both technology and professional censure.

127.       Under the guise of “sustainability”, the “Common Core” curriculum has been
   altered to include learning about how to be a “global citizen” in an increasingly
   connected, sustainable, global, “borderless” [borders are portrayed as “inequitable”]
   world (i.e., one controlled by Jews under communism); “environmental” policies are
   really a code-word for increased government control over private property; there is vast
   usage of “Public/Private Partnerships” to give companies that kow-tow to the Leftist
   agenda preferential access to opportunities and reduced cost of capital and thus an
   effective leg-up on companies with a neutral stance (for example, through “benefit
   corporations” and “economic development zones”); “Sustainable Medicine” for state-
   sponsored Healthcare; controls on farming, which will need increased “assistance” to
   become competitive in a Sustainable world (control over agriculture is central to
   communist subversion in so far as it creates a means to starve dissidents to death); and

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   “public safety” measures such as biometric IDs designed to track people that refuse to
   comply with the system (so that they can be tracked and killed, and ensure there are no
   violent reprisals against Party members).

128.       Under the guise of “sustainability”, a network of “Public/Private Partnerships”
   has arisen in the United States with increasing veto-power over decisions made by local
   zoning and land use boards. This step takes power over the land away from
   democratically elected local government officials and places it in the hands of
   international finance; i.e., it is creating the basis for the development of regional
   Commissariats of Agriculture.

129.      The Center for Civic Education (CCE), a Los Angeles-based nonprofit, is funded
   by the U.S. Department of Education to write the “We the People” Houghton-Mifflin
   textbooks that teach basic civics and government to millions of American schoolchildren.

130.       The CCE’s “21st Century Mission for Schools” explains that “[i]n the past
   century, the civic mission of schools . . . was education for democracy in a sovereign
   nation state . . . in this century, by contrast . . . education will become everywhere more
   global . . . and we ought to . . . improve our curricular frame-works and standards for a
   world transformed by globally accepted and internationally transcendent principles.” As
   quoted in M. Chapman, “Education for Sustainable Tyranny: The United Nations Plan for
   our Children” 3 (American Heritage Research, 2005 White Paper).

131.     Under the guise of “sustainability”, textbooks read by American schoolchildren
   now speak glowingly of global socialism, for example:

           Under a lesson on Stalin: “An economy completely controlled by government is
           called a command economy. Within just 20 years the Soviet Union became one of
           the world’s strongest industrial nations. Thousands of railroad lines crisscrossed the
           country, linking towns and cities that had never been connected before.”

           Castro’s Cuba: “For some people life became better under Castro’s communist
           dictatorship. There is less poverty since Castro gained control.”

           Mao’s China: [Next to a picture of Mao surrounded by cheering peasants]: “The
           Communists...had become very popular…. The Communists also worked with
           farmers, showing them ways to produce more crops… They provided housing,
           medical care, and food supplies for city workers. They supported education for all,
           along with equal rights for women.”

           American Economics: “Understanding Imperialism: The chief motivation behind
           imperialism is usually economic gain. Powerful nations can establish new markets for
           their manufactured goods…. Despite the importance of economics, Americans
           usually cited other reasons to justify their imperialism. Many Americans believed that
           they had a right and obligation to extend what they considered their superior culture
           to people less fortunate than themselves.”


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      Under a Cartogram depicting America controlling most of the world’s wealth: “Do
      you remember how imperialism affected countries in Africa and Asia? The natural
      resources and labor from those countries helped build the strong economies
      of…North America…” Although the countries of the world are linked by
      interdependence, not all of them share equally in the world’s riches.” * * *

      * * * Sustainable Society – Global Interdependence
      The ultimate goal of Education for Sustainable Development is to prepare children
      to accept the total transformation of America under global totalitarian control – for
      the good of all. A popular McMillan 7th grade teachers’ edition explains the
      methodology used to build understanding toward the goal: “A growing awareness of
      deep national and international interdependence is vital… [This book] systematically
      builds students’ understanding of the economic, cultural, political, and ecological
      connections among peoples.” Here are some social studies lesson examples from a
      variety of grades and publishers:

      2nd Grade Silver Burdett and Ginn Teacher’s Edition: “Why is the Earth one
      community?…Second graders develop a sense of being involved with other people
      and of the earth being everyone’s global home.”

      4th Grade Houghton-Mifflin: “To be a community, people must share the same
      customs and have some common purpose…. You also belong to the world
      community.…The things we share in our world are far more valuable than those
      which divide us.…What might ‘global village’ mean? Ask [students] to find out more
      about the idea of a ‘global village.’…

      5th Grade Houghton-Mifflin: “Today, the debate over how land is used involves the
      entire world.”

      7th Grade McMillan, Teachers’ Edition: “Encourage students to think of such
      possibilities as government or voluntary agencies to regulate the sale of land, size of
      factories, hours of labor, supervision of children, etc. Discuss all possibilities.”

      5th-9th Grade Constitutional Rights Foundation Curriculum: “The police power also
      allows the government to restrict the use of property…or force an owner to give up
      his or her land under the exercise of eminent domain…. Governments sometimes
      use the power of eminent domain to protect the environment. Taking land for
      environmental reasons generally falls under two categories: (1) controlling pollution
      and (2) preserving natural areas.”

      Publishers all sound the same because the National Standards for Civics and
      Government written by the CCE require conformance. The CCE’s model textbook
      funded through No Child Left Behind is called “We the People, the Citizen and the
      Constitution.” In reality, it functions to shift children away from our Founding
      Principles toward accepting new citizenship ideals. Chapter 37, titled “How May
      Citizenship Change in the Nation’s Third Century” explains the goal: “This lesson
      looks to the future. You focus on some major developments taking place in our

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           society that are likely to affect the very nature of citizenship during your lifetime.” A
           critical thinking question at the end of the lesson reveals what they mean: “Do you
           think that world citizenship will be possible in your lifetime?”

           By following the book sequence, one may easily see how students are programmed
           to respond, “Yes” to world citizenship and prepare to accept new principles. For
           example, the textbook demotes America’s Bill of Rights as an antiquated “document
           of the eighteenth century, reflecting the issues and concerns of the age in which it
           was written.” The lesson then promotes the Universal Declaration of Human Rights
           as “positive” rights and the next phase in mankind’s social evolution. Although the
           entire Universal Declaration of Human Rights is contained in the appendix, the
           textbook fails to teach what it says about the source of human rights in contrast to
           America’s Declaration.

           According to America’s Declaration of Independence, our Founders understood the
           self- evident truth that “all men are created equal and endowed by their Creator with
           certain inalienable rights….” Therefore, they recognized the primary function of
           government was to protect those inalienable Creator-given rights. The Universal
           Declaration by contrast, limits Human Rights to an enumerated list, and then gives
           government the power to take them away. According to Article 29.3 “These rights
           and freedoms may in no case be exercised contrary to the purposes and principles of
           the United Nations.” In other words, under the Universal Declaration of
           Human Rights, man – as represented by the United Nations – becomes god!

           As quoted by Chapman, id. at 4-6 (internal citations omitted; emphasis added).

132.       Perhaps worst of all, current Environmental, Sustainability and Governance
   (ESG) metrics appear to disingenuously fail to capture erosion of democratic norms as an
   input to the “governance” category because the fact that global socialism is being actively
   pursued is a kind of big secret, and anyone suggesting that that is the real goal of both it
   and Wokeness is labeled a lunatic conspiracy theorist and destroyed.

          Interestingly, while this complaint was being written, this exact thing is
           happening to Elon Musk.

           In the wake of making statements in support of free speech and inking a deal to
           purchase Twitter for this reason, Musk has been trashed in the press (in the wake
           thereof, on April 26, the New York Times’ morning edition reporter, a trained
           Marxist propagandist, penned an article “Good Morning. The world’s richest
           person, unhappy with the policies of a major social media platform, is buying it.
           The Billionaire’s World.” And then launching into a Marxist diatribe about
           wealth inequality.)

           Both the NTSB and SEC have since opened investigations into Musk.

           The S&P 500 ESG index then removed Tesla, the company who pioneered
           electric vehicles, sparked a technological revolution in same, and whose entire

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           raison d’etre is creating a more environmentally conscious planet, from its index
           (citing among its reasons the NTSB investigation).

           In response, Musk tweeted on May 18, 2022 that “ESG is an outrageous scam,”
           that “political attacks on him would increase,” and that the Democratic Party had
           become “the party of division and hate” and thus he will not vote Democrat.

           In response to this, the White House on May 19 labeled Musk an “anti-labor
           billionaire,” [see Hitler on use of labor unions as tool of physical terror] and, also
           on May 19, Google “downvoted” the businessinsider.com article about his
           statements about the Democratic Party (written on May 18) as written “three
           weeks ago” so that fewer people googling “Elon Musk” would see it.




           On Friday, May 20, BusinessInsider dropped a “bombshell” allegation that Musk
           sexually harassed a flight attendant. What a surprise.

           Right there you have the whole organs of the Communist Party in motion.

133.       For all intents and purposes, Judaism, Marxism, and Wokeness are
   interchangeable concepts in so far as their ultimate goals are identical: the imposition of
   global socialism and the extermination of white, European Christians and their religion.




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                                           APPENDIX B

I.      ATTEMPT ONE: 1913-1939.

     134.       There is historical consensus that Jews have been central to all subversive
        political movements since at least the late 1700s, and even well before that (since time
        immemorial). Each movement has chipped away at Christendom, piece by piece.

               French Revolution. Before being executed, Robespierre exclaimed: “I cannot
                bring myself to tear asunder the veil that covers this profound mystery of iniquity.
                But I can affirm most positively that among the authors of this plot are the agents
                of that system of corruption and extravagance—the most powerful of all the
                means invented by the foreigners—for the undoing of the Republic. I mean the
                impure apostles of Atheism, and the immorality that is its base.” Robespierre
                (referring to the Jews). Nesta Webster confirmed heavy Jewish involvement with
                the French Revolution, including the defamation of Marie Antoinette, who was
                viciously defamed by the Jewish press to push the population toward revolution.

               Russian Revolution. Has been covered extensively in Background, Section II,
                supra. All assassinations of Russian Tsars during the 19th century were
                orchestrated by Jewish anarchists, as was the 1905 Decembrist revolt.

               American Civil War. The Secretary of State of the Confederate States of
                America, Judah P. Benjamin, was a Jew. Benjamin intentionally had his papers
                burned after his death, so there is no way to piece together exactly what went on.
                We know that prior to the war, Jews began appearing in every American city and
                town in the South, and agitation about the question of slavery began. Through
                Benjamin, the CSA arranged for an international coalition to head to Mexico City
                (British and French troops) as a headquarters for an invasion. (The same
                agitation–using Mexico as a springboard for an invasion of the United States—
                was pursued by the Bolsheviks after WWI.) This international conspiracy was
                halted by Russian Tsar Alexander II, who sent his fleet to New York and San
                Francisco in a show of support (threatening a World War) for Lincoln and the
                Union. The plan was ostensibly for the war to balkanize the United States such
                that it could be carved up and dominated by international financial interests.

                As Otto Von Bismarck, Chancellor of Germany, allegedly explained in 1878
                (from C. Siem, The C.S.L.T. [Club System of Land Tenure]: containing views on
                Abraham Lincoln as expressed by Bismarck in 1878 (Washington, 1915) (Library
                of Congress #1108810448, Alfred Whital Stern Collection of Lincolniana)):

                “The division of the United States into two federations of equal force was decided
                long before the Civil War by the High Financial Power of Europe. These bankers
                were afraid that the United States, if they remained in one block and as one nation,
                would attain economical and financial independence, which would upset their
                financial domination over the World. The voice of the Rothschilds predominated.

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          They foresaw tremendous booty if they could substitute two feeble democracies,
          indebted to the Jewish financiers, to the vigorous Republic, confident and self-
          providing. Therefore, they started their emissaries in order to exploit the question of
          slavery and thus to dig an abyss between the two parts of the Republic. Lincoln
          never suspected these underground machinations. He was anti-Slaverist, and he was
          elected as such, but his character prevented him from being the man of one party.
          When he had affairs in his hands, he perceived that these sinister financiers of
          Europe, the Rothschilds, wished to make him the executor of their designs. They
          made the rupture between the North and the South imminent! The masters of
          Finance in Europe made this rupture definitive in order to exploit it to the utmost.
          Lincoln’s personality surprised them. His candidature did not trouble them: they
          thought to easily dupe the candidate wood-cutter. But Lincoln read their plots and
          soon understood, that the South was not the worst foe, but the Jew financiers. He
          did not confide his apprehensions; he watched the gestures of the Hidden Hand: he
          did not wish to expose publicly the questions which would disconcert the ignorant
          masses. He decided to eliminate the International Bankers, by establishing a system
          of Loans, allowing the States to borrow directly from the people without
          intermediary. He did not study financial questions, but his robust good sense
          revealed to him, that the source of any wealth resides in the work and economy of
          the nation. He opposed emissions through the International financiers. He obtained
          from Congress the right to borrow from the people by selling to it the ‘bonds’ of the
          States. The local banks were only too glad to help such a system. And the
          Government and the nation escaped the plots of the foreign financiers. They
          understood at once, that the United States would escape their grip. The death of
          Lincoln was resolved upon. Nothing is easier than to find a fanatic to strike.”

          Gen. Ulysses S. Grant was so disgusted by the activities of Jewish carpetbaggers
          profiteering in cotton that he banished them from his military district (General
          Order No. 11, 1862). Jews at that time supported slavery, care nothing about
          Black people, don’t now, and never did. The Democratic Party was then and
          still is the party of slavery. Many believe that John Wilkes Booth was a Jew
          (allegedly of Hebrew ancestry, but an apparent Episcopalian convert). Garfield
          and McKinley were assassinated by anarchists (not Jews but believed that the
          Jews selected gentile anarchists to conceal involvement, no different than what is
          done today using Woke Black/Asian people. See Background, Section I, supra
          (use of buffers to commit murder permitted under Talmudic law)).

135.      In the Protocols of the Learned Elders of Zion the Jews describe, in their own
   words, how (in the modern era) they go about exterminating Christians whom they hate.

136.       The Protocols of the Learned Elders of Zion were first received by the British
   Government in 1906, and as stated above in Section II, supra, by 1913 British
   Intelligence had confirmed the document’s authenticity. By 1919, American intelligence
   had confirmed same.




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     137.       For over 100 years now, Jewish leaders have claimed that the Protocols are
        forgeries.74

                Hitler described it as follows: “[h]ow much the whole existence of this people is
                 based on a permanent falsehood is proved in a unique way by 'The Protocols of
                 the Elders of Zion', which are so violently repudiated by the Jews. With groans
                 and moans, the Frankfurter Zeitung repeats again and again that these are
                 forgeries. This alone is evidence in favour of their authenticity. What many Jews
                 unconsciously wish to do is here clearly set forth. It is not necessary to ask out of
                 what Jewish brain these revelations sprang; but what is of vital interest is that they
                 disclose, with an almost terrifying precision, the mentality and methods of action
                 characteristic of the Jewish people and these writings expound in all their various
                 directions the final aims towards which the Jews are striving. The study of real
                 happenings, however, is the best way of judging the authenticity of those
                 documents. If the historical developments which have taken place within the last
                 few centuries be studied in the light of this book we shall understand why the
                 Jewish Press incessantly repudiates and denounces it. For the Jewish peril will be
                 stamped out the moment the general public come into possession of that book and
                 understand it.” Mein Kampf at 18.

     138.      Hitler’s description was accurate in 1925, but is even more so now that we can
        review the manner in which this campaign has been so shamelessly resumed in our time.
        To the extent it did not in 1925, the world now has conclusive evidence, which anyone
        can see and feel, that this document is not a forgery. 75

     139.      Henry Ford (the founder of Ford Motor Company) thought the Protocols were
        such an important document for the public to see that he had thousands upon thousands
        of copies printed and distributed for a nominal fee to anyone wishing to read them.

     140.        The Protocols state as follows:

                 On the ruins of the hereditary aristocracy of the Gentiles we have set up the
                 aristocracy of our educated classes, and over all the aristocracy of money. We will
                 force up wages, which, however, will be of no benefit to workers, for we at the
                 same time will cause a rise in prices of prime necessities, pretending that this is
                 due to the decline of agriculture and of cattle raising. We will also artfully and deeply
                 undermine the sources of production by instilling in the workmen ideas of anarchy
                 and encourage them in the use of alcohol, at the same time taking measures to
                 drive all the intellectual forces of the Gentiles from the land. . . . That the true
                 situation shall not be noticed by the Gentiles prematurely, We will mask it by a
                 pretended effort to serve the working classes and promote great economic
                 principles, for which an active propaganda will be carried on through our

74
         By parties like the “Anti-Defamation League.” Do you believe them? Should you?
75
         This document remains of such concern that Vice recently made a video on Youtube peddling it as “the
most dangerous conspiracy theory in the world.” The video asserts mindlessly and without any explanation that it is
a conspiracy theory. How is it a conspiracy theory?

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      economic theories [“CRT”]. . . . To obtain control over public opinion, it is first
      necessary to confuse it by the expression from various sides of so many conflicting
      opinions … this is the first secret. The second secret consists in so increasing and
      intensifying the shortcomings of the people in their habits, passions and mode of
      living that no one will be able to collect himself in the chaos, and, consequently
      people will lose all their mutual understanding. This measure will serve us also in
      breeding disagreement in all parties [“irreconcilable division”], in disintegrating
      all those collective forces which are still unwilling to submit to us and in
      discouraging all personal initiative which can in any way interfere with our
      undertaking. . . . We might fear the combined strength of Gentiles of vision with
      the blind strength of the masses, but we have taken all measures against such a
      possible contingency by raising a wall of mutual antagonism between these two
      forces [“cancel culture”]. Thus the blind force of the masses remains our
      support. We, and we alone, shall serve as their leaders. Naturally, we will direct their
      energy to achieve our mind. . . . For the time being until it will be safe to give
      responsible government positions to our brother Jews, we shall entrust them to
      people whose past and whose characters are such that there is an abyss between
      them and the people [“Biden Administration”] . . . To wear everyone out by
      dissensions, animosities, feuds, famine, inoculation of diseases, want,
      [“pandemic”] until the Gentiles see no other way of escape except by an appeal to
      our money and power. . . .We will so wear out and exhaust the Gentiles by all this
      that they will be compelled to offer us an international authority, which by its
      position will enable us to absorb without disturbance all the governmental
      forces of the world and thus form a super-government. . . . We must force the
      Gentile governments to adopt measures which will promote our broadly conceived
      plan, already approaching its triumphant goal, by bringing to bear the pressure of
      stimulated public opinion, which has been organized by us with the help of the so-
      called ‘great power’ of the press. With a few exceptions, not worth considering, it
      is already in our hands. . . . Our contemporary press will expose mental and religious
      affairs and the incapacity of the Gentiles, always using expressions so derogatory as
      to approach insult [“fake news”], the faculty of employment is so well known to
      our race. . . . Under our influence the execution of the laws of the Gentiles is
      reduced to a minimum. Respect for the laws is undermined by the liberal
      interpretation we have introduced in this sphere. The courts decide as we dictate,
      even in the most important cases in which are involved fundamental
      principles or political issues, viewing them in the light which we present them to
      the gentile administration through agents with whom we have apparently
      nothing in common [“Woke thugs”], through newspaper opinion and other
      avenues. . . We have tampered with jurisprudence, the franchise, the press,
      freedom of the person, and most important of all, education and culture, the
      cornerstone of free existence. . . . We have misled, stupefied and demoralized
      the Youth of the Gentiles by means of education in principles and theories
      patently false to us, but which we have inspired. Above existing laws, without
      actual change but by distorting them through contradictory interpretations, we have
      created something stupendous in the way of results. . . To each act of opposition
      we must be in a position to respond by bringing on war through the
      neighbors of any country that dares to oppose us [“Russia”], and if these
      neighbors should plan to stand collectively against us, we must let loose a
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                  world war. . . . When we become rulers we shall regard as undesirable the existence
                  of any religion except our own . . . We must destroy all other religions. If thereby
                  should emerge contemporary atheists [“Antiracists”], then as a transition step,
                  this will not interfere with our aims.

                  Selections by H. Ford, The International Jew at 63-87 (emphasis added).

      141.        The Protocols contain explicit support in the Talmud, see, e.g., paras. 9, 13, supra.

      142.      The activities in the period 1913-1939 are most concisely summarized, in
         readable, bullet-point format, in a 1959 article printed in American Mercury magazine by
         Stephen Paulsen entitled “World-Wide Betrayal: A Chronology of the Zionist Master
         Plan for World Domination” (36th ed. Sept. 1959). 76

      143.       Paulsen’s article is attached here as Exhibit 1, and its assertions are included
         herein as if fully set forth herein.77

II.      ATTEMPT TWO: 2020-?.

      144.      We learn from the Talmud that the “travail” of the Messianic Time78 is to be
         preceded by “three great evils.” See Background, Section 1, supra. The travail will be a
         period of great hardship for the gentiles, who will be killed en masse as part and parcel to
         the conversion and extermination process summarized by Dr. Higger.

      145.        On information and belief, the three great evils are as follows:

                  (1)      The COVID-19 Pandemic;
                  (2)      The 2020 U.S. General Election; and
                  (3)      World War 3.79


76
         Plaintiff was able to locate a true and faithful copy of the article, which has been suppressed heavily
throughout (as far as he can tell) the entire internet, in a collection of J. Edgar Hoover’s correspondence published
online by the Federal Bureau of Investigation and located online at archive.org.

        The editor of American Mercury magazine died under strange circumstances after the article was
published; his daughter died of a drug overdose; and his son was accused multiple times of pedophilia throughout
the 1980s, eventually ending up a vegetable, as far as Plaintiff can tell.
77
         Plaintiff proposes that CRT should be taught in schools, provided that this material is also taught. If this
material is not taught, then neither should CRT be taught.
78
          Plaintiff speculates that, after World War Two, Jewish leadership decided to halt their campaign of terror
on Christian civilization as a courtesy to the men—including Plaintiff’s Great Uncle, who was obliterated by an
artillery shell on Utah Beach aged 19—who saved the Jewish people from the concentration camps in World War
Two. Upon the death of the “Greatest Generation” (any stragglers left were shuffled out the door by COVID-19),
the campaign shamelessly resumed.
79
          Whether or not Plaintiff or anyone else can prove the Jewish involvement in these events, it is intuitively
felt and understood widely. For purposes of this lawsuit, it matters not; the important thing is whether or not

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                                                     Pandemic

    146.      The election of President Trump in 2016 was a ‘black swan’ event that disrupted a
       pre-planned transition in the West to a “post-capitalist” form of global government (a
       “Change”, to borrow the Obama campaign’s slogan).

    147.      After the failed attempt to impeach former President Trump, the COVID-19
       pandemic was used as a trigger event to reverse the ‘black swan’ event and set the world
       back on the intended course, consistent with the above plan for world subjugation, which
       has entered its acute phase and accelerates in intensity by the day.

    148.      Barack Obama was a Marxist community organizer. In an apparent massive
       betrayal of Black Americans, the “change” he envisioned for the country was socialism.
       Under this system, all Americans will become slaves in one way or another.

    149.      Because Marxist organizers realize that the American people will never vote their
       way into socialism, they instead use chaos created by man-made (or simply fake) crises,
       which are portrayed as legitimate emergencies by the press.

    150.       Other than Fox News, all major American news networks are Jewish-controlled.
       The New York Times, newspaper of record, is also Jewish-controlled. But even Fox will
       not air certain topics. For example, Fox refuses to cover Dinesh D’Sousa’s 2000 Mules,
       presumably because then people would begin asking questions about who owned the
       nonprofit organizations from which ballots were generated.

    151.     The crises generate changes to society and law which are pushed through on an
       emergency basis (the executive has increased power in an emergency) and without any
       meaningful public debate, much less a vote.

    152.      The crises generate massive (superficially neutral) congressional funding (such as,
       $40b in aid to Ukraine), which is then used to finance the network of public-private
       partnerships which form the true governance structure of the Democratic (read:
       Communist) Party and carry out its goals. This funding mechanism has appeal to many
       people and groups, and has corrupted countless actors globally.

    153.      The Democratic Party’s use of man-made crises to generate policy changes by fiat
       and secure funding for its henchmen is, in effect, a gigantic “skim” operation on the U.S.
       Treasury.

    154.       The operation is self-supporting. Powerful people with an interest in the market
       can make bets on future events by paying the magicians of the DNC (now including the
       intelligence agencies) and its affiliates to fake a crisis. The people faking the crisis, all
       the way down to the boots on the ground in the NGOs, have a financial interest in the

Defendants perceived this as the grand moment they have been wishing for and praying on since the time of Christ.
Plaintiff can think of no other rational explanation for the manner in which they have gone about destroying his life.

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   operation going off without a hitch (they are enriched by it, and it is illegal), and the
   people that financed the operation in the first place get their “investment” back by
   making speculative bets on world events that they have ensured will happen, and that
   only they can be certain will happen. Only insiders possess the knowledge that the events
   will occur, and the crises are portrayed to the rest of the market as acts of God.

155.      In November, 2019, Johns Hopkins University held “Event 201” which it
   described as a kind of “wargames” or “tabletop exercise” that “envision[ed] a fast-
   spreading coronavirus with a devastating impact.”

156.     Event 201 was co-hosted by Johns Hopkins University with the World Economic
   Forum and the Bill and Melinda Gates Foundation.

157.      A month later, in late December, 2019, the first cases of a mysterious coronavirus
   began appearing in Wuhan, China.

158.       In January, 2020, the first COVID-19 cases appeared in the United States.

159.      The first “super-spreader” event was a Biotechnology conference in Boston, MA
   in February, 2020. The people afflicted with the virus at this session stood to make a lot
   of money from a global health crisis.

160.     The pandemic boosted sales of technology products developed by Microsoft, of
   which Gates is the largest individual shareholder.

161.       The Bill & Melinda Gates Foundation made significant contributions to many
   NGOs and Public/Private Partnerships that are involved in creating a more “sustainable”
   global community.

162.       BMGF made many grants to NGOs that support social justice or “Woke” causes,
   or the people that promote them.

163.       Large media companies such as CNN, along with some of their employees,
   received grants from BMGF. CNN ran nonstop stories about the pandemic for over a
   year, increasing public anxiety about it, and supporting the notion that it was an act of
   God. Hyperbolic news stories about the pandemic continue to this very day.

164.       On information and belief, the intent of the COVID-19 news coverage was and is
   to paper the historical record so that future generations will not think it unusual that the
   virus (which our generation understands to be completely overblown) sparked a
   permanent change to the course of human civilization (the destruction of Christianity).

165.       Bill Gates met with Jeffrey Epstein to secure financing for philanthropic and
   global health issues, and perhaps other things. Jeffrey Epstein knew many powerful
   people that have since been remarkably compliant with activities consistent with the
   creation of a global government.

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166.       The pandemic greatly boosted sales of pharmaceutical drugs and vaccines.

167.      Many companies require people to be vaccinated, and require employees to
   receive booster shots. In 2021, the Occupational Safety and Health Administration
   attempted to impose a vaccination requirement on private employers with more than 100
   workers, but the Supreme Court of the United States vacated the mandate.

168.      The pandemic generated massive federal grants, and in many cases, no one knows
   where the money has gone.

169.       The pandemic created a pretext for many changes to the work environment, such
   as the “Great Resignation” and the “Great Reset,” as well as a migration out of some
   areas and to other areas of the country.

170.     Since the pandemic, there have been vast changes in the racial composition of
   many companies.

171.       Many American companies “went Woke” during the pandemic, and
   simultaneously adopted identical positions and statements on Diversity, Equity and
   Inclusion.

172.      The pandemic created a massive boom in the Diversity, Equity and Inclusion
   (DEI) industry, thousands of jobs for DEI administrators, and generated thousands of
   speaking opportunities, both before and after the death of George Floyd.

173.       The Sustainability Accounting Standards Board (SASB) requires that companies
   report on DEI adoption, and the companies’ score on these metrics, as well as their
   perceived adoption of other Environmental, Social and Governance (ESG) criteria, now
   in many cases affect their cost of capital.

174.       ESG factors do not currently include erosion of democratic norms, and if they do,
   the risk to democracy presented by global socialism is not considered relevant, in part
   because an analysis of the relevant historical facts (detailed herein) are either unknown to
   the public or otherwise considered an “off limits” topic, as if it never happened.

175.       Larry Fink, who has aggressively made a case that the capital markets should
   value a given company’s adoption of sustainability and ESG measures, was named by the
   US government as administrator of the COVID-19 relief fund, for which his company,
   Blackrock, made a substantial amount of money.

176.      Dr. Robert Califf was named FDA commissioner on February 17, 2022. Under
   Mr. Califf, the United States has experienced a shortage of baby food, such that parents
   are buying baby formula on the black market at the time of this lawsuit.




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177.        The pandemic created a pretext for the development of technologies that track the
   vaccinated status of individuals. An intent of this technology is to create a system
   whereby citizens’ access to certain areas of the country may be restricted based on
   whether or not they have complied with a government mandate or recommendation, and
   to alert authorities in the restricted areas of the presence of noncompliant individuals.

178.       The pandemic created a series of opportunities to test employees on their deeply
   held beliefs. For example, their level of trust in the federal government, the religion they
   practice, their ideas about the government’s role in healthcare, their ideas about race, and
   their political beliefs. These conversations occurred on recorded media such as Zoom.

179.      The pandemic made it easier to explain the terminations of some employees to
   other employees, in so far as the terminations were “out of sight, out of mind.”

180.       The pandemic made it easier for employers and employees to lie about employees
   that had been or were being terminated.

181.       The pandemic disrupted freedom of assembly and impaired civil discourse.

182.      The pandemic funneled communications onto channels regulated by large
   technology companies, and continues to have this effect.

183.       Large technology companies have been accused of colluding with the United
   States government in censoring the free speech of users, frequently censoring “harassing”
   or “hateful” speech. On information and belief, large technology companies, such as
   Facebook, were also heavily involved in censoring COVID-19 related “disinformation”,
   such as claims about the efficacy (or not) of vaccines, the safety of vaccines, the efficacy
   of masks, and the “lab-leak” theory. See generally Missouri v. Biden, 22-cv-01213
   (W.D. La.). In some cases, large technology companies have frozen the assets and
   accounts of people they believe to be political dissidents.

184.       If a white, Christian employee was discriminatorily terminated by a person of
   color or a Jew, the white, Christian employee’s objections to the discriminatory conduct
   could be and were considered “racist” or “anti-Semitic” speech worthy of censorship.

185.       The pandemic made it more difficult for citizens to express dissenting political or
   religious (Christian) views without fear of reprisal.

186.       The pandemic has ushered in many changes to the way school-aged children
   learn, and some children have been “left behind.”

187.      The pandemic created changes to the kinds of things school-aged children learn
   about. Many parents have been critical of the sexual ideas expressed in those materials,
   and many parents have simply pulled their children out of public schools.




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     188.      The pandemic made it easier to “cancel” someone and remove them from their
        profession and from society.

     189.        The pandemic’s origins are unknown and will likely never be known, although
        most people believe it was not an act of God (assuming God cannot be human). Many
        people believe the pandemic originated in China; the Russian government has speculated
        that it may have originated from one or more US-funded bioweapons laboratories in
        Ukraine.

     190.       Both the Chinese government and the Ukraine have an interest in creating a single
        global government.

     191.       In 1918, immediately following the Russian Revolution there was a global
        pandemic (the ‘Spanish Flu’). There is strong evidence that, at the time of the 1918
        pandemic, a vast global conspiracy involving prominent Jewish financiers was taking
        place, with the end goal of implementing global socialism. There is also evidence that
        other large scale global health crises (Black Plague) were caused or contributed to by
        Jewish people, with the goal of destroying Christians and their civilization.

                                             2020 Election

     192.      The pandemic created a pretext to make changes to the way votes were cast and
        counted in the 2020 presidential election.

     193.     The 2020 election occurred after a summer of great racial upheaval, which
        seemed (to many) misplaced and divorced from reality. The upheaval followed the
        murder of a man named George Floyd.

     194.       Mr. Floyd was killed by a police officer who kneeled on his neck until dead.

     195.       In 2016, Amnesty International reported80 that hundreds of police officers from all
        over the United States had for several years been flown to Israel to train with Israeli
        Defense Forces (IDF) in techniques for the suppression of protests and in hand-to-hand
        combat. According to the reports, the IDF also conducted similar training exercises here
        in the United States. One of the methods taught at those conferences, unique to IDF, was
        the technique of kneeling on the neck to subdue suspects, which American officers were
        encouraged to do. The IDF forces shared that it was a favored tactic used by them when
        dealing with Palestinian people, with whom Israelis are engaged in a kind of race war.

     196.       Many lawsuits have been brought regarding the 2020 presidential election. All
        have been dismissed before reaching trial, frequently on grounds of standing, and counsel
        for the Plaintiffs have been sanctioned in many cases, and sometimes even disbarred.


80
          See “With Whom are Many U.S. Police Departments Training? With a Chronic Human Rights Violator—
Israel”, at https://www.amnestyusa.org/with-whom-are-many-u-s-police-departments-training-with-a-chronic-
human-rights-violator-israel/ .

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197.       The First Amended Complaint in the case O’Rourke v. Dominion Voting Systems
   (20-cv-03747-NRN, D. Colo.) asserts claims under the Racketeer Influenced and Corrupt
   Organizations Act of 1970 (RICO) that “Mark Zuckerberg and Priscilla Chan,
   contributed over $350 million dollars to non-profit organizations, such as Defendant,
   Center for Technology and Civic Life (CTCL), to facilitate grants to local municipalities
   and counties to improperly influence the 2020 Presidential election.” The complaint
   asserts a comprehensive series of claims regarding Mr. Zuckerberg’s influence over the
   election via CTCL, which were allegedly for “campaign administration.” The import of
   the claims is that the money was used to pay on-the-ground election administrators to
   break the law and corrupt the election results by various surreptitious means. The claims
   were dismissed on the grounds of standing.

198.      In the “Navarro Report”, then Director of Trade and Manufacturing Policy Peter
   Navarro detailed similar misconduct from Zuckerberg, and highlights several actions of
   George Soros in funding the allegedly defunct “Smartmatic” software used in Dominion
   voting systems machines (the Chairman of Smartmatic, Mark Malloch-Brown, is on the
   board of George Soros’ Open Society Foundation, which is famously involved in many
   aspects of the scheme that is the subject of this lawsuit), which resulted in the installation
   of “Dominion in fourteen of Pennsylvania’s sixty-seven counties” and “33 counties in
   Pennsylvania.” Id. at 22.

199.       According to Navarro, Soros also created a Political Action Committee (PAC)
   called the “Secretary of State Project” with the apparent goal of installing “liberal
   extremist puppets” (Navarro’s words) in positions of influence over elections in key
   battleground states, such as Jocelyn Benson in Michigan and Kathy Boockvar in
   Pennsylvania. Id. at 12.

200.       Navarro details that Boockvar issued “arguably unlawful guidance on September
   15, 2020 [and] directed local election officials not to perform on-the-spot signature
   analysis for absentee and mail-in ballots.” Navarro Report, at 12. Boockvar also “sought
   to extend deadlines for mail-in ballots, citing concerns over delivery times involving the
   United States Postal Service.” Id. Boockvar also “submitted clearly unlawful guidance a
   few days before the November 3 election that allowed voters missing proof of
   identification to have their mail-in ballots cured until November 12- nine days after the
   election.” Id. Benson, for her part, “announced that all registered voters in the August 4,
   2020, primary and the November 3, 2020 General election would receive mail-in ballot
   applications automatically”, id. at 11, and “encouraged voters . . . to vote by absentee
   ballot and drop off ballots in drop boxes in order to ‘decrease the spread of COVID-19.’”
   Id. at 13.

201.        In addition, Soros “financed in part” campaigns for “public referenda to change
   election laws in both Michigan and Nevada.” Id. at 14. Funding was funneled through
   “far left groups like Promote the Vote [which] spent $2.5 million collecting signatures for
   the Proposal 3 [Michigan referenda] and for consulting and marketing.” Id. at 15.
   Navarro alleges that Soros’ funding reached “tens of millions of dollars in Nevada



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   collecting 55,000 signatures to submit a petition for ‘automatic voter registration’ law
   changes in Nevada.” Id.

202.       The Navarro Report further asserts that “[i]n November 2019, DHS announced it
   would partner with Soros-funded VotingWorks—a left of center non-profit provider of
   voting machines and open-source election verification software—to salt key battleground
   states with voting machines.” Id. at 17.

203.       Navarro also asserts that Marc Elias, of the Clinton Campaign, “assisted Stacey
   Adams’ nonprofit the New Georgia Project, in filing a complaint on May 8, 2020, which
   called for radical Election Law changes. These changes included absentee ballot receipt
   deadline extensions and increased ballot curing.” Id.

204.       Further, Navarro asserts that “in leaked documents from Soros’ Open Society
   Foundation, the Soros-funded Brennan Center was listed as the recipient of funds
   earmarked for the express purpose of ‘litigation to expand access to registration and
   improve ease of voting,’” and that the Brennan Center subsequently “in March of 2020 . .
   . issued a memo to influence mail-in ballot election law changes as a result of the . . .
   pandemic. The memo stated: ‘All voters should be offered the option to cast their ballot
   by mail (with multiple submission option, as provided below), so as to enable voters to
   avoid lines at the polls and exposure to COVID-19.’” Id. (citations omitted).

205.      In May, 2022, conservative filmmaker Dinesh D’Souza released a film entitled
   2000 Mules. The film chronicles the results of an election integrity investigation
   performed by a nonpartisan, nonprofit organization called True the Vote.

206.       Analysts at True the Vote purchased a vast amount of cellphone location data
   from key battleground states, and culled the data by devices moving from various
   nonprofit organizations involved in voter registration to the many drop boxes installed,
   frequently by those same organization, to collect absentee or mail-in ballots. It called
   these high frequency depositors “mules.” Open records requests were then made to
   collect videotape (where available) of what the “mules” looked like when they were
   dropping off the ballots. The video appears to detail highly suspicious conduct, such as
   “mules” with out-of-state license plates approaching a drop-box and then taking a selfie
   at the box, to confirm delivery was made, or “mules” visiting a drop box in the middle of
   the night and depositing a large number of ballots. In a December 23, 2020 video, a
   “mule” is shown removing and then discarding latex gloves after placing the ballots in
   the box, and the filmmaker spectulates that this was in response to a December 22, 2020
   indictment of a “mule” who was caught using fingerprints. Although the data confirms
   multiple trips by each “mule” to multiple boxes, was supported by anonymous
   confessions, and was verified implicitly in an unrelated FBI investigation in which the
   same dataset was used to catch a murder suspect, no tape is shown of the same “mule”
   visiting a box or boxes more than once. In addition, there are concerns that the cellphone
   location data was not precise enough to on its own be used in a criminal investigation.
   The documentary uses conservative assumptions to estimate the number of votes placed
   by this method and concludes that if they were for President Joe Biden, it would have

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   been relevant to the election result. It concludes further that the “mules” likely engaged
   in criminal activities, in so far as transporting ballots for non-family members is an
   offense in some states, and informs that the results were shared with law enforcement.

207.       The documentary chronicles several nursing home residents who apparently voted
   in the election, but were incapacitated or otherwise did not vote. At the start of the
   pandemic, a great amount of data collection went in to nursing home residents, related to
   apparent outbreaks in the homes. The film implies that ballots could have been
   “harvested” from nursing homes by various means.

208.       During the pandemic, a census was conducted. A representative came to
   Plaintiff’s door and asked him whether he was Hispanic. He said no, but the census
   collector seemed to mark him down as a Hispanic man.

209.       At the time of the 2020 election, most areas of the country were not in a state of
   severe lockdown. People were standing in lines at grocery stores, patronizing restaurants,
   etc. openly.

210.       The virus’ spread increased markedly around the time of the election.

211.       Although there appears to be evidence of significant irregularities with the 2020
   general election, and broad public sentiment that something went wrong. there appears
   also to have been a political decision to not rock the boat about any of this to maintain
   public confidence in the government. On this basis, courts have dismissed many claims,
   and bar associations have intimidated lawyers into not bringing claims at all.

212.       In May, 2022, the Cybersecurity and Infrastructure Security Agency issued an
   alert that voting systems in several states were vulnerable to hacking. On information
   and belief, if Republicans win a significant number of seats in midterm election, there
   will be allegations that the systems were infiltrated by Russian cyber criminals.

                                      World War 3

213.      The use of war as an “X” factor or revolutionary stimulus in Marxist organizing is
   well-understood.

214.       As outlined by Paulsen, World War 1 was largely the result of Jewish meddling,
   with the end goal being the gifting of Palestine via the Balfour Declaration. There is
   substantial consensus that subversive actors played a leading role in roiling Europe in war
   in 1914, in manipulating its outcome (particularly the entry of America into the war after
   nonsensical incitement of same by Germany via the Zimmerman Telegram), and in its
   ultimate disposition in the Treaty of Versailles. Hitler writes of the manner in which
   Marxist organizers in Germany used general strikes at munitions plants to turn the tide in
   the Allies’ favor at key moments. He and most Germans believed that Jewish
   government ministers purposely bungled the war effort to weaken Germany and
   needlessly kill its best young men. The Treaty of Versailles was famously manipulated

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   by Jews to weaken Germany and prevent her people from reaching their full potential,
   with the unintended result of creating the rise of Hitler.

215.      Woodrow Wilson was widely viewed as a “patsy” to international finance who
   needlessly involved America in the war at the urging of powerful financial interests.

216.       Nina Jankowicz (of the now disbanded Disinformation Governance Board) was
   selected from the Woodrow Wilson Center.

217.       On information and belief, Jankowicz was selected for the role with the express
   purpose of suppressing dissemination of historical facts such as outlined in this lawsuit so
   as to support a needless war that will destroy America and kill our best young men.

218.      In March and December, 2014, by way of four Executive Orders of President
   Obama (13660-13662, 13685) a national military emergency was declared with respect to
   the Ukraine.

219.        According to a recent special investigation (Durham), in September, 2016, the
   Hilary Clinton campaign, acting by and through their cybersecurity lawyer (Sussman) or
   lawyers at Perkins Coie LLP, acquired opposition research detailing an alleged secret
   backchannel between the Trump Organization and a Russian bank called Alfa Bank. The
   information was released to the public, but ended up being false. In 2019, President
   Trump was accused of soliciting interference in the 2020 presidential election from
   Russia, and abusing his presidential powers after a teleconference with Ukrainian
   President Zelenskyy in which he allegedly improperly withheld military aid in exchange
   (quid pro quo) for Ukraine to open an investigation into Mr. Biden and his son’s
   activities. The whistleblower complaint was made by a Lt. Col. Vindman and resulted in
   an inquiry and then an impeachment on grounds of abuse of power and obstruction of
   congress. The chief prosecutor was Adam Schiff, who was supported by Jerry Nadler,
   Zoe Lofgren, Hakeem Jeffries, Val Demings, Jason Crow, and Sylvia Garcia. As far
   back as 2014, it has been the policy of the radical wing of the democratic party to set us
   on the path to war with Russia, and to associate Donald Trump with our planned enemy
   in a future, potentially catastrophic military conflict.

220.       In March, 2021 President Biden extended the National Emergency with respect to
   the Ukraine, and Ukraine adopted a new Military Strategy which expressly included
   plans for large-scale offensive operations in Russia. These actions were decoupled from
   any concrete threat and merely a quiet resumption of the pre-Trump warmongering.

221.      In July, 2021, the United States abruptly withdrew all troops from Bagram Air
   Base, Afghanistan in a widely-criticized action which left some $800b worth of
   equipment to fall into enemy hands. Officers who objected or publicly questioned the
   manner and means of the evacuation of Bagram Air Force base were promptly removed
   from command.




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     222.      In January, 2022, the US Army implemented its policy to remove all non-
        vaccinated (i.e., skeptical) troops from service. The pandemic also miraculously
        subsided around that time, almost as though we were ready for the next phase of the plan.

     223.        In February, 2022, Russian Vladimir Putin launched a “Special Military
        Operation” in Ukraine, citing concerns over the West’s recent deceitful behavior (calling
        our country a ‘veritable empire of lies’) and wreckless, self-interested warmongering, and
        its desire to protect Russian Christians being genocided in the Donbas region.81

     224.        The Russians appear to believe that the United States is in the advanced stages of
        implementing global socialism. On March 3, Russian Foreign Minister Sergei Lavrov
        stated that “[w]hat you [the West under US leadership] are trying to establish now in the
        Russian Federation is a dictatorship without democracy, brotherhood, or equality of any
        kind.” And also: “[a]llow me to remind you that when they were working on the [EU]
        Constitution, which, in the end, was not approved and was replaced by the Treaty of
        Lisbon, the first version began with a reference to Europe’s Christian roots. The
        European ‘grandees’ refused to support this wording, having repudiated their race and
        religious traditions. They can hardly expected to have respect for the traditions of other
        faiths.”

     225.        Alexander Dugin, Russian philosopher, hints at the Kremlin’s underlying
        rationale in a March 9, 2022 article entitled “Special Operation Z.” On information and
        belief, the print article has been suppressed and is currently unavailable to Americans,
        most of whom are not aware that Christianity itself is at stake, and that we are
        contemplating fighting on the anti-Christian side of a world war. Many of the troops that
        would fight and die in such a war would be Christians. Some excerpts:

        “Special Operation Z is not just the demilitarization and denazification of the Ukraine, not
        just the rescue of the Russian people of Donbas and the assertion of the sovereignty of the
        Russian state. This is a fundamentally new round of Russian history returning us from
        decades of stagnation to the path of our original destiny. Like the third Rome, the great
        Christian empire which keeps the whole world from sinking into the abyss.”

        “From the point of view of the spirit, looking at the dial from the right side, in Russia as a
        spiritual and intellectual phenomenon, in Russia as an idea, an eternal Russia after the end of
        communism, spiritual transformation, and overcoming the materialist paradigm of the late
        twentieth century.”

        “Our country was created for the last battle, and all our historical wars and victories are just
        preludes to it. This suggested a complete break with the West, as well as a break with the
        civilization of the enemy, adversary, antichrist. . . Creation of completely sovereign and
        autonomous statehood without any reference to the norms of the West . . . network
81
         March 3 comments (Lavrov): “[t]housands of people died—about 14,000 people died over the eight years
of war in the Donbas. Not a single person from your channel [France 24] or any other media outlet in the West has
ever thought of travelling to Donbas to see how people—whom the Ukrainian regime declared terrorists, although
they had never attacked anyone—live there. They were attacked and called terrorists. These people come under fire
every day, civilians are killed there, schools and kindergartens are destroyed and acts of terrorism are committed.”

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        technologies, gender politics, etc. Building a new society based on a new political theory,
        a fourth political turn where the Church, the empire, the people and justice are at the
        center.”

        “We returned to the fulfillment of the mission for which we were created by God, but the
        devil was vigilant, attentive, and awakened, and led us astray. Having gone through the
        difficult path of restoration [post-communist] first of all spiritual and then material, we
        would enter into a new round of confrontation with the West, with the “civilization of
        the antichrist,” which during this time would become more and more openly Satanic.
        The destruction of sex and families, preparation for the transfer of power to artificial
        intelligence, the total degeneration of morals, the dominance of extremely perverted
        philosophies, such as a postmodernism.”

        “We forgot about the side of the spirit in general, everything came down to material
        indicators, and even then forged in the corrupt elite and their western masters. In the 1990s
        Russia was ruled by the devil, that is, anti-Russia.”

        “Operation Z is the exit to the final round of history . . . Putin increasingly entered into a
        deadly confrontation with the West. When Russia itself was on the side of the devil, no one
        noticed this; when she began to get out, the seriousness of the situation was fully realized.”

        A. Dugin, “Special Operation Z” (March 9, 2022), Western print publication suppressed,
        adapted from https://youtu.be/tLY9ssQ-TNE (emphasis added).

     226.       On March 16, 2022 Ukrainian President Zelensky addressed the US Congress,
        which has the power to declare war, and held a prime-time press conference with Lester
        Holt. In soaring language, The New York Times described the conferences as “invoking
        the memories of Pearl Harbor and the September 11, 2001 terrorist attacks.”82 “Liberals”
        who as young men screamed bloody murder and spit in the faces of American GIs
        returning from the comparatively insignificant war in Vietnam morphed overnight into
        the biggest war hawks on the planet, foaming at the mouth for thermonuclear war.

     227.       On information and belief, a massive propaganda campaign has been undertaken
        with respect to the war. This includes the use of thousands of crisis actors to stage,
        among other things, a fake genocide (Bucha). The campaign employs many more
        thousands of social media activists globally, and even includes celebrity endorsements,
        such as Arnold Schwarzenegger. Congressmen, led by Adam Schiff and Nancy Pelosi,
        appear also to be campaigning vigorously for a declaration of war despite the conflict
        being deeply unpopular with the American people (who have had no say in any of this).

        Russian MFA
        Statement by the Russian Defence Ministry



82
         “Addressing Congress, President Volodymyr Zelensky of Ukraine pleaded for help, and showed searing
footage of civilian casualties,” The New York Times (March 16, 2022).

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   The Russian Defence Ministry denies accusations of Kiev regime of allegedly killing
   civilians in Bucha, Kiev Region

   Facts

   All the photos and videos published by the Kiev regime allegedly testifying to some "crimes"
   committed by Russian servicemen in Bucha, Kiev region are just another provocation.

   During the time that the town has been under the control of the Russian armed forces, not a
   single local resident has suffered from any violent action. Russian servicemen have delivered
   and distributed 452 tonnes of humanitarian aid to civilians in Kiev Region.

   For as long as the town was under the control of the Russian armed forces and even then,
   up to now, locals in Bucha were moving freely around the town and using cellular phones.

   The exits from Bucha were not blocked. All local residents were free to leave the town in
   northern direction, including to the Republic of Belarus. At the same time, the southern
   outskirts of the city, including residential areas, were shelled round the clock by Ukrainian
   troops with large-calibre artillery, tanks and multiple launch rocket systems.

   We would like to emphasise that all Russian units withdrew completely from Bucha as early
   as March 30, the day after the Russia-Ukraine face-to-face round of talks in Turkey.

   Moreover, on March 31, the mayor of Bucha, Anatoliy Fedoruk, confirmed in a video
   message that there were no Russian servicemen in the town, but he did not even mention
   any locals shot in the streets with their hands tied.

   It is not surprising, therefore, that all the so-called "evidence of crimes" in Bucha did not
   emerge until the fourth day, when the Security Service of Ukraine and representatives of
   Ukrainian media arrived in the town.

   It is of particular worry that all the bodies of the people whose images have been published
   by the Kiev regime are not stiffened after at least four days, have no typical cadaver stains,
   and the wounds contain unconsumed blood.

   All this confirms conclusively that the photos and video footage from Bucha are another
   hoax, a staged production and provocation by the Kiev regime for the Western media, as
   was the case in Mariupol with the maternity hospital, as well as in other cities.

   Statement by the Russian Defence Ministry, at https://t.me/mod_russia_en/656

228.       On information and belief, the $40 billion being sent to Ukraine is in part to
   compensate crisis actors, propagandists and marketers to stage another fake genocide or
   other false flag event so as to draw America into a needless thermonuclear World War.




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229.      On information and belief, the intent of the propaganda is to create “real-life” war
   propaganda and paint Russian troops as, in effect, the “Hun” (from WWI-era cartoons).
   (Like “The Blair Witch Project” except for thermonuclear world war!)




           (Russia fought the most violent, deadly and bitter conflict in human history
   against Nazi Germany. Are we to believe that Russian soldiers are allowed to have
   massive swastika tattoos, complete with the German eagle?) [Quora]


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                 (These stories [from Quora] are nods to the barbaric behavior of Red Army
         soldiers in Germany during World War Two. This behavior was explicitly encouraged
         by Soviet political commissars and propagandists.)

     230.     Much of the propaganda activity occurred through Facebook, which is owned by
        Zuckerberg. The propaganda campaign caused Russia to block Facebook entirely.

     231.     The propaganda campaign has generally sought to paint (1) Russian troops as evil
        monsters and (2) Russia’s military as weak, incompetent, and on the verge of collapse.

                 For example (one of many), a piece published on April 3083 asserts that after
                  suffering 30,000 casualties, Russia has resorted to conscripting children. The
                  piece then displays images of Hitler talking to emaciated Hitler Youth outside of


83
       “Vladimir Putin 'will undergo cancer operation in the near future' and is set to 'hand over power to hardline
ex KGB chief while he is incapacitated', insider claims”, at https://www.dailymail.co.uk/news/article-
10770541/Putin-cancer-operation-near-future-hand-power-hardline-ex-KGB-chief.html


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                 his bunker in April, 1945, and suggests that Putin, too, has developed a tremor in
                 his hand (showing the analogous picture of Hitler’s crumpled hand in 1945).

                 Russia lost 11.2 million (reported) troops in World War Two. The real number is
                 probably substantially greater than that. It has a standing army of over 1.2 million
                 active personnel. It is not at risk of running out of men or materiel and will fight
                 capably and to a man to defend itself from the threat that is the subject of this
                 lawsuit. Russia destroyed the Wehrmacht, probably the finest army ever fielded.
                 No country has ever conquered Russia, and it will use its nuclear weapons.

     232.      For perhaps the first time in history, the entire world has looked at a
        comprehensive set of images chronicling an apparent genocide (Bucha), and simply
        doesn’t believe it is true. The New York Times resorted to running a piece by a veteran
        war correspondent in a failed attempt to convince viewers that the pictures were real. 84




                 Image courtesy BBC.

     233.       In a particularly egregious example of a false flag, propagandists asserted on
        April 8 that Russia had launched a missile attack at a train station in Kramatorsk.
        Evidence of the attack included pictures of the missile shell with the words “FOR
        CHILDREN” spray-painted on the side in cyrillic. In an almost cartoonishly impudent
        piece, The New York Times on April 11 reported that people at the train station were
        shouting “[t]here are so many corpses, there are children, there are just children!”85

84
         E,g,, “Photographing Hell”, at https://www.nytimes.com/2022/04/16/opinion/international-world/ukraine-
war-bucha-photographs.html; see also “‘Crisis Actors’? Where Have I Heard That Before?” at
https://www.nytimes.com/2022/04/25/insider/crisis-actors-russia-ukraine.html (comparing to Sandy Hook
skepticism).
85
        See G. Lopez, “The Next Phase”, The New York Times Morning Edition (ed. of April 11, 2022).


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     234.       Russia denied the attack and indicated that it had posted exonerating evidence on
        the Russian Ministry of Defence (MoD) website. The U.S. government, Google or both,
        then blocked access to the Russian MoD website, such that the website could be
        accessed, but only a blank, white screen would be shown to the end-user.

     235.      In contrast to Western media and government, the Russians have been
        forthcoming and have consistently made logical and fact-based statements about the
        conduct of the war. In a March 24 press conference with International Committee of the
        Red Cross President Peter Maurer, Russian Minister Lavrov stated as follows:

                “We are always trying to follow the behests, practice and heritage of our great
                predecessors. They always strove to proceed from facts in taking diplomatic
                steps. This is what is happening now with the discovered documents on the many
                military bio-laboratories in Ukraine that have been created and operated by the
                Pentagon. We simply presented the UN Security Council with the documents
                signed by representatives of the Defense Threat Reduction Agency that deals with
                military programs. The documents describe the areas of research in these
                laboratories, which are far from harmless. Instead of explaining how these bio-
                labs were set up and what they did, the US representative said in response that all
                this was a lie.86 This is one of many examples. When it is important to learn the
                facts, media representatives usually address Russia’s Permanent Representative
                rather than a Western representative. Let’s put it straight – they don’t provide
                many facts for their audience.”

     236.      President Biden has already announced that as a result of the war in Ukraine, the
        United States will face a food shortage in 2023. Simultaneously, fertilizer prices in the
        United States have doubled in one year, causing farmers to downsize all over the US.

     237.     On information and belief, there will be a famine in the United States in 2023 in
        which Christians cast out of the system, such as Plaintiff, will be pushed into starvation.

     238.       On information and belief, an intent of committing American and NATO troops
        in a conflict with Russia is to foment a violent Marxist revolution in the United States.

     239.      On information and belief, the United States intends to stage a false flag
        provocation which may include a chemical weapon attack on its own personnel, as a
        means of escalating the conflict in the Ukraine.

               March 3, Lavrov: “Talk of nuclear war has already begun. Look carefully at
                those statements and the characters who made them. . . . I would like to draw your
                attention to the fact that the thought of nuclear war is constantly running through
                the minds of Western politicians but not the minds of Russians.”



86
        The cooperation agreement is available at https://2001-2009.state.gov/documents/organization/95251.pdf

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                There were several articles in mainstream media warning of “false flag” attacks
                 by Russians.87 What this appears to actually be is just an attempt to convince the
                 average citizen of the West believe that it is the Russians, rather than the
                 Ukrainians or NATO countries, that are or will engage in these operations.

     240.       On information and belief, the country is being pushed into a World War by Jews
        or putatively non-Jew Woke activists acting under the direction of Jews, direct or
        indirect, with the goal of toppling Russia and the United States while also killing millions
        of white Christians across the United States, Western Europe, and Russia, just as
        occurred in World War One. “There’s going to be a new world order out there”, man.

                     Other Enabling Factors – Domestic Terror; Gun Control

     241.       On information and belief, the DOJ and DHS intend to violently suppress protests
        around loss of American democracy under the banner of weeding out “domestic terror”
        or “far-right extremism.”

     242.      On May 14, 2022 there was a shooting at a Tops Supermarket in Buffalo, NY by a
        mentally-deranged white male who, after posting a “Manifesto” about a “replacement
        theory” of genocide against white Europeans, targeted Blacks.

     243.       In response, the House of Representatives on May 19, 2022 passed a bill (H.R.
        350, the “Domestic Terror Prevention Act of 2022”) introduced by Rep. Schneider (D-IL)
        that gives the FBI broad power to address “domestic terror” and “white supremacy”,
        without defining either term. Rep. Cori Bush (D-MO) noted that “the Republican Party
        has become the party of unfettered white supremacist violence.”

     244.       On May 24, 2022 there was a tragic shooting by another mentally-deranged
        teenager at a public school in Uvalde, TX. The shooter used an AR-15. The shooter and
        most of the victims were Hispanic. There are significant questions about irregularities in
        the police response to the incident that are unresolved at the time of this lawsuit.

     245.       On June 25, 2022 the President signed into law S. 2938 (as Pub. L. 117-159). The
        legislation contains “red flag” laws, which allow ex parte challenges to an individual’s
        right to bear arms, and provides funding for schools to begin hiring “developmental-
        behavioral pediatricians.” If a student is flagged as a “threat,” the child is placed in a
        DHS database for life. This program could be badly abused for political purposes;
        noncompliant children, or parents of noncompliant adults, can now be targeted and
        placed into a federal surveillance database on the subjective evaluation of low-level
        school officials.

     246.      As asserted in this lawsuit, “white supremacy” and “whiteness” is defined in the
        parlance of Jews and putatively non-Jew Woke activists as a kind of code word for the


87
        See, e.g., “The U.S. warned Russia against using chemical or biological weapons, as president Biden
announced $800 million more in military aid for Ukraine”, The New York Times (March 16, 2022).

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   Christian religion and its system of morality, ethics, values, and norms, which they claim
   generate inherently “racist” policies, structures, and outcomes.

247.       Under 18 U.S.C. § 2331(5), “‘domestic terrorism’ means activities that—(A)
   involve acts dangerous to human life that are a violation of the criminal laws of the
   United States or of any State; (B) appear to be intended—(i) to intimidate or coerce a
   civilian population; (ii) to influence the policy of a government by intimidation or
   coercion; or (iii) to affect the conduct of a government by mass destruction, assassination,
   or kidnapping; and (C) occur primarily within the territorial jurisdiction of the United
   States.”

248.      The Attorney General of the United States is Merrick Garland. In his role,
   Garland heads all activities of the Department of Justice (DOJ), which include all U.S.
   Attorneys and the Federal Bureau of Investigation (FBI).

249.      On information and belief, open racial and religious discrimination engaged in by
   Jews and putatively non-Jew Woke activists against white, European Christians—such as
   the conduct complained of in this lawsuit—is not considered “domestic terror” by the
   DOJ despite the fact that it very clearly is.

250.      On information and belief, open racial and religious discrimination engaged in by
   Democrats against Republicans, up to and including the use of force, which is now being
   expressly contemplated by the Biden administration, is not considered “domestic terror”
   by the DOJ.

251.       On May 3, an as-yet unknown Supreme Court clerk leaked a draft opinion in a
   case which is slated to overturn Roe v. Wade and Casey v. Planned Parenthood to
   Politico reporter Josh Gerstein. In response to the leak, there were myriad attacks on
   Christian Churches throughout the country, and widespread harassment of parishioners.
   On information and belief, no investigation has been opened into whether the leaker—
   one of a pool of about 9 people—is a “domestic terrorist.”

252.       On information and belief, “domestic terror” is the pretext by which the U.S.
   government intends to affect a violent genocide on white, European Christian people that
   refuse to convert to Judaism or its modern incarnation, Wokeness.

253.       On information and belief, the trigger event for the genocide action will be
   protests in connection with the November midterm elections, which may be manipulated
   or nullified in a manner designed to incite public outrage, such as after an alleged Russian
   “cyber attack,” etc. (If Donald Trump is successfully eliminated by the January 6
   committee, this will not need to take place.)

254.       On information and belief, the reason the United States government is expending
   such significant resources professionally producing the January 6 Committee
   deliberations is so that future generations will be able to watch the tapes—perhaps they
   will even be shown the tapes in school, as a kind of threat—and will actually believe that

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         the violent genocide was completely warranted, and had nothing to do with the extinct
         Christian religion. It is to paper the historical record.

     255.      During President Obama’s second term, the U.S. Department of Homeland
        Security (DHS) amassed several billions of rounds of ammunition.

     256.       In March, 2022, a new National Security Advisory Council was convened. The
        council contains several of the nation’s top racketeering and organized crime prosecutors,
        such as Michael Chertoff, ostensibly to help the government defend against the analysis
        set out in this lawsuit as it explores “mergers” with the private sector.

     257.      In April, 2022, DHS created a “Disinformation Governance Board” (subsequently
        disbanded) to monitor the activities of individuals or groups of individuals “at risk of
        descending into violence.” (Jen Psaki comments).

     258.       On information and belief, the intent of the Disinformation Governance Board
        was to suppress the analysis presented by this lawsuit, which is true and accurate, from
        ever reaching the public.

     259.       On information and belief, the intent of DHS, with or without the Disinformation
        Governance Board, is to violently suppress dissent from white, European Christians
        related to the widespread and open discrimination currently occurring against them, by
        falsely painting them as “terrorists” or “extremists” who are “at risk of descending into
        violence.”88 (The Russians allege this is what is happening to Christians in Donbas.)

     260.        On information and belief, DHS intends to use the ammunition it has stockpiled to
        kill or capture innocent American civilians for practicing their religion and refusing to
        convert to Judaism, all under the guise of cracking down on “domestic terror.” In the
        history books, there will be no recognition that the protests of the white, European
        Christians to be killed are completely lawful, legitimate and warranted.

     261.      On information and belief, enforcement of “domestic terror”, as it is currently
        conceived, involves widespread, unthinkable violations of the Equal Protection Clause.

     262.        On information and belief, by abusing the concept of “domestic terror” in this
        manner, Garland is himself a violent terrorist, acting not on behalf of the Constitution or
        the citizenry but rather based on apparent tribal, racial or religious affiliation.

     263.      On information and belief, to better effectuate this discriminatory and illegal
        application of the concept of “domestic terror,” the United States will need to disarm the
        heavily-armed civilian population.

     264.       Many believe that modern efforts to limit the Second Amendment began in
        earnest with the shooting at the Sandy Hook school on December 14, 2012.

88
         Note the similarity with the characterization of dissenters in the Soviet era as “sluggish schizophrenic” with
“delusions of reformism” for which people were prescribed consciousness-altering doses of hardcore neuroleptics.

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265.      There is substantial evidence that the Sandy Hook shooting was actually a drill
   put on by the Federal Emergency Management Agency (FEMA). See Exhibit 2.

266.       On information and belief, all defamation lawsuits advanced against Sandy Hook
   “conspiracy theorists” have come down to the existence of birth or death records created
   by the State of Connecticut, its police, coroners, or its towns and municipalities. No
   objective, affirmative proof that the shooting actually occurred (for example, autopsy
   photographs, etc.) has ever been released to the public.

267.       On information and belief, within a year before the December 14, 2012 shooting,
   an amendment to Connecticut post-mortem privacy law was signed into a law. On the
   basis of this law, autopsies of the Sandy Hook victims were not subject to disclosure.

268.       On information and belief, substantial public and private funds were distributed to
   the families of the victims and to other stakeholders, including State and local
   government agencies, in the wake of the alleged incident. For example, a 2014 article by
   the Hartford Courant states that “since the 2012 Sandy Hook school shooting, the federal
   government has given the town of Newtown and several agencies just more than $17
   million in aid that has been used primarily to enhance mental health services and school
   security.” D. Altimari, “Sandy Hook Two Years Later: Where is the Aid Going?”
   (Hartford Courant, ed. of Dec. 14, 2014), at
   https://www.courant.com/news/connecticut/hc-sandy-hook-shooting-two-years-later-
   20141214-story.html.

269.       The Sandy Hook shooting involved the apparent actions of an individual named
   Adam Lansa. Lansa was evaluated by Yale University doctors—one of which
   subsequently committed “suicide”—and found to have various developmental disorders,
   including “autism.” In general, Lansa was described as a creepy, ghoulish, retarded loner
   (a characterization Plaintiff is quite familiar with at the hands of Defendants).

270.      On information and belief, the Connecticut Department of Children and Families,
   Office of the Child Advocate, prepared the report detailing Lansa’s mental health issues.

271.      On information and belief, the “lessons learned” from the Lansa case involve
   expanded surveillance and monitoring of individuals based on ex parte allegations of
   mental health problems, even if completely unsupported by facts or conduct.

272.      On information and belief, one of the “lessons learned” from the Lansa case is to
   place developmental-behavioral pediatricians in American schools. This “lesson learned”
   came full circle ten years later with Pub. L. 117-159. The placement of “developmental-
   behavioral pediatricians” in schools is a potent lever to exact tyranny on the population;
   now children can be used as a basis for express or implied threats against parents of
   young children.




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273.    On information and belief, Shipman & Goodwin LLP was counsel to the
   Newtown School District at the time of the shooting.

274.     On information and belief, in the wake of the shooting, Defendant Leander
   Dolphin was promoted to the Management Committee of Shipman & Goodwin LLP.

275.      On information and belief, Defendant Joette Katz was counsel to the Department
   of Children and Families at the time of the shooting and thereafter.

276.       On information and belief, an intent of recent gun control efforts has been to
   create a pretext to place Christian children in a government surveillance database, much
   like the one Plaintiff is in. On this basis, high-potential children, or parents of
   noncompliant adults, will be eliminated from society.

277.       On information and belief, an intent of recent gun control efforts in the United
   States is to disarm or leave unarmed white, European, Christian people so that they can
   be killed or otherwise subjugated in a planned violent Marxist revolution.

                        Other Enabling Factors - Miscellaneous

278.       Inflation. The United States is currently experiencing high levels of consumer
   price inflation of basic necessities which is divorced from reality. For example, the
   United States has at least 300 years’ worth of fossil fuel deposits in its own soil, yet
   people are paying $5/gallon for regular unleaded.

279.       Famine. The United States is at risk of a food shortage, is currently experiencing a
   shortage of baby food, and the government has already warned of an impending shortfall
   of wheat related to the War in Ukraine. Prices of fertilizer have experienced price
   inflation that vastly outstrip the consumer price index.

280.        “Big tech” censorship. Social media represents an outlet for individuals to
   express political dissent, or complain of harms propagated against them. On information
   and belief, members of the “big tech” industry and the United States government
   colluded to engage in censorship of political speech during the pandemic and continuing
   to this very day, which is the subject of a separate lawsuit, Missouri v. Biden (22-cv-
   01213, W.D. La.), and its assertions are incorporated herein as if fully set forth herein.

281.      Cryptocurrency. The United States government is currently exploring transition
   from paper currency to a digitized form of the United States Dollar.

282.       Sexualization of children; promoting drug abuse. Debauched sexual concepts are
   being taught widely to children, in some cases as early as kindergarten, prompting
   outrage from parents across the country. As covered earlier in Background, Section IV,
   sexualization of gentile children was pioneered by a Hungarian-Jewish Marxist in the
   1920s as a means of eroding the Christian family unit. The U.S. Department of Health
   and Human Services announced in 2022 that it would use taxpayer dollars to distribute

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   drug paraphernalia to addicts nationwide. Its “safe smoking kits” originally included
   crack pipes (removed after public backlash in February, 2022) and syringes to heroin
   addicts.

283.       On information and belief, inflation, famine, censorship, cryptocurrency;
   sexualization of children and drug abuse are being used to enable a transition to a “post-
   capitalist” society.

284.       Inflation benefits Marxist organizers by (a) promoting compliance with the
   agenda advanced by the government and employers, in so far as loss of employment
   during a period of high inflation endangers individual survival (savings become worth
   less and less), (b) hastening the death or starvation of individuals cast out by
   revolutionaries and who refuse to accept slavery, (c) increasing the desperation of
   dissenters cast out by revolutionaries and thus making them less able to engage in
   “counter-revolutionary activity” or dissenting speech, (d) creating a “dog eat dog”
   mentality which engenders violence, conflict and chaos among the target population (i.e.,
   to quote Hitler, it “drags people down to [the Jews’] low mentality.”), and (e) making
   Christian morals, ethics, norms and values appear outmoded and “bourgeois” (as Hitler
   described, “antiquated prejudices”). High inflation of fossil fuel prices also creates a
   pretext to expend more on “sustainability”—which itself is just the pretext for creation of
   Soviets.

285.       Famine benefits Marxist organizers by (a) hastening the death of dissenters cast
   out by revolutionaries, (b) rewarding compliant individuals, who become the only ones
   that can afford to eat, and (c) degrading Christianity by turning people into base,
   treacherous, rotten, ugly little monsters that fight and exterminate each other.

286.       Big tech censorship benefits Marxist organizers by plugging a kind of “loophole”
   that could be exploited by Christians and other counter-revolutionaries; if social media
   companies censor speech, then all communications are funneled onto channels regulated
   by either Jews or Woke activists (the mainstream press has long been captured). Because
   Elon Musk has reopened the “loophole,” Marxists across the country and throughout the
   government have declared war on him, and he will probably end up dead.

287.       Cryptocurrency benefits Marxist organizers by making it possible, in theory, for
   individuals cast out by revolutionaries to have their assets “erased” by the government,
   without recourse. Moreover, it wrests the last vestige of control over the country from
   gentiles, who have historically dominated the retail banking sector (since at least the
   1920s, bank customers have been leery of putting their money on deposit with Jews).

288.       Sexualization of children and promoting drug abuse benefits Marxist organizers
   by eroding the family unit (at a minimum – any other intent can’t be mentioned). Drug
   abuse allows white, European Christian people being driven into abject poverty to kill
   their pain with hard drugs, weakening their ability to resist and in general, turning them
   into wastes of humanity. For similar reasons, Soviet citizens received a generous vodka



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ration throughout the Soviet period (resulting in widespread alcoholism, the effects of
which are still being felt today).




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       Downloadable from "FEMA/DHS 12/14/12 Plan for "Mass Death of Children
       at a School by Firearms", memoryholeblog.com (8 October 2014) or by using
       this link: 2014/10/drill-site-activation-call-down-exercise-plan_a.pdf


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